Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 1 of 540


                                                                         1


IN THE UNITES STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
CIVIL ACTION NO. 21-02500
----------------------------------------x


COLLEN BEHM,


            Plaintiff,


      v.


MACK TRUCKS, INC., and
UNITED AUTO WORKERS LOCAL 677,
            Defendants.
----------------------------------------x


                         1601 Cherry Street
                         Philadelphia, Pennsylvania
                         March 8, 2022
                         10:10 a.m.


            DEPOSITION of COLLEEN BEHM, the
Plaintiff, held at the above-entitled time and
place, taken before Carolyn Crescio, a
Professional Shorthand Reporter and Notary
Public of the State of Pennsylvania.



                    *      *       *




                                                              JA000001
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 2 of 540


                                                                              2
 1
 2   A P P E A R A N C E S:
 3
     LAW OFFICES OF ERIC A. SHORE, P.C.
 4   Attorneys for Plaintiff
         1500 JFK Boulevard
 5       Suite 1240
         Philadelphia, Pennsylvania 19110
 6   BY: GRAHAM F. BAIRD, ESQ.
 7
 8
     JACKSON LEWIS, PC
 9   Attorneys for Defendant MACK TRUCKS, INC.
         15 South Main Street
10       Suite 700
         Greenville, South Carolina 29601
11   BY: ELLISON F. MC COY, ESQ.
     -and-
12   D. RANDLE MOODY, II, ESQ.
13
14
     CLEARY, JOSEM & TRIGANI, LLP
15   Attorneys for Defendant United Auto Workers Local
     67
16       325 Chestnut Street
         Suite 200
17       Philadelphia, Pennsylvania 19106
     BY: CASSIE R. EHRENBERG, ESQ.
18
19
20   ALSO PRESENT:
     Kaitlyn O'Neill
21
22
23
24
25


                                                                   JA000002
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 3 of 540


                                                                              3
 1

 2                      THE COURT REPORTER:       The

 3                   attorneys participating in this

 4                   deposition acknowledge that I am not

 5                   physically present in the deposition

 6                   room and that I will be reporting

 7                   this deposition remotely.

 8                      They further acknowledge that, in

 9                   lieu of an oath administered in

10                   person, I will administer the oath

11                   remotely.

12                      The parties further agree that if

13                   the witness is testifying from a

14                   state where I am not a Notary, that

15                   the witness may be sworn in by an

16                   out-of-state Notary.

17                      If any party has an objection to

18                   this manner of reporting, please

19                   state now.

20                      [NO RESPONSE]

21                      THE COURT REPORTER:       Hearing

22                   none, we can proceed.

23               -            -        -

24   C O L L E E N      B E H M, the witness herein, after

25   having been first duly sworn by a Notary Public of


                                                                   JA000003
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 4 of 540


                                                                              4
 1                              C. BEHM
 2   the State of Pennsylvania, was examined and
 3   testified as follows:
 4   BY THE COURT REPORTER:
 5           Q.      Please state your name for the
 6   record.
 7           A.      Colleen Behm.
 8   EXAMINATION
 9   BY MR. MC COY:
10           Q.      Good morning.
11           A.      Good morning.
12           Q.      I'm sorry, I've been saying
13   Ms. Behm.      It's Behm; is that right?            I just
14   want to make sure.
15           A.      Behm.
16           Q.      Behm.     Okay.    I apologize if I --
17           A.      It's okay.
18           Q.      -- if I mispronounce it.
19           A.      Behm, Behm, I'll know who you're
20   talking about.
21           Q.      I'll apologize up front.            Okay?
22           Good morning.       My name is Ellison McCoy.
23   I'm an attorney with Jackson Lewis.               Actually,
24   we are here at your offices in Philadelphia, but
25   I practice in our office in South Carolina.


                                                                   JA000004
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 5 of 540


                                                                              5
 1                              C. BEHM
 2           With me today is my colleague, Randy
 3   Moody, who is also in the South Carolina office.
 4   I believe you know who Kaitlyn O'Neill is; one
 5   of the human resources business partners at Mack
 6   Trucks.
 7           A.      Yes.
 8           Q.      And, also, Cassie Ehrenberg who is
 9   attorney for the Local UAW in this case.
10           We are here today for the purpose of
11   taking your deposition in the lawsuit that you
12   have filed against Mack Trucks.              Have you ever
13   had a deposition taken before?
14           A.      No.
15           Q.      So let me just give you a little bit
16   of background.        Your attorney may have explained
17   this to you already.          I can't just pick up the
18   phone and call you and ask you why you're suing
19   my client.      So we have to do it in this somewhat
20   formal setting before a court reporter.
21           So this is my opportunity to ask you
22   questions about your lawsuit.             And so I'm here
23   to find out information.           I'm not trying to
24   trick you or anything like that, so if at any
25   point in time during the deposition you don't


                                                                   JA000005
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 6 of 540


                                                                              6
 1                              C. BEHM
 2   understand my question, you're confused by my
 3   question, just let me know.            I'll be glad to
 4   restate it, repeat it, do whatever we need to do
 5   to make sure the record is clear.
 6           If you don't understand what I'm asking
 7   you, just let me know.          If you don't hear what
 8   I'm saying -- you know, I do have a little bit
 9   of an accent, but, you know --
10           A.      My parents are from South Carolina.
11           Q.      Oh, really?       Where?
12           A.      Ladson.
13           Q.      Oh, wow.      So you're used to the
14   accent.
15           A.      Yes.
16           Q.      Okay.     So, hopefully, we won't have
17   an issue, but if we do, just let me know.
18           When you answer my question, I'm going to
19   assume that you heard my question, that you
20   understand my question, and that you're giving
21   me a complete and truthful answer to that
22   question; is that fair?
23           A.      Yes.
24           Q.      I would ask that you please try to
25   give verbal answers to my questions.                I know we


                                                                   JA000006
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 7 of 540


                                                                              7
 1                              C. BEHM
 2   like to nod or shake our heads, but that doesn't
 3   show up very well on the transcript --
 4            A.     Okay.
 5            Q.     So if you shake your head or nod
 6   your head, I'm may ask you, Is that a "yes" or
 7   "no"? I'm not being rude.            I'm just, again,
 8   trying to make sure the record is clear.
 9            A.     Absolutely.
10            Q.     If, during the deposition, you have
11   any questions, I would ask you to direct them to
12   me.     If there's something I need to discuss with
13   your attorney, I'll be glad to do so, but now
14   that we are on the record, you need to address
15   any questions and or concerns to me.
16            A.     Okay.
17            Q.     And if you need to take a break for
18   any reason, just let me know.             I will take
19   breaks because I had a couple of cups of coffee
20   this morning, but if you need one, just let me
21   know.     The only caveat I would say is if there's
22   a question pending, I would ask that you answer
23   the question, and then we can take a break.
24            A.     Okay.
25            Q.     Do you understand the instructions


                                                                   JA000007
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 8 of 540


                                                                              8
 1                              C. BEHM
 2   I've given you?
 3            A.     Yes.
 4            Q.     All right.      I'm going to ask you a
 5   couple of personal questions.             The reason for
 6   these questions is to make sure that our record
 7   is clear today.
 8            Are you on any sort of medication today
 9   that will impair your ability to answer my
10   questions completely and truthfully?
11            A.     No.
12            Q.     Have you consumed any alcoholic
13   beverages in the past eight hours?
14            A.     No.
15            Q.     Do you have any physical or mental
16   condition that would impair your ability to
17   answer my questions completely and truthfully
18   today?
19            A.     No.
20            Q.     Now, is there any other reason that
21   you are not prepared to proceed with your
22   deposition at this time?
23            A.     No.
24            Q.     And you understand you've been
25   placed under oath and that the Court can impose


                                                                   JA000008
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 9 of 540


                                                                              9
 1                              C. BEHM
 2   penalties if you fail to tell the truth?
 3           A.      Yes.
 4           Q.      Thank you.      All right.
 5           Can you please give me your full name?
 6           A.      Colleen Sara Behm.
 7           Q.      How do you spell Sara?
 8           A.      S-A-R-A.
 9           Q.      And what is your Social Security
10   number?
11           A.      XXX-XX-XXXX.
12           Q.      I always like to tell witnesses, I'm
13   asking that for the record.            We will not put
14   your Social Security record into anything we
15   file in this case.         It's just for verification
16   purposes.
17           Where do you currently live?
18           A.      West Lawn, Pennsylvania.
19           Q.      What's your street address there?
20           A.      216 Halsey, H-A-L-S-E-Y, Avenue --
21   West Lawn, two words -- Pennsylvania, 19609.
22           Q.      Who currently lives with you at that
23   address?
24           A.      Me, my daughter, and my son.             And,
25   occasionally, my boyfriend spends the night.


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     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 10 of 540


                                                                          10
 1                               C. BEHM
 2           Q.       What is your daughter's name?
 3           A.       Jana.
 4           Q.       Can you spell that for me, please?
 5           A.       J-A-N-A.     Same last name.
 6           Q.       How old is she?
 7           A.       Four.
 8           Q.       And your son, what's his name?
 9           A.       Brodee, B-R-O-D-E-E.          Last name,
10   C-A-N-N-O-N.
11           Q.       How old is he?
12           A.       Twelve.
13           Q.       And who is your boyfriend?
14           A.       Corey.     E-Y.
15           Q.       And what's his last name?
16           A.       Same as mine.
17           Q.       So this would also be your
18   ex-husband?
19           A.       Ex-husband.
20           Q.       What is your date of birth?
21           A.       May 22nd, 1989.
22           Q.       And where were you born?
23           A.       Pottstown.
24           Q.       Pennsylvania?
25           A.       Yes.


                                                                   JA000010
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 11 of 540


                                                                          11
 1                               C. BEHM
 2           Q.       Did you attend high school?
 3           A.       Yes.
 4           Q.       Where did you go to high school?
 5           A.       Governor Mifflin.
 6           Q.       What town was that located in?
 7           A.       Shillington.
 8           Q.       Did you graduate from Governor
 9   Mifflin High School?
10           A.       Yes.
11           Q.       What year?
12           A.       2007.
13           Q.       All right.      After you finished high
14   school, did you go on to college?
15           A.       I took some classes.          I never
16   graduated from college.
17           Q.       Where did you take classes?
18           A.       Berks Career Technology Center for
19   cosmetology.       Berks Technical Institute for
20   criminal justice.
21           Q.       Let me stop you.        The first one,
22   berks Career -- what was it?
23           A.       Berks Career Technology Center.
24           Q.       And that was for cosmetology
25   classes?


                                                                   JA000011
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 12 of 540


                                                                          12
 1                               C. BEHM
 2            A.      Yes.
 3            Q.      When did you take those classes?
 4            A.      In 11th and 12th grade.           And for a
 5   year after I graduated high school.
 6            Q.      Why did you stop taking those
 7   classes?
 8            A.      I wasn't interested.
 9            Q.      Have you ever worked in the
10   cosmetology field?
11            A.      No.
12            Q.      All right.      So then you also said,
13   Berks --
14            A.      Technical Institute.
15            Q.      -- Technical College -- Technical
16   Institute.       Okay.
17            A.      Uh-huh.
18            Q.      And you studied criminal justice
19   there?
20            A.      Yes.
21            Q.      When did you take those classes?
22            A.      I took those classes from, I would
23   say, around 2011 to 2013, is when I stopped.
24            Q.      Were you taking those classes while
25   you were working?


                                                                   JA000012
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 13 of 540


                                                                          13
 1                               C. BEHM
 2           A.       Yes.
 3           Q.       How far along did you get in the
 4   criminal justice program?
 5           A.       About two years in.
 6           Q.       Did you earn a degree?
 7           A.       No.    I stopped classes.
 8           Q.       Why did you stop those classes?
 9           A.       Because I got a DUI in 2013.            And I
10   wasn't sure how that would affect my career.
11           Q.       Besides those, the Berks Career
12   Technology Center and the Berks Technical
13   Institute, have you taken any other college
14   classes?
15           A.       McAllister Institute.
16           Q.       Where is that located?
17           A.       It was online classes, but they are
18   based out of New York.
19           Q.       What kind of courses were you
20   taking?
21           A.       Funeral directing.
22           Q.       When did you take those courses?
23           A.       I took those courses from 20 -- end
24   of 2016 to the end of 2017.
25           Q.       And do you, like, earn a certificate


                                                                   JA000013
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 14 of 540


                                                                          14
 1                               C. BEHM
 2   in that?      What do you -- is there a degree?
 3           A.       No.     I stopped classes for that,
 4   also.
 5           Q.       I'm just curious.         I mean, would you
 6   have earned a degree, potentially?
 7           A.       Yes, funeral directing.
 8           Q.       Okay.     And why did you stop taking
 9   those classes?
10           A.       Because I was offered a job at Mack.
11           Q.       How did you get interested in
12   funeral directing?
13           A.       I got really interested because of
14   criminology in the criminal justice system, and
15   I got so used to seeing uncomfortable situations
16   with homicide and everything, so I thought, Oh,
17   I could do this, and with cosmetology
18   background, also, be pretty good.
19           Q.       And you have not gone back and taken
20   any more of those classes?
21           A.       No.
22           Q.       All right.      Any other college-level
23   courses since you graduated high school?
24           A.       No.
25           Q.       Do you currently have any


                                                                   JA000014
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 15 of 540


                                                                          15
 1                               C. BEHM
 2   professional certifications or licenses?
 3           A.       No.
 4           Q.       Do you currently belong to any
 5   organizations or associations?
 6           A.       No.
 7           Q.       Do you have a church that you
 8   regularly attend?
 9           A.       No.
10           Q.       You mentioned that your parents are
11   from South Carolina.          Do they currently live in
12   Pennsylvania?
13           A.       My dad and stepmom are from South
14   Carolina.
15           Q.       Where do they currently live?
16           A.       Ladson.
17           Q.       So they are still in South Carolina?
18           A.       Yes.
19           Q.       When did your dad and stepmom move
20   to South Carolina?
21           A.       My dad moved there when I was two,
22   and that's where he met my stepmom.
23           Q.       What about your mother?           Is she
24   still alive?
25           A.       Yes.    She came here from Poland.


                                                                   JA000015
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 16 of 540


                                                                          16
 1                               C. BEHM
 2           Q.       Where does she live?
 3           A.       In Shillington, Pennsylvania.
 4           Q.       What is your mother's name?
 5           A.       Joanna.
 6           Q.       What's the last name?
 7           A.       Weaver.
 8           Q.       I didn't ask, and I apologize.
 9   What's your dad's name?
10           A.       Glenn.     Last name John, J-O-H-N.
11           Q.       What about your stepmother?            What is
12   her name?
13           A.       Pam, Pamela.
14           Q.       Is your mother married?
15           A.       Yes.
16           Q.       What is her husband's name?
17           A.       Bryan Weaver.
18           Q.       Is your mother currently employed?
19           A.       Yes.
20           Q.       Where does she work?
21           A.       She's a clinical director for the
22   Children's Clinic of Wyomissing.
23           Q.       And how about Bryan?          Is he
24   employed?
25           A.       Yes.


                                                                   JA000016
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 17 of 540


                                                                          17
 1                               C. BEHM
 2            Q.      Where does he work?
 3            A.      I don't know the company name.             He's
 4   a welder.
 5            Q.      Do you have any grandparents that
 6   live in Pennsylvania?
 7            A.      Yes.
 8            Q.      Tell me their -- the ones that live
 9   in Pennsylvania, can you please tell me their
10   names?
11            A.      I don't know my father's biological
12   parents' names.         He was adopted, but my
13   grandmother is Anita Turner.             She's in Exeter.
14            Q.      Anybody else?
15            A.      Uh-uh.
16            Q.      Is she employed anywhere?
17            A.      No.
18            Q.      Do you have any siblings?
19            A.      Yes.
20            Q.      How many?
21            A.      I have an older sister, Bridget.
22   Last name, John.          She's in Johnstown,
23   Pennsylvania.          And I have a half brother named
24   Nicholas, in South Carolina.
25            Q.      Is his last name John, as well?


                                                                   JA000017
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 18 of 540


                                                                          18
 1                               C. BEHM
 2           A.       Yes.
 3           Q.       Is Bridget currently employed?
 4           A.       Yes.
 5           Q.       Where does she work?
 6           A.       Children's Clinic of Wyomissing.
 7   She's an LPN.
 8           Q.       Any other siblings?
 9           A.       No.     Do step-siblings count?
10           Q.       Well, do you have any that live in
11   Pennsylvania?
12           A.       Yes.
13           Q.       Okay.     Then, yes, please let me
14   know.
15           A.       Okay.     Bryan Weaver.       That's my
16   stepbrother.
17           Q.       Where does he live?
18           A.       I do not know.       Lebanon area.
19           Q.       Do you know if he is employed?
20           A.       I don't.
21           Q.       Any other step-siblings?
22           A.       No.
23           Q.       All right.      I take it you're not
24   currently married to Mr. Behm?
25           A.       No.     I divorced him.


                                                                   JA000018
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 19 of 540


                                                                          19
 1                               C. BEHM
 2           Q.       When did you get married to
 3   Mr. Behm?
 4           A.       In 2018, July 7th.
 5           Q.       And when did you get divorced from
 6   him.
 7           A.       The divorce was finalized in
 8   March of 2019 -- no, I'm sorry, 2020.
 9           Q.       His name is Corey?
10           A.       Yes.
11           Q.       Is Corey currently employed?
12           A.       Yes.
13           Q.       Where does he work?
14           A.       He was just doing terrazzo in New
15   York City, and he's switching companies.                 I
16   don't know the company name.
17           Q.       What is terrazzo?
18           A.       Like flooring in airports.            He was
19   working in a subway at Grand Central Station,
20   and flooring that.
21           Q.       I know you indicated that Corey
22   sometimes visits your house.             Where does he
23   reside?
24           A.       Everywhere.      He travels for work,
25   so...


                                                                   JA000019
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 20 of 540


                                                                          20
 1                               C. BEHM
 2           Q.       Does he have a house or an
 3   apartment?
 4           A.       His parents just moved to the
 5   Poconos, so sometimes there because of New York.
 6           Q.       What are Corey's parents' names?
 7           A.       Penny Behm and Robert Behm.
 8           Q.       I know at one point Robert worked at
 9   Mack, correct?
10           A.       Yes.    He's still employed.
11           Q.       Is he in management?
12           A.       No.
13           Q.       And what about Penny, is she
14   employed?
15           A.       She sells on Mercari, so I guess
16   self-employed.
17           Q.       Okay.    And you said they just moved
18   to the Poconos?
19           A.       Yes.
20           Q.       What town do they live in?
21           A.       I don't know.        Somewhere in Poconos
22   Mountains.
23           Q.       Does Corey have any siblings?
24           A.       Yes.
25           Q.       What are their names?


                                                                   JA000020
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 21 of 540


                                                                          21
 1                               C. BEHM
 2           A.       Nicholas.      He's older.      And Jesse,
 3   same last names.
 4           Q.       Where does Nicholas live?
 5           A.       Fleetwood.
 6           Q.       Do you know if he's employed?
 7           A.       That, I don't know.
 8           Q.       What about Jesse?         Is Jesse a "she"
 9   or a "he"?
10           A.       He.   J-E-S-S-E.       He's in Blandon.
11           Q.       Do you know if Jesse is employed?
12           A.       He's a stay-at-home father.
13           Q.       Outside your marriage to Mr. Behm,
14   have you been married previously?
15           A.       No.
16           Q.       Now -- and let me just -- I ask all
17   of these questions about family members because,
18   obviously, this is a -- you know, you requested
19   a jury trial in this case.            So if the case goes
20   to trial, then we need to know a lot of
21   background information to make sure --
22           A.       That's fine.
23           Q.       -- we don't end up with a relative
24   on the jury.
25           A.       Uh-huh.


                                                                   JA000021
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 22 of 540


                                                                          22
 1                               C. BEHM
 2           Q.       I noticed one of your children has a
 3   different last name, correct?
 4           A.       Yes.
 5           Q.       So who is the father of that child?
 6           A.       Andrew Cannon.
 7           Q.       And you were not married to
 8   Mr. Cannon?
 9           A.       No.
10           Q.       Do you know where Mr. Cannon lives?
11           A.       West Lawn, Pennsylvania.
12           Q.       Do you know if he's employed?
13           A.       He is.
14           Q.       Where does he work?
15           A.       Bimbo Bakeries.        He's a supervisor.
16           Q.       And I take it Corey Behm is
17   the father of your daughter?
18           A.       Yes.
19           Q.       And do you have any stepchildren?
20           A.       He has a son.        Aiden, A-I-D-E-N.
21           Q.       How old is he?
22           A.       Thirteen.
23           Q.       I've gone through your immediate
24   family members.         And, you know, again I'm going
25   to ask you a general question again.                This is


                                                                   JA000022
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 23 of 540


                                                                          23
 1                               C. BEHM
 2   for in case we, you know, pick a jury in this
 3   case.
 4           Do you have any other relatives that we
 5   have not covered so far that live in Eastern
 6   Pennsylvania?          If so, can you give me their last
 7   names, please?
 8           A.       My -- I guess my dad's stepbrother,
 9   Charles.      Charles -- Chuck Turner.           And my
10   cousins.
11           Q.       Do you know their last names?
12           A.       Ian Soderstrom.
13           Q.       Can you spell that last name for me?
14           A.       S-O-D-E-R-S-T-R-O-M.
15           Q.       You didn't know this was going to be
16   a spelling test.
17           Anybody else?
18           A.       His mother, Elizabeth.          That's my
19   aunt.
20           Q.       Same last name?
21           A.       Same last name.        And my other
22   cousin, Charlie Turner.
23           Q.       Anybody else other than those?
24           A.       No.
25           Q.       Outside of the existing lawsuit


                                                                   JA000023
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 24 of 540


                                                                          24
 1                               C. BEHM
 2   against Mack and the local UAW, have you ever
 3   sued anybody before?
 4           A.       My son's father for a credit card.
 5   That's it.
 6           Q.       And I assume that's Andrew Cannon?
 7           A.       Yes.
 8           Q.       Tell me about that lawsuit.            It was
 9   over a credit card?
10           A.       Yeah.     We had a joint credit card,
11   and when we separated, he didn't want to make
12   payments on it.          So I sued him.
13           Q.       What was the result of that lawsuit?
14           A.       We split it down the middle.
15           Q.       So did you settle it, or did it go
16   to a trial?
17           A.       We settled it.       It was just with a
18   magisterial judge.
19           Q.       Do you know when that took place?
20           A.       Maybe 2011, around that time.
21           Q.       Where did you file that lawsuit?
22   What -- geographically?
23           A.       Pennsylvania.
24           Q.       Would that have been in, like, West
25   Lawn or --


                                                                   JA000024
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 25 of 540


                                                                          25
 1                               C. BEHM
 2            A.      It was in Mohnton, M-O-H-N-T-O-N.
 3            Q.      Other than the lawsuit against
 4   Mr. Cannon, have you filed any other lawsuits?
 5            A.      No.
 6            Q.      It's my understanding that you have
 7   agreed to settle your claims against the UAW in
 8   this particular lawsuit; is that correct?
 9            A.      Yes.
10            Q.      Have you ever been sued by anybody
11   before?
12            A.      No.
13            Q.      Have you ever been a witness in a
14   lawsuit where you had to testify in a trial?
15            A.      No.
16            Q.      Now, you mentioned earlier that you
17   had previously had a DUI.             So when did that
18   occur?
19            A.      2013.
20            Q.      And were you convicted of a DUI?
21            A.      Yes, I had ARD.
22            Q.      Tell me what ARD is.
23            A.      First-time offense.         You get a slap
24   on the hand.
25            Q.      Did you have to go through, like,


                                                                   JA000025
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 26 of 540


                                                                          26
 1                               C. BEHM
 2   classes or how --
 3           A.       Uh-huh.
 4                          MR. BAIRD:     You have to say
 5                    "yes."
 6           A.       Yes.     Yes, I did.
 7           Q.       Did you lose your license, at all,
 8   as a result?
 9           A.       For 60 days.
10           Q.       Did you have to do any jail time
11   because of that?
12           A.       No.
13           Q.       Other than the DUI, have you been
14   arrested any other times?
15           A.       Yes.
16           Q.       When else were you arrested?
17           A.       In either 2011 or 2012.
18           Q.       What were you arrested for then?
19           A.       I punched Andrew in the face.
20           Q.       So did you -- was it a domestic
21   violence charge?
22           A.       No, no charges.
23           Q.       You did not -- what did you get
24   arrested for?
25           A.       Why did I get arrested?


                                                                   JA000026
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 27 of 540


                                                                          27
 1                               C. BEHM
 2           Q.       Okay.    So you got arrested, but did
 3   not get charged; is that what you're saying?
 4           A.       Correct.
 5           Q.       Did he also get arrested?
 6           A.       No.
 7           Q.       Okay.    Any other arrests?
 8           A.       No.
 9           Q.       All right.      Again, outside of the
10   present case against Mack and the UAW, have you
11   ever filed a charge of discrimination against an
12   employer?
13           A.       No.
14           Q.       Have you ever made a claim of
15   discrimination or harassment with an employer
16   other than Mack or --
17           A.       No.
18           Q.       Have you ever filed a grievance with
19   an employer other than Mack or the UAW?
20           A.       I don't know if a grievance was ever
21   filed at Mack, but I have brought it to the
22   attention of my union reps.
23           Q.       Okay.    But, again, outside of the
24   present case?
25           A.       No.


                                                                   JA000027
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 28 of 540


                                                                          28
 1                               C. BEHM
 2           Q.       Outside of your employment at Mack,
 3   have you ever filed a Workers' Comp claim?
 4           A.       No.
 5           Q.       Have you ever personally filed for
 6   bankruptcy?
 7           A.       No.
 8           Q.       Have you ever filed for bankruptcy
 9   on behalf of a business?
10           A.       No.
11                          MR. MC COY:    Please mark that as
12                    Exhibit 1.
13                          (Employment Application is
14                    received and marked as Exhibit 1 for
15                    identification, as of this date.)
16           Q.       Ms. Behm, from time to time in the
17   case, I'm going to have some documents to show
18   you.
19           A.       Okay.
20           Q.       What we will do is I'll hand them to
21   the court reporter, she will mark them, and then
22   I'll give them to you.           And once you receive
23   them, I'd ask you to just take a minute, take a
24   look at it, and once you've reviewed it, let me
25   know when you're ready to answer questions about


                                                                   JA000028
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 29 of 540


                                                                          29
 1                               C. BEHM
 2   it.
 3            So, Ms. Behm, you've been handed what's
 4   been marked as Exhibit Number 1.               Can you tell
 5   me what that document is?
 6            A.      It's my employment application for
 7   Mack Trucks.
 8            Q.      Okay.    And on the back of that is
 9   a -- it appears to be a copy of your resume; is
10   that right?
11            A.      Yes.
12            Q.      What I want to do right now, I want
13   to talk a little bit about your employment prior
14   to the time you came to work at Mack Trucks.
15            A.      Okay.
16            Q.      Right before you worked at Mack
17   Trucks, you were employed by PetSmart; is that
18   correct?
19            A.      Yes.
20            Q.      Tell me what you did at PetSmart?
21            A.      I was responsible for taking care of
22   the animals and sometimes cash register and
23   sales.
24            Q.      What years did you work at PetSmart?
25            A.      2015 to 2017, 2018, roughly.


                                                                   JA000029
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 30 of 540


                                                                          30
 1                               C. BEHM
 2           Q.       And where was the PetSmart --
 3           A.       Wyomissing --
 4           Q.       -- located?      I'm sorry, excuse me
 5   for talking over you.
 6           A.       Wyomissing, Pennsylvania.
 7           Q.       Okay.    Did you receive any
 8   disciplinary actions when you worked at
 9   PetSmart?
10           A.       No.
11           Q.       Why did you leave PetSmart?
12           A.       Mack Trucks.       Better employment.
13           Q.       So it looks like, to me, you left
14   PetSmart in June of 2017?
15           A.       I believe I have marked down to
16   August, so...
17           Q.       On your application it indicates
18   June, I believe.         So...
19           A.       Yes.
20           Q.       Do you recall if it was June or
21   August when you left?
22           A.       Yeah, somewhere around there.
23           Q.       Okay.    And when did you actually
24   start work at Mack Trucks?
25           A.       January 2nd of 2018 was my first


                                                                   JA000030
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 31 of 540


                                                                          31
 1                               C. BEHM
 2   day.
 3           Q.       So what did you do between the end
 4   of PetSmart and starting work at Mack Trucks?
 5           A.       I was a dancer at Utopia, but it was
 6   formerly known as Divas, and formerly known as
 7   Babydolls.
 8           Q.       Tell me, is that a strip club?
 9           A.       Yes.    Gentlemen's club.
10           Q.       Where is it located?
11           A.       Douglassville.
12           Q.       And when were you working there?
13   Just for that period, 2017, beginning of --
14           A.       It was on and off from October of
15   2012, until 2017.
16           Q.       When you were working there, what
17   was the name of the club?
18           A.       In the beginning it was Divas, and
19   then it went to Utopia.
20           Q.       When was the last time you worked at
21   Utopia?
22           A.       I worked a night at Utopia in
23   February of 2019.
24           Q.       Since February of 2019, you have not
25   worked there, at all?


                                                                   JA000031
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 32 of 540


                                                                          32
 1                               C. BEHM
 2            A.      Not to my knowledge.          Not that I can
 3   remember.
 4            Q.      Have you worked at any other
 5   gentlemen's club other than Divas or Utopia?
 6            A.      I worked at Cheerleaders in New
 7   Jersey last month.
 8            Q.      That would have been in February of
 9   '22?
10            A.      Yes, and a night in January, also.
11            Q.      You've only worked there two nights
12   total?
13            A.      Yes.
14            Q.      What town in New Jersey?
15            A.      I don't know.        I went with a
16   girlfriend that works there.
17            Q.      Anywhere else that you've -- any
18   other gentlemen's clubs you've worked in?
19            A.      I worked one night in Atlantic City
20   in 2013.      It was called Scores.
21            Q.      Any other gentlemen's clubs you
22   worked in?
23            A.      No.
24            Q.      So -- all right.        So you left -- you
25   indicated to me that you left PetSmart for Mack


                                                                   JA000032
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 33 of 540


                                                                          33
 1                               C. BEHM
 2   Trucks; is that correct?
 3           A.       Uh-huh.
 4           Q.       But you didn't start at Mack -- you
 5   didn't even apply at Mack Trucks until December;
 6   is that right?
 7           A.       I was looking for better employment,
 8   so...
 9           Q.       Did you -- were you terminated from
10   the job at PetSmart?
11           A.       No.
12           Q.       All right.      Prior to PetSmart, it
13   looks like you worked at Elite Sportswear?
14           A.       Yes.
15           Q.       What is Elite Sportswear?
16           A.       That's where they make cheerleader
17   uniforms and gymnastics.
18           Q.       Is it a manufacturing facility?
19           A.       Yes, in Muhlenberg or that area.
20           Q.       What were you doing at Elite
21   Sportswear?
22           A.       I was a lead on the gluing area.              I
23   did heat transfer.          I did -- I don't know the
24   exact term.       The gem machine.
25           Q.       But you were in a production


                                                                   JA000033
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 34 of 540


                                                                          34
 1                               C. BEHM
 2   position?
 3           A.       Yes.
 4           Q.       And looks like you worked there from
 5   2012 until 2014; is that right?
 6           A.       Uh-huh.     Yes.
 7           Q.       And why did you leave that job?
 8           A.       There was no good pay.
 9           Q.       Did you have any disciplinary action
10   when you worked at Elite Sportswear?
11           A.       No.
12           Q.       Were you terminated from the job at
13   Elite Sportswear?
14           A.       No.
15           Q.       Prior to that, it looks like you
16   worked at a place called Property Damage
17   Appraisers?
18           A.       Yes.
19           Q.       Tell me what kind of job that was.
20           A.       I was an office manager.
21           Q.       What kind of business is that?
22           A.       They ran estimates on all types of
23   equipment; tractor-trailers, stuff like that.
24           Q.       So as office manager, what were your
25   responsibilities?


                                                                   JA000034
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 35 of 540


                                                                          35
 1                               C. BEHM
 2           A.       Sending the appraisers out, making
 3   their schedules, filing supplements, contacting
 4   the customers to make sure the time frame was
 5   okay for them, and keep them informed on the
 6   steps of the process.
 7           Q.       How long did you work at that -- at
 8   Property Damage Appraisers?
 9           A.       About a year.
10           Q.       Why did you leave that job?
11           A.       It was family-owned.          It was
12   just temporary.         I was helping out.         It was
13   mutual, leaving.
14           Q.       So when you say it's -- was it owned
15   by your family?
16           A.       No.
17           Q.       Was it a family that you knew?             You
18   said you were helping out.            Was it a family that
19   you knew that owns this --
20           A.       Yes.    When I was a waitress, I met
21   the owner, and he asked me if I could help out
22   with his company a little bit.
23           Q.       Were you terminated from that job?
24           A.       No.
25           Q.       All right.      And then if you look


                                                                   JA000035
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 36 of 540


                                                                           36
 1                               C. BEHM
 2   at -- on the application itself, and from time
 3   to time, just -- I'll tell you, on the bottom of
 4   the page are what we call Bates numbers.                 You
 5   see it says "Mack," and it has a number.
 6           A.       Okay.
 7           Q.       So if you flip back to the page that
 8   is Mack 14 --
 9           A.       Okay.
10           Q.       -- looks like you also worked at
11   Unos?
12           A.       Yes.
13           Q.       And you worked there, it looks like,
14   from 2007 to 2012; is that correct?
15           A.       Yes.
16           Q.       And you were a waitress at Unos?
17           A.       Waitress, bartender, hostess, prep,
18   trainer, you name it.
19           Q.       So did you continue working there
20   once you went to work at Property Damage
21   Appraisers?
22           A.       No.     Unos closed.      It switched to
23   another restaurant that lasted not even six
24   months.      I don't remember the name of it.
25           Q.       Once it switched, did you continue


                                                                    JA000036
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 37 of 540


                                                                          37
 1                               C. BEHM
 2   working for the new restaurant?
 3            A.      Yeah, yeah.
 4            Q.      Do you remember what that was
 5   called?
 6            A.      No.     No, I don't remember the name
 7   of it.        It didn't last long.
 8            Q.      Okay.     Uno was in Wyomissing?
 9            A.      Yes.
10            Q.      I didn't ask you, but according to
11   your resume, Elite Sportswear was in Reading?
12            A.      Yeah.     You can put Reading,
13   Muhlenberg.
14            Q.      That's right.        I did ask you that.
15   I'm sorry.
16            A.      That's okay.
17            Q.      I did not ask you where Property
18   Damage Appraisers was located, though.
19            A.      That is like West Lawn.
20            Q.      Sinking Springs?
21            A.      Yes, Sinking Springs, West Lawn --
22            Q.      Same area?
23            A.      -- Reading.      Yeah.
24            Q.      All right.      And so since 2007, so I
25   would say, since you started work at Unos, have


                                                                   JA000037
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 38 of 540


                                                                          38
 1                               C. BEHM
 2   you had any other jobs prior to coming to work
 3   at Mack Trucks?
 4           A.       After high school or --
 5           Q.       Well, let's start at 2007 through
 6   when you started at Mack Trucks, which was
 7   beginning of '18, I believe.
 8           A.       I would help out at Maple Grove
 9   Raceway.
10           Q.       Where is that located?
11           A.       Mohnton.     Adamstown area.
12           Q.       What were you doing there?
13           A.       Concessions.       I think I did maybe
14   two days there, just helping a friend that had
15   to stay in there.
16           Q.       When you say "Raceway," is that like
17   automobile raceway?
18           A.       Yeah.    Yeah, like drag racing.
19           Q.       All right.      Anywhere else that you
20   worked during that time period, 2007-2018?
21           A.       Not that I recall.
22           Q.       I'm going to skip over for just a
23   minute the employment at Mack.              We'll come back
24   to that, obviously.
25           A.       Okay.


                                                                   JA000038
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 39 of 540


                                                                          39
 1                               C. BEHM
 2           Q.       I want to talk about what you've
 3   done since you left Mack.             It's my understanding
 4   that you resigned from employment at Mack in
 5   February of 2021?
 6           A.       Uh-huh.
 7           Q.       So, first of all, between -- during
 8   the time period that you worked at Mack, from
 9   2018 through February of 2021, did you ever look
10   for another job during that time period?
11           A.       Yes.
12           Q.       Where did you look for another job?
13           A.       Nestle.     Stanley Black & Decker.
14   Ocean Spray.       Coca-Cola.       Amcor.     I briefly
15   worked at Amcor.
16           Q.       And, again, just to make sure I'm
17   clear, this was while you were still employed,
18   before you --
19           A.       No, Amcor, I worked at Amcor after
20   Mack.
21           Q.       But did you apply -- the other jobs
22   you listed; Nestle, Stanley Black & Decker,
23   Ocean Spray, and Coca-Cola, did you apply for
24   those jobs before you resigned from Mack Trucks?
25           A.       Nestle, I did.


                                                                   JA000039
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 40 of 540


                                                                          40
 1                               C. BEHM
 2           Q.       Do you recall when you applied for
 3   that job?
 4           A.       When there was talk about layoff.
 5   So January, February of 2020.
 6           Q.       Any other jobs that you -- these
 7   that you listed, that you applied for prior to
 8   February of 2021?
 9           A.       Car Tech, Carpenter Technology.
10           Q.       When did you apply for that job?
11           A.       Around the same time, so January,
12   February of 2020.
13           Q.       Did you apply for any other jobs
14   prior to February of 2021?
15           A.       Not that I can recall.
16           Q.       The Nestle position that you applied
17   for, did you -- I take it you did not get hired
18   for that position?
19           A.       Correct.
20           Q.       Did you have any follow-up
21   interviews with them?
22           A.       No.
23           Q.       What did you do to apply there?
24           A.       It was online application.
25           Q.       Did you get any feedback after you


                                                                   JA000040
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 41 of 540


                                                                          41
 1                               C. BEHM
 2   submitted an online application?
 3           A.       Yes.
 4           Q.       What was that feedback?
 5           A.       Pretty much the same schedule as
 6   Mack, but 12-hour shifts and later, so it didn't
 7   work with day care for my daughter.
 8           Q.       And then Carpenter Tech, how did you
 9   apply for that job?
10           A.       Online.
11           Q.       Did you get any feedback from them?
12           A.       No.
13           Q.       Carpenter Tech, what kind of job was
14   that?
15           A.       Manufacturing.
16           Q.       During the time period again, while
17   you were working at Mack Trucks, I'm talking
18   about January of 2018 through January of 2021,
19   did you work any other jobs during that time
20   period?      We talked about Utopia so I know about
21   that.     Other than that, did you work any other
22   jobs while you were at Mack?
23           A.       No.
24           Q.       And, again, same time period, so
25   beginning of 2018 through February of 2021, the


                                                                   JA000041
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 42 of 540


                                                                          42
 1                               C. BEHM
 2   period when you worked at Mack, did you earn
 3   income from any other source during that time
 4   period?
 5           A.       I would sell on eBay or Mercari.
 6   That would be, like, clothes my daughter grew
 7   out of or --
 8           Q.       You made reference to Mercari.
 9           A.       Mercari, yeah.
10           Q.       Is that -- tell me what that is.
11   I'm not --
12           A.       It's the same as eBay, just a
13   different platform.
14           Q.       Got you.
15           Now, I know in your discovery responses
16   you indicated that you have an OnlyFans account?
17           A.       Yes.
18           Q.       Do you have -- did you --
19           A.       I don't have it anymore, but I did.
20           Q.       And you had that while you were
21   employed by Mack Trucks?
22           A.       No.
23           Q.       When did you start the OnlyFans
24   account?
25           A.       That was -- I know I gave Graham a


                                                                   JA000042
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 43 of 540


                                                                          43
 1                               C. BEHM
 2   paystub thing.
 3           Q.       We can talk about that later.
 4   That's fine.
 5           So that was not -- you did not have that
 6   while you were with Mack Trucks?
 7           A.       No.
 8           Q.       All right.      And did you also do some
 9   modeling during that time period?
10           A.       Yes.
11           Q.       Did you get paid to do modeling?
12           A.       No.
13           Q.       Tell me about your modeling that you
14   were doing.
15           A.       I would do it with friends, and did
16   it for peace of mind.
17           Q.       How did you get into that?
18           A.       My friend, Des.        She asked me if I
19   would do a modeling shoot with her and get
20   glammed up.
21           Q.       How many times did you do that?
22           A.       Maybe a dozen or so times.
23           Q.       When did you start doing the
24   modeling?
25           A.       Maybe June of 2019.


                                                                   JA000043
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 44 of 540


                                                                          44
 1                               C. BEHM
 2           Q.       When was the last time you did that?
 3           A.       Maybe three months ago.           October.
 4           Q.       October of '21?
 5           A.       Yes.
 6           Q.       Have you worked with a modeling
 7   agency?
 8           A.       No.
 9           Q.       Who takes the pictures?
10           A.       Photographers that would find me on
11   Instagram.
12           Q.       So not one particular --
13           A.       No.    And I would meet them through
14   my friend, Des, who's been doing it for at least
15   a decade.
16           Q.       Does your friend, Des, work at Mack
17   Trucks?
18           A.       No.
19           Q.       Has she ever worked at Mack Trucks?
20           A.       No.
21           Q.       Where does she work?
22           A.       Cheerleaders in New Jersey.
23           Q.       So she's the one that you went to
24   New Jersey with?
25           A.       Yes.


                                                                   JA000044
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 45 of 540


                                                                          45
 1                               C. BEHM
 2           Q.       Have you ever earned any money at
 3   all from your modeling?
 4           A.       No.
 5           Q.       All right.      Since you left Mack
 6   Trucks in February of 2021, what have you done
 7   to look for other work?
 8           A.       Applied for jobs.
 9           Q.       Now, you mentioned a few jobs
10   already; Stanley Black & Decker, Ocean Spray,
11   Coca-Cola, and Amcor, correct?
12           A.       Yes.    I briefly worked at Amcor.
13           Q.       Are there any other places besides
14   those four that you've applied since February of
15   2021?
16           A.       Yes.    I just worked at TaylorMade
17   Cleaning Company.
18           Q.       When did you apply for that job?
19           A.       Two weeks ago.
20           Q.       Did I hear you correctly, you said
21   you worked for --
22           A.       I worked last week for them, yeah,
23   all last week.
24           Q.       And are you scheduled to work more
25   for them?


                                                                   JA000045
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 46 of 540


                                                                          46
 1                               C. BEHM
 2           A.       That's up in the air right now.
 3           Q.       Why is that?
 4           A.       Because Friday, the girl I was
 5   working with drove her car stoned and rear-ended
 6   someone.
 7           Q.       And were you in the car with her?
 8           A.       Yes.     I actually just applied for my
 9   LLC, to open my own cleaning company.
10           Q.       Were you injured in that accident,
11   at all?
12           A.       No.     I wasn't happy.
13           Q.       Were you aware if she was stoned
14   when you were riding with her?
15           A.       I had an indication because I could
16   smell marijuana, but I mean, you walk through
17   the streets of Philadelphia, and you smell
18   marijuana.
19                          (Whereupon, an off-the-record
20                    discussion was held.)
21           Q.       So did you learn after the fact that
22   she was stoned?
23           A.       Yeah.     When she giggled and said,
24   excuse my French, Oh, I don't have fucking car
25   insurance.       So, yeah.


                                                                   JA000046
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 47 of 540


                                                                          47
 1                               C. BEHM
 2           Q.       How much money did you earn last
 3   week from TaylorMade Cleaning?
 4           A.       That, I don't know.         I didn't get my
 5   paystub, but it was 14 an hour, and I worked
 6   between four and six hours a day from Monday,
 7   Tuesday, Wednesday, Thursday.              And Friday was
 8   only two hours because then the car accident.
 9           Q.       So just to make sure I understand,
10   as of right now, you're not scheduled to work
11   any more days for them?
12           A.       No.
13           Q.       You haven't been terminated from
14   that job?
15           A.       No.
16           Q.       I didn't -- we kind of jumped ahead.
17           Were you hired by TaylorMade Cleaning
18   Company?
19           A.       Yes.
20           Q.       So you were an employee?
21           A.       Yes.
22           Q.       All right.      So I want to go back now
23   to the other jobs that you applied for.
24           Other than what we've listed so far, did
25   you apply for any other jobs in the past -- and


                                                                   JA000047
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 48 of 540


                                                                          48
 1                               C. BEHM
 2   I'll just say, "past year" -- so since
 3   February of 2021?
 4            A.      What all did I say?         Coca-Cola,
 5   Stanley Black & Decker, Ocean Spray.
 6            Q.      Amcor.
 7            A.      Amcor that I briefly worked at.
 8            Q.      TaylorMade.
 9            A.      TaylorMade.      There's another one out
10   in my area.       I can't remember the name of it.              I
11   believe I applied for MED-ED for customer
12   service.      And I can't remember the one
13   manufacturing company by my house.
14            Q.      Okay.    So, obviously, you were hired
15   by TaylorMade Cleaning Company.
16            A.      Yes.
17            Q.      And I believe you said you also have
18   worked at Amcor.
19            A.      Yes.
20            Q.      Tell me what kind of business Amcor
21   is.
22            A.      I was doing blow-mold injections
23   there.
24            Q.      What do they make?
25            A.      Like the plastic for plastic water


                                                                   JA000048
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 49 of 540


                                                                          49
 1                               C. BEHM
 2   bottles and stuff for Coca-Cola, and hand
 3   sanitizers, and...
 4           Q.       When did you start working at Amcor?
 5           A.       I don't remember the exact date.              It
 6   was maybe a week after I quit Mack.                A week or
 7   two.
 8           Q.       How much did you make at Amcor?
 9           A.       Around 22.      Twenty-two, 23.
10           Q.       Did you receive any benefits in that
11   job?
12           A.       I was supposed to.         I was only there
13   for two days.
14           Q.       What benefits were you supposed to
15   receive?
16           A.       Health insurance.         Dental.
17   Retirement.
18           Q.       So why did you leave that job?
19           A.       I left because I was going through
20   some health issues.          I was diagnosed with
21   sarcoidosis, and we weren't sure the extent of
22   it.    And they weren't following COVID-19
23   guidelines, so that could have potentially led
24   to lymph nodes in my lungs swelling.
25           Q.       When you said they weren't following


                                                                   JA000049
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 50 of 540


                                                                          50
 1                               C. BEHM
 2   COVID-19 guidelines, tell me what you mean by
 3   that.
 4           A.       No masks, no distancing.           Screaming
 5   in each other's faces because you couldn't hear
 6   each other because of the machinery.
 7           Q.       Did you complain about that to
 8   anybody at Amcor?
 9           A.       Yes.    Yeah, when I left.
10           Q.       Well, let me ask you this:            Did you
11   complain about it before you resigned the job?
12           A.       No.
13           Q.       I take it you resigned?
14           A.       Yes.    That night.       That night.
15           Q.       So, prior to resigning, you did not
16   complain to anybody at Amcor?
17           A.       No.    I just knew it wasn't for me.
18           Q.       And so after you resigned, who did
19   you tell about your concerns?
20           A.       The guy who hired me.          I don't
21   remember his name.          I told him that the people
22   were rude.
23           Q.       When you say the people were rude,
24   what do you mean by that?
25           A.       They were screaming in your face.


                                                                   JA000050
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 51 of 540


                                                                          51
 1                               C. BEHM
 2            Q.      Anything else they did that was
 3   rude?
 4            A.      I mean --
 5            Q.      I understand it was during COVID.
 6            A.      Yeah.
 7            Q.      I'm just asking, was there anything
 8   else, besides screaming in your face without a
 9   mask on, that they did that was rude?
10            A.      Oh, well, the one guy told me --
11   again, excuse my French -- You better fucking
12   learn quick.       I guess they have a high turnover
13   rate there.
14            Q.      Anything else you considered to be
15   rude?
16            A.      No.     The supervisor was very
17   friendly.      He offered to put me on the other
18   rotating shift.          I just declined.       It was a nice
19   company, just not for me.
20            Q.      What was your work schedule at
21   Amcor?
22            A.      Two days on, two days off.            And then
23   every other weekend.          So two days on, two days
24   off, then three days, two days off, two days on.
25   Because it was 12-hour shifts.


                                                                   JA000051
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 52 of 540


                                                                          52
 1                               C. BEHM
 2           Q.       Got you.     And the 12 hours, what --
 3           A.       Seven to seven.
 4           Q.       I assume 7 a.m. to 7 p.m.?
 5           A.       No.     It was 7 p.m., to 7 a.m.          Not
 6   the best.
 7           Q.       Did they run two shifts?
 8           A.       Two shifts, yes.
 9           Q.       As a new hire, you got the --
10           A.       Yeah.     I got the night.        But they
11   said within a month I could switch to first
12   because they didn't have -- like I said, they
13   had a high turnover rate.
14           Q.       All right.      So the Amcor job was a
15   couple of weeks after you left Mack?
16           A.       Yes.
17           Q.       And then TaylorMade was a couple of
18   weeks ago.
19           A.       Uh-huh.
20           Q.       Between Amcor and TaylorMade, did
21   you have any other employment?
22           A.       No.
23           Q.       Did you have any income between
24   working at Amcor and working at TaylorMade?
25           A.       Selling Mercari.        That was pretty


                                                                   JA000052
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 53 of 540


                                                                          53
 1                               C. BEHM
 2   much it.
 3           Q.       Have you received any other job
 4   offers other than Amcor and TaylorMade?
 5           A.       No.
 6           Q.       So since you began work at Mack
 7   Trucks in early 2018, we talked about the --
 8   obviously you earned income from Mack.                 You
 9   earned income from working at Utopia and a
10   couple of the other two clubs you mentioned.
11           A.       Well, those other two clubs I didn't
12   go to while I was at Mack.
13           Q.       No, I'm saying, since Mack.
14           A.       Yes.
15           Q.       To the present.
16           A.       Yes.
17           Q.       From 2018 to the present, you worked
18   at Mack Trucks, you worked at the clubs, you've
19   worked a couple of days at Amcor, and you worked
20   a week at TaylorMade.
21           A.       Yes.
22           Q.       Other than those items, have you had
23   any other source of income since January of
24   2018?
25           A.       OnlyFans.


                                                                   JA000053
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 54 of 540


                                                                          54
 1                               C. BEHM
 2           Q.       And then OnlyFans?
 3           A.       Yes.
 4           Q.       How much income have you earned from
 5   OnlyFans?
 6           A.       No more than 1800.         I was only on it
 7   from roughly August, September, until about a
 8   month ago.
 9           Q.       So August, September of last year?
10           A.       Yes.
11           Q.       What is OnlyFans?
12           A.       People pay to see anything from
13   workout to porn.         Cooking classes.        You name it,
14   it's on there.
15           Q.       And what were they paying you to
16   see?
17           A.       I mowed my lawn topless, so stuff
18   like that.
19           Q.       Why did you stop doing OnlyFans?
20           A.       Just for my mental health.            It was
21   becoming very demanding.
22           Q.       Why did you say it was becoming
23   demanding?
24           A.       Because people just want more and
25   more.


                                                                   JA000054
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 55 of 540


                                                                          55
 1                               C. BEHM
 2           Q.       So they make requests to you through
 3   the site?
 4           A.       They can, they can, yeah.
 5           Q.       And I take it the more -- I guess --
 6   I'm not sure of the right word, the more
 7   customer --
 8           A.       The more you show, the more they
 9   want.
10           Q.       The more customers you have, the
11   more money you make; is that right?
12           A.       Yes.
13           Q.       Is OnlyFans -- do you have like a
14   name on there?        How is that set up?
15           A.       Like for me or for the people?
16           Q.       Right.     I'm talking about for you.
17   Is it like an Instagram or, you know, Twitter
18   page where you have an account name?
19           A.       Yes.
20           Q.       And what was your account name?
21           A.       I think it went by cocopuffs,
22   C-O-C-O-P-U-F-F-S.
23           Q.       Have you taken down your site?
24           A.       Yes.
25           Q.       Besides OnlyFans and the other


                                                                   JA000055
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 56 of 540


                                                                          56
 1                               C. BEHM
 2   things we have talked about, have you had any
 3   other source of income since January of 2018?
 4           A.       No.
 5                          MR. MC COY:    Why don't we --
 6                    let's take a five-minute break.
 7                          (A break was taken.)
 8           Q.       Ms. Behm, we are back on the record.
 9   I'll just remind you, you're still under oath.
10           I want to go back now.           We've talked about
11   pre-Mack Trucks and post-Mack Trucks, so let's
12   talk about Mack Trucks.
13           A.       All right.
14           Q.       Okay.    So I want to go back --
15   Exhibit 1, which you have in front of you, we
16   already talked about, was your employment
17   application.       When did you submit that
18   employment application to Mack?
19           A.       December 12, 2017.
20           Q.       What position were you applying for
21   at Mack?
22           A.       Production or part-runner.
23           Q.       Aside from completing the
24   application that's in front of you -- and I
25   didn't ask you, I apologize.             If you would go


                                                                   JA000056
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 57 of 540


                                                                          57
 1                               C. BEHM
 2   over to page that is marked Mack 16.                Is that
 3   your signature on the document?
 4           A.       At that time, yes.
 5           Q.       And at that point in time, your name
 6   was Colleen John; is that correct?
 7           A.       Yes.
 8           Q.       That was prior to your marriage?
 9           A.       Yes.
10           Q.       So aside from filling out this
11   application, what else did you have to do to
12   apply for the job at Mack Trucks?
13           A.       We had to go and take a little
14   assessment.       I believe it was called Manpower.
15   And they time you to see how quick you can screw
16   on bolts.      Answer questions on a computer
17   screen.
18           Q.       Did you do that at the plant?
19           A.       No.    And then I had to go to the
20   plant, submit a drug test through hair follicle.
21   And I believe that was it.
22           Q.       So when you say Manpower, you're
23   talking about, like, Manpower, the temporary
24   service?
25           A.       Yes.


                                                                   JA000057
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 58 of 540


                                                                          58
 1                               C. BEHM
 2           Q.       So you originally went to their
 3   office to do the assessment?
 4           A.       Yes, that's who Mack had us do it
 5   through.
 6           Q.       Got you.
 7           A.       So it wasn't a temporary employment,
 8   it was just --
 9           Q.       They were assisting at hiring.
10           Were you interviewed for the job at Mack?
11           A.       I don't recall.        I believe it was
12   application, go in, do an assessment and drug
13   test, start date, orientation.              Here you go.
14           Q.       I'll hand you what we have marked as
15   Exhibit Number 2.
16                        (Macungie Shop HBU Interview
17                    Guide is received and marked as
18                    Exhibit 2 for identification, as of
19                    this date.)
20           Q.       Take a minute and look at that
21   document.
22           Okay.     You're ready?
23           A.       I'm ready.
24           Q.       Have you ever seen this document
25   before?


                                                                   JA000058
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 59 of 540


                                                                          59
 1                               C. BEHM
 2           A.       Yes.
 3           Q.       Where have you seen this document
 4   previously?
 5           A.       December 12, 2017.
 6           Q.       Okay.     Does this refresh your memory
 7   as to having an interview at Mack Trucks?
 8           A.       I wouldn't -- even though it said
 9   "Interview Guide," I wouldn't necessarily say
10   it's interview.          I'd say it's a piece of paper
11   to answer questions to push through the hiring
12   process.      They were hiring over 400 people at
13   that time.
14           Q.       So did you -- did you fill out this
15   form?
16           A.       I did.
17           Q.       Okay.     So the signature on the last
18   page of this document on Mack page 21 looks like
19   maybe a Carmen Rivera -- I'm not even sure if
20   that's the right name.           You did not fill out
21   that page, I take it, right?
22           A.       No.
23           Q.       But the first two pages of this
24   document, Mack 19 and Mack 20, are pages that
25   you completed?


                                                                   JA000059
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 60 of 540


                                                                          60
 1                               C. BEHM
 2           A.       Yes.
 3           Q.       Okay.    If I can ask you to look on
 4   the second page of this, Mack 20.
 5           A.       Yes.
 6           Q.       There's a question there about
 7   attendance.       It says if you are -- question
 8   Number 9A:       If you were a manager at Mack
 9   Trucks, what would you expect from your
10   employees in terms of attendance?
11           What was your answer?
12           A.       One hundred percent.
13           Q.       And then question 10, down below
14   that, says:       This position involves standing,
15   walking, stooping, kneeling, crouch or crawl.
16   Employee must be able to lift and/or move
17   objects up to 10 pounds and occasionally up to
18   50 pounds.       Are there any barriers to meeting
19   these requirements?
20           What did you answer?
21           A.       No barriers.
22           Q.       And then the next question, 11:              Do
23   you have any limitation in regards to working
24   specific shifts, working overtime daily,
25   including weekends?


                                                                   JA000060
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 61 of 540


                                                                           61
 1                               C. BEHM
 2            What was your answer?
 3            A.      No limitations.
 4            Q.      So after you had the -- submitted
 5   the application, completed the assessment, went
 6   to the plant, did all the tests, what happened
 7   next?
 8            A.      I worked.
 9            Q.      Did you receive a job offer?            I'm
10   assuming.
11            A.      Yes.    I did receive a job offer.
12                        (Job offer letter is received and
13                    marked as Exhibit 3 for
14                    identification, as of this date.)
15            Q.      I'm showing you what we have marked
16   as Exhibit 3.        Do you recognize that document,
17   Exhibit 3, Ms. Behm?
18            A.      Yes.
19            Q.      Is this your offer of employment
20   that you received from Mack Trucks?
21            A.      That I filled out and they handed to
22   me, yes.
23            Q.      So you filled out your own job
24   offer.
25            A.      It appears so.


                                                                    JA000061
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 62 of 540


                                                                          62
 1                               C. BEHM
 2           Q.       And looks like this job offer was
 3   made to you on December 19 of 2017, correct?
 4           A.       Correct.
 5           Q.       And what was your start date
 6   anticipated to be?
 7           A.       January 2nd of 2018.
 8           Q.       I think you just mentioned that at
 9   that point in time, Mack was hiring a bunch of
10   employees.
11           A.       Yes.
12           Q.       How many employees were hired?
13           A.       Over 400.      And less than 200, I
14   believe, made it through the 90-day probation.
15           Q.       So did you actually start work on
16   January 2nd of 2018?
17           A.       I did.
18           Q.       When you started work at Mack, what
19   position were you assigned to?
20           A.       Production flex.
21           Q.       What does production flex mean?
22           A.       It means -- do you want my
23   definition of it, or Mack's definition of it?
24           Q.       Well, let's start with Mack's
25   definition.


                                                                   JA000062
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 63 of 540


                                                                          63
 1                               C. BEHM
 2           A.       Mack's definition:         Production flex
 3   is you complete someone else's job that they
 4   couldn't complete in time.            Because the truck is
 5   going through an area, they can't go past that
 6   area.     So flex would come in, finish the job.
 7   Or if someone called out, I would go to that
 8   job.
 9           Q.       So if I understand you correctly, it
10   might be -- would you also, like, step in if
11   somebody was taking a break?             Would that be part
12   of flex?
13           A.       We all took breaks at the same time.
14           Q.       So you would either -- you know, the
15   truck would come down the line, it wasn't
16   complete, you would step in and complete it --
17           A.       Correct.
18           Q.       -- or you would have to potentially
19   fill in for somebody who wasn't there that day?
20           A.       Correct.
21           Q.       So how does your definition differ?
22           A.       It was, Here you go, this is your
23   job, this is paperwork.           Do it right.       No
24   training.
25                        (Production tech job description


                                                                   JA000063
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 64 of 540


                                                                          64
 1                               C. BEHM
 2                    is received and marked as Exhibit 4
 3                    for identification, as of this
 4                    date.)
 5           Q.       I'm handing you what has been marked
 6   as Exhibit 4.
 7           A.       Okay.
 8           Q.       You indicated your first job was a
 9   production flex position.
10           A.       Yes.
11           Q.       So I've handed you what has been
12   marked as Exhibit 4, which appears to be -- is
13   this a job description for a production tech
14   position at the Mack Trucks plant?
15           A.       Yes.     This is not my job that I was
16   hired as.
17           Q.       So that's not the job you started
18   in?
19           A.       No.
20           Q.       Did you ever work in a production
21   tech position at Mack Trucks?
22           A.       For about two weeks at the end,
23   before I went out.
24           Q.       When you say, "at the end," do you
25   mean in 2020?


                                                                   JA000064
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 65 of 540


                                                                          65
 1                               C. BEHM
 2            A.      Yes.
 3            Q.      So it would have been February of
 4   2020?
 5            A.      Yes.
 6            Q.      Is this an accurate job description
 7   of the production tech position that you
 8   performed in 2020?
 9            A.      Yes -- no.      The salary is incorrect.
10            The safe loading and unloading of trailers
11   from dock area and back trailers safely; that is
12   incorrect.
13            I never operated mobile transport of a
14   lift truck, high stacker.             This may say
15   "production tech," but this is not production
16   tech.
17            Q.      Okay.
18            A.      And my signature is not on it.             I've
19   never seen this.
20            Q.      Okay.    I recognize this doesn't have
21   your signature on it.           I just want to know if
22   that is an accurate job description.
23            A.      No.
24            Q.      So this is not the job you were
25   doing.


                                                                   JA000065
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 66 of 540


                                                                          66
 1                               C. BEHM
 2            A.      No.
 3            Q.      Fair enough.       All right.      So you
 4   started in -- we will circle through the
 5   positions that you worked at Mack in just a
 6   minute.
 7            When you started as -- in a production
 8   flex position, what was your pay rate?
 9            A.      I started at -- I believe it was
10   19.72.
11            Q.      And I'm assuming you received pay
12   increases during your time period at Mack?
13            A.      Over a six-year period I think it
14   was going to go up a couple dollars.
15            Q.      And that's all pursuant to the
16   collective bargaining agreement, correct?
17            A.      Yes.    So when I left Mack, I believe
18   I was getting paid 21.12, but that also had
19   shift differential in it, I believe.
20            Q.      What benefits did you receive when
21   you worked at Mack?
22            A.      I had a 401(k).        I had health
23   insurance.       I had dental.        I had vision.
24            Q.      Any life insurance?
25            A.      Yes.


                                                                   JA000066
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 67 of 540


                                                                          67
 1                               C. BEHM
 2           Q.       How much life insurance did you
 3   have?
 4           A.       I don't recall.
 5           Q.       Was that just for you or for
 6   dependents?
 7           A.       I think I had my kids on it in case
 8   of -- I think it was like a $10,000 to help with
 9   funeral expenses if something happened to one of
10   my children.
11           Q.       You said you had a 401(k).            Was
12   there a pension at Mack Trucks?
13           A.       I did not have a pension.
14           Q.       So by the time you started, there
15   was not a pension?
16           A.       Correct.
17           Q.       Did Mack Trucks contribute to your
18   401(k)?
19           A.       Yes.
20           Q.       How much?
21           A.       I don't recall.
22           Q.       Was it a matching percentage?
23           A.       I don't recall.        It wasn't much.
24           Q.       Now, one of the things -- obviously,
25   we will talk more about this -- but you also --


                                                                   JA000067
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 68 of 540


                                                                          68
 1                               C. BEHM
 2   there's an accident and sickness benefit at
 3   Mack?
 4           A.       A&S.     Yes.
 5           Q.       Tell me what A&S is.
 6           A.       If you got hurt and it wasn't
 7   Mack-related, they gave you time off with
 8   60 percent of your pay.
 9           Q.       So it's, you know, like a short-term
10   disability benefit?
11           A.       Yes, through the company.
12           Q.       Right.     And how long could you
13   receive A&S benefits?
14           A.       I believe it was no more than a year
15   and then you had to go out on Social Security,
16   like a long-term disability.
17           Q.       Did you have any long-term
18   disability insurance benefits through Mack?
19           A.       Not that I recall.
20           Q.       When you went to work at Mack, did
21   you join the UAW?
22           A.       Yes.
23                        (UAW Application is received and
24                    marked as Exhibit 5 for
25                    identification, as of this date.)


                                                                   JA000068
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 69 of 540


                                                                          69
 1                               C. BEHM
 2           Q.       Ms. Behm, I have handed you what has
 3   been marked as Exhibit 5.             If you'd take a
 4   moment and look at that, please.               Let me know
 5   when you're ready to answer questions.
 6           A.       Okay.
 7           Q.       So, Ms. Behm, is this your
 8   application for membership in the UAW Local 677
 9   at Mack?
10           A.       Yes.
11           Q.       And is that your signature -- at the
12   time, your signature down at the bottom of that
13   first page?
14           A.       Yes.
15           Q.       And it looks like you submitted this
16   on your first day of employment --
17           A.       I did.
18           Q.       -- January 2nd, 2018.
19           All right.        If you look at the second page
20   of the document, which is marked UAW-10 down at
21   the corner --
22           A.       Yes.
23           Q.       -- you see in the middle of the page
24   your -- what was your seniority date?
25           A.       January 2nd, 2018.


                                                                   JA000069
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 70 of 540


                                                                          70
 1                               C. BEHM
 2           Q.       Okay.    And then attached, the next
 3   few pages showed the dues that you paid to the
 4   UAW during the remainder of your employment; is
 5   that correct?
 6           A.       Correct.
 7           Q.       Did you ever hold any position with
 8   the local union at Mack?
 9           A.       No.
10           Q.       Did you have any relatives that are
11   officers with the local union at Mack?
12           A.       No.
13           Q.       When you started work at Mack, did
14   you receive a copy of the collective bargaining
15   agreement?
16           A.       The book?
17           Q.       Yes.
18           A.       Yes.
19           Q.       And during the course of your
20   employment at Mack, did that collective
21   bargaining agreement change?
22           A.       Yes.
23           Q.       It was renegotiated, right?
24           A.       Yes.
25           Q.       Did you-all go on strike while you


                                                                   JA000070
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 71 of 540


                                                                          71
 1                               C. BEHM
 2   were there?
 3           A.       Yes.
 4           Q.       For how long?
 5           A.       It wasn't long, maybe a month.
 6           Q.       Did you get paid when you were out
 7   on strike?
 8           A.       Through the union.
 9           Q.       So when -- once the new collective
10   bargaining agreement went into place, did you
11   receive another book with the new CBA?
12           A.       Eventually, yes.
13           Q.       I'm not going mark these as an
14   exhibit, just because I don't want to make the
15   record too long, but I'm going to hand these to
16   you.
17           Would that be the CBA that was in effect
18   when you started work at Mack?
19           A.       Yes.
20           Q.       Okay.    And then a new one was
21   entered sometime in 2019?
22           A.       Correct.
23           Q.       Okay.    We'll ask you about that.
24           Now, does the CBA contain rules regarding
25   seniority?


                                                                   JA000071
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 72 of 540


                                                                          72
 1                               C. BEHM
 2            A.      Yes.
 3            Q.      And is seniority important under the
 4   CBA?
 5            A.      I'm sorry, what?
 6            Q.      Is seniority important under the
 7   CBA?
 8            A.      I would say, to an extent.
 9            Q.      Why is seniority important to an
10   extent?
11            A.      There is a lot of rule breakage at
12   Mack, so it's -- it says that it goes by
13   seniority, but there's favoritism.
14            Q.      So you're saying there are
15   exceptions made to the seniority rule?
16            A.      Not in the book, but behind closed
17   doors, yes.
18            Q.      And, specifically, in what regard
19   are there exceptions made?
20            A.      I would have to say, with people
21   asking for -- they are called courtesy moves.
22   So if someone doesn't like a job they can say,
23   Can you give me a courtesy move?               And they
24   would.        They would bump anyone out of their job.
25   Didn't matter how long they were there, they


                                                                   JA000072
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 73 of 540


                                                                          73
 1                               C. BEHM
 2   would do that.
 3           Q.       And if you have enough seniority,
 4   are you allowed to make courtesy moves?
 5           A.       You can make a courtesy move if it
 6   was your first day.
 7           Q.       But if you don't have seniority,
 8   could you bump somebody out of another job to
 9   take their --
10           A.       It's happened, yes.
11           Q.       According to the CBA, can you do
12   that?
13           A.       According to the book, you can't,
14   but it happens.
15           Q.       You're saying exceptions are made
16   for that?
17           A.       Absolutely.      I worked with people
18   that had that exception made.
19           Q.       Do you recall specifically any
20   individuals who had exceptions made like that?
21           A.       Absolutely.      There were people on
22   C line that had incidences at work, and they
23   couldn't keep up so they would be moved to
24   kitting area.        So either working on the line or
25   kitting area.        And they would move to kitting.


                                                                   JA000073
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 74 of 540


                                                                           74
 1                               C. BEHM
 2   And some people would have to move to the line.
 3            There was a woman at the beginning of
 4   L line.       She didn't like the vibration.            And
 5   that's straight in the production flex.                 They
 6   had to -- or production technician in your
 7   Exhibit 4, that they had to deal with that.                    She
 8   didn't like that.         So they moved her to
 9   something else.        It happened all the time.
10            Q.      Do you remember the names of those
11   individuals?
12            A.      I don't.     It's been a couple of
13   years.
14            Q.      Do you know if there was -- the
15   individual who couldn't deal with the
16   vibrations, do you know if there was a medical
17   reason she had to be moved?
18            A.      No.
19            Q.      No, you do not know, or no, she did
20   not have a medical reason?
21            A.      No, she didn't have a medical
22   reason.       And she told me I could not wear
23   perfume around her.          And I wasn't told by any
24   supervisor or anything.           And I didn't even wear
25   perfume.


                                                                    JA000074
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 75 of 540


                                                                          75
 1                               C. BEHM
 2           Q.       And you do not remember her name?
 3           A.       No.
 4           Q.       But pursuant to the provisions of
 5   the CBA, is seniority supposed to be used in
 6   making transfer decisions?
 7           A.       Supposed.
 8           Q.       And what about in layoffs?            Is
 9   seniority supposed to be used in layoffs?
10           A.       Supposed.
11           Q.       When you started work at Mack, did
12   you go through an orientation process?
13           A.       Yes.     With 400 other people.
14           Q.       Tell me what you did during that
15   orientation process.
16           A.       We -- everyone was assigned -- I
17   believe it was a letter, like A, B, C, or D, and
18   depending on your letter it was where you went,
19   because they had so many people.               So we had a
20   tour of the facility.           We had, I believe it was
21   two days at an organ center.             Like right down
22   the street from Mack they played some type of
23   piano or whatever, but they rented it out.
24           Q.       Right.
25           A.       And the head of HR pretty much told


                                                                   JA000075
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 76 of 540


                                                                          76
 1                               C. BEHM
 2   us about the company, and that was that.                 It was
 3   a four-day orientation.
 4           Q.       And were you paid during that
 5   orientation process?
 6           A.       Yes.
 7           Q.       Did you cover any policies during
 8   that orientation process?
 9           A.       Yes.
10           Q.       Did you talk about the CBA during
11   that orientation process?
12           A.       Yes.    They had the company speak to
13   us and the union speak to us.
14                        (Acknowledgment is received and
15                    marked as Exhibit 6 for
16                    identification, as of this date.)
17           Q.       Ms. Behm, you've been handed what
18   has been marked as Exhibit Number 6.
19           Do you recognize that document?
20           A.       Yes.
21           Q.       Does this indicate that you received
22   copies of policies when you started work at
23   Mack?
24           A.       Yes.
25           Q.       And what's the date on this


                                                                   JA000076
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 77 of 540


                                                                          77
 1                               C. BEHM
 2   document?
 3           A.       January 2nd, 2018.
 4           Q.       Is that your signature?
 5           A.       Yes.
 6           Q.       Do you recall receiving copies of
 7   the policies that are listed on this document?
 8           A.       When I was hired, the policies also
 9   changed with the renewal.
10           Q.       When you say "with the renewal,"
11   what do you mean?
12           A.       Of the contract, the union contract.
13           Q.       So you're saying the company
14   policies changed when the CBA was -- the new CBA
15   came into effect?
16           A.       They would hand out things
17   throughout the plant whenever they wanted to
18   change something.         There was no attendance
19   policy when I got hired.            About 30 days in,
20   the -- a point system came.             They handed out
21   papers saying we couldn't say anything about
22   Mack on social media.           And I never received any
23   copies of anything that would have changed when
24   the union contract changed.
25           Q.       But you would have received a new


                                                                   JA000077
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 78 of 540


                                                                          78
 1                               C. BEHM
 2   copy of the CBA?
 3           A.       Yes.
 4           Q.       To the extent policies are addressed
 5   in the CBA, you had a copy of the CBA?
 6           A.       What do you mean?         Like when it
 7   would change?
 8           Q.       Correct.
 9           A.       I didn't sign anything when the
10   contract changed.
11           Q.       I understand that.         You received --
12           A.       I refused to sign a lot of papers.
13           Q.       But you received a new copy -- when
14   the CBA was revised in 2019, you received a copy
15   of that new CBA?
16           A.       Of the book, yes.
17                        (Volvo Human Resources Policies
18                    and Procedures is received and
19                    marked as Exhibit 7 for
20                    identification, as of this date.)
21           Q.       Ms. Behm, I'm handing you what has
22   been marked as Exhibit 7.             If you would take a
23   moment and look at that and let me know when
24   you're ready to answer questions.
25           A.       Okay.


                                                                   JA000078
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 79 of 540


                                                                          79
 1                               C. BEHM
 2            Q.      Ms. Behm, you've been handed --
 3   Exhibit 7 is a copy of the harassment policy for
 4   Volvo.        Is this a copy of the policy you
 5   received when you started work in January of
 6   2018?
 7            A.      I don't recall receiving it.            So
 8   this is, I believe, the first time actually
 9   reading it.
10            Q.      So you don't recall receiving this
11   policy?
12            A.      No.
13            Q.      According to Exhibit Number 6, you
14   received a copy of the harassment policy when
15   you started, correct?
16            A.      Yes.    It says that.
17            Q.      Do you remember what the harassment
18   policy you received when you started, said?
19            A.      I believe every company has a policy
20   in place, stating it's not tolerated.
21            Q.      They should.
22            A.      Yes.
23            Q.      But do you remember what the policy
24   said when you started work at Mack?
25            A.      I believe so, yes.


                                                                   JA000079
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 80 of 540


                                                                          80
 1                               C. BEHM
 2           Q.       What did the policy -- when you
 3   started at Mack, what did the policy tell you
 4   you were supposed to do if you had an issue of
 5   harassment in the workplace?
 6           A.       Well, when we started, they didn't
 7   separate the union workers from HR, so we were
 8   able to go to human resources because they were
 9   in a trailer outside.
10           Shortly after I started, they separated
11   human resources, and we had to go through our
12   union rep to even get an appointment with human
13   resources.       We weren't allowed in their
14   quarters, you could say.
15           Q.       Okay.
16           A.       So this policy, yes, it says:             Go to
17   human resources, but when I was harassed, it was
18   nearly impossible to go to human resources,
19   because they separated us.
20           Q.       I just want to make sure I
21   understand correctly.           Once they moved human
22   resources, you were not allowed to go directly
23   to human resources?
24           A.       Correct.     We had to go through a
25   union rep.


                                                                   JA000080
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 81 of 540


                                                                          81
 1                               C. BEHM
 2           Q.       For any reason, you couldn't go?
 3           A.       For any reason, absolutely any
 4   reason, even if our pay was off by one penny,
 5   had to go through a union rep.
 6           Q.       Did you ever -- and I'll talk more
 7   about this later, but with regard to the
 8   harassment issue that you had that you allege in
 9   this case, did you ever communicate with anyone
10   in human resources at Mack about that issue?
11           A.       Can you clarify?
12           Q.       Did you ever communicate with anyone
13   in human resources at Mack about the harassment
14   issue that you're alleging in this case?
15           A.       Not in human resources.           To the
16   union, yes.
17           Q.       Again, human resources is different
18   from the union, right?
19           A.       Correct.
20           Q.       Did -- when you started work at
21   Mack, was there also a policy in place that said
22   that the company would prohibit any retaliation
23   against somebody who made a complaint of
24   harassment?
25           A.       Stating that no one can retaliate if


                                                                   JA000081
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 82 of 540


                                                                          82
 1                               C. BEHM
 2   I were to say something?
 3           Q.       Correct.
 4           A.       Yes.
 5                        (Attendance Policy is received
 6                    and marked as Exhibit 8 for
 7                    identification, as of this date.)
 8           Q.       I hand you what's been marked as
 9   Exhibit 8.       Again, if you'd take a moment and
10   look at that, and let me know when you're ready
11   to answer questions.
12           A.       Okay.
13           Q.       All right.      So, Ms. Behm, what is
14   Exhibit Number 8?
15           A.       It is the attendance policy that
16   they put in place, May 21st of 2018, five months
17   after I started.
18           Q.       And as you indicated earlier, when
19   you started at Mack, there wasn't a point
20   system, correct?
21           A.       Correct.
22           Q.       And this is a points-based
23   attendance policy that was put in place in May
24   of 2018?
25           A.       Yes.    Yes, it wasn't a part of the


                                                                   JA000082
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 83 of 540


                                                                          83
 1                               C. BEHM
 2   union until the new book.
 3           Q.       The new contract?
 4           A.       So this was just the company saying,
 5   Hey, you're going to follow this, even though it
 6   wasn't negotiated.
 7           Q.       And did it apply to all of the
 8   employees that were in the bargaining union?
 9           A.       They enforce it.        Yes.
10           Q.       And did you have -- how did you
11   receive a copy of this policy?
12           A.       The same way you just handed it to
13   me.
14           Q.       Did anybody -- did you have a
15   meeting to discuss it?
16           A.       I had a startup meeting, which is
17   maybe five minutes long.            Just, hey, sign this
18   that you received -- I think we had to put our
19   initials that they handed it to us, and that was
20   that.
21           Q.       Do you recall who handed it to you
22   in that meetings?
23           A.       I was on the C line at the time, so
24   the supervisor on the C line.              There were two
25   supervisors.       I don't remember which one.


                                                                   JA000083
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 84 of 540


                                                                          84
 1                               C. BEHM
 2           Q.       Now, pursuant to this policy, there
 3   was a specific, you know, type of corrective
 4   action that would happen when you got to certain
 5   point levels.
 6           A.       Yes.
 7           Q.       And did you understand that if you
 8   got to certain point levels that, under this
 9   policy, you would be disciplined?
10           A.       Yes.
11           Q.       Now, I think you may have answered
12   this question already, but did you receive any
13   job-specific training before you started work at
14   Mack?
15           A.       Clarify?
16           Q.       So did you receive any, like, you
17   know, any job-specific -- so you went through an
18   orientation, but did you spend some time
19   learning how to do your particular job --
20           A.       No.
21           Q.       -- before you went on the line?
22           A.       No.
23                          MR. BAIRD:     Just wait --
24                          MR. MC COY:     We have got to be
25                    careful -- it's not a problem.             I do


                                                                   JA000084
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 85 of 540


                                                                          85
 1                               C. BEHM
 2                    it, too -- not to talk over each
 3                    other because that makes it hard for
 4                    the court reporter.
 5                        THE WITNESS:       Okay.    I'm sorry.
 6                        MR. MC COY:      Sometimes I seem
 7                    like I'm done, and I've got more
 8                    that comes out.
 9                        THE WITNESS:       My fault, I'm
10                    sorry.
11           Q.       So, go ahead.
12           A.       But to answer your question, no,
13   there is -- with production technician, you get,
14   I believe, four days of training per the book,
15   the UAW.      With production tech flex, which was
16   my job, you get maybe four hours.               And that's
17   also in the book.         Did I receive four hours?
18   No.    Most of the time it was -- this is the
19   manning (phonetic).          This is -- it has the parts
20   and what you're supposed to do.              Do it.
21           I remember I was still on probation, and
22   they had me build a treadle, and there was no
23   model or anything for me to go off of.                 Do I
24   know if that truck made it off the line?
25   Probably.      Was it fixed?        I don't know.       Did


                                                                   JA000085
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 86 of 540


                                                                          86
 1                               C. BEHM
 2   that truck crash?         I would believe probably,
 3   because I didn't know what I was doing.
 4           Q.       When you say -- you said "a
 5   treadle"?      Is that what you were --
 6           A.       For gas brakes.
 7           Q.       So your training was on the job.
 8   You did it as you were working.              You learned how
 9   to do the different aspects of your job?
10           A.       Yes.
11           Q.       Were you working -- were you
12   assigned to work with any particular employee to
13   learn how to do aspects of the job?
14           A.       No.    My job was flex.        It was -- you
15   did not know what you were doing when you walked
16   in the door.       It was that day, This is what
17   you're going to be doing.             I was in the same
18   line.     I was tied to a line.          So there's C line.
19   There is L line.         There is sleeper line.
20   There's H line.         There's G line.        It was, Go to
21   this line, report to the supervisor.
22           Q.       So -- well, let's talk about that.
23   So when you first started, you were assigned to
24   the C line, you indicated?
25           A.       Yes.


                                                                   JA000086
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 87 of 540


                                                                          87
 1                                C. BEHM
 2            Q.      And what type of trucks were made on
 3   the C line?
 4            A.      A lot of trash trucks, waste
 5   management.
 6            Q.      And those would be trucks without
 7   sleeper cabs or --
 8            A.      Yes.     LRs.
 9            Q.      Who was your supervisor when you
10   started?
11            A.      I don't remember his name.            I called
12   him Waldo because he always had a beanie on.
13   Bryan.        Maybe Bryan.
14            Q.      And what shift were you working?
15            A.      First.      6:45 to 2:45.
16            Q.      Do you know how many employees
17   worked on the C line on first shift?
18            A.      At least a hundred, I would say.
19            Q.      Who was your union representative
20   when you started?
21            A.      Carl.
22            Q.      Is that Carl Kerchner?
23            A.      Yes.
24            Q.      At any point in time when you worked
25   at Mack, were you ever a supervisor?


                                                                   JA000087
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 88 of 540


                                                                          88
 1                               C. BEHM
 2           A.       No.    Supervisors aren't union.           You
 3   have to go through the company for that.
 4           Q.       And during the time period that you
 5   worked at Mack, did your job assignment ever
 6   change?
 7           A.       Every day.
 8           Q.       Well, obviously, in the flex
 9   position it changed every day, correct?
10           A.       Yes.
11           Q.       But in terms -- did you ever move
12   out of the flex position?
13           A.       For two weeks.
14           Q.       So only at the end of your
15   employment, is that what you're saying?
16           A.       Yes.
17           Q.       Now, did you ever change lines?
18           A.       All the time.
19           Q.       So what --
20           A.       I was on C line and L line and
21   sleeper line.
22           Q.       What did you make on the L line?
23           A.       You have to be more specific because
24   I worked on all of L line.
25           Q.       Well, just to -- explain to me.              You


                                                                   JA000088
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 89 of 540


                                                                          89
 1                               C. BEHM
 2   said C line was mainly garbage trucks.                 So what
 3   is L line?
 4            A.      L line had sleeper cabs on it,
 5   regular cabs.        I didn't work on, like,
 6   transmissions or engines.             I worked mainly on
 7   cabs.
 8            Q.      All right.      And so what's the
 9   difference -- you said L line had sleepers on
10   it.     So when you say "sleeper line," what's the
11   difference in the two?
12            A.      Sleeper line pretty much is in the
13   beginning of L line.          So they -- they are a make
14   of their own in terms of sleepers.               They have
15   mattresses in them.          They have different things
16   that you need to put in them than a standard
17   cab.     So they would come on, and then the other
18   cabs would make their way side by side and then
19   come onto the line.          So every couple of regular
20   trucks, you get a sleeper cab because they took
21   more time.
22            Does that answer your question?
23            Q.      It does.     Thank you.
24            Again, I'm not going to mark these as an
25   exhibit.      But I'm going to hand you -- if you


                                                                   JA000089
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 90 of 540


                                                                           90
 1                               C. BEHM
 2   could just take a look at these and confirm that
 3   those are the CBAs that were put in place in
 4   2019.     And take your time.          I'm not in a rush.
 5   I just want to verify.
 6           A.       Yes.
 7                        MR. BAIRD:       Just for the -- do
 8                    you want to name the --
 9                        MR. MC COY:       I was going to do
10                    the Bates numbers, that sort of
11                    thing.     I mean, if we put this in as
12                    exhibits, it's unwieldy.
13                        MR. BAIRD:       Right.
14                        MR. MC COY:       So the first
15                    document is -- is the master
16                    agreement between Mack Trucks and
17                    the local UAW.        This was -- the
18                    effective dates are October 25th of
19                    2019 to October 1st of 2023.            And
20                    the Bates Numbers are UAW 228
21                    through UAW 353.
22                        And the second document is the
23                    supplemental agreement for the
24                    Macungie operations.          Again, same
25                    effective dates, October 25th, 2019,


                                                                    JA000090
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 91 of 540


                                                                          91
 1                               C. BEHM
 2                    to October 1st, 2023.          And the Bates
 3                    numbers are UAW-354 through 496.
 4                          (Action Type document, one page
 5                    is received and marked as Exhibit 9
 6                    for identification, as of this
 7                    date.)
 8           Q.       Ms. Behm, you've been handed what's
 9   been marked as Exhibit Number 9.                Is this a
10   document you have ever seen before?
11           A.       No.
12           Q.       So I'm just going to represent to
13   you, this is a document out of the human
14   resources information system at Mack Trucks.                   So
15   what I want to ask you is, I want to kind of
16   walk through your employment history with Mack
17   and the different positions you were in and
18   leaves of absence you took.             Okay?
19           A.       Okay.
20           Q.       So if you start at the bottom -- and
21   I'm just going to ask you, if something is
22   incorrect, let me know, please, okay?
23           A.       Okay.
24           Q.       So if you look at the bottom, the
25   very first entry, it says:            Start date of


                                                                   JA000091
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 92 of 540


                                                                          92
 1                               C. BEHM
 2   January 2nd of 2018 through January 7th of 2018
 3   was when you were hired, on January 2nd of 2018,
 4   correct?
 5           A.       Yes.
 6           Q.       And the first week you were in
 7   orientation, you indicated?
 8           A.       Yes.
 9           Q.       All right.      So if you look at the
10   next line up, January 8th of 2018, was when you
11   were assigned to a position?
12           A.       Yes.
13           Q.       And at that point in time, you were
14   a flex tech on C line?
15           A.       Yes.
16           Q.       Now, it indicates, the next line up,
17   that on May the 21st of 2018, there was an
18   organizational reassignment.             Do you know where
19   you moved on May the 21st of 2018?
20           A.       L line.
21           Q.       And then the line above that
22   indicates August 13th of 2018 was a leave of
23   absence.      Did you go out on leave on August the
24   13th of 2018?
25           A.       Yes.


                                                                   JA000092
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 93 of 540


                                                                          93
 1                               C. BEHM
 2           Q.       Why did you go out on leave in
 3   August of 2018?
 4           A.       During a family vacation I took
 5   during plant shutdown, I got injured.
 6           Q.       What kind of injury did you have?
 7           A.       I want to tell you the truth, but I
 8   doubt you're going to believe me.               I was
 9   swimming with sea lions, and one ran over me and
10   almost dislocated my shoulder, and I had --
11   because I previously had clavicle surgery.                  So
12   the sea lion reinjured it.
13           Q.       And how long did you remain out on a
14   leave of absence that year?
15           A.       A couple of months, until November.
16           Q.       So if you look at the next line, it
17   looks like November 16th of 2018 was your return
18   to work?
19           A.       Yes.
20           Q.       What position were you in when you
21   returned to work in November of 2018?
22           A.       L line.
23           Q.       And were you still a flex tech at
24   that position?
25           A.       Yes.


                                                                   JA000093
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 94 of 540


                                                                          94
 1                               C. BEHM
 2           Q.       At that time, excuse me.
 3           All right.       And then on -- looks like a
 4   few days later, November 19th of 2018, there was
 5   an organizational reassignment.              Do you know
 6   where you went on November 19th?
 7           A.       I was still on L line, but the
 8   beginning.
 9           Q.       All right.      Then on December 5th of
10   2018, you went out on another leave of absence?
11           A.       Yes.
12           Q.       And I neglected to ask you.            Let me
13   just go back real quick.
14           From August 13th of 2018, through
15   November 15th of 2018, you were on A&S.
16           A.       Can you --
17           Q.       Were you on A&S?        Excuse me, let me
18   ask another question.
19           A.       On what dates?
20           Q.       November -- August 13th, after you
21   hurt your shoulder, August 13th of 2018 --
22           A.       Yes.
23           Q.       -- through November 15th of 2018,
24   did you receive A&S benefits?
25           A.       Yes.


                                                                   JA000094
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 95 of 540


                                                                          95
 1                               C. BEHM
 2           Q.       Back to December 5th of 2018, you
 3   went out on another leave of absence.                Did you
 4   receive A&S benefits?
 5           A.       Yes.
 6           Q.       How long did you remain out at that
 7   time?
 8           A.       A month and a half.
 9           Q.       Why were you out of work from
10   December 5th through January of 2019?
11           A.       I was threatened by my husband at
12   the time and had to relocate.
13           Q.       So you were threatened.           How did
14   that qualify for A&S benefits?
15           A.       I suffered from stress and anxiety
16   and had a mental breakdown pretty much.
17           Q.       Next line up, January 21st of 2019,
18   you returned to work on that date?
19           A.       Yes.
20           Q.       Then next line up, February 27th of
21   2019, there was an organizational reassignment.
22   Do you know where you went that date?
23           A.       I was still on L line.
24           Q.       And then the next one up is
25   March 11th of 2019.          Again, it looks like


                                                                   JA000095
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 96 of 540


                                                                          96
 1                               C. BEHM
 2   another organizational reassignment.                Do you
 3   know if you moved then?
 4           A.       I was still on L line.
 5           Q.       Do you know what those
 6   organizational reassignments mean?
 7           A.       Maybe different supervisor.
 8           Q.       And then on the next line up, on
 9   May the 13th of 2019, it looks like you went out
10   on another leave of absence.
11           A.       Yes.
12           Q.       Why did you go out on leave that
13   date?
14           A.       I received a concussion at work on
15   May 8th, and then received a second concussion
16   on May 11th, and took a leave of absence.
17           Q.       And did you receive a -- so your
18   first concussion was at work?
19           A.       Yes.
20           Q.       Was that covered by Workers'
21   Compensation?
22           A.       They denied me.
23           Q.       And the second concussion, how did
24   that occur?
25           A.       I was assaulted.


                                                                   JA000096
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 97 of 540


                                                                          97
 1                               C. BEHM
 2           Q.       Outside of work?
 3           A.       Yes.
 4           Q.       And did you receive A&S benefits for
 5   that leave of absence?
 6           A.       Yes.
 7           Q.       When did you return to work?
 8           A.       September 5th, 2019.
 9           Q.       And when you returned to work in
10   September of 2019, were you still a flex tech?
11           A.       Yes.
12           Q.       Do you remember what line you were
13   on then?
14           A.       They put me in Mack in Motion.
15           Q.       What does that mean?
16           A.       My term and other employees' term is
17   where they put the misfits, and you sit there
18   all day long.        And they -- Kaitlyn and another
19   HR representative had me teaching people in
20   cafeteria how to fill out their Buck Week
21   (phonetic) papers and occasionally build a cart
22   in Mack in Motion for supplies, and help with
23   the new computer systems.             So I was pretty much
24   penalized when I went back to Mack, for months
25   on end.


                                                                   JA000097
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 98 of 540


                                                                          98
 1                               C. BEHM
 2           Q.       So did you -- did you ever go back
 3   on the line?
 4           A.       No, I did not go back onto the line
 5   until December.
 6           Q.       All right.      So then it looks like
 7   next line, December 2nd of 2019, there was a
 8   temporary layoff for a week?
 9           A.       Yes.    It appears to.
10           Q.       Do you know what that was for, why
11   there was a temporary layoff in December of
12   2019?
13           A.       I don't recall.
14           Q.       And then on December 9th it looks
15   like there was an organizational reassignment?
16           A.       Yes.
17           Q.       Where were you working then?
18           A.       G line.
19           Q.       So what is G -- you didn't mention
20   G line earlier.         Tell me what that is.
21           A.       G line, I was helping with fuel
22   tanks in the kitting area. K-I-T-T-I-N-G.
23           Q.       Tell me what kitting is.
24           A.       You preassemble something and it
25   goes to the line.          And then they attach it to


                                                                   JA000098
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 99 of 540


                                                                          99
 1                               C. BEHM
 2   the truck.
 3           Q.       And you were doing kitting for gas
 4   tanks; is that what you said?
 5           A.       For the fuel tanks, yes.           Mainly the
 6   straps, fuel straps to hold the tank in place.
 7           Q.       All right.      And then on February the
 8   17th of 2020, it says there was an
 9   organizational reassignment.             What was -- what
10   position did you move to then?
11           A.       They moved me to second shift,
12   beginning of L line, and demoted me from flex to
13   just a tech.
14           Q.       You said "demoted."         Is that a
15   lower-paying position?
16           A.       Yes.
17           Q.       Flex was a higher paying job than
18   just the regular position?
19           A.       Yes, sir.
20           Q.       How much did your pay decrease?
21           A.       About a dollar.
22           Q.       And why did that happen on
23   February 17th of 2020?
24           A.       They -- they were laying off, and
25   they needed to place people in different areas


                                                                   JA000099
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 100 of 540


                                                                           100
 1                               C. BEHM
 2    to accommodate how many people they were laying
 3    off.
 4            Q.      And then the top line, March 4th of
 5    2020, it looks like you went out on a leave of
 6    absence?
 7            A.      Yes, I did.
 8            Q.      Why did you go out on a leave that
 9    date?
10            A.      I was going through so much
11    emotional distress from Mack.
12            Q.      And did you receive accident and
13    sickness benefits, A&S benefits?
14            A.      Eventually I did.         At first they
15    denied me.
16            Q.      And did you receive them all the way
17    through the end of your employment?
18            A.      Yes, I did.
19            Q.      And your employment ended in
20    February of 2021; is that correct?
21            A.      That is correct.         I don't know why
22    it says 9999.       It says December 31st.
23            Q.      Right.
24            A.      Is that just -- oh, okay, I see.              I
25    see.


                                                                    JA000100
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 101 of 540


                                                                           101
 1                               C. BEHM
 2            Q.      It was just a search date, I think,
 3    that was put in.
 4                          (Wage Type spreadsheets is
 5                    received and marked as Exhibit 10
 6                    for identification, as of this
 7                    date.)
 8            Q.      Before I ask you about this exhibit,
 9    Ms. Behm, you said when you got put in the
10    Mack-In-Motion position in September of 2019,
11    that you were penalized.           Did you -- did your
12    pay change when you got put in the Mack in
13    Motion position?
14            A.      No.
15            Q.      So the same pay you had before you
16    had gone on that leave of absence?
17            A.      Yes.     They put me in a position that
18    I was not in.         Basically, a mechanic was in Mack
19    in Motion.      I was not a mechanic.
20            Q.      And then did you work the same
21    hours --
22            A.      Yes.
23            Q.      -- in Mack in Motion?
24            All right.       I'm going to hand you what has
25    been marked as Exhibit 10.


                                                                    JA000101
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 102 of 540


                                                                           102
 1                               C. BEHM
 2                        MR. MC COY:       Graham, I'm going to
 3                    tell you, this is -- this is part of
 4                    a spreadsheet that is marked Mack
 5                    270 through 282.         I just cut it and
 6                    blew it up so we could see it --
 7                        MR. BAIRD:       A little better.
 8                        MR. MC COY:       -- because it's too
 9                    small.
10            Q.      So, Ms. Behm, I want to ask you a
11    few specific questions about this, but this is
12    part of a spreadsheet that is a Mack spreadsheet
13    that shows your positions and hours worked.
14    Okay?    So what I wanted to ask you, if you would
15    look, there's a column you will see that's the
16    next to last.       It's called Cost Center.            Do you
17    see that?      If you look across the top over to
18    the right.
19            A.      Yes.
20            Q.      Do you see that?         Okay.
21            And then the first section of time is, you
22    know, if -- there's also a wage type.                That's
23    holiday pay.       I want to go down below the yellow
24    lines in the middle and look below that.
25            So the first cost center, it looks like


                                                                    JA000102
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 103 of 540


                                                                           103
 1                               C. BEHM
 2    you were in cab assembly L.            You see that?
 3            A.      Yes.
 4            Q.      And you were shift 1F, which was
 5    6:45 a.m. to 2:45 p.m., correct?
 6            A.      Correct.
 7            Q.      And then it looks like you moved
 8    to -- what's the next one?            Engine -- is that
 9    engine room?
10            A.      I have no idea what that is.
11    Engine -- I have no idea.
12            Q.      Based on this document, it looks
13    like you worked in that position from
14    January 8th, 2018 until May the 18th of 2018.
15            A.      It states that.
16            Q.      If you don't know what that is,
17    that's fine.       I'm just -- you don't know what
18    that abbreviation -- what that means?
19            A.      No, I don't know what that means.
20            Q.      That's the time period when you said
21    you were working as a flex tech on the C line;
22    is that correct?
23            A.      I was on L line.         I moved off of
24    C line in May.
25            Q.      In May of 2018?


                                                                    JA000103
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 104 of 540


                                                                           104
 1                               C. BEHM
 2             A.     Yes.
 3             Q.     So from January of 2018 through May
 4    of 2018, you were working as a flex tech on the
 5    C line?
 6             A.     Yes.
 7             Q.     So if you flip over to the third
 8    page of this document, and you look at the date
 9    of May 21st, 2018, I see you moved to what's
10    known as cab assembly, C.
11             A.     It's saying I moved to cab -- to C
12    line?
13             Q.     Yes.
14             A.     I moved off of C line on that date,
15    not on it.
16             Q.     Okay.     And then on the next page
17    there's an indication that on November 16th of
18    2018, you moved to cab assembly L.
19             A.     What was the date?
20             Q.     November 16, 2018.
21             A.     Yes.    But I was on L line.
22             Q.     Correct.      Cab assembly L, as in
23    Larry?
24             A.     Yes.    I was not on C line in August.
25    It states that, but I was not.


                                                                    JA000104
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 105 of 540


                                                                           105
 1                               C. BEHM
 2            Q.      In August of which year?
 3            A.      It says of 2018 that I was on C
 4    line, and I was not.
 5            Q.      I believe August of 2018 was when
 6    you went out on leave, correct, after your
 7    shoulder injury?
 8            A.      Yes.
 9            Q.      So you are saying, when you went out
10    for that -- because of that injury, you were not
11    on C line at that time?
12            A.      I don't recall.
13            Q.      How long did you remain on the L
14    line after you moved?
15            A.      I stayed on L line until I went out
16    on A&S in May.        When I came back in September, I
17    was in Mack in Motion.          Then briefly on G line
18    in December until -- until about January.                 Then
19    I was back at Mack in Motion.             And then placed
20    on second shift, L line.
21            Q.      So if you'll flip over to the page
22    where, if you look for the date, December 9th of
23    2019, looks like you changed from cab assembly L
24    to a different position.
25            A.      I was probably assisting on that


                                                                    JA000105
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 106 of 540


                                                                           106
 1                               C. BEHM
 2    line.
 3            Q.      Do you know what that C-O-N-V stands
 4    for?
 5            A.      Conventional, would be my guess.
 6            Q.      And this document shows that you
 7    remained in that role through March the 4th of
 8    2020.
 9            A.      It states that, but I was not on
10    sleeper.     I was on L line.
11            Q.      And if you look over on the next
12    page, if you look at the date of February the
13    17th of 2020.
14            A.      February 17, 2020?
15            Q.      Yes.    It looks like that date you
16    moved from shift 1F to shift 2E, if you look all
17    the way over to the right.
18            A.      Correct.
19            Q.      Was that the first date that you
20    worked on second shift?
21            A.      Yes.
22            Q.      And you worked on second shift from
23    February 17th through March the 4th?
24            A.      Yes.
25            Q.      And then you did not return to work


                                                                    JA000106
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 107 of 540


                                                                           107
 1                               C. BEHM
 2    after that?
 3            A.      Yes.
 4            Q.      If you would look over at the last
 5    page of this document.
 6            So, Ms. Behm, you were employed by Mack
 7    Trucks from January of 2018 through March of
 8    20 -- or, excuse me, February of 2021.                Is that
 9    correct?
10            A.      Yes.
11            Q.      A little over three years?
12            A.      Yes.
13            Q.      According to the last page of this
14    document, during that time period, you worked
15    2,767.9 hours.        Does that sound correct to you?
16            A.      Without having a calculator in front
17    of me, I would say "yes."            Yes.
18            Q.      All right.      We talked about during
19    the time period of your employment at Mack that
20    you got some pay raises.           Correct?
21            A.      Yes.
22            Q.      And that was pursuant to the CBA?
23            A.      Yes.
24            Q.      Now, you've also just testified a
25    minute ago that you got a pay decrease when you


                                                                    JA000107
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 108 of 540


                                                                           108
 1                               C. BEHM
 2    moved to second shift.
 3            A.      Yes.
 4            Q.      At any other time when you worked at
 5    Mack, did you get a pay decrease?
 6            A.      No.
 7            Q.      Did your benefits ever change during
 8    the time you worked at Mack?
 9            A.      No.
10            Q.      And I think you may have told me
11    this earlier.         Do you remember what your pay
12    rate was at the time you resigned in February of
13    2021?
14            A.      I want to say 21.12.
15            Q.      How much were you making before you
16    moved to second shift?
17            A.      I don't recall.        There was a shift
18    differential, also.         I don't remember what the
19    percentage was.
20            Q.      So when you move to second shift,
21    you get a shift differential?
22            A.      Yes.    My pay went from production
23    tech, or production tech flex to just production
24    tech, and then so it lowered.             And then the
25    shift differential went up a little.


                                                                    JA000108
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 109 of 540


                                                                           109
 1                               C. BEHM
 2            Q.      So with the shift differential, was
 3    it more than you were making in the flex
 4    position?
 5            A.      I don't recall.        I think it stayed
 6    around the same, just because it went -- it
 7    decreased and then increased because of the
 8    shift differential.         So it kind of averaged out.
 9            Q.      Directing your attention to the time
10    period you worked at Mack, did you have Corey on
11    your benefits?
12            A.      I did.
13            Q.      Why was -- at some point in time,
14    wasn't Corey also employed by Mack?
15            A.      He was.
16            Q.      When did Corey start working at
17    Mack?
18            A.      Same date I did, January 2nd, 2018.
19            Q.      So why was he on your benefits?
20            A.      He did not go on my benefits until
21    we got married.
22            Q.      And then why was he on your
23    benefits?
24            A.      Family plan was cheaper than
25    individual plans.


                                                                    JA000109
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 110 of 540


                                                                           110
 1                               C. BEHM
 2                        (Life Event Change Form 2018 is
 3                    received and marked as Exhibit 11
 4                    for identification, as of this
 5                    date.)
 6                        (Life Event Change Form 2019 is
 7                    received and marked as Exhibit 12
 8                    for identification, as of this
 9                    date.)
10             Q.     Ms. Behm, I'll hand you what has
11    been marked as Exhibit Number 11 and Exhibit
12    Number 12.      I just want to verify.
13             Exhibit Number 11 appears to be a
14    Life Event Change Form that you submitted,
15    indicating that you had got married.
16             A.     Yes.
17             Q.     And that occurred on July 7th of
18    2018?
19             A.     Yes.
20             Q.     And then if you would look at
21    Exhibit Number 11 -- excuse me, Exhibit Number
22    12.     Exhibit Number 12 appears to be another
23    life event change form that you submitted?
24             A.     Yes, but this was denied.
25             Q.     Your life event change form was


                                                                    JA000110
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 111 of 540


                                                                           111
 1                               C. BEHM
 2    denied?
 3            A.      Yes.
 4            Q.      Why was it denied?
 5            A.      Kaitlyn denied it because, even
 6    though it says we were separated, she would not
 7    let me remove him until she had a divorce
 8    decree.
 9            Q.      So you submitted -- when did you
10    submit this document?
11            A.      The date that he assaulted me.
12            Q.      So that's May 11th of 2019?
13            A.      Yes.
14            Q.      Let me ask you -- look over at the
15    second page, if you would.
16            A.      Yes.
17            Q.      Down at the bottom what is the date
18    on the document?
19            A.      October 8th, 2019.
20            Q.      So did you -- you indicated you
21    submitted it the day he assaulted you, so why is
22    it dated October?
23            A.      It says:      Effective date of life
24    event change.       That was the date that we -- that
25    he assaulted me.        So I took it as our


                                                                    JA000111
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 112 of 540


                                                                           112
 1                               C. BEHM
 2    relationship is over.          And on October 8, 2019 is
 3    when I informed Mack.
 4            Q.      So why did you wait until October 8
 5    to inform Mack?
 6            A.      I wasn't at the plant.
 7            Q.      You returned to the plant in
 8    September; is that correct?
 9            A.      Yes.    But by the time I went through
10    a union rep and got to human resources, that was
11    the turnover rate.
12            Q.      So did you ever remove Corey from
13    your insurance?
14            A.      Eventually I was able to, yes.
15            Q.      When did you move him from the
16    insurance?
17            A.      I got my divorce decree in March of
18    2020.
19            Q.      And is that when -- did you resubmit
20    the form at that time?
21            A.      I believe I emailed it to someone
22    because I wasn't there.           Or I brought it in.
23            Q.      On the first page of this document
24    where it's marked -- you marked the box next to
25    "divorce," it indicates:           Divorce or legal


                                                                    JA000112
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 113 of 540


                                                                           113
 1                               C. BEHM
 2    separation, provide divorce decree or court's
 3    order of separation.
 4            Do you see that?
 5            A.      Yes.    I provided them a copy of my
 6    PFA to show proof of separation.              Which was
 7    denied.
 8            Q.      What is a PFA?
 9            A.      Protection from abuse.
10            Q.      But at that point in time, did you
11    have a court order of separation?
12            A.      Yes.
13            Q.      You had a court order of --
14            A.      There's no legal separation in the
15    State of Pennsylvania.          So I submitted my PFA to
16    show that we were no longer together, living
17    together, to show separation.             Which was denied.
18            Q.      Did you -- as a result, did you end
19    up paying for his insurance until you were
20    formally divorced?
21            A.      Absolutely.
22            Q.      Did he contribute to that, at all?
23            A.      No.
24            Q.      When did he leave work at Mack?
25            A.      I don't recall the exact date.


                                                                    JA000113
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 114 of 540


                                                                           114
 1                               C. BEHM
 2            Q.      When he assaulted you in May of
 3    2019, was he still working at Mack?
 4            A.      No.
 5            Q.      Do you know -- why did he leave work
 6    at Mack?
 7            A.      To my recollection, I believe he was
 8    taking care of me, after my shoulder injury.                  I
 9    believe that's why he left, but I don't know the
10    exact date.
11            Q.      So that would have been sometime
12    after August of 2018?
13            A.      Yes.
14                          MR. MC COY:     Why don't we take
15                    another short break.
16                          (A lunch break was taken.)
17    FURTHER EXAMINATION
18    BY MR. MC COY:
19            Q.      We are back on the record, and I'll
20    remind you that you're still under oath.
21            How was your job performance when you
22    worked at Mack?
23            A.      No supervisors complained.
24            Q.      Did you feel like you were a good
25    employee?


                                                                    JA000114
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 115 of 540


                                                                           115
 1                               C. BEHM
 2            A.      Absolutely.       I went in and gave it
 3    my all.
 4            Q.      Did you ever get any performance
 5    evaluations when you worked at Mack?
 6            A.      Probably behind the scenes.
 7            Q.      Did you ever get formal, like
 8    written performance evaluations of any sort?
 9            A.      Not that I recall.
10            Q.      Did you have any performance
11    problems during your time at Mack?
12            A.      No.
13            Q.      Did you ever receive any
14    disciplinary actions while you worked at Mack?
15            A.      Yes.
16            Q.      What do you recall receiving
17    disciplinary actions for?
18            A.      I was told I left my working area
19    when I was flex, so I was tied to the line, not
20    a specific area.        So I was assisting another
21    team leader named Fallon in the area right
22    before the one that I was normally at, and I got
23    written up for that.          But I refused to sign the
24    disciplinary action.
25            Q.      Any other discipline besides that?


                                                                    JA000115
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 116 of 540


                                                                           116
 1                               C. BEHM
 2            A.      Another one, a team lead said that I
 3    wasn't in the work area.           Again, I was tied to
 4    the line, not an area.          And that also came from
 5    the team lead that was spending seven hours out
 6    of the eight-hour day smoking cigarettes out
 7    back.
 8            Q.      Who was that?
 9            A.      I believe his name was Justin.
10            Q.      Any other discipline besides that?
11            A.      When I moved from C line to L line,
12    it stated that I was -- I was reassigned, but
13    there was an altercation with me and a team lead
14    named Sara.       And it was:      Either move Colleen or
15    I quit.
16            Q.      What kind of altercation did you
17    have?
18            A.      I was on one of the hardest jobs on
19    C line, building pass-through plates, chassis
20    blocks.      Numerous things.        And I was already two
21    in the hole when I came in the door to fill in
22    for someone, and I asked the team lead for help.
23            Four hours later, when lunch came around,
24    I still had no help.          And then she tried to yell
25    at me at the end of the shift when everyone was


                                                                    JA000116
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 117 of 540


                                                                           117
 1                               C. BEHM
 2    still lined up at the time clock, and I was
 3    still working.        And I told her:        I asked for
 4    help numerous times, and you stood over there
 5    flirting with the other gentlemen on the line
 6    instead of helping.
 7            So since I told her how I saw it, I got
 8    kicked off of the line and moved out to L line.
 9            Q.      So in terms of altercation, you mean
10    just a verbal altercation, not a physical
11    altercation?
12            A.      Correct.
13            Q.      And so you made the comment that,
14    you know, Colleen needs to move.              Are you saying
15    that Sara said if you weren't moved that she was
16    going to quit?
17            A.      Absolutely.
18            Q.      Who did she say that to?
19            A.      Everybody at the clock-out line.
20    She was very beside herself about the ordeal.
21            Q.      Did she report it to a supervisor?
22            A.      Brian came over, the C line
23    supervisor, and I told him exactly what
24    happened, that I asked for help numerous times,
25    and it was her job as that area team lead to


                                                                    JA000117
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 118 of 540


                                                                           118
 1                               C. BEHM
 2    assist where it was needed.            And she failed to
 3    do her job.
 4             Q.     And so you said this was when you
 5    moved from which job?
 6             A.     From C line to L line.
 7             Q.     And do you recall when that took
 8    place?
 9             A.     Can I look back at the --
10             Q.     Was that the May -- well, yeah, it's
11    fine.     Please.     Yeah, you're welcome to refresh
12    your mind.
13             Was that the May 2018?          Might be easier to
14    look at the document before that.
15             A.     Yes.
16             Q.     May of 2018?
17             A.     Yes.
18             Q.     Did you get written up for that?
19             A.     No.
20             Q.     Any other write-ups that you recall?
21             A.     No.
22                          (Notice of Formal Documented
23                    Discussion, Attendance Policy is
24                    received and marked as Exhibit 13
25                    for identification, as of this


                                                                    JA000118
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 119 of 540


                                                                           119
 1                               C. BEHM
 2                    date.)
 3            Q.      Ms. Behm, I'm going to hand you
 4    what's been marked as Exhibit Number 13.                 Take a
 5    minute and look at that and let me know when
 6    you're ready to answer questions.
 7            A.      I'm ready.
 8            Q.      Okay.     What is Exhibit 13?
 9            A.      This is a Notice of Formal
10    Documented Discussion for the Attendance Policy.
11            Q.      So this is -- as we talked earlier
12    under the attendance policy, it was a
13    points-based system, and at certain -- when you
14    incurred a certain amount of points, you would
15    get a particular type of discipline; is that an
16    accurate statement?
17            A.      Yes.
18            Q.      Okay.     So did you receive a
19    documented discussion on July 24th of 2018,
20    under the attendance policy?
21            A.      Yes.
22            Q.      And did you dispute this write-up or
23    this documented discipline?
24            A.      Yes.
25            Q.      In what way did you dispute it?


                                                                    JA000119
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 120 of 540


                                                                           120
 1                               C. BEHM
 2            A.      Through Carl Kerchner.
 3            Q.      What was your issue with it?
 4            A.      Carl and I went to Brian, my
 5    supervisor on C line, to request time off for me
 6    for my wedding.        Brian declined.        So then we
 7    went to the plant manager.            He said:      Go enjoy
 8    your wedding.         Which I did.     And I got written
 9    up for two days that I took off for my wedding.
10            Q.      Which of these two dates were those?
11            A.      7/6 and 7/9.
12            Q.      And there's a note out to the side
13    of I guess the 7/9 entry where it says, absent,
14    unexcused, no notice.          And it says:       Did give
15    notice.      Do you know whose handwriting that is?
16            A.      No.
17            Q.      Did you file a grievance over this
18    disciplinary action?
19            A.      I don't remember.
20            Q.      Do you know if this was removed from
21    your record?
22            A.      I'm sure it wasn't.          It's right here
23    that it wasn't excused.
24            Q.      And who issued this disciplinary
25    action to you?


                                                                    JA000120
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 121 of 540


                                                                           121
 1                               C. BEHM
 2            A.      Kaitlyn.
 3            Q.      And did you and Carl meet with
 4    Kaitlyn to discuss the discipline?
 5            A.      Yes.
 6                        (Notice of Disciplinary Action
 7                    are received and marked as Exhibit
 8                    14-15 for identification, as of this
 9                    date.)
10            Q.      Ms. Behm, I'm going to hand you what
11    has been marked as Exhibit 14 and Exhibit 15.
12    Do you recognize both of those documents?
13            A.      Yes.
14            Q.      Now, you referenced a few minutes
15    ago that you were written up twice for leaving
16    your work area.        Are these the write-ups for
17    those violations?
18            A.      Yes.
19            Q.      So let me look at Exhibit 14 to
20    start with.       That one was issued July 24, 2018;
21    is that right?
22            A.      Yes.
23            Q.      And who issued that to you?
24            A.      The supervisor was Carolina O'Connor
25    at the time.


                                                                    JA000121
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 122 of 540


                                                                           122
 1                               C. BEHM
 2            Q.      Now, tell me what the problem was,
 3    from your perspective, with this write-up.
 4            A.      She put:      Leaving assigned work area
 5    during work hours, without permission.                I'm not
 6    assigned to an area.          I'm assigned to the line.
 7            Q.      Do you know what happened on this
 8    particular date on -- it looks like July 19,
 9    2018?
10            A.      Yes.
11            Q.      What happened?
12            A.      I was right next to the area in
13    kitting, assisting with a dash.
14            Q.      And was that part of your job duty,
15    to work in kitting?
16            A.      Yes.
17            Q.      As a flex tech, you would work in
18    kitting, as well?
19            A.      All of L line.
20            Q.      So did Ms. O'Connor tell you why you
21    were written up for being off the line that day?
22            A.      Yes.
23            Q.      Why?
24            A.      Because she said I left my work
25    area.


                                                                    JA000122
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 123 of 540


                                                                           123
 1                               C. BEHM
 2            Q.      So did you formally dispute this
 3    disciplinary action in any way?
 4            A.      Yes, I refused to sign it.
 5            Q.      Did you file a grievance?
 6            A.      I don't remember.
 7            Q.      Was there a union representative
 8    with you when this was issued to you?
 9            A.      I believe Carl was there.
10            Q.      If you look at the next document,
11    Exhibit 15, what's the date on this disciplinary
12    action?
13            A.      3/8/2019.
14            Q.      Who was the supervisor that issued
15    it to you?
16            A.      Zachary.
17            Q.      And, again, this was written up for
18    violation of Work Rule 2 for not being in your
19    area?
20            A.      Yes.
21            Q.      Do you remember what happened on
22    this occasion that caused you to be write up --
23            A.      Yes.
24            Q.      -- to be written up, excuse me.
25            A.      I was assisting in the kitting area


                                                                    JA000123
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 124 of 540


                                                                           124
 1                               C. BEHM
 2    for the steering columns.            And that team lead
 3    was mad that I was helping another team lead
 4    assist on installing brackets.
 5            Q.      So was the other team lead -- were
 6    you supposed to be assisting that team lead with
 7    something?
 8            A.      Like I said, I'm tied to the line,
 9    not a team lead or a supervisor.
10            Q.      But I guess I'm asking, did you
11    have -- were there multiple duties you were
12    supposed to be doing that day?
13            A.      Wherever they needed me on L line, I
14    was to assist.        That was my job.
15            Q.      So if I understand, you're saying
16    the other team leader needed you for something,
17    but you were already assisting at the time?
18            A.      He didn't even need me.           He was just
19    mad that I wasn't in his area so he could play
20    solitaire and smoke cigarettes.
21            Q.      And who was that team lead?
22            A.      I believe his name was Justin.              I
23    could be wrong.        He was in the very first
24    section after the sleepers came on the line.
25            Q.      So would Justin -- Justin was a team


                                                                      JA000124
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 125 of 540


                                                                           125
 1                               C. BEHM
 2    lead.     Zachary was the supervisor?
 3             A.     Yes.
 4             Q.     So Justin would report to Zachary?
 5             A.     Yes.
 6             Q.     Did you meet with Zachary about this
 7    disciplinary action?
 8             A.     He came up to me the day after it
 9    happened and handed me the disciplinary action.
10             Q.     Was there a union representative
11    there?
12             A.     I told him to go find Carl.             And
13    Fallon, who was the team leader I was assisting,
14    he went to -- Carl went to Fallon, and Fallon
15    said, Yeah, she was helping me with brackets.
16    And Zack said, Well, HR already has the
17    disciplinary action, so I can't retract it.                   So
18    it was confirmed that I was doing my job.
19             Q.     Did you do anything to formally
20    dispute this disciplinary action?
21             A.     I thought me not signing it was
22    statement enough.
23             Q.     Did you file a grievance over this?
24             A.     I don't remember.
25                        (Letter dated 3/3/20 is received


                                                                    JA000125
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 126 of 540


                                                                           126
 1                               C. BEHM
 2                    and marked as Exhibit 16 for
 3                    identification, as of this date.)
 4            Q.      I'll hand you what has been marked
 5    as Exhibit 16.        Again, if you would look at that
 6    and let me know when you're ready to answer
 7    questions.
 8            A.      I am ready.
 9            Q.      What is Exhibit 16?
10            A.      This is a list of days I was absent
11    and their corrective actions at Mack Trucks.
12            Q.      So on this particular occasion, it
13    looks likes you were being issued an informal
14    document of discussion.           Is that what this is?
15            A.      For this, yes.
16            Q.      And this was again for violation of
17    the attendance policy; is that right?
18            A.      Yes.
19            Q.      Who issued this to you?
20            A.      Kaitlyn.
21            Q.      Did you dispute this write-up?
22            A.      Yes.
23            Q.      Why did you dispute this one?
24            A.      Because every single absence on this
25    I had either a subpoena or a court order that I


                                                                    JA000126
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 127 of 540


                                                                           127
 1                               C. BEHM
 2    had to be in court, and they wrote me up for not
 3    being there at work.
 4             Q.     So what did you have to be in court
 5    for on these dates?
 6             A.     I had to be in court for my
 7    protection order.         I had to be in court for
 8    hearings for his charges.            I had to be in
 9    custody court, child support court.               All orders
10    by the judge.
11             Q.     Now, it looks like two of the dates
12    on here are marked through.            Do you know why
13    that is?
14             A.     No, I do not.
15             Q.     So you did not think you should have
16    been written up for any of these dates?
17             A.     I can't be at two places at once.
18             Q.     Again, so my question is, you don't
19    think you should have been written up for any of
20    these?
21             A.     Absolutely not.
22             Q.     Is attending a court hearing an
23    excused absence?
24             A.     Yes.
25             Q.     Under the attendance policy?


                                                                    JA000127
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 128 of 540


                                                                           128
 1                               C. BEHM
 2            A.      Under the State of Pennsylvania.
 3            Q.      If you have a subpoena or any court
 4    appearance?
 5            A.      I believe any court appearance, if
 6    you're ordered by the court, you have to be
 7    there or a warrant for your arrest is issued.
 8            Q.      Now, were all of these court
 9    appearances, was your attendance required?
10            A.      Yes.
11            Q.      And did you miss the entire day for
12    all of these court appearances?
13            A.      Yes.
14            Q.      Even if your hearing was in the
15    morning you would miss the entire day of work?
16            A.      I believe there's actually a court
17    hearing I didn't even attend.
18            Q.      But if the hearing lasted for an
19    hour, would you miss the entire day of work?
20            A.      Yes, because I lived an hour away.
21            Q.      Where did the hearings take place?
22            A.      Berks County, and I worked in
23    Lehigh.
24            Q.      Where is the courthouse in Berks
25    County?


                                                                    JA000128
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 129 of 540


                                                                           129
 1                               C. BEHM
 2             A.     Reading, Pennsylvania.
 3             Q.     Did you meet with Kaitlyn to discuss
 4    this attendance write-up?
 5             A.     Yes.
 6             Q.     Was anybody else present when you
 7    met with her?
 8             A.     My second shift, new union rep,
 9    Kevin -- I don't know his last name.                What is
10    that?     Meckes-Gibbons?       M-E-C-K-E-S, dash
11    Gibbons.      That was the first time I met with
12    Kevin.
13             Q.     And did you file a grievance over
14    that attendance violation?
15             A.     I don't recall if it was a
16    grievance, but we had a meeting with Kaitlyn.
17             Q.     Outside of the disciplinary actions
18    we just reviewed, do you recall any other
19    disciplinary actions that you received during
20    your time at Mack?
21             A.     No.    But I know this three -- I
22    think it's three -- no, I'm sorry.               One of these
23    dates I was out sick, and Kaitlyn asked me for a
24    doctor's note, so I supplied her with the
25    doctor's note.        And she went on to ask me about


                                                                    JA000129
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 130 of 540


                                                                           130
 1                               C. BEHM
 2    my health and why I had a doctor's note.                 And I
 3    told her that I thought that was a HIPAA
 4    violation, that a doctor's note is sufficient
 5    enough.      And she refused to take off that point,
 6    also.
 7            Q.      Under the attendance policy, is
 8    having a doctor's note -- does having a doctor's
 9    note create an excused absence?
10            A.      I don't remember.
11            Q.      All right.      I want to talk now about
12    your leave of absence in 2018.             I know we have
13    already talked about that briefly earlier.
14                        (Benefits document is received
15                    and marked as Exhibit 17 for
16                    identification, as of this date.)
17            Q.      I'll hand you what has been marked
18    as Exhibit 17.        Let me know when you're ready to
19    talk about this.
20            A.      Okay.
21            Q.      All right.      So, this appears to be a
22    request for A&S leave benefits that you
23    completed in August of 2018; is that correct?
24            A.      Yes.
25            Q.      We discussed your leave of absence


                                                                    JA000130
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 131 of 540


                                                                           131
 1                               C. BEHM
 2    in August of 2018, earlier, and I believe this
 3    was when you were injured when you were on
 4    vacation.
 5            A.      Yes.
 6            Q.      And you hurt your shoulder?
 7            A.      Yes.
 8            Q.      Now, you indicated you had already
 9    had a shoulder injury before.             When did the
10    prior shoulder injury occur?
11            A.      April of 2013, I broke my clavicle.
12            Q.      Before you came to Mack?
13            A.      Yes.
14            Q.      I'm just going to kind of flip
15    through these pages.          I may have a couple of
16    questions for you.
17            The second page of this document, is that
18    your signature about halfway down the page?
19            A.      Yes.
20            Q.      And if you look at the next page of
21    the document, which appears to be a medical
22    statement.      Was Craig O'Neill your physician at
23    that time?
24            A.      Yes.
25            Q.      What kind of doctor is he?


                                                                    JA000131
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 132 of 540


                                                                           132
 1                               C. BEHM
 2            A.      Orthopedic.
 3            Q.      And over on the right-hand side of
 4    the page, there's a notation that you were
 5    injured, it looks like, on August 7th of 2018,
 6    and it says:       Fell on cruise; is that correct?
 7            A.      Uh-huh.
 8            Q.      Yes?
 9            A.      Yes.
10            Q.      I believe you told me you were
11    injured when you were swimming?
12            A.      Yeah.     I didn't fill this paper out.
13    He did.
14            Q.      Did you tell him you fell?
15            A.      I told him it happened on a cruise.
16    Maybe he filled this out afterwards.                I don't
17    know.
18            Q.      And he indicated that you were
19    disabled from August the 13th through August the
20    27th of 2018.       Down on the left-hand side.
21            A.      Correct.
22            Q.      If you'll flip over a couple of
23    pages, there's a document at the -- well, if we
24    look at the Bates Number down at the bottom,
25    it's Plaintiff's 330.          It starts with Part A,


                                                                    JA000132
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 133 of 540


                                                                           133
 1                               C. BEHM
 2    Medical Facts, at the top of it.
 3            A.      Yes.
 4            Q.      If you go down, in question 3, so
 5    there's a line there that says:              Is the employee
 6    unable to perform any of his or her job
 7    functions due to the condition?
 8            And he says:       Yes.
 9            A.      Correct.
10            Q.      No lifting, pushing, or pulling.
11            So you were not able to perform your job
12    at this time?
13            A.      At that time, I was not.
14            Q.      Did you apply for FMLA leave at this
15    time?
16            A.      FMLA or A&S?
17            Q.      FMLA.     Did you apply for FMLA leave
18    for this absence?
19            A.      I don't remember.
20            Q.      At this point in time, you had not
21    been employed by Mack for a year, had you?
22            A.      It goes by hours, not time, like --
23    not like a year.        It's amount of hours in a year
24    time.
25            Q.      But, again, my question was, at this


                                                                    JA000133
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 134 of 540


                                                                           134
 1                               C. BEHM
 2    point in time, you had not been employed for a
 3    year, correct?
 4            A.      Correct.
 5            Q.      All right.      So if you would flip
 6    over to the page that, down at the bottom is
 7    marked Plaintiff's 334.           It's a document called
 8    Diagnosis Treatment Plan.
 9            A.      Yes.
10            Q.      All right.      And at this point in
11    time, it looks like -- and, again, I take it,
12    was this completed by Dr. O'Neill?
13            A.      Yes.
14            Q.      And he says, the treatment plan is:
15    Rest, physical therapy, with a follow-up on
16    October the 9th.
17            A.      Correct.
18            Q.      So did you remain out of work
19    through that time period?
20            A.      Yes.
21            Q.      If you would flip over to
22    Plaintiff's 339, called the Physical
23    Capabilities Checklist.           Do you see that?
24                        MR. BAIRD:       It's hard to see.
25                    It's obscured.


                                                                    JA000134
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 135 of 540


                                                                           135
 1                               C. BEHM
 2            A.      Okay.     Yes.    The page?
 3            Q.      It's dated September 19, 2018, looks
 4    like?
 5            A.      Yes.
 6            Q.      And at this point in time, again, is
 7    this Dr. O'Neill that filled out this document?
 8            A.      Yes.
 9            Q.      And it indicates "No workup" at the
10    top?
11            A.      Correct.
12            Q.      All right.       And if you go to the
13    next page, and over on the right-hand side,
14    again, we have a description of when the
15    accident occurred, August 7, 2018.               And this
16    time it says zip-lining.
17            A.      I see that.
18            Q.      Do you know where Dr. O'Neill got
19    that information from?
20            A.      I did go zip-lining.
21            Q.      Did you hurt your shoulder
22    zip-lining?
23            A.      I mean, zip-lining hurts every part
24    of the body.
25            Q.      What exactly did you tell


                                                                    JA000135
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 136 of 540


                                                                           136
 1                               C. BEHM
 2    Dr. O'Neill about how you got hurt?
 3            A.      I told him about the sea lion, but
 4    he did ask me everything I did on the cruise.
 5    Maybe he was putting it through all of the
 6    different aspects of the cruise.
 7            Q.      All right.      And if you would look at
 8    the next page.
 9            A.      Okay.
10            Q.      What is this document?
11            A.      Physical Capabilities Checklist
12    from -- from Mack Trucks.
13            Q.      And so is this a-- is this a Return
14    to Work document?
15            A.      I don't know what this is.
16            Q.      If you look halfway down the
17    right-hand side of this document, it indicates
18    that you were able to return to work with
19    restrictions per physical capabilities from 11/6
20    of '18.
21            Do you see that?
22            A.      Yes.    That's from Helene who is a
23    Mack employee.
24            Q.      Okay.     And then over on the
25    left-hand side, down at the bottom:               May lift 30


                                                                    JA000136
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 137 of 540


                                                                           137
 1                               C. BEHM
 2    pounds, no more than 10 pounds above shoulder
 3    level?
 4             A.     Yes.
 5             Q.     Did you have those restrictions when
 6    you returned to work at Mack?
 7             A.     It says that, but when I returned, I
 8    was working on L line in the kitting area, with
 9    very heavy steering columns.
10             Q.     All right.      So if you would look at
11    the next page, please.
12             A.     Yes.
13             Q.     Is this a document completed by
14    Dr. O'Neill?
15             A.     Yes.
16             Q.     And if you look down at the bottom,
17    did he release you to return on November 8th of
18    2018, with no restrictions?
19             A.     Yes.
20             Q.     And what date did you actually
21    return to work?
22             A.     That, I don't know the exact date.
23             Q.     If we go back and look at Exhibit
24    Number 9, it looks like, according to that
25    document, you returned to work on November 16th,


                                                                    JA000137
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 138 of 540


                                                                           138
 1                               C. BEHM
 2    I believe.
 3            A.      Yes.
 4            Q.      And did you return to a different
 5    job when you came back in November of 2018?
 6            A.      Yes.
 7            Q.      So what job did you go into in
 8    November of 2018?
 9            A.      I was on L line.
10            Q.      Do you know why you got moved to a
11    different job in November of 2018?
12            A.      I was moved every day so I couldn't
13    tell you exactly what time of each day I was on
14    what job.      I can tell you around about.
15            Q.      Okay.     So let me go back because
16    maybe my question is bad.
17            Did you move to a different line when you
18    came back from this leave of absence?
19            A.      I don't remember.
20            Q.      Do you recall why it took a week
21    from your release until you went back to work?
22            A.      I believe it was something with
23    placement.
24            Q.      What do you mean by "placement"?
25            A.      Mack had to decide, I guess, which


                                                                    JA000138
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 139 of 540


                                                                           139
 1                               C. BEHM
 2    line to put me on.         I was flex.       They could put
 3    me wherever they wanted.
 4            Q.      But you went back into the flex tech
 5    position at that point in time?
 6            A.      Yes.
 7            Q.      Not a different -- you weren't just
 8    a production tech at that time?
 9            A.      Correct.
10                        (Email is received and marked as
11                    Exhibit 18 for identification, as of
12                    this date.)
13            Q.      I'm handing you what's been marked
14    as Exhibit 18.
15            A.      Okay.
16            Q.      Do you recognize that document?
17            A.      I've never seen this document.
18            Q.      Yeah.     I was going to say, it's
19    probably not something you've ever seen.
20            This is an email, obviously an internal
21    email from Mack that indicates that in --
22    you requested two weeks of emergency leave the
23    week of December 3rd, 2018 and December 10th of
24    2018.    Do you recall requesting emergency leave
25    then?


                                                                    JA000139
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 140 of 540


                                                                           140
 1                               C. BEHM
 2            A.      Yes.
 3            Q.      Why did you request emergency leave?
 4            A.      My husband pulled a gun out at me.
 5            Q.      And do you know when that happened
 6    exactly, the date?
 7            A.      It was either the -- it was right
 8    before December 3rd, so either the 1st or the
 9    2nd.
10            Q.      And did you -- were you granted
11    emergency leave?
12            A.      They denied it.
13            Q.      Did they tell you why they denied
14    your leave request?
15            A.      I was on a group phone call with
16    Kaitlyn and I believe Kevin Fronheiser at the
17    time, and Kaitlyn asked me if there was a
18    college student that could watch my daughter for
19    me, because I had no child care at the time.
20            And I said:       My daughter just went through
21    a traumatic experience seeing her father pull a
22    gun out at me.        I don't think I can find
23    someone.
24            Q.      So were you requesting emergency
25    leave because you needed child care?


                                                                    JA000140
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 141 of 540


                                                                           141
 1                               C. BEHM
 2            A.      I needed to find a place to live.
 3            Q.      So you moved out of your house --
 4            A.      Yes.
 5            Q.      -- as a result?
 6            A.      Yes.
 7            Q.      The house where you were living, was
 8    it your house?
 9            A.      We were renting it together.
10            Q.      Is that the same house you currently
11    live in?
12            A.      No.
13            Q.      What was the address of that?
14            A.      608 Main Street, Blandon,
15    Pennsylvania.
16            Q.      Is that a house that you moved into
17    after you got married?
18            A.      Yes.
19            Q.      So where did you move after this
20    incident happened?
21            A.      216 Halsey Avenue, where I currently
22    reside.
23            Q.      And how long did it take you to make
24    that move from one location to the other?
25            A.      I moved in right before Christmas.


                                                                    JA000141
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 142 of 540


                                                                           142
 1                               C. BEHM
 2            Q.      So where did you live between the
 3    incident and moving into the -- your current
 4    address?
 5            A.      My sister's couch.
 6            Q.      Where does your -- and I know you
 7    told me where your sister lives.
 8            A.      She was living in Mohnton at that
 9    time.
10            Q.      And I'm not sure -- circling back to
11    the question I asked you a minute ago, did they
12    tell you why they denied your request for
13    emergency leave?
14            A.      Because they needed me at work.
15            Q.      There's a reference in here to a
16    Drew, is it Kuhn?         Kuhn?    Do you know who that
17    is?
18            A.      I don't know who that is.
19            Q.      Was that your supervisor at the
20    time?
21            A.      That, I don't know.          I think Drew
22    was -- yes, Drew was the supervisor for the
23    whole L line.       I never really spoke to him.             But
24    I believe he was the L line supervisor.
25            Q.      Okay.


                                                                    JA000142
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 143 of 540


                                                                           143
 1                               C. BEHM
 2                        (Short Term Disability Benefit
 3                    Claim Form is received and marked as
 4                    Exhibit 19 for identification, as of
 5                    this date.)
 6            Q.      I hand you what has been marked as
 7    Exhibit 19.       I apologize.       This is not the
 8    greatest copy in the world so I apologize for
 9    that.    I think it's one of those documents
10    that's been scanned too many times and got
11    blurry, so --
12            A.      It's okay.
13            Okay.
14            Q.      All right.      So after the request for
15    emergency leave was denied, did you apply for
16    accident -- A&S benefits?
17            A.      Yes.
18            Q.      And is this the paperwork that you
19    submitted to apply for A&S benefits in December
20    of 2018?
21            A.      Yes.
22            Q.      It looks like you applied on
23    December the 5th?
24            A.      Yes.
25            Q.      All right.      And if you look at the


                                                                    JA000143
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 144 of 540


                                                                           144
 1                               C. BEHM
 2    second page of this document, looks like there's
 3    a different physician or maybe physician's
 4    assistant who filled this out, Brent -- Brent
 5    Calhoon?
 6            A.      Yes.
 7            Q.      Where is Brent -- what practice is
 8    he with?
 9            A.      Green Hills Family Medicine.
10            Q.      That's in Reading?
11            A.      Flying Hills.
12            Q.      And what was the reason you took A&S
13    leave in December of 2018?
14            A.      Well, I initially requested just a
15    leave of absence to get my things in order.                  And
16    with Mack being very un -- having no compassion,
17    my anxiety skyrocketed.           And I was concerned for
18    my well-being and my family's well-being.                 So I
19    took off.
20            Q.      And if you look over a couple more
21    pages to the page that's Bates labeled Plaintiff
22    350.
23            A.      Yes.
24            Q.      Is that a form that was filled out
25    by Brent Calhoon, and there's -- do you know who


                                                                    JA000144
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 145 of 540


                                                                           145
 1                               C. BEHM
 2    the other name is?
 3             A.     Yes.    Kimberly Rauenzahn.
 4             Q.     Who is Kimberly?         Is she the doctor?
 5             A.     She -- Brent is a PAC.           Kaitlyn felt
 6    like he wasn't able to diagnose and wanted a DO,
 7    so she sent this back and made a DO sign it,
 8    also.
 9             Q.     She's in the same practice with
10    Brent?
11             A.     Yes.
12             Q.     And according to this document, the
13    diagnosis was:        Major depression, recurrent and
14    generalized anxiety.
15             A.     Yes.
16             Q.     All right.      And if you look at the
17    next page, again, is this a document that was
18    filled out by Mr. Calhoon?
19             A.     Yes.
20             Q.     It indicates your estimated length
21    of disability is one to three months?
22             A.     Yes.
23             Q.     And were you able to work at this
24    point in time?
25             A.     No.


                                                                    JA000145
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 146 of 540


                                                                           146
 1                               C. BEHM
 2            Q.      If you flip over to the next page,
 3    when were you released to return back to work?
 4            A.      I saw him on a -- I believe it was a
 5    Tuesday or Wednesday before the 21st.                And he
 6    told me to have a fresh start that coming
 7    Monday.
 8            Q.      So when you returned to work on
 9    January 21st of 2019, what position did you work
10    in?
11            A.      L line, where I was when I left.
12            Q.      Still in a production flex position?
13            A.      Yes.    I was back at the steering
14    columns.
15            Q.      Explain that to me, because you said
16    you were back at the steering columns.                I
17    thought in a flex position you did whatever.
18            A.      Yeah.
19            Q.      So when you say that you're at the
20    steering columns, would you just work in the
21    steering columns, or would you work up and down
22    the line?
23            A.      Mainly that area, whether it be the
24    area before, area after it, sometimes the area
25    up a little bit.        I specialized pretty much in


                                                                    JA000146
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 147 of 540


                                                                           147
 1                               C. BEHM
 2    dash and all the way back.            So that was the area
 3    I mainly stayed in.
 4            Q.      So when you would come into work
 5    each day, would you be told -- would somebody
 6    say:    Here's where you need to go work today?
 7            A.      I would apply -- apply -- I would go
 8    to the same area I was at the day before, and if
 9    nothing changed, they didn't need me somewhere
10    else, I would float around that area and assist
11    where I was needed.
12            Q.      Who was responsible for telling
13    you -- like if you needed to move from one area
14    to another, who would tell you that?
15            A.      Normally, a supervisor on L line
16    would come up to me and say:             Hey, we need you
17    in this area or that area.            But I would stay on
18    L line.
19            Q.      You didn't have a particular
20    supervisor that would come, say, All right,
21    today you need to be in this area?               Any of the
22    supervisors on L line can move you around?
23            A.      Pretty much, but Drew would conduct
24    it.
25                        (Corrective Action Request


                                                                    JA000147
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 148 of 540


                                                                           148
 1                               C. BEHM
 2                    Application is received and marked
 3                    as Exhibit 20 for identification, as
 4                    of this date.)
 5            Q.      I hand you what has been marked as
 6    Exhibit 20.
 7            A.      Okay.
 8            Q.      Is this a document you have ever
 9    seen before?
10            A.      No.
11            Q.      I want to ask you -- so, again, we
12    talked earlier that in May of 2019, you -- you
13    had an injury at work?
14            A.      Yes.
15            Q.      Tell me what happened on that date.
16            A.      I stepped into a sleeper cab and
17    there was a bracket that I smashed my head on.
18            Q.      And did you cut yourself?
19            A.      I had like an indent on the top of
20    my forehead right here, but it wasn't like a
21    laceration.       I wasn't bleeding.
22            Q.      What were the other symptoms after
23    that happened?
24            A.      I started seeing dots right after it
25    happened, and I sat down.            And the person I was


                                                                    JA000148
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 149 of 540


                                                                           149
 1                               C. BEHM
 2    working with -- I don't recall their name --
 3    said, Are you okay?         I said, Get the supervisor.
 4    And I believe Don came over.             And I said, I hit
 5    my head.     And he asked if I was okay.             I said,
 6    Yeah, just let me get a drink of water.                 I'll be
 7    okay.
 8            And throughout the day I noticed that my
 9    ears started ringing.          My eyesight got really
10    sensitive to light, and didn't really have an
11    appetite.      Just started feeling sick.            So by the
12    end of the day, I said, you know, I'm not
13    feeling good.       I need to report this to Medical.
14    And I did.
15            Q.      So how did you report it to Medical?
16            A.      I went to Medical, to the medical
17    unit, and told them what happened.
18            Q.      So according to, you know, this
19    document, it indicates up at the top that the
20    incident was reported on May the 8th of 2019,
21    and it says the day of the incident was
22    approximately -- I think that says 8:30 am.                  Do
23    you know if that's correct?            Maybe it's 9:30.         I
24    can't tell for sure.
25            A.      Where do you see that?


                                                                    JA000149
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 150 of 540


                                                                           150
 1                               C. BEHM
 2            Q.      The second entry says:           Date of
 3    incident, and it has May 8th of 2019, and has a
 4    time right next to it.
 5            A.      It's probably 8:30 because I
 6    remember it was before first break.               And first
 7    break was at 9:10.         Or, I'm sorry.        9:20.
 8            Q.      But if I understand you correctly,
 9    you worked most of the shift before you went to
10    Medical?
11            A.      Yes.
12            Q.      Now, what happened when you went to
13    the medical department that day?
14            A.      I told them I hit my head.            And I
15    was harassed to go in an ambulance to the
16    hospital.      And it was the end of the day.              I
17    said, I can't.        I live an hour away.          I have to
18    get my kids.       There's no way I can leave right
19    now and go to the hospital.
20            Instead of them signing a paper waiving
21    that right, they continued to have HR and other
22    representatives from the plant come up to me and
23    harass me about going to the hospital.
24            I said, No, give me the paper.              I'll waive
25    my rights.      I'll go to the hospital when I get


                                                                     JA000150
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 151 of 540


                                                                           151
 1                               C. BEHM
 2    home and I find care for my kids.              And that's
 3    what happened.
 4            Q.      So did you go to the hospital after
 5    you got home?
 6            A.      Absolutely.
 7            Q.      What did they tell you at the
 8    hospital?
 9            A.      I had a concussion.
10            Q.      What did they tell you to do because
11    of that?
12            A.      A minimum of 48 hours of brain rest,
13    meaning, go home, sit in a darkened room, keep
14    all the blinds shut, no sounds, just let your
15    brain recuperate.
16            Q.      So did you work the day after that?
17            A.      Mack called me, harassing me,
18    telling me I needed to get back into work.
19            Q.      When did you go back to work?
20            A.      That day.
21            Q.      So the injury occurred on May the
22    8th.
23            A.      Yes.
24            Q.      Did you work May the 9th?
25            A.      That's when they called me and told


                                                                    JA000151
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 152 of 540


                                                                           152
 1                               C. BEHM
 2    me I had to come in.          I came in the next day,
 3    the 10th.
 4            Q.      When you came in on the 10th, did
 5    you have a meeting in -- in the dispensary?
 6            A.      Yes.    For four hours.
 7            Q.      What happened in that meeting?
 8            A.      I told them that I was not supposed
 9    to be there.       I gave them my medical paperwork
10    from the hospital, stating I was still supposed
11    to be having brain rest.           And they told me that
12    they could supply me with tinted glasses for
13    light sensitivity.         They would provide me with,
14    not earmuffs, but something to help with the
15    sound, and asked if I would go on the floor,
16    wiping down carts.
17            I said, You guys are going against what
18    the hospital told me, with a minimum of 48 hours
19    of brain rest.        It hasn't even been 48 hours.
20            They told me -- or I told them I shouldn't
21    even be there.        That I shouldn't have even drove
22    in.
23            And they said that they would have sent a
24    shuttle to pick me up to come in.
25            And I flat out told them, If I have to --


                                                                    JA000152
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 153 of 540


                                                                           153
 1                               C. BEHM
 2    if you have to send a shuttle to pick me up, I
 3    should not be in a manufacturing plant, putting
 4    other people's lives at risk.
 5            And after four hours -- Carl Kerchner was
 6    sitting right next to me the whole four hours --
 7    Mack finally said, Okay, go home.
 8                          (Physical Capabilities Checklist
 9                    is received and marked as Exhibit 21
10                    for identification, as of this
11                    date.)
12            Q.      I hand you what has been marked as
13    Exhibit 21.
14            A.      Okay.
15            Q.      So have you seen this document
16    before?
17            A.      No.
18            Q.      So this appears to be a medical
19    evaluation on May 10th of 2019.              Is that the day
20    you returned to the plant?
21            A.      On the 10th?
22            Q.      Yes.
23            A.      Yes.
24            Q.      And when you came back to the plant
25    that day, who did you see in the dispensary?


                                                                    JA000153
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 154 of 540


                                                                           154
 1                               C. BEHM
 2            A.      Dr. Muto.
 3            Q.      And did Dr. Muto release you to
 4    return to the light-duty job that day?
 5            A.      He tried to.
 6            Q.      And over on the left-hand side, it
 7    says:    No exposure to bright light.             So bottom
 8    of the left.
 9            A.      Yes.
10            Q.      Did you have any other restrictions
11    besides limited exposure to bright light?
12            A.      He was not my physician.
13            Q.      That's what I mean.          From the
14    emergency room, did you have other restrictions?
15            A.      Yes.
16            Q.      What were they?
17            A.      No sounds.
18            Q.      What else?
19            A.      Pretty much what I stated before;
20    brain rest, sit in a darkened room, no sounds.
21    I didn't even have my kids.
22            Q.      And you said 48 hours of rest,
23    correct?
24            A.      Minimum, 48 hours.
25            Q.      All right.      And on the second page


                                                                    JA000154
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 155 of 540


                                                                           155
 1                               C. BEHM
 2    of this document, was there a -- did you -- was
 3    there a Workers' Comp claim filed as a result of
 4    this accident?
 5            A.      Yes.
 6            Q.      And was that claim denied?
 7            A.      Yes.
 8            Q.      Were you told why it was denied?
 9            A.      Because I did not go to the hospital
10    that they wanted me to go to.             It wasn't in
11    network.
12                        (Three-page doctor notes is
13                    received and marked as Exhibit 22
14                    for identification, as of this
15                    date.)
16            Q.      I've handed you what has been marked
17    as Exhibit 22.
18            A.      Okay.
19            Q.      Have you ever seen this document
20    before?
21            A.      Not that I recall.
22            Q.      All right.      These are -- this is a
23    document from your medical records at Mack.                  And
24    it appears to reference the incident that
25    occurred on May 10th, 2019; is that correct --


                                                                    JA000155
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 156 of 540


                                                                           156
 1                               C. BEHM
 2    or excuse me, not the incident.              Your meeting in
 3    the dispensary on May 10th of 2019.
 4            A.      Yes.
 5            Q.      So down at the bottom of the page it
 6    indicates -- there's a -- it says Workers' Comp
 7    number.
 8            Do you see that at the very bottom?
 9            A.      Yes.
10            Q.      It says, Addendum:         Patient
11    indicates she is unwilling to perform light
12    duty.
13            Did you refuse to perform light duty?
14            A.      I refused to perform any duty during
15    the time that the hospital told me to be on
16    brain rest.       So that was the day they were
17    trying to make me return to work, against
18    hospital wishes.
19            Q.      And Dr. Muto sent you home that day?
20            A.      Yes.
21            Q.      And when did he tell you to come
22    back?
23            A.      I believe Monday.
24            Q.      All right.      If you would look over
25    at the next page of the document.


                                                                    JA000156
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 157 of 540


                                                                           157
 1                               C. BEHM
 2             A.     The 243?
 3             Q.     Yes.    243.
 4             Down at the very bottom -- very bottom
 5    line, starts on the end of the second-to-last
 6    line, did you refer to Dr. Muto as a
 7    veterinarian?
 8             A.     Absolutely.
 9             Q.     Why did you do that?
10             A.     Because he's crooked.
11             Q.     Why do you say that?
12             A.     He's going against all other
13    doctors.      He thinks he's the doctor.            He's not.
14             Q.     All right.      And then if you look at
15    the next page, on 244.
16             A.     Yes.
17             Q.     The bottom of that first paragraph,
18    did you tell the nurse in the dispensary that if
19    you go out there and get sick, you're f'ing
20    suing?
21             A.     Where do you see that?
22             Q.     Very last line of the first
23    paragraph.
24             A.     What page?
25             Q.     244.


                                                                    JA000157
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 158 of 540


                                                                           158
 1                               C. BEHM
 2            A.      Yes, and I stood by that.
 3                          (Workers' Comp Denial Notice is
 4                    received and marked as Exhibit 23
 5                    for identification, as of this
 6                    date.)
 7            Q.      Let me hand you real quick what's
 8    been marked as Exhibit 23.
 9            A.      Yes.
10            Q.      Did you receive a copy of this
11    document?
12            A.      Yes.
13            Q.      And this just confirms that your
14    Workers' Comp claim was denied?
15            A.      Yes.
16            Q.      And the date of the denial is
17    May the 23rd of 2019; is that correct?
18            A.      Yes.
19            Q.      So Dr. Muto sent you home on the
20    10th, told you to come back the next week.                  Did
21    you come back to work the next week?
22            A.      No.
23            Q.      Why not?
24            A.      I got assaulted on the 11th, which
25    was a Saturday.


                                                                    JA000158
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 159 of 540


                                                                           159
 1                               C. BEHM
 2            Q.      Tell me what happened that day?
 3            A.      That day my daughter had a medical
 4    bill.    And I asked her father for money to pay
 5    that medical bill, and he said, Okay.                So I went
 6    to retrieve the money, and we got into an
 7    altercation, and he punched me.
 8            Q.      And this is Corey that you're
 9    referring to, correct?
10            A.      Yes.
11            Q.      And did you end up having to seek
12    medical treatment because of that assault?
13            A.      Yes.
14            Q.      Did go over to the hospital that
15    day?
16            A.      Yes.
17            Q.      And do you recall what the diagnosis
18    was?
19            A.      Another concussion.
20            Q.      Did you go to the same -- same
21    hospital?
22            A.      Yes.
23            Q.      Did you see the same doctor?
24            A.      I was in the emergency room for both
25    incidents.


                                                                    JA000159
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 160 of 540


                                                                           160
 1                               C. BEHM
 2            Q.      And did you subsequently apply for
 3    A&S benefits?
 4            A.      Yes.
 5                        (A&S letter is received and
 6                    marked as Exhibit 24 for
 7                    identification, as of this date.)
 8            Q.      I hand you what has been marked as
 9    Exhibit 24.       Take a look at that and let me know
10    when you're ready.
11            A.      Okay.
12            Q.      Is this your application for A&S
13    benefits, effective May 13th, 2019?
14            A.      Yes.
15            Q.      If you look at the second page,
16    which is 203, Mack 203, is that your signature
17    halfway down the page?
18            A.      Yes.
19            Q.      And then go to the next page, which
20    is 204.      Over on the right-hand side it
21    indicates that the -- says the incident occurred
22    May the 12th of 2019; is that correct?
23            A.      It happened on the 11th.            So maybe
24    she filled this out the day after.               I don't
25    know.


                                                                    JA000160
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 161 of 540


                                                                           161
 1                               C. BEHM
 2            Q.      And then it says:         Assault, injury
 3    to face and head.
 4            A.      Yes.
 5            Q.      Do you know who the doctor was that
 6    completed this?
 7            A.      It was originally Brent Calhoon, but
 8    again, Kaitlyn wanted a DO.            So Diane Bonaccorsi
 9    resubmitted.
10            Q.      All right.      And if you flip over a
11    couple more pages to 206, this document down at
12    the bottom indicates that you -- they estimate a
13    length of disability is two to three weeks with
14    a return to work of June the 3rd.
15            A.      Correct.
16            Q.      And were you able to work at all at
17    that time?
18            A.      No.
19            Q.      Did you apply for FMLA leave at this
20    time?
21            A.      I don't remember.         If I did, it was
22    denied, because I didn't have hours.
23                          (Mack letter dated 5/21/19 is
24                    received and marked as Exhibit 25
25                    for identification, as of this


                                                                    JA000161
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 162 of 540


                                                                           162
 1                               C. BEHM
 2                    date.)
 3            Q.      I'm going to hand you what has been
 4    marked as Exhibit 25.
 5            A.      Okay.
 6            Q.      All right.      Was your request for A&S
 7    benefits approved by Mack?
 8            A.      Yes.
 9            Q.      And looks like it was approved
10    through June the 3rd of 2019?
11            A.      Yes.
12                        (Physical Capabilities Checklist
13                    is received and marked as *Exhibit
14                    25 for identification, as of this
15                    date.) (*should be 26)
16            Q.      This is Exhibit 26.          I really am
17    just using these because I know your leave of
18    absence ended up lasting until September,
19    correct?
20            A.      Yes.     After each follow-up
21    appointment I had to resubmit pretty much the
22    same A&S paperwork, just --
23            Q.      With a new date on it, right?
24            A.      Yeah, updating, yeah.
25            Q.      And so is that the normal procedure


                                                                    JA000162
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 163 of 540


                                                                           163
 1                               C. BEHM
 2    when you're out and you extend your leave at
 3    Mack?
 4             A.     I would assume so, yes.
 5             Q.     Did you do that in your other leaves
 6    when you were out and needed to extend the
 7    leave?
 8             A.     I believe this was the only one that
 9    kept getting extended.
10             Q.     So, in this document, if you look at
11    the very first page of Exhibit 26, do you know
12    whose signature that is down at the bottom?
13             A.     Probably Bonaccorsi, it looks like.
14             Q.     And down on the right-hand side near
15    the bottom, it looks like it says July 1st,
16    2019, new date.
17             A.     Yes.
18             Q.     So this extended your -- was this
19    extending your leave another month?
20             A.     Yes.
21                        (Letter dated 6/14/19 is received
22                    and marked as Exhibit 27 for
23                    identification, as of this date.)
24             Q.     Number 27.      Take a look at that and
25    let me know when you're ready.


                                                                    JA000163
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 164 of 540


                                                                           164
 1                               C. BEHM
 2            A.      Okay.
 3            Q.      I asked you a few minutes ago if you
 4    recall whether you had applied for FMLA leave on
 5    this absence.       Does this refresh your
 6    recollection?
 7            A.      Yes, it does.
 8            Q.      And what happened with your request
 9    for FMLA leave?
10            A.      I was denied.
11            Q.      And, again, were you denied because
12    you didn't meet the hours requirement?
13            A.      Correct.
14                        (Letter dated 5/13/19 is received
15                    and marked as Exhibit 28 for
16                    identification, as of this date.)
17            Q.      Exhibit 28.       Is this another
18    extension of the same leave of absence?
19            A.      Yes.    Dr. Bonaccorsi referred me to
20    see a neurologist.
21            Q.      And looks like you had an
22    appointment with the neurologist on August 22nd.
23            A.      Yes.
24            Q.      And so did this extend your leave
25    through August the 22nd?


                                                                    JA000164
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 165 of 540


                                                                           165
 1                               C. BEHM
 2            A.      Yes.
 3            Q.      And was your extension of leave
 4    approved by Mack?
 5            A.      To an extent.
 6            Q.      Why do you say "to an extent"?
 7            A.      Because Kaitlyn called me asking me
 8    to see one of their neurologists for a second
 9    opinion.
10            Q.      But did you get accident and
11    sickness benefits through August 22nd of 2019?
12            A.      Yes.
13                        (Letter dated 8/22/19 is received
14                    and marked as Exhibit 29 for
15                    identification, as of this date.)
16            Q.      I hand you that one.          It's marked
17    Exhibit 29.
18            A.      Yes.
19            Q.      So you indicated that -- tell me the
20    name of the doctor you are saying?               Bona -- what
21    was her name?
22            A.      Bonaccorsi.
23            Q.      Bonaccorsi, excuse me.
24            So, Dr. Bonaccorsi referred you to a
25    neurologist?


                                                                    JA000165
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 166 of 540


                                                                           166
 1                               C. BEHM
 2            A.      Well, Brent Calhoon referred me.
 3    But like I stated before, Kaitlyn always wanted
 4    a DO.
 5            Q.      She was signing the paperwork on
 6    behalf of --
 7            A.      Yes.
 8            Q.      Got you.
 9            And it looks like the neurologist that you
10    were referred to is a Dr. Brzozowski?
11            A.      Brzozowski, yes.
12            Q.      So when did you see Dr. Brzozowski?
13            A.      Looks like August 22nd.
14            Q.      All right.      And did Dr. Brzozowski
15    extend your leave?
16            A.      He wanted me to return back to him
17    on November 7th, but Mack did not like that.                  So
18    they sent me to their neurologist, and I was
19    back at work in September without any
20    clearances.
21            Q.      So let me ask you, if you would look
22    over at the page that's marked -- let's see --
23    Mack 178.
24            A.      Yes.
25            Q.      Did Dr. Brzozowski complete the


                                                                    JA000166
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 167 of 540


                                                                           167
 1                               C. BEHM
 2    physical capabilities checklist for you?
 3            A.      No.
 4            Q.      Why not?
 5            A.      Because he's not trained to do
 6    physical capabilities.          He's a neurologist.
 7            Q.      And if you'd look over at the next
 8    page, down in the middle of the page, if you
 9    would look at question Number 12 -- you can see
10    that on the left-hand side?
11            A.      Yes.
12            Q.      Did he determine that you were
13    totally disabled and unable to work?
14            A.      Yes.
15            Q.      And that looks like from August 22nd
16    to the present?
17            A.      Yes.
18            Q.      And right below that he indicates
19    that your expected return-to-work date is
20    December 1st of 2019?
21            A.      Yes.
22            Q.      All right.      So after you -- you just
23    indicated that Dr. -- after you saw
24    Dr. Brzozowski, that Mack instructed you to go
25    see a company doctor?


                                                                    JA000167
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 168 of 540


                                                                           168
 1                               C. BEHM
 2            A.      Yes.
 3            Q.      How did you find out that they
 4    wanted you to go see a company doctor?
 5            A.      Kaitlyn called me, and I remember it
 6    clear as day because I was standing in the
 7    store, and the conversation didn't start that
 8    way.    It started off as the modeling photos.
 9    She asked me if I was modeling, if I was getting
10    paid, if my neurologist knew.             I told her her
11    job is in human resources and not my physician.
12            And she then instructed me to see a
13    company doctor.        And I stated that that wasn't
14    my physician, either.
15            And she said that I would be terminated
16    because, per all the documents at Mack, that if
17    they ask for a second opinion, I had to comply.
18            So I complied, and I went to their
19    neurologist.       She said that they would pay me
20    for my time and expense.           To this day I have not
21    been paid for my time and expense.               And I went
22    and saw Dr. Shipkin, I believe his name was.
23                        (Letter dated 8/29/19 is received
24                    and marked as Exhibit 30 for
25                    identification, as of this date.)


                                                                    JA000168
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 169 of 540


                                                                           169
 1                               C. BEHM
 2            Q.      I'm handing you what's been marked
 3    as Exhibit Number 30.
 4            A.      Yes.
 5            Q.      Take a look at that and let me know
 6    when you're ready to answer questions.
 7            A.      Yes.
 8            Q.      Tell me what Exhibit 30 is.
 9            A.      It's a letter from Kaitlyn stating
10    that the company wants me to seek a second
11    professional opinion with Dr. Shipkin.
12            Q.      And you indicated that on -- and the
13    date is August 29th of 2019; is that right?
14            A.      Yes.
15            Q.      And the appointment with Dr. Shipkin
16    was set up for September 5th of 2019?
17            A.      Yes.
18            Q.      Now, you indicated a minute ago that
19    she told you that if you didn't go to the
20    appointment, that your -- your benefits could be
21    terminated?
22            A.      Yes.
23            Q.      And if you look down at the bottom
24    of the first page, does she reference the
25    portion of the CBA that states that?                Says:


                                                                    JA000169
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 170 of 540


                                                                           170
 1                               C. BEHM
 2    Please see Mack Benefit Agreement, Article 3,
 3    section 3?
 4            A.      Yes.
 5            Q.      And so you did go to the appointment
 6    with Dr. Shipkin?
 7            A.      Absolutely.
 8            Q.      What happened during that
 9    appointment?
10            A.      He looked in my eyes, checked my
11    reflexes, and it was a very brief examination.
12            Q.      How long did the appointment last?
13            A.      I don't recall.
14            Q.      Did he give you any sort of opinion
15    or diagnosis at the end of that appointment?
16            A.      He asked me how I was feeling that
17    day.    And I said I was feeling okay.              And he
18    said, Do you want to return to work?                And I
19    remember telling him that I love my job, I
20    wanted to go back.         And he was like, Okay.
21    Tomorrow.
22            Q.      Did you dispute that with him?
23            A.      I felt very uncomfortable, but what
24    was I going to say?         I was scared I was going to
25    lose my job.


                                                                    JA000170
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 171 of 540


                                                                           171
 1                               C. BEHM
 2             Q.     After your appointment with
 3    Dr. Shipkin, did you communicate with anybody at
 4    Mack?
 5             A.     I don't recall.
 6             Q.     Did you call Kaitlyn after the
 7    appointment with Dr. Shipkin?
 8             A.     I believe I spoke to medical.
 9             Q.     What did you call Medical for?
10             A.     They were the ones that you have to
11    have your clearances for.            And they said that
12    they are waiting on my -- if I were to have
13    clearances, and that they would call me.
14             Q.     So Dr. Shipkin said you could go
15    back tomorrow, which would be September the 6th;
16    is that right?
17             A.     I don't remember.
18             Q.     Well, your appointment was on the
19    5th.     We just looked at that.
20             A.     Yes.
21             Q.     So he said, in that appointment, you
22    could go back tomorrow?
23             A.     Yes.
24             Q.     Whatever the next workday was,
25    right?


                                                                    JA000171
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 172 of 540


                                                                           172
 1                               C. BEHM
 2            A.      Yes.
 3            Q.      Okay.     Gotcha.     If it was a Friday,
 4    maybe it was Monday?
 5            A.      Yeah.
 6            Q.      Did you go back the next workday?
 7            A.      I don't think I did.          I think they
 8    were still waiting on clearances.              It was either
 9    the next day or the following day.               But I
10    remember sitting in one of the cafeterias for,
11    like, two or three hours because it was -- who
12    was it? -- Rick Schmidt, he places everyone, was
13    waiting for my clearances.
14                        (Dr. Shipkin letter is received
15                    and marked as Exhibit 31 for
16                    identification, as of this date.)
17            Q.      I've handed you what has been marked
18    as Exhibit 31.
19            A.      Okay.
20            Q.      Have you seen these letters from
21    Dr. Shipkin before?
22            A.      Once I requested my medical records
23    from Mack, I saw them.          But I wasn't handed them
24    after my appointment.
25            Q.      He did not send you a copy of these?


                                                                    JA000172
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 173 of 540


                                                                           173
 1                               C. BEHM
 2            A.      I don't remember.         I do remember
 3    seeing it when I requested my medical records,
 4    though.
 5            Q.      And according to the letter,
 6    Dr. Shipkin determined that you were capable of
 7    performing your job as a production tech at
 8    Mack; is that correct?
 9            A.      Yes.
10                          (A break was taken.)
11            Q.      All right.      Did Mack have a layoff
12    in early 2020?
13            A.      Yes.
14            Q.      How did you find out about that
15    layoff?
16            A.      At first it was word of mouth, just
17    talk around the plant.          Then it was confirmed.
18            Q.      At some point in time, was there
19    like a public announcement of a layoff?
20            A.      I don't remember.
21            Q.      Now, at the time that the layoff
22    took place, you were working, correct?                You were
23    not out on leave?
24            A.      No.    I was working.
25            Q.      Were you told -- did Mack ever tell


                                                                    JA000173
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 174 of 540


                                                                           174
 1                               C. BEHM
 2    you why the layoff was taking place?
 3             A.     To my recollection, things were just
 4    slowing down.       They had too many employees.
 5             Q.     Did you receive any information from
 6    Mack about how the layoff was going to take
 7    place?
 8             A.     I don't remember.
 9                        (Mack Trucks FAQS is received and
10                    marked as Exhibit 32 for
11                    identification, as of this date.)
12             Q.     I'll hand you what has been marked
13    as Exhibit 32, if you would look at that and let
14    me know when you're ready to discuss it.
15             A.     Okay.
16             Q.     You recognize these documents?
17             A.     I don't remember them, but I
18    remember hearing about it, and I know this
19    special announcement.
20             Q.     All right.      Well, let's look at
21    that, first of all.
22             So the special announcement, which is page
23    Mack 363, is dated January 28 of 2020; is that
24    correct?
25             A.     Yes.


                                                                    JA000174
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 175 of 540


                                                                           175
 1                               C. BEHM
 2             Q.     Okay.     And did you receive a copy of
 3    this?
 4             A.     Yes.
 5             Q.     Now, in this document right at the
 6    beginning, as it says:          In our message about
 7    Lehigh Valley operations upcoming rate reduction
 8    and layoffs shared with you on Wednesday,
 9    January 8th.
10             Do you recall the layoff information being
11    shared on January the 8th of 2020
12             A.     I remember we had a meeting in the
13    one cafeteria, but I don't remember what it was
14    about.
15             Q.     And then it indicated that in that
16    meeting they said the last working day for those
17    affected by the layoff would be February the
18    28th.     Do you remember that?
19             A.     Yes.
20             Q.     And then I believe in this
21    announcement, were they changing the date of the
22    last day of work for people being laid off?
23             A.     I don't remember.
24             Q.     Looks like to me it changed to
25    February 21st, if you look in the third


                                                                    JA000175
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 176 of 540


                                                                           176
 1                               C. BEHM
 2    paragraph.
 3            A.      Okay.
 4            Q.      Do you recall that?
 5            A.      I don't remember what the actual
 6    dates were for the layoff.
 7            Q.      All right.      So if you would go back
 8    to the first page of this document, page 360.
 9    Question number 4 on the first page there says:
10    If I'm not laid off and I'm currently on first
11    shift, what is the chance I would be assigned to
12    the second shift?
13            Do you see that?
14            A.      Yes.
15            Q.      And what's the response?
16            A.      During a rate change there will be
17    reduction, and based on seniority, employees may
18    be moved to other shifts.
19            Q.      Did you understand that individuals
20    who remained with the company after the layoff
21    could potentially have to change shifts?
22            A.      Yes.
23            Q.      And is that, in fact, what happened
24    to you as a result of the layoff?
25            A.      After being told I was not switching


                                                                    JA000176
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 177 of 540


                                                                           177
 1                               C. BEHM
 2    shifts, I did switch shifts.
 3             Q.      So who told you you were not
 4    switching shifts?
 5             A.      Cruz.
 6             Q.      Who was Cruz?
 7             A.      My union rep.
 8             Q.      Did anybody from Mack tell you you
 9    were not switching shifts?
10             A.      Cruz told me he had a meeting with
11    Rick Schmidt who was in charge of assigning
12    everyone, and he said, Schmidtty said you're
13    staying on first.
14             Q.      And did you ever have a discussion
15    with Rick Schmidt?
16             A.      I tried to chase him down in the
17    plant, and he said that, Cruz already told me,
18    and that he had somewhere to be.              It was a very
19    brief conversation.
20             Q.      And was that after you had been
21    notified you were moving?
22             A.      No, that was before.         I was told up
23    until -- I was told for weeks I was staying on
24    first.        And then it was a Thursday, they told
25    me -- they called me into a meeting and said,


                                                                    JA000177
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 178 of 540


                                                                           178
 1                               C. BEHM
 2    You're being placed on second.             What line would
 3    you want to go to?
 4             Q.      Who called you into a meeting?
 5             A.      It was Schmidt and someone else.             I
 6    don't remember who.
 7             Q.      Where did that meeting take place?
 8             A.      In a cafeteria.
 9             Q.      Just you with the two of them?
10             A.      Yes.
11             Q.      And in that meeting did you tell him
12    which line you wanted to be on?
13             A.      I told them that I couldn't -- I
14    told them before that I couldn't work on second
15    shift.        And he said, Well, you have to pick a
16    line.     I said, L line.
17             Q.      So why were you unable to work
18    second shift?
19             A.      Due to my daycare situation with my
20    daughter.
21             Q.      And what was -- how were you
22    handling daycare at that point in time?
23             A.      She was in daycare.
24             Q.      And so you were unable to work
25    second shift because of the daycare schedule?


                                                                    JA000178
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 179 of 540


                                                                           179
 1                               C. BEHM
 2             A.     Yes.
 3             Q.     So you didn't have anybody to care
 4    for your daughter during the night, I take it?
 5             A.     Correct.
 6             Q.     Are you aware of anybody who has
 7    changed -- been able to change shift because of
 8    daycare issues?
 9             A.     In a plant that has majority of men,
10    they don't really have the same issues as women.
11             Q.     But, again, are you aware of anybody
12    who has changed shifts because of a daycare
13    issue?
14             A.     Can you rephrase that?
15             Q.     Are you aware of anybody -- when you
16    worked at Mack, were you aware of anybody who
17    needed to change shifts because of a day care
18    schedule, and was allowed to bump because of
19    that?
20             A.     There was a girl that was in flex --
21    I can't remember her name -- I can't remember
22    her name.      She was on second shift.           And she was
23    going through a separation and went to first.
24             Q.     Do you know what kind of -- do you
25    know what her seniority level was?


                                                                    JA000179
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 180 of 540


                                                                           180
 1                               C. BEHM
 2            A.      She was hired the same date I was.
 3            Q.      Do you know if she bumped somebody
 4    on first shift?
 5            A.      I don't recall.
 6            Q.      That was not at the time of the
 7    layoff?
 8            A.      No.    She stayed on first shift with
 9    the layoff, so...
10            Q.      How -- when individuals are hired on
11    the same date, how is seniority determined?
12            A.      It's a really horrible way.             They go
13    by the last four of your Social.              So if someone
14    got a lucky Social 0001, they had higher
15    seniority than anyone.          It just went by the last
16    four of your Social.
17            Q.      All right.      So you indicated that
18    you had the meeting on Thursday.              Was that the
19    first time you learned that you were going to
20    move to second shift?
21            A.      Yes.    Up until that day I thought I
22    was safe on first.
23            Q.      And so when did you start the
24    second-shift job?
25            A.      Monday.


                                                                    JA000180
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 181 of 540


                                                                           181
 1                               C. BEHM
 2            Q.      Now, after you learned you were
 3    moving to second shift, did you do anything in
 4    response to that change of schedule?
 5            A.      I went to the bathroom.           I cried.
 6    And when I was coming down, I saw Cruz walking
 7    up to the union office.           I said, Hey, what's
 8    going on?      I was just told I was moving to
 9    second shift.         He said, Well, talk to your
10    second-shift union rep.
11            Q.      So this was in February of 2020?
12            A.      Yes.
13            Q.      Do you recall the date of that
14    meeting?
15            A.      No.
16            Q.      In February of 2020, did you also
17    apply for FMLA leave?
18            A.      I believe I did.
19            Q.      Why did you apply for FMLA leave in
20    February of 2020?
21            A.      My migraines.
22                          (Email dated 2/4/20 is received
23                    and marked as Exhibit 33 for
24                    identification, as of this date.)
25            Q.      Exhibit 33.


                                                                    JA000181
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 182 of 540


                                                                           182
 1                               C. BEHM
 2            A.      Okay.
 3            Q.      All right.      If you would look over
 4    the last two pages of this document, which is
 5    Mack 103 and 104.
 6            A.      Yes.
 7            Q.      It indicates that you were applying
 8    for leave because of your serious health
 9    condition?
10            A.      Yes.
11            Q.      And you applied on February 4th of
12    2020?
13            A.      Yes.
14            Q.      So what exactly was going on with
15    you physically at that point in time that led
16    you to apply for FMLA?
17            A.      For my migraines, and if I needed a
18    day off, I wouldn't get penalized.
19            Q.      So what kind of FMLA leave were you
20    applying for?       Let me rephrase that.
21            Were you applying for like an intermittent
22    FMLA, or did you need to be out continuous?
23            A.      Not continuous, just in case one day
24    if I had a migraines flare-up, I was able to
25    call off without any repercussions.


                                                                    JA000182
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 183 of 540


                                                                           183
 1                               C. BEHM
 2            Q.      And what was the result of your
 3    request for leave?
 4            A.      I got denied.
 5            Q.      Why did you get denied?
 6            A.      Not enough hours in a 12-month
 7    period.
 8            Q.      Did you also submit a shift-change
 9    request in February 2020?
10            A.      The shift-change request was when I
11    was switched to second shift.
12            Q.      Right.     Did you submit a shift
13    change requesting that you be moved back to
14    first shift?
15            A.      Yes.
16                        (Shift Change Request is received
17                    and marked as Exhibit 34 for
18                    identification, as of this date.)
19            Q.      Look at Exhibit 34.          Is that a copy
20    of the shift change that you submitted in
21    February of 2020?
22            A.      Yes.
23            Q.      Why did you submit a shift change
24    request?
25            A.      I was unable to work second shift.


                                                                    JA000183
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 184 of 540


                                                                           184
 1                               C. BEHM
 2            Q.      And what was the result of
 3    this request?
 4            A.      It got denied.
 5            Q.      Who does this request go to?
 6            A.      HR.
 7            Q.      And did you communicate with anybody
 8    in HR about this request?
 9            A.      No, I was unable to.
10            Q.      Were you informed why your request
11    was denied?
12            A.      To a certain extent.          They didn't
13    show me any proof or anything.             They said, We
14    looked into the last seniority number on first
15    shift, and they said that mine wouldn't be able
16    to bump any of them.
17            And I spoke with Kevin Fronheiser, and I
18    said, I know there's people on first shift that
19    have lower seniority than me.             And he said, Give
20    me the names.         And I said I didn't know their
21    exact names.       I just remember working with them
22    and -- I mean, we all have an SAP number.                 And I
23    know people had SAP numbers higher than mine.
24            Q.      Who had less seniority than you and
25    was working on first shift?


                                                                    JA000184
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 185 of 540


                                                                           185
 1                               C. BEHM
 2            A.      There was that flex girl that went
 3    from second shift to first shift.              I can't
 4    remember her name.         But she didn't lose her flex
 5    title or first shift.
 6            And I remember a couple of weeks before I
 7    got switched to second shift, I was up in the
 8    union office, and they showed me the seniority
 9    paper, and they said this is about where the
10    cutoff is for a layoff, and my name was right up
11    here.
12            Within a couple weeks of me stating I was
13    unable to go to second shift, that bumped up to
14    right above my name.          So I feel like they almost
15    did that intentionally because they wanted me
16    gone.
17            Q.      So, again, going back to the
18    individual who had moved from second shift to
19    first shift, do you know her name?
20            A.      I don't recall her name.
21            Q.      Do you know what her seniority
22    number was?
23            A.      Not offhand, anymore.          I know mine
24    because I just saw it on the paper, but...
25            Q.      But I believe you indicated a few


                                                                    JA000185
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 186 of 540


                                                                           186
 1                               C. BEHM
 2    minutes ago that she was hired the same day as
 3    you?
 4            A.      She was, yes.
 5            Q.      So it's possible she had higher
 6    seniority than you?
 7            A.      If her Social was better, yeah.
 8            Q.      Do you know of anybody else who was
 9    with less seniority than you, that was on first
10    shift after the layoff?
11            A.      I didn't speak to many people.
12            Q.      So did you work the second-shift
13    job?
14            A.      Some days.      I wasn't there long.          I
15    got sick.      My daughter got sick.          And that's
16    when Kaitlyn and I had a meeting.              They tried to
17    tell me if I missed any more days, I was going
18    to get fired.
19            Q.      And when you say you had a meeting,
20    are you referring to the attendance policy
21    violation?
22            A.      Yes.
23            Q.      So you received that attendance
24    warning, I believe, on March the 3rd of 2020?
25            A.      Yes, I did.


                                                                    JA000186
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 187 of 540


                                                                           187
 1                               C. BEHM
 2            Q.      I'm going to refer back to Exhibit
 3    Number 9, which you're welcome to look at if you
 4    want to.     But it appears to me that you started
 5    the job, the second-shift job on February the
 6    17th of 2020.
 7            A.      What did you say, February the 17th?
 8            Q.      February the 17th of 2020, according
 9    to the -- Mack's records --
10            A.      Yes.
11            Q.      -- does that look correct?
12            So on March the 3rd, which would have been
13    approximately two weeks later, you received an
14    attendance violation?
15            A.      Yes.
16            Q.      Or an attendance warning, excuse me.
17            What did you do after you got that --
18    well, I'm sorry, let me back up for a second.
19            You indicated that at that meeting they
20    told you you couldn't miss any more days?
21            A.      Yes.
22            Q.      What did you do after that meeting?
23            A.      I got all of my paperwork together
24    and gave it to my second-shift union rep,
25    stating all of my subpoenas and court orders and


                                                                    JA000187
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 188 of 540


                                                                           188
 1                               C. BEHM
 2    doctor's notes.
 3            Q.      Now, you indicated that you missed
 4    some days because you were sick and your
 5    daughter was sick.
 6            A.      Yes.
 7            Q.      But you also -- that was when you
 8    indicated that you missed some days because of
 9    court appointments?
10            A.      Yes.
11            Q.      So you discussed that with your
12    second-shift union rep.           Did you discuss that
13    with Kaitlyn?
14            A.      Yes.
15            Q.      What was Kaitlyn's response when you
16    discussed that?
17            A.      She was asking me about my medical
18    health, and I told her that I thought that was a
19    HIPAA violation; that she had a doctor's note,
20    she didn't need to know anything beyond that.
21    And she went on to say, Well, did you have the
22    flu?    And I said again, there's my doctor's
23    note.    You don't have to ask me any more
24    questions.
25            Q.      Did you then apply for A&S benefits?


                                                                    JA000188
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 189 of 540


                                                                           189
 1                               C. BEHM
 2            A.      Afterwards, yes.
 3            Q.      Why did you apply for A&S benefits?
 4            A.      I felt targeted.         My anxiety, PTSD,
 5    my migraines, everything just spiraled out of
 6    control.     I was trying so hard to do my job and
 7    come into second shift.           I mean, I was losing
 8    daycare and begging friends and family every
 9    night to watch my daughter the next day, and
10    life just got the best of me.
11                        (Benefit Claim Form is received
12                    and marked as Exhibit 35 for
13                    identification, as of this date.)
14            Q.      Exhibit 35.       If you would take a
15    moment and look that over.
16            A.      I remember this.
17            Q.      What is this document?
18            A.      Me requesting for A&S.
19            Q.      And, again, if you look at that
20    first page halfway down, is that your signature?
21            A.      Yes.
22            Q.      And this is dated March 5th of 2020.
23            A.      Yes.
24            Q.      Now, right above that, it appears to
25    say that on March the 4th, you left work early.


                                                                    JA000189
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 190 of 540


                                                                           190
 1                               C. BEHM
 2    Is that what that indicates?
 3            A.      Yes.
 4            Q.      Why did you leave early on the 4th?
 5            A.      I had a panic attack.
 6            Q.      Did something that happened at work
 7    trigger the panic attack?
 8            A.      Yes.    Kaitlyn told me I was going to
 9    lose my job if I missed any more days.
10            Q.      Down at the bottom of the page you
11    wrote in some, I guess, additional comments.
12            A.      Yes.
13            Q.      So correct me if I'm wrong, this
14    says:     Never cleared to return to work.              Hostile
15    work environment, harassment, discrimination,
16    sexism, targeting, HIPAA violations,
17    victimization, unfair treatment, emotional
18    distress -- and emotional distress causing
19    increase in anxiety and migraines.               Correct?
20            A.      Yes.
21            Q.      Okay.     Tell me about that.         Tell me
22    what was going on that caused all of those
23    issues.
24            A.      It's funny that you bring this paper
25    up because Kaitlyn denied this paper.                This was


                                                                    JA000190
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 191 of 540


                                                                           191
 1                               C. BEHM
 2    the one that was denied because I wrote that.
 3            Q.      Well, tell me what you meant by
 4    that.
 5            A.      Every single word that it said.              I
 6    was never cleared to work.            Dr. Shipkin was not
 7    my attending physician, so what gave him
 8    priority over my actual neurologist that was
 9    monitoring me?        Instead of me just going to any
10    doctor like Dr. Shipkin.           I don't know him.         He
11    didn't know any of my history, background,
12    nothing.     And I felt like I was being targeted
13    from mainly Kaitlyn, and like I said with your
14    last question, my life got the best of me with
15    the emotional distress, and me trying so hard to
16    do my job right, and be able to do the second
17    shift like they wanted me to do.              When I signed
18    onto Mack, I was able to do both shifts.                 Life
19    happens to everyone.          And when I got moved to
20    second shift, I just wasn't able.              And it became
21    a very hostile work environment.
22            Q.      When was your daughter born?
23            A.      She was born May 2nd of 2017.
24            Q.      So the year -- she was less than a
25    year old what you started work at Mack?


                                                                    JA000191
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 192 of 540


                                                                           192
 1                               C. BEHM
 2            A.      Yes.
 3            Q.      How were you taking care of -- how
 4    did you have the ability to work second shift
 5    then?
 6            A.      Because I had my husband --
 7    soon-to-be husband at the time.
 8            Q.      He was not working at Mack at that
 9    time?
10            A.      No, he was, but I was working first
11    shift, he was working second shift, so we would
12    swap her in the parking lot.
13            Q.      So you said that Kaitlyn denied
14    this request.       Did she tell you why this request
15    got denied?
16            A.      Yes.
17            Q.      Why?
18            A.      She said it was denied because it
19    was -- I can't claim migraines from a previous
20    A&S.    So since I was already cleared to return
21    back to work in September, supposedly, that I
22    couldn't claim the same thing.             So I went
23    back -- she actually told me -- because layoff
24    was happening, because of COVID, she told me
25    that everyone was applying for unemployment


                                                                    JA000192
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 193 of 540


                                                                           193
 1                               C. BEHM
 2    compensation and -- because since I was denied
 3    for A&S, she said, apply for unemployment.                  And
 4    I said that would be me lying on government
 5    forms, because in the questions it states, Are
 6    you available and able to work?              That would be
 7    me lying, applying for unemployment compensation
 8    because I wasn't able to work.             My migraines, my
 9    anxiety, everything.          So I resubmitted the
10    paperwork and, surely enough, she finally
11    approved it.
12                        (Mack letter dated 3/19/20 is
13                    received and marked as Exhibit 36
14                    for identification, as of this
15                    date.)
16            Q.      Take a look at what has been marked
17    as Exhibit 36.        Is that the denial letter that
18    you got --
19            A.      Yes.
20            Q.      -- regarding your A&S benefit
21    application in March of 2020?
22            A.      Yes.
23                        (One-page document is received
24                    and marked as Plaintiff Exhibit 37
25                    for identification, as of this


                                                                    JA000193
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 194 of 540


                                                                           194
 1                               C. BEHM
 2                    date.)
 3            Q.      Thirty-seven.        So you indicated a
 4    minute ago that you resubmitted your application
 5    for A&S benefits.
 6            A.      Yes.
 7            Q.      Is this the document that you
 8    resubmitted to Mack to receive A&S benefits?
 9            A.      Yes.
10            Q.      And once you resubmitted this
11    information, your request got approved?
12            A.      Yes.
13                        (Email dated 4/7/20 is received
14                    and marked as Exhibit 38 for
15                    identification, as of this date.)
16            Q.      Look at Exhibit 38.
17            A.      Okay.
18            Q.      Is that an email that you received
19    from Kaitlyn O'Neill?
20            A.      Yes.
21            Q.      In that email does she confirm that
22    you were going to receive A&S benefits?
23            A.      Yes.
24            Q.      Now, when you got the A&S
25    benefits -- and what's the date of that email?


                                                                    JA000194
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 195 of 540


                                                                           195
 1                               C. BEHM
 2            A.      There's a couple of dates.
 3            Q.      What's the date that Kaitlyn told
 4    you you were being approved for A&S?
 5            A.      April 7th.
 6            Q.      When you received the A&S benefits,
 7    did they -- were they retroactive to the start
 8    of the leave?
 9            A.      I believe so, yes.
10            Q.      Is there a waiting period that you
11    have to go through before the benefits kick in?
12            A.      I believe it's eight working days.
13            Q.      And is that pursuant to the terms of
14    the CBA?
15            A.      Yes.
16                        (A&S letter is received and
17                    marked as Exhibit 39 for
18                    identification, as of this date.)
19            Q.      If you look at Exhibit 39.            And,
20    again, just like previous, did you end up
21    extending this A&S leave?
22            A.      Yes.    Yes.
23            Q.      So did you go back to see
24    Dr. Brzozowski in 2020?
25            A.      Yes.


                                                                    JA000195
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 196 of 540


                                                                           196
 1                               C. BEHM
 2            Q.      If you look at the page that's
 3    marked 144 --
 4            A.      Yes.
 5            Q.      -- down in the middle of the page,
 6    he indicates that your expected return-to-work
 7    date is January 2nd of 2021; is that correct?
 8            A.      Where do you see that?
 9            Q.      I think it's question 14.            It's hard
10    to see.
11            A.      Yes.
12            Q.      It's right above 15.
13            A.      Yes.
14            Q.      And then if you flip over to 147,
15    were you able to work, at all, at this time?
16            A.      No.
17            Q.      And how long did he indicate you
18    were going to be out of work?
19            A.      Says:     Estimated length of
20    disability, three to six months or longer.
21            Q.      And he indicates:         Patient not able
22    to perform any of activities without
23    exacerbating her condition.
24            A.      Correct.
25                          (Tower Health Medical Group


                                                                    JA000196
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 197 of 540


                                                                           197
 1                               C. BEHM
 2                    letter is received and marked as
 3                    Exhibit 40 for identification, as of
 4                    this date.)
 5                        (Tower Health Medical Group
 6                    letter is received and marked as
 7                    Exhibit 41 for identification, as of
 8                    this date.)
 9            Q.      Let's look at Exhibit 41 first.
10            A.      Okay.
11            Q.      So, again, I just want to look at
12    the dates.      The first -- if you look at the
13    first page, Mack 141, it looks like
14    Dr. Brzozowski extended your leave through
15    October 19th of 2020.
16            A.      Yes.
17            Q.      And if you look at 140, the next
18    page, he extends it through 11/17 of 2020.
19            A.      Yes.
20            Q.      And then the next page he extends it
21    through 2/1 of '21.
22            A.      Yes.
23            Q.      And then if you look at Exhibit 40,
24    because I did them out of order, after you saw
25    Dr. Brzozowski in the beginning of February of


                                                                    JA000197
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 198 of 540


                                                                           198
 1                               C. BEHM
 2    2021, did he release you to return to work?
 3            A.      In 2021?
 4            Q.      Yes.
 5            A.      Yes.
 6            Q.      All right.      And he released you to
 7    return to work February 16th of '21?
 8            A.      Yes.
 9            Q.      Did you return to work?
10            A.      No.
11            Q.      Why not?
12            A.      I quit.
13            Q.      Why did you quit?
14            A.      I was fearful for retaliation.
15            Q.      Why were you fearful for
16    retaliation?
17            A.      Because that was happening the whole
18    time of my employment, so I wanted to leave and
19    work for a different company.             And that's when I
20    sought employment at Amcor.
21            Q.      Did you apply for the Amcor job
22    before February 16th?
23            A.      It was about the same time.             I knew
24    I was returning back to work, and I started
25    getting anxious and knew that that wouldn't be


                                                                    JA000198
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 199 of 540


                                                                           199
 1                               C. BEHM
 2    beneficial to my health.
 3             Q.      Did you have a job offer from Amcor
 4    before you resigned from Mack?
 5             A.      I believe I did.
 6             Q.      All right.     So you said you had been
 7    subject to retaliation throughout your
 8    employment.       Tell me what kind of retaliation
 9    you had suffered.
10             A.      As far as my migraines, being a
11    woman.        I would also have to say, with my court
12    hearings, I know Kaitlyn wasn't fond of me, and
13    they knew I had a shoulder injury, and placed me
14    on fuel tanks with someone who was going out
15    because he had a shoulder injury in that same
16    area.     When they placed me on second shift, they
17    again knew about my shoulder injury and still
18    had me hauling, pulling cabs onto the line
19    where, normally, a full-grown man was.                And they
20    had me really pushing my health to the limits,
21    and they knew exactly what they were doing.
22             Q.      All right.     So let's talk about your
23    shoulder injury.        Your shoulder injury was in
24    2018, right?
25             A.      My shoulder injury was initially in


                                                                    JA000199
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 200 of 540


                                                                           200
 1                               C. BEHM
 2    2013.
 3             Q.     And you started work at Mack in
 4    January of 2018?
 5             A.     Yes.
 6             Q.     And then in August of 2018, you
 7    reinjured your shoulder?
 8             A.     Yes.
 9             Q.     And you remained out of work, I
10    believe, through November of 2018?
11             A.     Yes.
12             Q.     And at that point in time, were you
13    cleared to return to work without restrictions?
14             A.     Yes.
15             Q.     Did you ever injure your shoulder
16    again?
17             A.     Yes.    I just had surgery on it in
18    November.
19             Q.     Did that happen while you were at
20    Mack?
21             A.     My shoulder?
22             Q.     Yeah, you just said you reinjured
23    your shoulder.        You just had surgery.          Did that
24    happen at Mack?
25             A.     No.


                                                                    JA000200
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 201 of 540


                                                                           201
 1                               C. BEHM
 2             Q.     So during the rest of your
 3    employment at Mack, from November of '18, when
 4    you returned to work, through your resignation,
 5    did you have any shoulder issues?
 6             A.     It would hurt here and there.
 7             Q.     Did you ever go to the medical
 8    department?
 9             A.     No, I thought Dr. Muto was a
10    veterinarian.
11             Q.     Did you ever file a Workers' Comp
12    claim?
13             A.     No.    It would always get denied.
14             Q.     Did you ever file a Workers' Comp
15    claim for your shoulder?
16             A.     Not for my shoulder, no.
17             Q.     You said you were retaliated against
18    because of your court hearing; is that what you
19    said?
20             A.     Yes.
21             Q.     How exactly were you retaliated
22    against because of court hearings?
23             A.     Kaitlyn would tell me that I was
24    going to lose my job if I missed any more days.
25    So it was, do I lose my job or get arrested for


                                                                    JA000201
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 202 of 540


                                                                           202
 1                               C. BEHM
 2    not appearing by court order?
 3            Q.      And you were going to -- when you
 4    had that discussion with Kaitlyn, you were
 5    talking about your violation of the attendance
 6    policy, right?
 7            A.      Yes.
 8            Q.      And that was on March the 3rd, I
 9    believe, of 2020?
10            A.      I believe so.
11            Q.      I believe it's Exhibit 16.
12            A.      Yes.
13            Q.      Is there any other reason you
14    decided to resign from employment at Mack?
15            A.      I thought that I was going to get a
16    lot of backlash for reporting one of my union
17    brothers for harassment.
18            Q.      Who did you report for harassment?
19            A.      I reported Cruz for sexually
20    harassing me.
21            Q.      What is Cruz's last name?
22            A.      Rivera.
23            Q.      And you mentioned Cruz earlier.
24    When was Cruz your union rep?
25            A.      He was my union rep from


                                                                    JA000202
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 203 of 540


                                                                           203
 1                               C. BEHM
 2    December 2019 to the date that I went to second
 3    shift.
 4             Q.     So that would be February 17th, I
 5    believe we looked at, of 2020?
 6             A.     Yes.
 7             Q.     So for approximately three months?
 8             A.     That sounds about right.
 9             Q.     And tell me what happened with Cruz.
10             A.     I was moved from Mack in Motion to
11    fuel tanks.       And I knew I had upcoming court
12    hearings.      So I went to -- I believe the
13    supervisor of fuel tanks was Mackenzie.                 And I
14    said, Hey, I have some court hearings coming up.
15    Who is the union rep over here?              I need to talk
16    to him.
17             He told me it was Cruz.          I said, Okay, can
18    you let him know I need to talk to him and give
19    him the subpoenas?
20             And within a couple of hours he came back.
21    He gave me a piece of paper, a Post-it with
22    Cruz's number.        He said, Cruz said he's in
23    meetings all day.         Just contact him.         And that's
24    how Cruz got my phone number.
25             I texted him along the lines, Hey, my name


                                                                    JA000203
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 204 of 540


                                                                           204
 1                               C. BEHM
 2    is Colleen Behm.        I work fuel tanks.          I need to
 3    talk to you about some court hearings I have.
 4             And he said, Okay, I'll come talk to you
 5    tomorrow.
 6             And after that, it was texting me
 7    constantly about, Oh, you look nice today.                  It's
 8    not every day we see a pretty woman walking
 9    around Mack.       Next day, walk by me, Oh, you
10    smell good today.         It even came to a point, he
11    was at a bar and said -- texted me saying, Oh,
12    I'm at the bar with some Mack old-timers, and
13    you should really be here.            You would get a kick
14    out of it.
15             And I would tell him, Listen, I'm with my
16    kids.     Stop texting me.
17             At one point it was a Friday evening, my
18    mom and my sister were over, and we were talking
19    about him, and I remember saying, Speak of the
20    devil.     And he was messaging me again.
21             I kept telling him, Keep it professional.
22             He would text me, Are you sure?
23             Yes.   Please keep it professional.
24             It was just nonstop, no matter how many
25    times I told him just keep it at this, I have


                                                                    JA000204
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 205 of 540


                                                                           205
 1                               C. BEHM
 2    enough going on in my life with the court
 3    hearings, trying to raise my kids.               I don't need
 4    this extra stress.         Please stop.
 5             At one point he actually called me on my
 6    way to work, and he was, like, Oh, I was drunk,
 7    I'm sorry.      Do you forgive me?
 8             I was like, Listen, just drop it, let it
 9    go.    Not even an hour later, walking past me and
10    there was a text message, Oh, you look nice
11    today.
12             I just told you two hours ago, keep it
13    professional.       He didn't ever get the hint.
14    Just leave me alone.
15             Q.     So he made comments to you --
16             A.     All the time.
17             Q.     -- about your appearance.            He sent
18    you text messages.
19             A.     Uh-huh.
20             Q.     How many times did you get text
21    messages from him?
22             A.     How often or how many?
23             Q.     How many times did you get text
24    messages?
25             A.     Over a course of three months, at


                                                                    JA000205
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 206 of 540


                                                                           206
 1                               C. BEHM
 2    least 10 a week.
 3            Q.      And were all of those text messages
 4    related to your appearance, or were all of those
 5    text messages, from your perspective, harassing?
 6            A.      Absolutely.       I would ask him about
 7    me going to -- being concerned about having to
 8    go to second shift.         And, Don't worry about it,
 9    honey, I'm taking care of it.             Always along the
10    lines of flirtatious.
11            Q.      Do you still have those text
12    messages?
13            A.      No, I got a new phone.
14            Q.      Did you keep any of those text
15    messages?
16            A.      No, I gave them my phone.            I didn't
17    ask for, like, photos or anything to be switched
18    over.
19            Q.      When did you get a new phone?
20            A.      I got a new phone, I would say,
21    April or -- April, May of 2020.
22            Q.      So while you were still employed
23    with Mack?
24            A.      Yes.
25            Q.      That would have been while you were


                                                                    JA000206
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 207 of 540


                                                                           207
 1                               C. BEHM
 2    out on A&S?
 3             A.      Yes.
 4             Q.      All right.     So you had all of these
 5    messages from Cruz.         Did you make a complaint
 6    about Cruz?
 7             A.      I spoke to an employee, Derrick
 8    Jones.        I said -- we would talk on the phone.
 9    He lives in the same area that I do.                And I
10    confided in him, and I told him Cruz was coming
11    on to me, and I said, You know he's married.                     I
12    really don't want to stir up drama for him.                  I
13    just want him to stop.
14             And he said, Well, just tell him to stop.
15             I would tell Cruz to stop all the time.
16    And, eventually, it just got out of hand, and I
17    just couldn't deal with it anymore.
18             And I told Kevin Fronheiser about it.               I
19    still have those text messages.              That was about
20    the time that I decided I was going to report
21    it, and -- because I didn't -- I felt like since
22    I didn't -- what's the word -- give in to his
23    advancements, that I was penalized, and he
24    didn't fight for me to stay on first shift like
25    he promised.


                                                                    JA000207
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 208 of 540


                                                                           208
 1                               C. BEHM
 2            Q.      You mentioned Derrick Jones.             What
 3    position was he in?
 4            A.      He was also a flex.
 5            Q.      Was he a union rep?
 6            A.      No.     Just a worker.
 7            Q.      When did you go to Kevin Fronheiser
 8    and complain about Cruz?
 9            A.      I believe it was the day that I was
10    told I was going to second shift, and Cruz told
11    me to talk to my second-shift union rep.                 And I
12    reached out to Kevin, and I said, I feel like
13    I'm being punished because I didn't give into
14    his advancements, and he didn't fight for me.
15            Q.      And did you have any further
16    discussion with Kevin about that?
17            A.      Yeah.     He said, Why didn't you come
18    to me sooner?         And I told him, I didn't -- along
19    the lines I didn't want to deal with the drama.
20    I thought Cruz was taking care of me as a union
21    rep, and I didn't really have any concerns.                  It
22    just kind of spiraled.
23            Q.      Outside of reporting it to Kevin,
24    did you report it to anybody else at the
25    company?


                                                                    JA000208
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 209 of 540


                                                                           209
 1                               C. BEHM
 2            A.      I spoke about it to other employees,
 3    Derrick and Kenny Virgil.            I don't know if Kenny
 4    is still there.
 5            Q.      Did you ever go to human resources?
 6            A.      I was unable to.
 7            Q.      Did you ever go to a member of
 8    management?
 9            A.      I went to Kevin who was the chairman
10    of the union.
11            Q.      Did you ever go to a member of Mack
12    management?
13            A.      There was no point.          You have to go
14    through your union to get to human resources.
15    Even a manager or supervisor would tell you,
16    Contact your union rep.           How do I go through my
17    union rep if he's the one.
18            Q.      Did Kevin ever call you into any
19    meeting with human resources?
20            A.      No.
21            Q.      Do you have any idea if Kevin ever
22    went to human resources?
23            A.      I have no idea.
24                          (Email dated 4/8/21 is received
25                    and marked as Exhibit 42 for


                                                                    JA000209
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 210 of 540


                                                                           210
 1                               C. BEHM
 2                    identification, as of this date.)
 3            Q.      I'm going to hand you what's been
 4    marked as Exhibit 42.          That appears to be your
 5    email to Kaitlyn, resigning from employment; is
 6    that correct?
 7            A.      Yes.
 8            Q.      What was the date of your
 9    resignation?
10            A.      February 8, 2021.
11            Q.      And you said your last day of
12    employment will be the 15th, correct,
13    February 15th?
14            A.      Yes.
15            Q.      I want to go back for just a second.
16    You mentioned the retaliation.             You mentioned
17    the issue with Cruz that -- and I believe --
18    correct me if I'm wrong -- but I believe what
19    you said was you were concerned that there would
20    be retaliation against you because you had gone
21    to Kevin about Cruz?
22            A.      Correct.
23            Q.      Any other reason that you resigned
24    from employment?
25            A.      I was scared of Kaitlyn.


                                                                    JA000210
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 211 of 540


                                                                           211
 1                               C. BEHM
 2            Q.      Why were you scared of Kaitlyn?
 3            A.      She had a lot of leverage on my job
 4    at Mack.     Where I would go, what shift I would
 5    be on, disciplinary action, everything.                 All of
 6    my paperwork went through Kaitlyn.
 7            Q.      Are there any other reasons that you
 8    resigned?
 9            A.      I love my job.        Kaitlyn and Cruz
10    were the reason I resigned.
11            Q.      Other than that -- those are the
12    reasons you resigned -- there are no other
13    reasons?
14            A.      I love my job.
15            Q.      Did you ever have a discussion --
16    back up.     Let me rephrase that.
17            When you were released to return to work
18    in February of 2021, if you had returned to
19    work, do you know what shift you would have been
20    on?
21            A.      I don't know.
22            Q.      Did you still have the same
23    child-care issues that you had in 2020?
24            A.      Yes.
25            Q.      Did you ever ask what shift you


                                                                    JA000211
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 212 of 540


                                                                           212
 1                               C. BEHM
 2    would get back on?
 3            A.      No.
 4            Q.      Did you ever ask what position you
 5    would get back into?
 6            A.      No.
 7            Q.      Did you resign from employment
 8    because you didn't want to go back to a
 9    second-shift job?
10            A.      No.    I went to Amcor.        That was
11    7 p.m. to 7 a.m.        I resigned specifically
12    because of Cruz and Kaitlyn.             Like I stated, I
13    loved my job.
14            Q.      Because you were scared of Kaitlyn?
15            A.      Yes, wholeheartedly.
16            Q.      Kaitlyn wrote you up for
17    disciplinary reasons?
18            A.      Yes.
19            Q.      Did Kaitlyn ever do anything else to
20    you besides write you up for disciplinary
21    reasons?
22            A.      I take that as, in other words, my
23    manhood -- my womanhood.           She dangled that on a
24    string.
25            Q.      What do you mean by that?


                                                                    JA000212
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 213 of 540


                                                                           213
 1                               C. BEHM
 2            A.      My subpoenas, everything.            She --
 3    she held my job in front of my face and said, If
 4    you miss any more days, that's it, you're gone.
 5            Q.      And, again, was she enforcing the
 6    attendance policy when she did that?
 7            A.      Absolutely.
 8            Q.      And she is in human resources,
 9    correct?
10            A.      Yes.
11                        (Screenshots is received and
12                    marked as Exhibit 43 for
13                    identification, as of this date.)
14            Q.      I wanted to talk about Exhibit
15    Number 43.      You mentioned a few minutes ago your
16    text messages with Kevin Fronheiser?
17            A.      Yes.
18            Q.      Is that what these are?
19            A.      Yes.
20            Q.      These were produced to us in
21    discovery.      You'll see down at the bottom they
22    are Bates labeled Plaintiff 424 through, I
23    believe, 436 is the last page.
24            A.      Okay.
25            Q.      So these -- these are text messages.


                                                                    JA000213
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 214 of 540


                                                                           214
 1                               C. BEHM
 2    Did these come off of your phone?
 3            A.      Yes.
 4            Q.      And you said you saved these text
 5    messages on your phone.           Do you have them saved
 6    on your new phone?
 7            A.      No.
 8            Q.      So when did you print these off of
 9    your phone?
10            A.      I was on second shift, and I
11    remember screenshotting them while sitting in a
12    sleeper cab.
13            Q.      Why did you save copies of these
14    text messages?
15            A.      Because I knew it was -- everything
16    was spiraling out of control, and this was the
17    last thing that I had.          Because once Cruz told
18    me he was no longer my union rep, I mean, I
19    didn't save his phone number or anything.                 I was
20    kind of, like, well, that's that.
21            Q.      So you took screenshots of these
22    text messages --
23            A.      Uh-huh.
24            Q.      -- in February of 2020?
25            A.      Uh-huh.


                                                                    JA000214
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 215 of 540


                                                                           215
 1                               C. BEHM
 2            Q.      Is that right?
 3            A.      Uh-huh.
 4            Q.      At that point in time, did you still
 5    have the old phone?
 6            A.      I did.
 7            Q.      So why didn't you take screenshots
 8    of the messages from Cruz?
 9            A.      Because when he told me he was no
10    longer my union rep, I discarded our
11    conversation.       I was done with him.          I wasn't
12    going to have to deal with him anymore.
13            Q.      If you flip over to the second page
14    of this -- well, let me ask you, first of all.
15    On the first page, that last text --
16                        MR. MC COY:       Graham, I assume
17                    these are the only copies.            These
18                    are cut off, it looks like, at the
19                    bottom of the page.          I'm assuming
20                    this is all you got.
21                        MR. BAIRD:       This is all we have.
22                        MR. MC COY:       All right.      I got
23                    you.
24            Q.      So, Ms. Behm, you don't have another
25    copy of these at home, do you?


                                                                    JA000215
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 216 of 540


                                                                           216
 1                               C. BEHM
 2            A.      No, I don't.
 3            Q.      At the bottom of the first page, and
 4    that last text, you say:           I know people
 5    have less seniority than me on first, and I
 6    cannot do second shift.
 7            A.      Correct.
 8            Q.      I've asked you earlier whether you
 9    can specifically name anybody on first shift who
10    had less seniority than you, and you indicated
11    you didn't know the names.
12            A.      Correct.
13            Q.      Have you thought of anybody since I
14    asked you that question earlier?
15            A.      No.    These text messages are from
16    two, 2 1/2 years ago.
17            Q.      And you did not identify anybody
18    specifically in this text message, did you?
19            A.      No.
20            Q.      Moving on to the second page.
21    Again, down at the very bottom, it looks like
22    Kevin is asking you:          Why haven't you reached
23    out to me?
24            You said:      I have been in contact with
25    Cruz, but all he says is to be patient.


                                                                    JA000216
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 217 of 540


                                                                           217
 1                               C. BEHM
 2            So are you mad at me?          Kevin asks.
 3            And what was your response to him?
 4            A.      I have text messages from him making
 5    heavy moves towards me a couple of months ago,
 6    that I feel since I didn't entertain his
 7    advances, that he didn't -- and it's cut off.
 8            Q.      I believe it says:         He didn't want
 9    to do shit to help me; is that right?                I believe
10    that's what that says.
11            A.      Probably.      Yes.
12            Q.      So you indicated a few minutes ago
13    that you reported Cruz to Kevin Fronheiser for
14    harassing you.
15            A.      Yes.
16            Q.      Is this your report of harassment to
17    Kevin Fronheiser?
18            A.      Yes.
19            Q.      Outside of that text message, did
20    you make any other report to Kevin Fronheiser?
21            A.      No.
22            Q.      All right.      If you would flip over
23    to the page that says Plaintiff's 428 on the
24    bottom.      The first text at the top is:            Yes,
25    1250?


                                                                    JA000217
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 218 of 540


                                                                           218
 1                               C. BEHM
 2            A.      Yes.
 3            Q.      It appears to me that in this series
 4    of text messages, you're talking about the
 5    points that we talked about a few minutes ago,
 6    where Kaitlyn had written you up for an
 7    attendance violation.
 8            A.      Yes.
 9            Q.      So does that -- you know, you say:
10    HR wants to have a meeting with me on Monday.
11    At the very top.        You see that?
12            A.      Yes.
13            Q.      And that meeting we have already
14    established that took place on March the 3rd of
15    2020.
16            A.      Yes.
17            Q.      And you say in here:          They are
18    saying I have seven when I have five because of
19    court, me being sick, and then Jana being sick.
20            A.      Yes.
21            Q.      Only once I called off because I had
22    to figure out daycare because I was going to
23    second.
24            A.      Yes.
25            Q.      And then you say:         So fuck HR.


                                                                    JA000218
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 219 of 540


                                                                           219
 1                               C. BEHM
 2             A.     Yes.
 3             Q.     Is that right?
 4             A.     Yes.
 5             Q.     And then if you flip on over, the
 6    last few pages of this document appear to be
 7    copies of your court records?
 8             A.     Yes.
 9             Q.     And why were you sending these to
10    Kevin?
11             A.     So he had them, also.
12             Q.     And these were for prior court
13    proceedings?
14             A.     Yes, that I had points for.
15             Q.     And do you know if Kaitlyn ended up
16    removing points from your record because of the
17    documents you produced?
18             A.     She didn't remove them.
19             Q.     Ms. Behm, did you file a charge of
20    discrimination against Mack Trucks?
21             A.     You'd have to ask Graham.            He
22    handles the legal stuff.
23             Q.     Okay.     Well, unfortunately, I don't
24    get to question Graham.           So...
25                        (Charge of Discrimination is


                                                                    JA000219
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 220 of 540


                                                                           220
 1                               C. BEHM
 2                    received and marked as Exhibit 44
 3                    for identification, as of this
 4                    date.)
 5            Q.      Ms. Behm, does this refresh your
 6    recollection as to whether you filed a charge of
 7    discrimination against Mack?
 8            A.      Yes.
 9            Q.      And if you look over -- or I guess
10    look at the bottom of the first page, what date
11    did you file this?
12            A.      July 22nd, 2020.
13            Q.      And on that date, you were still
14    employed by Mack, weren't you?
15            A.      Yes.
16            Q.      Why did you file a charge while you
17    were still employed?
18            A.      Can you rephrase that?
19            Q.      You testified you were still
20    employed by Mack on July 22nd of 2020.
21            A.      Yes.
22            Q.      So why, while you were still
23    employed by my client, did you file a charge of
24    discrimination?
25            A.      Yes.


                                                                    JA000220
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 221 of 540


                                                                           221
 1                               C. BEHM
 2            Q.      Why?
 3            A.      Because it was what I needed to do.
 4            Q.      What, at that point in time -- okay,
 5    so in July of 2020, you were out on A&S?
 6            A.      Yes.
 7            Q.      What, at that point in time, caused
 8    you to file a charge?
 9            A.      Well, Kaitlyn denied my A&S because
10    she didn't like what I put at the bottom.                 So I
11    had to resubmit the paperwork.             She tried
12    getting me to lie on unemployment paperwork, and
13    it took me some time to find Graham, and that
14    was the date that I was able to file.
15            Q.      Let me ask you a couple of things in
16    the charge.       On the first page, if you look down
17    in kind of in the text section, the third
18    sentence says:        When she returned to work in
19    January of 2019, Ms. Behm started being targeted
20    by superiors that began writing her up
21    for unwarranted reasons.
22            A.      Yes.
23            Q.      What are you referring to there?
24            A.      Them stating I was leaving my work
25    area when I'm not tied to a work area, I'm tied


                                                                    JA000221
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 222 of 540


                                                                           222
 1                               C. BEHM
 2    to a line.      And I stayed on the line.
 3             Q.     Anything else that you were written
 4    up for that you felt was unwarranted?
 5             A.     Other than those two write-ups?
 6             Q.     Yes.
 7             A.     Not that I recall.
 8             Q.     If you would look over at the next
 9    page.
10             A.     Yes.
11             Q.     The second paragraph, down towards
12    the bottom of that second paragraph, there's a
13    sentence that states:          After her return from
14    medical leave, Ms. Behm was placed on second
15    shift with only one-day's notice?
16             A.     Correct.
17             Q.     You see that?        Is that accurate?
18             A.     Yes, they told me on a Thursday.              I
19    called off Friday.         And Monday I was on second
20    shift.
21                        (Dismissal Notice is received and
22                    marked as Exhibit 45 for
23                    identification, as of this date.)
24             Q.     Ms. Behm, you've been handed what
25    has been marked as 45, which is the dismissal


                                                                    JA000222
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 223 of 540


                                                                           223
 1                               C. BEHM
 2    notice.      Did you receive this from the Equal
 3    Employment Opportunity Commission?
 4            A.      Yes.
 5            Q.      Do you know when you received this
 6    document from the EEOC?
 7            A.      Shortly after the date issued.
 8            Q.      It was issued March 11th of 2021; is
 9    that right?
10            A.      Yes.
11                        (Civil Action Complaint is
12                    received and marked as Exhibit 46
13                    for identification, as of this
14                    date.)
15            Q.      All right.      Ms. Behm, I've handed
16    what has been marked as Exhibit 46, which is a
17    copy of the amended complaint that was filed in
18    the lawsuit that you filed against Mack and the
19    local UAW.      And I realize this is a document
20    that was drafted by your lawyer, okay, so,
21    again, I don't get to ask him questions today,
22    unfortunately.
23            All right, so I have a few -- just a
24    couple of questions related to the factual
25    allegations in your lawsuit.             I'm going to ask


                                                                    JA000223
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 224 of 540


                                                                           224
 1                                C. BEHM
 2    you to flip over -- if you look at the top of
 3    the page, it's page 5 of 12.
 4             A.      Okay.
 5             Q.      If you look to paragraph number 38.
 6    Do you see that?          Says:   As a result of defendant's
 7    retaliatory behavior and unwillingness to engage in
 8    accommodating plaintiff's disability, she resigned
 9    on or about February 15th of 2021.               Correct?
10             A.      Yes.
11             Q.      So how did Mack fail to accommodate
12    your disability?
13             A.      When I was seeing Dr. Brzozowski, my
14    neurologist, he said it's extremely unhealthy
15    for people with concussions, multiple
16    concussions, post-concussions disorder, which I
17    had, all along.          That it's healthy to have a
18    first shift because normal bodies wake up at the
19    same time every day, have the same schedule, and
20    for my brain health, first shift is ideal, not
21    second shift, not third -- especially not third
22    shift.        And that was his medical recommendation.
23             Q.      Okay.     What is the policy at Mack
24    for accommodating disabilities?
25             A.      That, I don't know.         Normally, as


                                                                    JA000224
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 225 of 540


                                                                           225
 1                               C. BEHM
 2    far as placement goes for medical, they try to
 3    place you where you're able to work.                They do
 4    try to accommodate that.           When I came back from
 5    my shoulder injury, they accommodated and put me
 6    on something that was light work.              When you have
 7    a medical diagnosis, they try.
 8            Q.      So when you are referencing working
 9    first shift, are you referencing in the
10    February 2020 time frame when you were moved
11    from first shift to second shift?
12            A.      Narrow that a little bit.
13            Q.      I'm sorry.      Let me try again.
14            You said that Dr. Brzozowski indicated
15    moving shifts was problematic.
16            A.      Yes.
17            Q.      And so in February of 2020 is was
18    when you were required to move shifts as a part
19    of the layoff?
20            A.      Yes.
21            Q.      So is that the time frame you're
22    talking about where you needed an accommodation?
23            A.      I would say "yes."
24            Q.      All right.      How did you notify Mack
25    that you needed an accommodation then?


                                                                    JA000225
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 226 of 540


                                                                           226
 1                               C. BEHM
 2            A.      Cruz knew.
 3            Q.      All right.      Let me ask again.         Did
 4    you notify anybody in HR at Mack that you needed
 5    an accommodation?
 6            A.      I wasn't able to, unless I went
 7    through my union rep.
 8            Q.      Did you notify anybody in the
 9    dispensary in February of 2020, that you needed
10    an accommodation?
11            A.      I wasn't able to go through anything
12    without my union rep to have a witness.
13            Q.      Did you notify anybody other than
14    Cruz that you needed an accommodation in
15    February of 2020?
16            A.      Kevin Fronheiser knew that in
17    regards to everything as a whole.
18            Q.      Did you present them with any
19    medical documentation from Dr. Brzozowski?
20            A.      They never asked.
21            Q.      Did you have -- do you have any
22    medical documentation from Dr. Brzozowski saying
23    you needed to be on first shift?
24            A.      No.
25            Q.      So you told Cruz and you told Kevin


                                                                    JA000226
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 227 of 540


                                                                           227
 1                               C. BEHM
 2    Fronheiser that you needed to be on first shift
 3    for medical reasons?
 4            A.      It was a couple of reasons, not just
 5    medical.
 6            Q.      And how did you tell Kevin that?
 7            A.      I would see Kevin all the time on
 8    the floor.
 9            Q.      Did you say that in any of those
10    text messages to Kevin?
11            A.      Not in the text messages.
12            Q.      And how did you tell Cruz that?
13            A.      Probably person-to-person.
14            Q.      Did you tell anybody in management
15    at Mack that you needed an accommodation for
16    medical -- that you needed to be on first shift
17    for medical reasons?
18            A.      Anytime you go to a supervisor
19    there, they say, Go to your union rep.
20            Q.      Did you go to a supervisor to tell
21    them that at any point in time?
22            A.      There's no point.
23            Q.      So that's a no?
24            A.      That's a no.
25            Q.      All right.      So down at the bottom of


                                                                    JA000227
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 228 of 540


                                                                           228
 1                               C. BEHM
 2    page 5, there are -- you assert several claims
 3    against my client.         The first one is a claim
 4    under the Americans with Disabilities Act.                  I
 5    just talked to you about your need for
 6    accommodation.
 7            At any other point during your employment at
 8    Mack, did you request an accommodation from my
 9    client?
10            A.      No.
11            Q.      So you alleged that my client has
12    discriminated against you because you have a
13    disability.       What is your disability?
14            A.      My migraines.
15            Q.      Anything else other than migraines?
16            A.      PTSD, anxiety, depression.
17            Q.      When were you diagnosed with those
18    conditions?
19            A.      Ultimately, or like first diagnosis?
20            Q.      Yes.
21            A.      I was first placed on depression
22    medication a month before my daughter was born.
23            Q.      So that would have been sometime in
24    2017?
25            A.      Yes.


                                                                      JA000228
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 229 of 540


                                                                           229
 1                               C. BEHM
 2            Q.      Early 2017?
 3            A.      I believe it was March of 2017,
 4    about a month and a half.
 5            Q.      Now, did you make Mack aware of that
 6    condition at any point in time?
 7            A.      I don't think.
 8            Q.      So did Mack have any knowledge that
 9    you had depression?
10            A.      We had to give them a list of our
11    prescriptions when we were hired, so if they
12    have that, then that would be in my medical
13    records.
14            Q.      Did you ever ask Mack to accommodate
15    your depression in any way?
16            A.      No, I didn't want to be
17    discriminated against.
18            Q.      So you just -- you didn't want to
19    tell them because you thought you would be
20    discriminated against if you did?
21            A.      Yes.    I was scared of Kaitlyn.
22            Q.      I believe you first were diagnosed
23    with a concussion in May of 2019?
24            A.      Yes.
25            Q.      And when you were diagnosed with


                                                                    JA000229
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 230 of 540


                                                                           230
 1                               C. BEHM
 2    that concussion, you requested A&S?
 3            A.      Workmen's Comp at first.            And then I
 4    got my second concussion, and Mack thought that
 5    they couldn't distribute [sic] which concussion
 6    was worse, so they blamed it just on the
 7    assault.     So that's why Workmen's Comp and
 8    everything -- with me getting denied from not
 9    going to their hospital and then not knowing
10    which concussion was worse.
11            Q.      So my question was, you applied for
12    A&S?
13            A.      Yes.
14            Q.      And you were granted A&S?
15            A.      Yes.
16            Q.      Was there any point in time when you
17    were at Mack that you applied for A&S and it was
18    denied?
19            A.      Yes.
20            Q.      When was that?
21            A.      In March.
22            Q.      Of which year?
23            A.      2020.
24            Q.      And that was subsequently approved a
25    few weeks later?


                                                                    JA000230
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 231 of 540


                                                                           231
 1                               C. BEHM
 2            A.      When I changed my wording.
 3            Q.      And it was approved retroactively
 4    back to the date you went out of work?
 5            A.      Yes.
 6            Q.      Do you have any other disabilities?
 7            A.      I was diagnosed with sarcoidosis.
 8            Q.      When did that happen?
 9            A.      At first they thought I had cancer.
10    That was a couple of months after I left on A&S.
11    I had a big bump on my arm, and I saw a couple
12    of doctors for that.          I saw an oncologist.          And
13    eventually I was diagnosed with sarcoidosis.
14            Q.      So do you recall when you received
15    that diagnosis?
16            A.      I would say maybe -- I don't recall
17    the exact day.
18            Q.      Was it while you were still employed
19    by Mack?
20            A.      Yes.
21            Q.      Did you ever tell anybody at Mack
22    that you had sarcoidosis?
23            A.      I was out on A&S.
24            Q.      So is that a "no"?
25            A.      That's a "no."


                                                                    JA000231
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 232 of 540


                                                                           232
 1                               C. BEHM
 2             Q.      Do you have any other disability?
 3             A.      That happened during Mack, or as a
 4    whole?
 5             Q.      Well, on the whole.
 6             A.      I don't have a spleen.
 7             Q.      Is that something Mack was aware of?
 8             A.      I think it's in my paperwork on my
 9    chart.        You have to give a whole medical
10    history.
11             Q.      You believe you are discriminated
12    against because you don't have a spleen?
13             A.      I don't believe I was discriminated
14    against because of that.           I was discriminated
15    against my migraines and what happened at Mack.
16             Q.      So tell me what Mack did to
17    discriminate against you because you had
18    migraines.
19             A.      Well, they denied my A&S.
20             Q.      What else?
21             A.      They put me in Mack in Motion when I
22    came back, and I didn't even have clearances.                   I
23    had a clearance from Dr. Shipkin, but not my
24    actual neurologist.         They placed me on Mack in
25    Motion to sit there eight hours a day, doing


                                                                    JA000232
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 233 of 540


                                                                           233
 1                               C. BEHM
 2    nothing.     Occasionally, they would have me doing
 3    things that weren't even relative to my job,
 4    showing people how to use the computer system,
 5    for putting in requests for Buck Week and FMLA
 6    and everything, because they didn't want to deal
 7    with us, pretty much.          They wanted us to be able
 8    to go to the computer, put in requests for
 9    paperwork, and not go to HR, at all.
10            Q.      When you say "deal with us," who are
11    you referring to?
12            A.      Anyone in the union.          They separated
13    company from union.         So if you didn't have a
14    company pass, you weren't going in HR.
15            Q.      But you said "deal with us."             You
16    said, They didn't want to deal with us.
17            A.      Yes.    Anyone in the union.
18            Q.      The company didn't want to deal with
19    anybody in the union?
20            A.      No.
21            Q.      What else did they do to
22    discriminate against you because of your
23    disability?
24            A.      Because of my disability?
25            Q.      Yes.


                                                                     JA000233
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 234 of 540


                                                                           234
 1                               C. BEHM
 2            A.      They would put me on tasks, knowing
 3    I couldn't perform them.           As far as being on the
 4    beginning of L line, pulling the cabs on, it was
 5    in my medical chart about my shoulder and
 6    repetitiveness.        They had me doing extremely
 7    hard labor.
 8            Q.      What about with regards to your
 9    migraines?      Did they do anything else to
10    discriminate against you because you had
11    migraines?
12            A.      That's a tough one.          I mean,
13    migraines are triggered by anything.                Loud
14    noises, stress, repetitiveness.
15            Q.      Describe the interior of the
16    Macungie Mack plant to me.            Is it loud?
17            A.      In some areas.        Some areas it's
18    louder than others.
19            Q.      Does it require some heavy labor?
20            A.      In some areas.        Some jobs are easy.
21    Some jobs are extremely difficult.
22            Q.      Do they require repetitive motion?
23            A.      Not all of them.
24            Q.      Did you ever ask anybody in human
25    resources at Mack for a job that did not require


                                                                    JA000234
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 235 of 540


                                                                           235
 1                               C. BEHM
 2    those things?
 3             A.     I spoke to my union rep about being
 4    in kitting.
 5             Q.     Let me ask it again.          Did you ever
 6    talk to anybody in human resources at Mack about
 7    being in a position that did not require --
 8             A.     I was unable to.
 9             Q.     And that's because you couldn't go
10    to human resources without going to the union
11    first?
12             A.     Correct.
13             Q.     Is there anything else they did to
14    discriminate against you because you had a --
15    because of your migraines?
16             A.     I have to think about that a little
17    bit more.
18             Q.     Now, you also have alleged a hostile
19    work environment, harassment claim against Mack.
20    What is that based on?
21             A.     Kaitlyn.
22             Q.     How did Kaitlyn harass you?
23             A.     Threatening my job.
24             Q.     And do you believe that's based upon
25    your sex?


                                                                    JA000235
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 236 of 540


                                                                           236
 1                               C. BEHM
 2            A.      I would say as a whole.           I mean,
 3    that plant is mainly men.            And females are the
 4    ones who pretty much care for children.                 Kaitlyn
 5    knew I couldn't go to second shift.
 6            Q.      All right.      Anything else that
 7    Kaitlyn did to discriminate against you based
 8    upon your sex?
 9            A.      Not about my sex, no.
10            Q.      Now, you also specifically allege in
11    the complaint, if you look at the top of page 7,
12    paragraph 53, very top, you were subjected to
13    unwelcome sexual advances, language, innuendo
14    statement, and other conduct by a coworker/union
15    representative.        Is that referring to Cruz?
16            A.      Yes.    And Kaitlyn would refer to me
17    as "the one with the nude photos," instead of by
18    my name.
19            Q.      When did she do that?
20            A.      When she wanted me to see a second
21    neurologist to get a second opinion,
22    Dr. Shipkin.
23            Q.      Who did she make that comment to?
24            A.      She made those comments, I believe,
25    to Kevin.


                                                                    JA000236
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 237 of 540


                                                                           237
 1                               C. BEHM
 2            Q.      Do you have any idea why she made
 3    those comments to Kevin?
 4            A.      Because she's rude and
 5    unprofessional.
 6            Q.      What was she referring to, "the one
 7    with the nude photos"?
 8            A.      Me.
 9            Q.      But what?
10            A.      Instead of saying "Colleen Behm,"
11    "the one with the nude photos."
12            Q.      Were there nude photos?
13            A.      Yes.
14            Q.      All right.      So with regard to
15    Kaitlyn's conduct that you allege was harassing,
16    did you ever report that to anybody?
17            A.      How am I supposed to report my Human
18    Resource person to my human resources?
19            Q.      Again, did you ever report that to
20    anybody?
21            A.      Kevin knew about it.
22            Q.      How did Kevin know about it?
23            A.      Because he's the one who told me
24    that she was referring to me as the one with the
25    nude photos.


                                                                    JA000237
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 238 of 540


                                                                           238
 1                               C. BEHM
 2            Q.      Did you make a complaint to Kevin
 3    about it?
 4            A.      I said, Well, that's rude.
 5            Q.      Did you make a complaint to anybody
 6    at Mack in management about it?
 7            A.      Kaitlyn is the one who handled all
 8    of that.
 9            Q.      Did you make a complaint to Kaitlyn
10    about it?
11            A.      How am I supposed to tell Kaitlyn
12    that she's being a jerk?
13            Q.      Again, I'm asking you the question.
14    So don't ask me a question back, please.
15            A.      No.
16            Q.      Thank you.
17            Did you ever make a complaint to anybody
18    in management at Mack about Kaitlyn?
19            A.      No.
20            Q.      All right.      Now, you also alleged my
21    client retaliated against you.             What did my
22    client do to retaliate against you?
23            A.      In what instance?
24            Q.      Well, anytime.        I mean, you
25    mentioned earlier there were several instances


                                                                    JA000238
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 239 of 540


                                                                           239
 1                               C. BEHM
 2    of conduct you thought was retaliatory.                 So I'm
 3    wondering what they did to you that you thought
 4    was in retaliation for any, you know, protected
 5    activity that you engaged in, either under the
 6    Americans with Disabilities Act or Title VII.
 7            A.      Well, I believe that they -- when
 8    they put me in Mack in Motion, like I stated
 9    before, that's pretty much where they put the
10    misfits.     They don't want to deal with you.               And
11    I believe they knew that I didn't have
12    clearances, so they didn't want me on the actual
13    floor, because I would be a liability.
14            Q.      I believe you testified earlier,
15    when you went to Mack in Motion, you were paid
16    the same pay rate you had before you went on
17    that leave?
18            A.      Yes.
19            Q.      And you subsequently moved back to a
20    production flex position, after Mack in Motion?
21            A.      Yes.
22            Q.      What else did Mack do to you that
23    you believe was in retaliation for you engaging
24    in protected activity?
25            A.      I believe they wanted me out the


                                                                    JA000239
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 240 of 540


                                                                           240
 1                               C. BEHM
 2    door, and they knew my weak points, and they
 3    used that to their advantage.             They knew I
 4    couldn't go to second shift.             They knew I would
 5    have migraines.        They knew certain situations
 6    would be unbearable for me, and ultimately, I
 7    would leave.       And that's exactly what happened.
 8            Q.      Why did you believe Mack wanted to
 9    get rid of you?
10            A.      Because of the time that I was
11    taking off for my health.
12            Q.      And that time was all covered by A&S
13    benefits?
14            A.      Yes.
15            Q.      Is there anything else that Mack did
16    that you believe was retaliatory?
17            A.      With denying A&S and trying to get
18    me in trouble with filing false reports with
19    unemployment, yes.
20            Q.      Is there anything else Mack did that
21    you believe was retaliatory?
22            A.      Not that I can recall at this time.
23            Q.      All right.      If you look over to
24    page 9 of the complaint.
25            A.      Yes.


                                                                    JA000240
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 241 of 540


                                                                           241
 1                               C. BEHM
 2            Q.      Count 5 of the complaint is a claim
 3    called "breach of duty of fair representation."
 4    It says:     Plaintiff versus defendant, UAW.               You
 5    are not bringing a claim of breach of duty of
 6    fair representation against Mack, are you?
 7            A.      That's his department.
 8                          MR. BAIRD:     No, we are not.
 9            A.      No.
10            Q.      Just confirming.         Thank you.
11                          MR. MC COY:     I've probably got 15
12                    or 20 more minutes.           You want to
13                    just keep going?         Are you okay?
14                          THE WITNESS:     Yes.
15            Q.      All right.      Ms. Behm, in the
16    complaint, you are alleging that you're entitled
17    to certain damages from my client as a result of
18    its conduct in this case.            The first one of
19    those is lost wages.          What wages have you lost
20    as a result of my client's conduct?
21            A.      I wanted to retire there.            I dropped
22    out of school from mortuary science to take my
23    job at Mack.       I thought that was going to be --
24    to be where I finished everything.
25            Q.      And on February the 8th of 2021,


                                                                    JA000241
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 242 of 540


                                                                           242
 1                               C. BEHM
 2    when you resigned from employment at Mack, could
 3    you have gone back to Mack?
 4            A.      Yes.
 5                        (2018 W-2 is received and marked
 6                    as Exhibit 47 for identification, as
 7                    of this date.)
 8            Q.      Ms. Behm, if you look at Exhibit 47
 9    for me first, would you just confirm these
10    appear to be your W-2s from 2018, 2019, and 2020
11    from Mack; is that correct?
12            A.      Yes.
13            Q.      In 2018, it looks like you earned
14    $32,881.44.
15            A.      Yes.
16            Q.      In 2019, you earned $34,233.87?
17            A.      Yes.
18            Q.      And in 2020, you earned 29,879.24?
19            A.      Yes.
20                        (Earning Statement is received
21                    and marked as Exhibit 48 for
22                    identification, as of this date.)
23            Q.      And then if you would look at
24    Exhibit 48, which I believe are your earning
25    statements from Mack for the couple of months in


                                                                    JA000242
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 243 of 540


                                                                           243
 1                               C. BEHM
 2    2021 when you were employed, if you would just
 3    confirm that those are accurate, for me, please.
 4            A.      Yes.
 5            Q.      If you look at the first page, it
 6    indicates ASN and says:           $489.10.     Is that how
 7    much you earned per week when you were on A&S?
 8            A.      Yes.
 9            Q.      All right.      And if you would look
10    over at the page -- it's the second-from-last
11    page.    It's got a Bates label of Mack 390 on it.
12            A.      Second-to-last page?
13            Q.      Second-to-last page, yes.
14            A.      Page 390?
15            Q.      390, yes.
16            A.      Okay.
17            Q.      Did you receive a vacation payout of
18    about a little over $2500 on your final
19    paycheck?
20            A.      Yes.
21            Q.      And then on the next page, the very
22    last page, which is 391, looks like you got a
23    profit-sharing payment in April of 2021; is that
24    correct?
25            A.      Yes.


                                                                    JA000243
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 244 of 540


                                                                           244
 1                               C. BEHM
 2                        (Earning Statement is received
 3                    and marked as Plaintiff Exhibit 49
 4                    for identification, as of this
 5                    date.)
 6            Q.      All right.      In Exhibit 49, you made
 7    reference a couple of hours ago to this, I
 8    believe.     Are these -- what is this document,
 9    Exhibit 49?
10            A.      This is my earnings from OnlyFans.
11            Q.      Okay.     And that's from September 1st
12    of 2021 to November 7th of 2021?
13            A.      Yes.
14            Q.      I believe you indicated that you
15    continued to have the OnlyFans site until
16    approximately one month ago?
17            A.      Yes.
18            Q.      Do you know how much total you
19    earned from OnlyFans?
20            A.      Just under 2,000, as a whole, from
21    when I started it until I turned it off.
22            Q.      You're also alleging that you lost
23    benefits.      What benefits did you lose as a
24    result of --
25            A.      Health benefits.


                                                                    JA000244
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 245 of 540


                                                                           245
 1                               C. BEHM
 2             Q.     Do you currently have any health
 3    benefits?
 4             A.     Through the state.
 5             Q.     Do you have to pay anything for
 6    those benefits?
 7             A.     No.
 8             Q.     The house where you currently live,
 9    do you own it?
10             A.     No.    I rent it.
11             Q.     Have you ever -- have you rented it
12    the entire time you've been there?
13             A.     Yes.
14             Q.     During -- I guess between
15    February of 2021 and the present, did you ever
16    receive any government COVID benefits?
17             A.     Yes.    From -- I'm sorry.          From what
18    dates?
19             Q.     Between February of 20 -- between
20    the time you resigned from employment and the
21    present.
22             A.     Yes.
23             Q.     Do you know how much you received in
24    COVID benefits during that time period?
25             A.     I don't know.


                                                                    JA000245
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 246 of 540


                                                                           246
 1                               C. BEHM
 2            Q.      Did you also receive COVID benefits
 3    in 2020 when you were out of work?
 4            A.      Yes.
 5            Q.      Do you recall how much you received
 6    in COVID benefits in 2020?
 7            A.      I do not.
 8            Q.      Have you been unable to see any of
 9    your doctors because of your -- because of the
10    fact you lost your health benefits last year?
11            A.      Yes.
12            Q.      Which doctors can you not see any
13    longer?
14            A.      I can't see my family physician
15    anymore.     So Brent Calhoon, Dr. Bonaccorsi,
16    Kimberly Rauenzahn.         My clavicle doctor.          I had
17    to get an out-of-network authorization to see
18    him, but that's limited.           And my -- I can't see
19    my normal gynecologist.           I have to see one
20    through the state, and I'm still on a waiting
21    list to get an appointment with her.
22            Q.      Have you been denied any medical
23    coverage in the past year?
24            A.      As far as health insurance or --
25            Q.      As far as any -- have you been


                                                                    JA000246
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 247 of 540


                                                                           247
 1                               C. BEHM
 2    denied any coverage for any medical issue that
 3    you've had because you didn't have insurance?
 4            A.      Yes.
 5            Q.      What sort of issue have you had that
 6    has not been covered by your health?
 7            A.      I don't have a family doctor
 8    anymore.
 9            Q.      So when you have a medical issue,
10    where do you get treatment?
11            A.      I have to go to an Urgent Care.
12            Q.      So have you had any serious medical
13    issues in the past year?
14            A.      Migraines.
15            Q.      Do you continue to take the same
16    medication you took prior to February of 2021?
17            A.      I take Tylenol.
18            Q.      Do you have any prescription
19    medication that you take for migraines?
20            A.      No, because I can't see a
21    specialist.
22            Q.      So since you left Mack, you no
23    longer take your prescription medication?
24            A.      Correct.
25            Q.      You allege you have injury to


                                                                    JA000247
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 248 of 540


                                                                           248
 1                               C. BEHM
 2    reputation.       What do you mean by that?
 3            A.      I don't see self-expression as being
 4    harmful, but when someone degrades you for it
 5    and calls you "the one with the nude photos,"
 6    and puts you out there even more as in a
 7    degrading way, it hurts.
 8            Q.      Do you have any knowledge that -- I
 9    assume you're referring to Kaitlyn's comments
10    about you?
11            A.      Yes.
12            Q.      Do you have any knowledge that
13    Kaitlyn made those comments outside of Mack?
14            A.      I don't know if she did.
15            Q.      You also allege you're seeking to
16    recover attorney's fees.           Have you had to pay
17    anything to your attorney so far in this case?
18            A.      No.
19            Q.      Have you had to pay any costs to
20    your attorney in this case?
21            A.      Not yet.
22            Q.      All right.      You're also alleging
23    that you suffered mental and emotional distress
24    because of my client's conduct.              Tell me about
25    your mental and emotional issues.


                                                                    JA000248
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 249 of 540


                                                                           249
 1                               C. BEHM
 2            A.      I don't know what my life is going
 3    to hold anymore.        I enjoyed going to Mack.            Life
 4    happens, and I had no control over that.                 But my
 5    womanhood was taken from me.             I couldn't walk in
 6    Mack and not feel like I was being judged.
 7    That's why I couldn't go back.
 8            Q.      And that's based on the conduct of
 9    Cruz and Kaitlyn?
10            A.      Yes.
11            Q.      When did Kaitlyn make the comment
12    about the nude photos?
13            A.      When she scheduled for second
14    opinion with Dr. Shipkin.
15            Q.      So that would have been August of
16    2019?
17            A.      Yes.
18            Q.      Have you received any treatment for
19    emotional distress?
20            A.      Yes.
21            Q.      Who have you seeked [sic] treatment
22    from.
23            A.      I saw Jill Snively.          She was a
24    counselor.      I was seeing her weekly.            And then I
25    went to biweekly, and then monthly.               So it was


                                                                    JA000249
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 250 of 540


                                                                           250
 1                               C. BEHM
 2    weekly when I was dealing with Mack.                And then
 3    my stress levels started to improve when I
 4    wasn't dealing with Kaitlyn or Cruz.
 5            Q.      When did you start seeing Jill
 6    Snively?
 7            A.      After my concussion.
 8            Q.      So after May of 2019?
 9            A.      About June, July, yes.
10            Q.      Are you still seeing her?
11            A.      No.
12            Q.      When did you stop seeing her?
13            A.      After I resigned from Mack.
14            Q.      Besides Jill Snively, have you seen
15    anybody else for emotional distress?
16            A.      No.
17            Q.      What are you looking to recover from
18    Mack in this case?
19            A.      I'd have to discuss that with
20    Graham.      I don't know a roundabout figure.
21            Q.      Some money?
22            A.      As much as I would love to go back
23    to Mack, and I would in a heartbeat, I just know
24    it wouldn't be the same.
25            Q.      Why do you say that?


                                                                    JA000250
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 251 of 540


                                                                           251
 1                               C. BEHM
 2            A.      Because of Kaitlyn and, to my
 3    knowledge, Cruz is still employed there, even
 4    under my accusations.
 5                        (Rule 26 Disclosures is received
 6                    and marked as Exhibit 50 for
 7                    identification, as of this date.)
 8                        (Answers is received and marked
 9                    as Exhibit 51 for identification, as
10                    of this date.)
11                        (Responses is received and marked
12                    as Exhibit 52 for identification, as
13                    of this date.)
14            Q.      All right.      So, Ms. Behm, I'm going
15    to ask you just a couple of questions about each
16    of these.      So Exhibit 50, if you'll start with
17    that one, those are the initial disclosures that
18    you sent to us in this lawsuit.              And just a
19    couple of questions for you.
20            In the first page there's a section, if
21    you look down towards the bottom, says: Persons
22    with knowledge.
23            Do you see that?
24            A.      Yes.
25            Q.      And you got a list of several


                                                                    JA000251
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 252 of 540


                                                                           252
 1                               C. BEHM
 2    people.      I know who most of these are.            Cruz
 3    Rivera.      That should be Kevin Fronheiser; is
 4    that right?
 5            A.      Yes.
 6            Q.      Joshua Knappenberger, who is that?
 7            A.      That was a guy I dated at Mack.
 8            Q.      What does he know -- what
 9    information does he have related to your
10    lawsuit?
11            A.      I told him what was happening with
12    Cruz.
13            Q.      So that was in the same time frame
14    with the issues with Cruz over December of 2019
15    to February of 2020, that time frame?
16            A.      Yes.
17            Q.      Kenneth Virgil, who is he?
18            A.      He worked with me.
19            Q.      And Joshua was a coworker, as well?
20            A.      Yes.
21            Q.      He was not a supervisor, was he?
22            A.      No.
23            Q.      Is Kenneth a supervisor?
24            A.      No.
25            Q.      I believe you referenced you talked


                                                                    JA000252
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 253 of 540


                                                                           253
 1                               C. BEHM
 2    to Kenneth, you told Kenneth about Cruz, as
 3    well?
 4            A.      Yes.
 5            Q.      If you look over on page 2.
 6            A.      Same exhibit?
 7            Q.      Yes, same exhibit.         In C, the very
 8    bottom of C, and I realize these were submitted
 9    to us August 31st of last year, it says:                 Today
10    Plaintiff has sustained approximately $21,964 in
11    lost wages and economic loss.
12            Do you see that?
13            A.      Yes.
14            Q.      How did you come up with that
15    number?
16            A.      You'd have to talk to Graham.
17            Q.      So that's not your calculation?
18            A.      No.
19            Q.      All right.      If you'll go to 51,
20    please.      First section is the interrogatories
21    that you provide in response to -- or the
22    responses that you provided in -- to the
23    interrogatories that we submitted to you.
24            If you go over to page 4, at the top --
25            A.      Yes.


                                                                    JA000253
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 254 of 540


                                                                           254
 1                               C. BEHM
 2            Q.      -- there's a statement about Stanley
 3    Black & Decker says:          Plaintiff currently in the
 4    hiring process.
 5            What does that mean?
 6            A.      Yes.    They -- I had interviews with
 7    them.    She wanted me to do a tour of the
 8    facility and then, shortly after, I got a call
 9    stating that I had to have two back-to-back
10    surgeries because I had a bone infection in my
11    clavicle.      So I told Stanley Black & Decker
12    that.    She said, Give me a call after surgery.
13    And I sent her an email, but all the positions
14    were filled.
15            Q.      So when was that that you were in
16    the hiring process with them?
17            A.      Around October.
18            Q.      When did you have surgery?
19            A.      October.
20            Q.      And so what -- you had an infection;
21    is that what you said?
22            A.      A bone infection.
23            Q.      And was this the same shoulder that
24    had been injured previously?
25            A.      Yes.


                                                                    JA000254
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 255 of 540


                                                                           255
 1                               C. BEHM
 2             Q.      Did you reinjure the shoulder?
 3             A.      No.
 4             Q.      And so what kind of surgery did you
 5    have?
 6             A.      They put an antibiotic cement in
 7    there.        They took my hardware out, put an
 8    antibiotic cement between the non-union
 9    fracture, and then I was supposed to have
10    surgery four weeks later, but I got COVID, so
11    six weeks later I had my second surgery, and
12    they took bone from my hip and put it in there
13    with new hardware.
14             Q.      So, again, just to make sure my time
15    frame is correct, this was October of last year,
16    so 2021?
17             A.      Yes.
18             Q.      And how long were you unable to work
19    because of that?
20             A.      I still haven't been cleared to do
21    anything.
22             Q.      So have you reached back out to
23    Stanley Black & Decker?
24             A.      I did.    I told them that surgery
25    went good.       And I asked them if they had any


                                                                    JA000255
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 256 of 540


                                                                           256
 1                               C. BEHM
 2    openings coming up.
 3            Q.      When did you reach back out to them?
 4            A.      Within the past month.
 5            Q.      So I know you said you did a
 6    cleaning job, or worked for a cleaning company
 7    last week.      How were you able to do that with
 8    your shoulder?
 9            A.      It's very light work.          Just wiping
10    windows and tabletops.
11            Q.      Who did your surgery on your
12    shoulder?
13            A.      Craig O'Neill.
14            Q.      Same doctor?
15            A.      Yes.
16            Q.      Go to page 6, please.          In the middle
17    of the page, you see there's a section that says
18    Answer to Interrogatory Number 13?               You see
19    that?
20            A.      Yes.
21            Q.      And, again, there are several
22    witnesses listed.         There are a couple of new
23    ones, I believe.        One is a Desiree Williams?
24            A.      Yes.
25            Q.      That's your friend you mentioned


                                                                    JA000256
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 257 of 540


                                                                           257
 1                               C. BEHM
 2    earlier, correct?
 3            A.      Yes.
 4            Q.      So you've discussed your lawsuit
 5    with Desiree?
 6            A.      Yes.
 7            Q.      Derrick Jones, I believe you
 8    mentioned him.        He was the one you talked to
 9    when Cruz was making comments to you --
10            A.      Yes.
11            Q.      -- texting you?
12            Jill Snively, we -- and who is Joanna
13    Weaver?
14            A.      My mom.
15            Q.      That's your relative.
16            What did you talk to your mother about?
17            A.      She was there when Cruz messaged me.
18            Q.      All right.      If you would go to
19    Document 52, please.          These are your responses
20    to our request for production.             My only question
21    is:    Have you provided all documents that you
22    have in your possession related to your
23    employment at Mack, or related to any of the
24    claims in this case, to your attorney?
25            A.      Yes.


                                                                    JA000257
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 258 of 540


                                                                           258
 1                               C. BEHM
 2                        (Screenshots are received and
 3                    marked as Exhibit 53 for
 4                    identification, as of this date.)
 5            Q.      Ms. Behm, you've been handed what
 6    has been marked as Exhibit 53.             Do you recognize
 7    these pages?
 8            A.      Yes.    That's my Instagram.
 9            Q.      And you made reference earlier to
10    the nude photos.        Are these the photos that you
11    were referring to?
12            A.      Yes.
13            Q.      Are these part of -- were these some
14    of your modeling photos that were taken?
15            A.      Yes, but these weren't the photos
16    that were taken while at Mack.
17            Q.      When were the -- you're referring to
18    page 1?
19            A.      Yes.
20            Q.      When were those photos taken?
21            A.      These are more recent photos.             So
22    within the past two years.            So when Kaitlyn made
23    the comment of "the one with the nude photos,"
24    it was me with orange and blue hair.
25            Q.      I want to make sure I'm following


                                                                     JA000258
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 259 of 540


                                                                           259
 1                               C. BEHM
 2    you.    So you said these photos were taken within
 3    the last two years?
 4            A.      Yes.
 5            Q.      But were not taken while you were at
 6    Mack.
 7            A.      Meaning, they weren't taken when
 8    Kaitlyn made that reference.
 9            Q.      They were taken after that?
10            A.      Yes.
11            Q.      But you were -- were you working at
12    Mack when these pictures were taken?
13            A.      I think so, yes.
14            Q.      And then page 2, I'm assuming
15    that -- is that you with Corey?
16            A.      That's Corey.
17            Q.      Same on page 3, you and Corey?
18            A.      That's Corey.
19            Q.      Let me -- I'm sorry, go back to
20    page 2 just a minute.          There's a reference under
21    that photo, the date, August 15th.               Do you know
22    what year that picture -- that post was?
23            A.      Which page?
24            Q.      Page 2.
25            A.      This past year.


                                                                    JA000259
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 260 of 540


                                                                           260
 1                               C. BEHM
 2            Q.      August.     That would have been
 3    August 15th of 2021?
 4            A.      Yes.    That was about the time that
 5    we started talking.
 6            Q.      And then the next page, there's
 7    another picture of you and Corey.              Do you know
 8    when that picture was from?
 9            A.      Around the same time as the other
10    one.
11            Q.      And then down at the bottom there's
12    a picture that's cut off.            Do you know who that
13    is with you in the bottom picture?
14            A.      The one with the page --
15            Q.      Yeah, there, that one that's cut
16    off?
17            A.      That's me and Desiree.
18            Q.      All right.      And then the next post,
19    I believe, it's two pages.            There's a picture --
20    there's the text, and then the next page is the
21    picture; is that right?
22            A.      Yes.
23            Q.      All right.      And this is a post from
24    February 25th.        Do you know what year this was
25    done?


                                                                    JA000260
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 261 of 540


                                                                           261
 1                               C. BEHM
 2             A.     I don't.      I had blue hair.        So it
 3    was sometime in 2019.
 4             Q.     All right.      So in February of 2019,
 5    were you still married to Corey?
 6             A.     Legally.
 7             Q.     You said in this post:           My marriage
 8    made me extremely insecure with the cheating and
 9    abuse.
10             So was this taken after -- was this posted
11    after you were divorced?
12             A.     I can't confirm or deny.
13             Q.     Now, in this post you indicate
14    you're going to have a Brazilian butt lift?
15             A.     Yes.    I wanted one.
16             Q.     When did you have that done?
17             A.     I went to Florida to talk to a
18    surgeon, in March.
19             Q.     Of what year?
20             A.     Not this year.        Last year.
21             Q.     March of 2021?
22             A.     Yes.    A year ago.
23             Q.     Did you have the procedure done?
24             A.     To an extent.
25             Q.     What do you mean by that?


                                                                    JA000261
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 262 of 540


                                                                           262
 1                               C. BEHM
 2             A.     My blood levels weren't sufficient.
 3             Q.     So what kind of procedure did you
 4    actually have done?
 5             A.     They took a little bit of fat out of
 6    my belly.
 7             Q.     But not as much as you wanted?
 8             A.     Correct.
 9             Q.     And where did you have this done?
10             A.     CG Cosmetics.
11             Q.     Where is that located?
12             A.     Miami.
13             Q.     Do you have any records related to
14    that procedure?
15             A.     No.
16             Q.     How did you pay for that procedure?
17             A.     A guy that I was dating paid for it.
18             Q.     Who was that?
19             A.     That was Joshua Framptom.
20             Q.     Did he work at Mack?
21             A.     No.
22             Q.     So this was before you got back with
23    Corey?
24             A.     Yes.
25             Q.     When did you and Corey get back


                                                                    JA000262
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 263 of 540


                                                                           263
 1                               C. BEHM
 2    together?
 3            A.      I would say, summer of last year.
 4            Q.      And then the next page, there's a
 5    post from February 23rd.           Do you know what year
 6    that was?
 7            A.      I don't.
 8            Q.      And then the next page.           Tell me
 9    what that picture is.
10            A.      That was the very first photo shoot
11    I did after my concussion.
12            Q.      And are you underwater in that
13    picture?
14            A.      I am.
15            Q.      And that was June 8th of 2019?
16            A.      That's when the photo was posted.
17            Q.      So when was the picture taken?
18            A.      Probably a week before.
19            Q.      Are those Corey's arms in that
20    picture?
21            A.      No.     Those hands would be Brandon
22    Lesagonicz.
23            Q.      Who is that?
24            A.      A male model.
25            Q.      And then the next picture,


                                                                    JA000263
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 264 of 540


                                                                           264
 1                               C. BEHM
 2    July 21st, do you know what year that was?
 3            A.      That was two years ago.
 4            Q.      2020?
 5            A.      Yes.
 6            Q.      It wasn't the same year as the
 7    underwater photo?
 8            A.      No.
 9            Q.      Okay.     And then the last one, that's
10    you and Desiree again?
11            A.      Yes.
12            Q.      And then that's July 25th.            Do you
13    know what year that is?
14            A.      Well, the photo on the last two
15    pages, those were taken the same day, so you
16    can't really go by the dates in the photos.
17            Q.      I'm sorry, the photos were taken the
18    same -- I'm just -- I'm wondering what year --
19    so that's the post -- July 25th is when you
20    posted that, correct?
21            A.      Yes.
22            Q.      All right.      Do you know when those
23    pictures were taken two years ago on the same
24    day, you said?
25            A.      I don't.      I would store photos in my


                                                                    JA000264
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 265 of 540


                                                                           265
 1                               C. BEHM
 2    phone and post them periodically.
 3            Q.      These were posted to Instagram?
 4            A.      My modeling account, yes.
 5            Q.      And do you still have that account?
 6            A.      I actually just opened it back
 7    yesterday.
 8            Q.      When did you close it?
 9            A.      The same time I closed OnlyFans.
10            Q.      So you closed it about a month ago
11    and then just reopened it again?
12            A.      Yes.
13                          (A break was taken.)
14            Q.      Have you ever applied for Social
15    Security Disability?
16            A.      Yes.
17            Q.      When did you apply for Social
18    Security Disability?
19            A.      I don't recall the exact date.              I
20    got a letter from Mack Trucks saying that I had
21    to apply for long-term disability.
22            Q.      You don't recall when that was?
23            A.      No.
24            Q.      But you did submit an application to
25    the Social Security Administration?


                                                                      JA000265
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 266 of 540


                                                                           266
 1                               C. BEHM
 2             A.     I had to go and do a physical.
 3             Q.     What was the result of that?
 4             A.     I got denied.        They said I could be
 5    a secretary.
 6             Q.     Do you know if that happened during
 7    the time period that you were out from 2020
 8    until 2021?
 9             A.     Yes.    I was still employed by Mack.
10             Q.     You were out on several A&S leaves
11    during your employment?
12             A.     Yes.    My last one.
13             Q.     You indicated earlier that you had
14    applied for an LLC to start your own business.
15    What was the name of the business?
16             A.     Evergreen Cleaning Services.
17             Q.     Have you submitted the paperwork for
18    that already?
19             A.     Yes.
20             Q.     Are you planning on -- when are you
21    planning on starting the business?
22             A.     Hopefully, soon.
23             Q.     What kind of cleaning are you going
24    to do?
25             A.     Residential, eventually commercial.


                                                                    JA000266
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 267 of 540


                                                                           267
 1                               C. BEHM
 2    I have a lot of family that has been in that
 3    industry, so they are giving me tips.
 4            Q.      Your Instagram account, what is your
 5    name on Instagram?
 6            A.      Right now?
 7            Q.      Yes.
 8            A.      Creature, spelled just like
 9    creature, and Collz, C-O-L-L-Z.
10            Q.      Is that all one word?
11            A.      I believe there's an underscore
12    between "Creature" and "Collz."
13            Q.      What other names have you used on
14    Instagram?
15            A.      The Goat one.
16            Q.      Is that the Goat XX?
17            A.      Yes.
18            Q.      What else?
19            A.      Wild_flower.
20            Q.      Does that have an underscore in it,
21    as well?
22            A.      Yes.
23            Q.      Any others?
24            A.      Not that I can recall.
25            Q.      Do you still use the Goat or the


                                                                    JA000267
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 268 of 540


                                                                           268
 1                               C. BEHM
 2    Wild_flower?
 3            A.      Wild_flower got hacked.           So I can't
 4    even access that one.          And the Goat one is the
 5    Creature_Collz one.
 6            Q.      When did you close down the one that
 7    was Goat XX?
 8            A.      It's not closed.         It's the
 9    Creature_Collz.
10            Q.      I understand.        Well, I guess, when
11    did you change it to Creature_Collz?
12            A.      I don't know an exact date.
13            Q.      You testified earlier that you
14    worked at several gentlemen's clubs;
15    Cheerleaders, Utopia, and one more.
16            A.      Scores?
17            Q.      Scores.     At those clubs, are those
18    completely nude dancing?
19            A.      No.
20            Q.      What, topless, what is it?
21            A.      Scores, you couldn't be showing
22    anything.      You had to wear pasties and bottoms.
23    Pasties cover your nipples.
24            Q.      I understand.
25            A.      Okay.     At Cheerleaders in New


                                                                    JA000268
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 269 of 540


                                                                           269
 1                               C. BEHM
 2    Jersey, you had to stay fully clothed.                You
 3    couldn't expose anything.
 4             And at Diva/Utopia/BabyDoll, you could go
 5    topless.      But that was a personal choice.
 6             Q.     And then on your OnlyFans account,
 7    you testified that you mowed the lawn topless.
 8    Have you ever done anything on OnlyFans
 9    completely nude?
10             A.     Yes.
11             Q.     What sort of things have you done on
12    OnlyFans completely nude?
13             A.     I have had sex on OnlyFans.
14             Q.     Was Corey involved in that?
15             A.     Yes.
16             Q.     Why did you get back together with
17    Corey?
18             A.     A mixture of things.          He stopped
19    drinking.      That was the root of all of his evil.
20    That's why he was angry, that's why he assaulted
21    me.    And he got his act together.            I had to
22    divorce him, but he got his act together.
23             Q.     Do you plan to get remarried?
24             A.     No.
25             Q.     All right.      I know we have covered a


                                                                    JA000269
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 270 of 540


                                                                           270
 1                               C. BEHM
 2    lot of ground today.          Is there anything that you
 3    have forgotten that you now remember that you
 4    would like to tell me?
 5            A.      Before I went out on A&S, the last
 6    time I had all my paperwork submitted for what
 7    type of taxes to be taken out of my checks.                  And
 8    when I went out on A&S, something miraculously
 9    happened and PA tax stopped being taken out, and
10    I had to pay in over $500.            So I don't know if
11    that was something that HR did, but I certainly
12    didn't make that adjustment.
13            Q.      Anything else that you may have
14    forgotten that you want to add to the record
15    now?
16            A.      I found it very disheartening that
17    after the accusations with Cruz, he is still
18    employed there.        That just shows the length of
19    Mack not having any type of heart towards
20    situations like that.
21            Q.      Anything else?
22            A.      No.
23            Q.      Is there anything that you may have
24    misstated that you need to correct before we
25    close your deposition?


                                                                    JA000270
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 271 of 540


                                                                           271
 1
 2            A.      No.
 3            Q.      Is there anything else you would
 4    like to tell me about your lawsuit against Mack
 5    Trucks?
 6            A.      No.
 7                          MR. MC COY:     All right.      That's
 8                    all of the questions I have.
 9                          MR. BAIRD:     No questions.
10
11                    (Time noted: 4:47 p.m.)
12
13
14                               _________________________
                                         COLLEEN BEHM
15
16    Sworn and subscribed to
17    before me this _____ day of
18    _______________, ________.
19
      _____________________________
20            Notary Public
21
22
23
24
25


                                                                    JA000271
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 272 of 540


                                                                           272
 1
 2                              I N D E X
 3    WITNESS                                  PAGE
 4     COLLEEN BEHM
 5
      By MR. MC COY                                           4
 6
 7
                            E X H I B I T S
 8
 9    FOR IDENT.         DESCRIPTION                        PAGE
10    Exhibit 1 Employment Application                      28
11    Exhibit 2 Macungie Shop HBU Interview                 58
                 Guide
12
      Exhibit 3       Job offer letter                      61
13
      Exhibit 4       Production Tech job                   63
14                    description
15    Exhibit 5       UAW application                       68
16    Exhibit 6       Acknowledgment                        76
17    Exhibit 7       Volvo human resources                 78
                      Policies and Procedures
18
      Exhibit 8       Attendance Policy                     82
19
      Exhibit 9       Action Type document, one             91
20                    page
21    Exhibit    10   Wage Type spreadsheets               101
22    Exhibit    11   Life Event Change Form 2018          110
23    Exhibit    12   Life Event Change Form 2019          110
24    Exhibit    13   Notice of Formal Documented          118
                      Discussion, Attendance
25                    Policy


                                                                    JA000272
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 273 of 540


                                                                           273
1
2     Exhibit 14-15 Notice of Disciplinary                 121
                 Action
3
      Exhibit 16 Letter dated 3/3/20                       125
4
      Exhibit 17 Benefits document                         130
5
      Exhibit 18 Email                                     139
6
      Exhibit 19 Short Term Disability                     143
7                Benefit Claim Form
8     Exhibit 20 Corrective Action Request                 147
                 Application
9
      Exhibit 21 Physical Capabilities                     153
10               Checklist
11    Exhibit 22 Three-page doctor notes                   155
12    Exhibit 23 Workers' Comp Denial Notice               158
13    Exhibit 24 A&S letter                                160
14    Exhibit 25 Mack letter dated 5/21/19                 161
15    Exhibit 26 Physical Capabilities                     162
                 Checklist
16
      Exhibit 27 Letter dated 6/14/19                      163
17
      Exhibit 28 Letter dated 5/13/19                      164
18
      Exhibit 29 Letter dated 8/22/19                      165
19
      Exhibit 30 Letter dated 8/29/19                      168
20
      Exhibit 31 Dr. Shipkin letter                        172
21
      Exhibit 32 Mack Trucks FAQS                          174
22
      Exhibit 33 Email dated 2/4/20                        181
23
      Exhibit 34 Shift Change Request                      183
24
      Exhibit 35 Benefit Claim Form                        189
25


                                                                    JA000273
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 274 of 540


                                                                           274
1
2
      Exhibit 37 One-page document                         193
3
      Exhibit 38 Email dated 4/7/20                        194
4
      Exhibit 39 A&S letter                                195
5
      Exhibit 40 Tower Health Medical Group                196
6                letter
7     Exhibit 41 Tower Health Medical Group                197
                 letter
8
      Exhibit 42 Email dated 4/8/21                        209
9
      Exhibit 43 Screenshots                               213
10
      Exhibit 44 Charge of Discrimination                  219
11
      Exhibit 45 Dismissal Notice                          222
12
      Exhibit 46 Civil Action Complaint                    223
13
      Exhibit 47 2018 W-2                                  242
14
      Exhibit 48 Earning Statement                         242
15
      Exhibit 49 Earning Statement                         244
16
      Exhibit 50 Rule 26 Disclosures                       251
17
      Exhibit 51 Answers                                   251
18
      Exhibit 52 Responses                                 251
19
      Exhibit 53 Screenshots                               258
20
21
22
23
24
25


                                                                    JA000274
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 275 of 540



                                                                     275

1
2                     C E R T I F I C A T I O N
3                     I, CAROLYN C. CRESCIO, a Notary
4     Public, within and for the State of
5     Pennsylvania, do hereby certify that the
6     foregoing witness, COLLEEN BEHM, was duly sworn
7     on the date indicated, and that the foregoing is
8     a true and accurate transcription of my
9     stenographic notes.
10                   I further certify that I am not
11    related to any of the parties to this action by
12    blood or marriage; and that I am in no way
13    interested in the outcome of this matter.
14                   IN WITNESS WHEREOF, I have hereunto
15    set my hand this 8th day of March, 2022.
16
17
                                   <%11574,Signature%>
18                                 _______________________
                                      CAROLYN C. CRESCIO
19
20
21
22
23
24
25



                                                                    JA000275
     Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 276 of 540


                                                                           276
 1
 2                             ERRATA SHEET
 3    CASE NAME:      Collen Behm vs. Mack Truck, Inc., et al
      DATE OF DEPOSITION:March 8th, 2022
 4    WITNESS' NAME:        COLLEEN BEHM
 5    PAGE LINE       CHANGE                                REASON
 6    ---------------------------------------------------
 7    ---------------------------------------------------
 8    ---------------------------------------------------
 9    ---------------------------------------------------
10    ---------------------------------------------------
11    ---------------------------------------------------
12    ---------------------------------------------------
13    ---------------------------------------------------
14    ---------------------------------------------------
15    ---------------------------------------------------
16    ---------------------------------------------------
17    ---------------------------------------------------
18                               _________________________
                                        COLLEEN BEHM
19
20    Sworn and subscribed to
      before me this _____ day of
21    _______________, ________.
22    _____________________________
              Notary Public
23
24
25


                                                                    JA000276
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 277 of 540

                                                                                      277

           A            accident 46:10 47:8    adjustment 270:12        48:7,18,20 49:4,8
a-- 136:13                68:2 100:12 135:15   administer 3:10          50:8,16 51:21 52:14
A-I-D-E-N 22:20           143:16 155:4         administered 3:9         52:20,24 53:4,19
A&S 68:4,5,13 94:15       165:10               Administration           198:20,21 199:3
  94:17,24 95:4,14      accommodate 100:2        265:25                 212:10
  97:4 100:13 105:16      224:11 225:4         adopted 17:12           amended 223:17
  130:22 133:16           229:14               advancements            Americans 228:4
  143:16,19 144:12      accommodated 225:5       207:23 208:14          239:6
  160:3,5,12 162:6,22   accommodating          advances 217:7          amount 119:14
  188:25 189:3,18         224:8,24               236:13                 133:23
  192:20 193:3,20       accommodation          advantage 240:3         and- 2:11
  194:5,8,22,24 195:4     225:22,25 226:5,10   affect 13:10            and/or 60:16
  195:6,16,21 207:2       226:14 227:15        agency 44:7             Andrew 22:6 24:6
  221:5,9 230:2,12,14     228:6,8              ago 44:3 45:19 52:18     26:19
  230:17 231:10,23      account 42:16,24         54:8 107:25 121:15    angry 269:20
  232:19 240:12,17        55:18,20 265:4,5       142:11 164:3          animals 29:22
  243:7 266:10 270:5      267:4 269:6            169:18 186:2 194:4    Anita 17:13
  270:8 273:13 274:4    accurate 65:6,22         205:12 213:15         announcement
a.m 1:13 52:4,5 103:5     119:16 222:17          216:16 217:5,12        173:19 174:19,22
  212:11                  243:3 275:8            218:5 244:7,16         175:21
abbreviation 103:18     accusations 251:4        261:22 264:3,23       answer 6:18,21 7:22
ability 8:9,16 192:4      270:17                 265:10                 8:9,17 28:25 57:16
able 60:16 80:8         acknowledge 3:4,8      agree 3:12               59:11 60:11,20 61:2
  112:14 133:11         Acknowledgment         agreed 25:7              69:5 78:24 82:11
  136:18 145:6,23         76:14 272:16         agreement 66:16          85:12 89:22 119:6
  161:16 179:7          act 228:4 239:6          70:15,21 71:10         126:6 169:6 256:18
  182:24 184:15           269:21,22              90:16,23 170:2        answered 84:11
  191:16,18,20 193:6    action 1:3 34:9 84:4   ahead 47:16 85:11       answers 6:25 251:8
  193:8 196:15,21         91:4 115:24 120:18   Aiden 22:20              274:17
  221:14 225:3 226:6      120:25 121:6 123:3   air 46:2                antibiotic 255:6,8
  226:11 233:7 256:7      123:12 125:7,9,17    airports 19:18          anticipated 62:6
above-entitled 1:16       125:20 147:25        al 276:3                anxiety 95:15 144:17
absence 91:18 92:23       211:5 223:11         alcoholic 8:12           145:14 189:4
  93:14 94:10 95:3        272:19 273:2,8       alive 15:24              190:19 193:9
  96:10,16 97:5 100:6     274:12 275:11        allegations 223:25       228:16
  101:16 126:24         actions 30:8 115:14    allege 81:8 236:10      anxious 198:25
  127:23 130:9,12,25      115:17 126:11          237:15 247:25         anybody 17:14 23:17
  133:18 138:18           129:17,19              248:15                 23:23 24:3 25:10
  144:15 162:18         activities 196:22      alleged 228:11           50:8,16 83:14 129:6
  164:5,18              activity 239:5,24        235:18 238:20          171:3 177:8 179:3,6
absent 120:13 126:10    actual 176:5 191:8     alleging 81:14 241:16    179:11,15,16 184:7
absolutely 7:9 73:17      232:24 239:12          244:22 248:22          186:8 208:24 216:9
  73:21 81:3 113:21     Adamstown 38:11        allowed 73:4 80:13       216:13,17 226:4,8
  115:2 117:17          add 270:14               80:22 179:18           226:13 227:14
  127:21 151:6 157:8    Addendum 156:10        altercation 116:13,16    231:21 233:19
  170:7 206:6 213:7     additional 190:11        117:9,10,11 159:7      234:24 235:6
abuse 113:9 261:9       address 7:14 9:19,23   ambulance 150:15         237:16,20 238:5,17
accent 6:9,14             141:13 142:4         Amcor 39:14,15,19        250:15
access 268:4            addressed 78:4           39:19 45:11,12 48:6   anymore 42:19

                                                                               JA000277
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 278 of 540

                                                                                      278

 185:23 207:17           169:15,20 170:5,9      255:25                  129:14 130:7
 215:12 246:15           170:12,15 171:2,7    asking 6:6 9:13 51:7      186:20,23 187:14
 247:8 249:3             171:18,21 172:24       72:21 124:10 165:7      187:16 202:5 213:6
anytime 227:18           246:21                 188:17 216:22           218:7 272:18,24
 238:24                appointments 188:9       238:13                attending 127:22
apartment 20:3         appraisers 34:17       asks 217:2                191:7
apologize 4:16,21        35:2,8 36:21 37:18   ASN 243:6               attention 27:22 109:9
 16:8 56:25 143:7,8    approved 162:7,9       aspects 86:9,13 136:6   attorney 4:23 5:9,16
appear 219:6 242:10      165:4 193:11         assault 159:12 161:2      7:13 248:17,20
appearance 128:4,5       194:11 195:4           230:7                   257:24
 205:17 206:4            230:24 231:3         assaulted 96:25         attorney's 248:16
appearances 128:9      approximately            111:11,21,25 114:2    attorneys 2:4,9,15
 128:12                  149:22 187:13          158:24 269:20           3:3
appearing 202:2          203:7 244:16         assembly 103:2          August 30:16,21 54:7
appears 29:9 61:25       253:10                 104:10,18,22            54:9 92:22,23 93:3
 64:12 98:9 110:13     April 131:11 195:5       105:23                  94:14,20,21 104:24
 110:22 130:21           206:21,21 243:23     assert 228:2              105:2,5 114:12
 131:21 153:18         ARD 25:21,22           assessment 57:14          130:23 131:2 132:5
 155:24 187:4          area 18:18 33:19,22      58:3,12 61:5            132:19,19 135:15
 189:24 210:4 218:3      37:22 38:11 48:10    assigned 62:19 75:16      164:22,25 165:11
appetite 149:11          63:5,6 65:11 73:24     86:12,23 92:11          166:13 167:15
application 28:13        73:25 98:22 115:18     122:4,6,6 176:11        169:13 200:6
 29:6 30:17 36:2         115:20,21 116:3,4    assigning 177:11          249:15 253:9
 40:24 41:2 56:17,18     117:25 121:16        assignment 88:5           259:21 260:2,3
 56:24 57:11 58:12       122:4,6,12,25        assist 118:2 124:4,14   aunt 23:19
 61:5 68:23 69:8         123:19,25 124:19       147:10                authorization 246:17
 148:2 160:12            137:8 146:23,24,24   assistant 144:4         Auto 1:8 2:15
 193:21 194:4            146:24 147:2,8,10    assisting 58:9 105:25   automobile 38:17
 265:24 272:10,15        147:13,17,17,21        115:20 122:13         available 193:6
 273:8                   199:16 207:9           123:25 124:6,17       Avenue 9:20 141:21
applied 40:2,7,16        221:25,25              125:13                averaged 109:8
 45:8,14 46:8 47:23    areas 99:25 234:17     associations 15:5       aware 46:13 179:6,11
 48:11 143:22 164:4      234:17,20            assume 6:19 24:6          179:15,16 229:5
 182:11 230:11,17      arm 231:11               52:4 163:4 215:16       232:7
 265:14 266:14         arms 263:19              248:9
apply 33:5 39:21,23    arrest 128:7           assuming 61:10                    B
 40:10,13,23 41:9      arrested 26:14,16,18     66:11 215:19          B 3:24 75:17 272:7
 45:18 47:25 57:12       26:24,25 27:2,5        259:14                B-R-O-D-E-E 10:9
 83:7 133:14,17          201:25               Atlantic 32:19          Babydolls 31:7
 143:15,19 147:7,7     arrests 27:7           attach 98:25            back 14:19 29:8 36:7
 160:2 161:19          Article 170:2          attached 70:2            38:23 47:22 56:8,10
 181:17,19 182:16      aside 56:23 57:10      attack 190:5,7           56:14 65:11 94:13
 188:25 189:3 193:3    asked 35:21 43:18      attend 11:2 15:8         95:2 97:24 98:2,4
 198:21 265:17,21        116:22 117:3,24        128:17                 105:16,19 114:19
applying 56:20 182:7     129:23 140:17        attendance 60:7,10       116:7 118:9 137:23
 182:20,21 192:25        142:11 149:5           77:18 82:5,15,23       138:5,15,18,21
 193:7                   152:15 159:4 164:3     118:23 119:10,12       139:4 142:10 145:7
appointment 80:12        168:9 170:16 216:8     119:20 126:17          146:3,13,16 147:2
 162:21 164:22           216:14 226:20          127:25 128:9 129:4     151:18,19 153:24
                                                                       156:22 158:20,21

                                                                              JA000278
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 279 of 540

                                                                                    279

 166:16,19 170:20      4:13,15,16,19,19       159:1 160:1 161:1      114:9 116:9 123:9
 171:15,22 172:6       5:1 6:1 7:1 8:1 9:1,6  162:1 163:1 164:1      124:22 128:5,16
 176:7 183:13          10:1 11:1 12:1 13:1    165:1 166:1 167:1      131:2 132:10 138:2
 185:17 187:2,18       14:1 15:1 16:1 17:1    168:1 169:1 170:1      138:22 140:16
 192:21,23 195:23      18:1,24 19:1,3 20:1    171:1 172:1 173:1      142:24 146:4 149:4
 198:24 203:20         20:7,7 21:1,13 22:1    174:1 175:1 176:1      156:23 163:8
 210:15 211:16         22:16 23:1 24:1        177:1 178:1 179:1      168:22 171:8
 212:2,5,8 225:4       25:1 26:1 27:1 28:1    180:1 181:1 182:1      175:20 181:18
 231:4 232:22          28:16 29:1,3 30:1      183:1 184:1 185:1      185:25 186:24
 238:14 239:19         31:1 32:1 33:1 34:1    186:1 187:1 188:1      195:9,12 199:5
 242:3 249:7 250:22    35:1 36:1 37:1 38:1    189:1 190:1 191:1      200:10 202:9,10,11
 255:22 256:3          39:1 40:1 41:1 42:1    192:1 193:1 194:1      203:5,12 208:9
 259:19 262:22,25      43:1 44:1 45:1 46:1    195:1 196:1 197:1      210:17,18 213:23
 265:6 269:16          47:1 48:1 49:1 50:1    198:1 199:1 200:1      217:8,9 229:3,22
back-to-back 254:9     51:1 52:1 53:1 54:1    201:1 202:1 203:1      232:11,13 235:24
background 5:16        55:1 56:1,8 57:1       204:1,2 205:1 206:1    236:24 239:7,11,14
 14:18 21:21 191:11    58:1 59:1 60:1 61:1    207:1 208:1 209:1      239:23,25 240:8,16
backlash 202:16        61:17 62:1 63:1        210:1 211:1 212:1      240:21 242:24
bad 138:16             64:1 65:1 66:1 67:1    213:1 214:1 215:1      244:8,14 252:25
BAIRD 2:6 26:4         68:1 69:1,2,7 70:1     215:24 216:1 217:1     256:23 257:7
 84:23 90:7,13 102:7   71:1 72:1 73:1 74:1    218:1 219:1,19         260:19 267:11
 134:24 215:21         75:1 76:1,17 77:1      220:1,5 221:1,19      belly 262:6
 241:8 271:9           78:1,21 79:1,2 80:1    222:1,14,24 223:1     belong 15:4
Bakeries 22:15         81:1 82:1,13 83:1      223:15 224:1 225:1    beneficial 199:2
bankruptcy 28:6,8      84:1 85:1 86:1 87:1    226:1 227:1 228:1     benefit 68:2,10 143:2
bar 204:11,12          88:1 89:1 90:1 91:1    229:1 230:1 231:1      170:2 189:11
bargaining 66:16       91:8 92:1 93:1 94:1    232:1 233:1 234:1      193:20 273:7,24
 70:14,21 71:10 83:8   95:1 96:1 97:1 98:1    235:1 236:1 237:1     benefits 49:10,14
barriers 60:18,21      99:1 100:1 101:1,9     237:10 238:1 239:1     66:20 68:13,18
bartender 36:17        102:1,10 103:1         240:1 241:1,15         94:24 95:4,14 97:4
based 13:18 103:12     104:1 105:1 106:1      242:1,8 243:1 244:1    100:13,13 108:7
 176:17 235:20,24      107:1,6 108:1 109:1    245:1 246:1 247:1      109:11,19,20,23
 236:7 249:8           110:1,10 111:1         248:1 249:1 250:1      130:14,22 143:16
Basically 101:18       112:1 113:1 114:1      251:1,14 252:1         143:19 160:3,13
Bates 36:4 90:10,20    115:1 116:1 117:1      253:1 254:1 255:1      162:7 165:11
 91:2 132:24 144:21    118:1 119:1,3 120:1    256:1 257:1 258:1,5    169:20 188:25
 213:22 243:11         121:1,10 122:1         259:1 260:1 261:1      189:3 194:5,8,22,25
bathroom 181:5         123:1 124:1 125:1      262:1 263:1 264:1      195:6,11 240:13
beanie 87:12           126:1 127:1 128:1      265:1 266:1 267:1      244:23,23,25 245:3
becoming 54:21,22      129:1 130:1 131:1      268:1 269:1 270:1      245:6,16,24 246:2,6
began 53:6 221:20      132:1 133:1 134:1      271:14 272:4 275:6     246:10 273:4
begging 189:8          135:1 136:1 137:1      276:3,4,18            berks 11:18,19,22,23
beginning 31:13,18     138:1 139:1 140:1     believe 5:4 30:15,18    12:13 13:11,12
 38:7 41:25 74:3       141:1 142:1 143:1      38:7 48:11,17 57:14    128:22,24
 89:13 94:8 99:12      144:1 145:1 146:1      57:21 58:11 62:14     best 52:6 189:10
 175:6 197:25 234:4    147:1 148:1 149:1      66:9,17,19 68:14       191:14
behalf 28:9 166:6      150:1 151:1 152:1      75:17,20 79:8,19,25   better 30:12 33:7
behavior 224:7         153:1 154:1 155:1      85:14 86:2 93:8        51:11 102:7 186:7
Behm 1:4,15 4:1,7,13   156:1 157:1 158:1      105:5 112:21 114:7    beverages 8:13

                                                                            JA000279
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 280 of 540

                                                                                      280

beyond 188:20            215:19 216:3,21        225:14 226:19,22        116:1,11,19 117:1
big 231:11               217:24 220:10         Buck 97:20 233:5         117:22 118:1,6
bill 159:4,5             221:10 222:12         build 85:22 97:21        119:1 120:1,5 121:1
Bimbo 22:15              227:25 251:21         building 116:19          122:1 123:1 124:1
biological 17:11         253:8 260:11,13       bump 72:24 73:8          125:1 126:1 127:1
birth 10:20             bottoms 268:22          179:18 184:16           128:1 129:1 130:1
bit 5:15 6:8 29:13      Boulevard 2:4           231:11                  131:1 132:1 133:1
  35:22 146:25          box 112:24             bumped 180:3             134:1 135:1 136:1
  225:12 235:17         boyfriend 9:25 10:13    185:13                  137:1 138:1 139:1
  262:5                 bracket 148:17         bunch 62:9               140:1 141:1 142:1
biweekly 249:25         brackets 124:4         business 5:5 28:9        143:1 144:1 145:1
Black 39:13,22 45:10     125:15                 34:21 48:20 266:14      146:1 147:1 148:1
  48:5 254:3,11         brain 151:12,15         266:15,21               149:1 150:1 151:1
  255:23                 152:11,19 154:20      butt 261:14              152:1 153:1 154:1
blamed 230:6             156:16 224:20                                  155:1 156:1 157:1
Blandon 21:10           brakes 86:6                      C              158:1 159:1 160:1
  141:14                Brandon 263:21         C 2:2 3:24 4:1 5:1 6:1   161:1 162:1 163:1
bleeding 148:21         Brazilian 261:14        7:1 8:1 9:1 10:1        164:1 165:1 166:1
blew 102:6              breach 241:3,5          11:1 12:1 13:1 14:1     167:1 168:1 169:1
blinds 151:14           break 7:17,23 56:6,7    15:1 16:1 17:1 18:1     170:1 171:1 172:1
blocks 116:20            63:11 114:15,16        19:1 20:1 21:1 22:1     173:1 174:1 175:1
blood 262:2 275:12       150:6,7 173:10         23:1 24:1 25:1 26:1     176:1 177:1 178:1
blow-mold 48:22          265:13                 27:1 28:1 29:1 30:1     179:1 180:1 181:1
blue 258:24 261:2       breakage 72:11          31:1 32:1 33:1 34:1     182:1 183:1 184:1
blurry 143:11           breakdown 95:16         35:1 36:1 37:1 38:1     185:1 186:1 187:1
bodies 224:18           breaks 7:19 63:13       39:1 40:1 41:1 42:1     188:1 189:1 190:1
body 135:24             Brent 144:4,4,7,25      43:1 44:1 45:1 46:1     191:1 192:1 193:1
bolts 57:16              145:5,10 161:7         47:1 48:1 49:1 50:1     194:1 195:1 196:1
Bona 165:20              166:2 246:15           51:1 52:1 53:1 54:1     197:1 198:1 199:1
Bonaccorsi 161:8        Brian 117:22 120:4,6    55:1 56:1 57:1 58:1     200:1 201:1 202:1
  163:13 164:19         Bridget 17:21 18:3      59:1 60:1 61:1 62:1     203:1 204:1 205:1
  165:22,23,24          brief 170:11 177:19     63:1 64:1 65:1 66:1     206:1 207:1 208:1
  246:15                briefly 39:14 45:12     67:1 68:1 69:1 70:1     209:1 210:1 211:1
bone 254:10,22           48:7 105:17 130:13     71:1 72:1 73:1,22       212:1 213:1 214:1
  255:12                bright 154:7,11         74:1 75:1,17 76:1       215:1 216:1 217:1
book 70:16 71:11        bring 190:24            77:1 78:1 79:1 80:1     218:1 219:1 220:1
  72:16 73:13 78:16     bringing 241:5          81:1 82:1 83:1,23       221:1 222:1 223:1
  83:2 85:14,17         Brodee 10:9             83:24 84:1 85:1         224:1 225:1 226:1
born 10:22 191:22,23    broke 131:11            86:1,18,24 87:1,3       227:1 228:1 229:1
  228:22                brother 17:23           87:17 88:1,20 89:1      230:1 231:1 232:1
bottles 49:2            brothers 202:17         89:2 90:1 91:1 92:1     233:1 234:1 235:1
bottom 36:3 69:12       brought 27:21           92:14 93:1 94:1         236:1 237:1 238:1
  91:20,24 111:17        112:22                 95:1 96:1 97:1 98:1     239:1 240:1 241:1
  132:24 134:6          Bryan 16:17,23 18:15    99:1 100:1 101:1        242:1 243:1 244:1
  136:25 137:16          87:13,13               102:1 103:1,21,24       245:1 246:1 247:1
  154:7 156:5,8 157:4   Brzozowski 166:10       104:1,5,10,11,14,24     248:1 249:1 250:1
  157:4,17 161:12        166:11,12,14,25        105:1,3,11 106:1        251:1 252:1 253:1,7
  163:12,15 169:23       167:24 195:24          107:1 108:1 109:1       253:8 254:1 255:1
  190:10 213:21          197:14,25 224:13       110:1 111:1 112:1       256:1 257:1 258:1
                                                113:1 114:1 115:1

                                                                               JA000280
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 281 of 540

                                                                                        281

  259:1 260:1 261:1       206:9 208:20 236:4    CG 262:10               choice 269:5
  262:1 263:1 264:1       247:11                chairman 209:9          Christmas 141:25
  265:1 266:1 267:1     career 11:18,22,23      chance 176:11           Chuck 23:9
  268:1 269:1 270:1       13:10,11              change 70:21 77:18      church 15:7
  275:2,2,3,18          careful 84:25             78:7 88:6,17 101:12   cigarettes 116:6
C-A-N-N-O-N 10:10       Carl 87:21,22 120:2       108:7 110:2,6,14,23     124:20
C-O-C-O-P-U-F-F-S         120:4 121:3 123:9       110:25 111:24         circle 66:4
  55:22                   125:12,14 153:5         176:16,21 179:7,17    circling 142:10
C-O-L-L-Z 267:9         Carmen 59:19              181:4 183:13,16,20    City 19:15 32:19
C-O-N-V 106:3           Carolina 2:10 4:25        183:23 268:11         Civil 1:3 223:11
cab 89:17,20 103:2        5:3 6:10 15:11,14       272:22,23 273:23        274:12
  104:10,11,18,22         15:17,20 17:24          276:5                 claim 27:14 28:3
  105:23 148:16           121:24                changed 77:9,14,23        143:3 155:3,6
  214:12                Carolyn 1:17 275:3        77:24 78:10 88:9        158:14 189:11
cabs 87:7 89:4,5,7,18     275:18                  105:23 147:9            192:19,22 201:12
  199:18 234:4          Carpenter 40:9 41:8       175:24 179:7,12         201:15 228:3
cafeteria 97:20           41:13                   231:2                   235:19 241:2,5
  175:13 178:8          cart 97:21              changing 175:21           273:7,24
cafeterias 172:10       carts 152:16            charge 26:21 27:11      claims 25:7 228:2
calculation 253:17      case 5:9 9:15 21:19       177:11 219:19,25        257:24
calculator 107:16         21:19 23:2,3 27:10      220:6,16,23 221:8     clarify 81:11 84:15
Calhoon 144:5,25          27:24 28:17 67:7        221:16 274:10         classes 11:15,17,25
  145:18 161:7 166:2      81:9,14 182:23        charged 27:3              12:3,7,21,22,24
  246:15                  241:18 248:17,20      charges 26:22 127:8       13:7,8,14,17 14:3,9
call 5:18 36:4 140:15     250:18 257:24         Charles 23:9,9            14:20 26:2 54:13
  171:6,9,13 182:25       276:3                 Charlie 23:22           clavicle 93:11 131:11
  209:18 254:8,12       cash 29:22              chart 232:9 234:5         246:16 254:11
called 32:20 34:16      Cassie 2:17 5:8         chase 177:16            cleaning 45:17 46:9
  37:5 57:14 63:7       caused 123:22 190:22    chassis 116:19            47:3,17 48:15 256:6
  72:21 87:11 102:16      221:7                 cheaper 109:24            256:6 266:16,23
  134:7,22 151:17,25    causing 190:18          cheating 261:8          clear 6:5 7:8 8:7
  165:7 168:5 177:25    caveat 7:21             checked 170:10            39:17 168:6
  178:4 205:5 218:21    CBA 71:11,17,24         checklist 134:23        clearance 232:23
  222:19 241:3            72:4,7 73:11 75:5       136:11 153:8          clearances 166:20
calls 248:5               76:10 77:14,14 78:2     162:12 167:2            171:11,13 172:8,13
cancer 231:9              78:5,5,14,15 107:22     273:10,15               232:22 239:12
Cannon 22:6,8,10          169:25 195:14         checks 270:7            cleared 190:14 191:6
  24:6 25:4             CBAs 90:3               cheerleader 33:16         192:20 200:13
capabilities 134:23     cement 255:6,8          Cheerleaders 32:6         255:20
  136:11,19 153:8       center 11:18,23 13:12     44:22 268:15,25       CLEARY 2:14
  162:12 167:2,6          75:21 102:16,25       Cherry 1:11             client 5:19 220:23
  273:9,15              Central 19:19           Chestnut 2:16             228:3,9,11 238:21
capable 173:6           certain 84:4,8 119:13   child 22:5 127:9          238:22 241:17
car 40:9 46:5,7,24        119:14 184:12           140:19,25             client's 241:20
  47:8                    240:5 241:17          child-care 211:23         248:24
card 24:4,9,10          certainly 270:11        children 22:2 67:10     Clinic 16:22 18:6
care 29:21 41:7 114:8   certificate 13:25         236:4                 clinical 16:21
  140:19,25 151:2       certifications 15:2     Children's 16:22        clock 117:2
  179:3,17 192:3        certify 275:5,10          18:6                  clock-out 117:19

                                                                                JA000281
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 282 of 540

                                                                                      282

close 265:8 268:6      communicate 81:9,12       263:11                 183:19 215:25
  270:25                 171:3 184:7           concussions 224:15       223:17
closed 36:22 72:16     Comp 28:3 155:3           224:16               Corey 10:14 19:9,11
  265:9,10 268:8         156:6 158:3,14        condition 8:16 133:7     19:21 20:23 22:16
clothed 269:2            201:11,14 230:3,7       182:9 196:23 229:6     109:10,14,16
clothes 42:6             273:12                conditions 228:18        112:12 159:8
club 31:8,9,17 32:5    companies 19:15         conduct 147:23           259:15,16,17,18
clubs 32:18,21 53:10   company 17:3 19:16        236:14 237:15          260:7 261:5 262:23
  53:11,18 268:14,17     35:22 45:17 46:9        239:2 241:18,20        262:25 269:14,17
Coca-Cola 39:14,23       47:18 48:13,15          248:24 249:8         Corey's 20:6 263:19
  45:11 48:4 49:2        51:19 68:11 76:2,12   confided 207:10        corner 69:21
cocopuffs 55:21          77:13 79:19 81:22     confirm 90:2 194:21    correct 20:9 22:3
coffee 7:19              83:4 88:3 167:25        242:9 243:3 261:12     25:8 27:4 29:18
colleague 5:2            168:4,13 169:10       confirmed 125:18         33:2 36:14 40:19
collective 66:16         176:20 198:19           173:17                 45:11 57:6 62:3,4
  70:14,20 71:9          208:25 233:13,14      confirming 241:10        63:17,20 66:16
Colleen 1:15 4:7 9:6     233:18 256:6          confirms 158:13          67:16 70:5,6 71:22
  57:6 116:14 117:14   compassion 144:16       confused 6:2             78:8 79:15 80:24
  204:2 237:10         compensation 96:21      considered 51:14         81:19 82:3,20,21
  271:14 272:4 275:6     193:2,7               constantly 204:7         88:9 92:4 100:20,21
  276:4,18             complain 50:7,11,16     consumed 8:12            103:5,6,22 104:22
college 11:14,16         208:8                 contact 203:23           105:6 106:18 107:9
  12:15 13:13 140:18   complained 114:23         209:16 216:24          107:15,20 112:8
college-level 14:22    complaint 81:23         contacting 35:3          117:12 130:23
Collen 1:4 276:3         207:5 223:11,17       contain 71:24            132:6,21 133:9
Collz 267:9,12           236:11 238:2,5,9,17   continue 36:19,25        134:3,4,17 135:11
column 102:15            240:24 241:2,16         247:15                 139:9 149:23
columns 124:2 137:9      274:12                continued 150:21         154:23 155:25
  146:14,16,20,21      complete 6:21 63:3,4      244:15                 158:17 159:9
come 38:23 63:6,15       63:16,16 166:25       continuous 182:22,23     160:22 161:15
  89:17,19 147:4,16    completed 59:25 61:5    contract 77:12,12,24     162:19 164:13
  147:20 150:22          130:23 134:12           78:10 83:3             173:8,22 174:24
  152:2,24 156:21        137:13 161:6          contribute 67:17         179:5 187:11
  158:20,21 189:7      completely 8:10,17        113:22                 190:13,19 196:7,24
  204:4 208:17 214:2     268:18 269:9,12       control 189:6 214:16     210:6,12,18,22
  253:14               completing 56:23          249:4                  213:9 216:7,12
comes 85:8             complied 168:18         Conventional 106:5       222:16 224:9
coming 38:2 146:6      comply 168:17           conversation 168:7       235:12 242:11
  181:6 203:14         computer 57:16            177:19 215:11          243:24 247:24
  207:10 256:2           97:23 233:4,8         convicted 25:20          255:15 257:2 262:8
comment 117:13         concerned 144:17        Cooking 54:13            264:20 270:24
  236:23 249:11          206:7 210:19          copies 76:22 77:6,23   corrective 84:3
  258:23               concerns 7:15 50:19       214:13 215:17          126:11 147:25
comments 190:11          208:21                  219:7                  273:8
  205:15 236:24        Concessions 38:13       copy 29:9 70:14 78:2   correctly 45:20 63:9
  237:3 248:9,13       concussion 96:14,15       78:5,13,14 79:3,4      80:21 150:8
  257:9                  96:18,23 151:9          79:14 83:11 113:5    Cosmetics 262:10
commercial 266:25        159:19 229:23           143:8 158:10         cosmetology 11:19,24
Commission 223:3         230:2,4,5,10 250:7      172:25 175:2           12:10 14:17

                                                                              JA000282
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 283 of 540

                                                                                       283

cost 102:16,25          coworker/union          customer 48:11 55:7      197:8 203:2 210:2,8
costs 248:19              236:14                customers 35:4 55:10     213:13 220:4,10,13
couch 142:5             COY 2:11 4:9 28:11      cut 102:5 148:18         221:14 222:23
counselor 249:24          56:5 84:24 85:6         215:18 217:7           223:7,14 231:4
count 18:9 241:2          90:9,14 102:2,8         260:12,15              242:7,22 244:5
County 128:22,25          114:14,18 215:16      cutoff 185:10            251:7,10,13 258:4
couple 7:19 8:5 52:15     215:22 241:11                                  259:21 265:19
  52:17 53:10,19          271:7 272:5                     D              268:12 275:7 276:3
  66:14 74:12 89:19     Craig 131:22 256:13     D 2:12 75:17 272:2      dated 111:22 125:25
  93:15 131:15          crash 86:2              dad 15:13,19,21          135:3 161:23
  132:22 144:20         crawl 60:15             dad's 16:9 23:8          163:21 164:14
  161:11 185:6,12       create 130:9            daily 60:24              165:13 168:23
  195:2 203:20 217:5    creature 267:8,9,12     Damage 34:16 35:8        174:23 181:22
  221:15 223:24         Creature_Collz           36:20 37:18             189:22 193:12
  227:4 231:10,11         268:5,9,11            damages 241:17           194:13 209:24
  242:25 244:7          credit 24:4,9,10        dancer 31:5              252:7 273:3,14,16
  251:15,19 256:22      Crescio 1:17 275:3      dancing 268:18           273:17,18,19,22
course 70:19 205:25       275:18                dangled 212:23           274:3,8
courses 13:19,22,23     cried 181:5             darkened 151:13         dates 90:18,25 94:19
  14:23                 criminal 11:20 12:18     154:20                  120:10 127:5,11,16
court 1:2 3:2,21 4:4      13:4 14:14            dash 122:13 129:10       129:23 176:6 195:2
  5:20 8:25 28:21       criminology 14:14        147:2                   197:12 245:18
  85:4 113:11,13        crooked 157:10          date 10:20 28:15 49:5    264:16
  126:25 127:2,4,6,7    crouch 60:15             58:13,19 61:14 62:5    dating 262:17
  127:9,9,22 128:3,5    cruise 132:6,15 136:4    64:4 68:25 69:24       daughter 9:24 22:17
  128:6,8,12,16           136:6                  76:16,25 78:20 82:7     41:7 42:6 140:18,20
  187:25 188:9          Cruz 177:5,6,10,17       91:7,25 95:18,22        159:3 178:20 179:4
  199:11 201:18,22        181:6 202:19,23,24     96:13 100:9 101:2,7     186:15 188:5 189:9
  202:2 203:11,14         203:9,17,22,24         104:8,14,19 105:22      191:22 228:22
  204:3 205:2 218:19      207:5,6,10,15 208:8    106:12,15,19           daughter's 10:2
  219:7,12                208:10,20 210:17       109:18 110:5,9         day 31:2 41:7 47:6
court's 113:2             210:21 211:9           111:11,17,23,24         63:19 69:16 73:6
courtesy 72:21,23         212:12 214:17          113:25 114:10           86:16 88:7,9 97:18
  73:4,5                  215:8 216:25           119:2 121:9 122:8       111:21 116:6
courthouse 128:24         217:13 226:2,14,25     123:11 126:3            122:21 124:12
cousin 23:22              227:12 236:15          130:16 137:20,22        125:8 128:11,15,19
cousins 23:10             249:9 250:4 251:3      139:12 140:6 143:5      138:12,13 147:5,8
cover 76:7 268:23         252:2,12,14 253:2      148:4,15 150:2          149:8,12,21 150:13
coverage 246:23           257:9,17 270:17        153:11 155:15           150:16 151:16,20
  247:2                 Cruz's 202:21 203:22     158:6,16 160:7          152:2 153:19,25
covered 23:5 96:20      cups 7:19                162:2,15,23 163:16      154:4 156:16,19
  240:12 247:6          curious 14:5             163:23 164:16           159:2,3,15 160:24
  269:25                current 142:3            165:15 167:19           168:6,20 170:17
COVID 51:5 192:24       currently 9:17,22        168:25 169:13           172:9,9 175:16,22
  245:16,24 246:2,6       14:25 15:4,11,15       172:16 174:11           179:17 180:21
  255:10                  16:18 18:3,24 19:11    175:21 180:2,11         182:18,23 186:2
COVID-19 49:22            141:10,21 176:10       181:13,24 183:18        189:9 203:23 204:8
  50:2                    245:2,8 254:3          189:13 193:15           204:9 208:9 210:11
coworker 252:19         custody 127:9            194:2,15,25 195:3       224:19 231:17
                                                 195:18 196:7 197:4

                                                                                JA000283
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 284 of 540

                                                                                      284

 232:25 264:15,24      degrades 248:4            231:7,13              discriminate 232:17
 271:17 275:15         degrading 248:7         diagnosis 134:8           233:22 234:10
 276:20                degree 13:6 14:2,6        145:13 159:17           235:14 236:7
daycare 178:19,22,23   demanding 54:21,23        170:15 225:7          discriminated 228:12
 178:25 179:8,12       demoted 99:12,14          228:19 231:15           229:17,20 232:11
 189:8 218:22          denial 158:3,16         Diane 161:8               232:13,14
days 26:9 38:14          193:17 273:12         differ 63:21            discrimination 27:11
 47:11 49:13 51:22     denied 96:22 100:15     difference 89:9,11        27:15 190:15
 51:22,23,23,24,24       110:24 111:2,4,5      different 22:3 42:13      219:20,25 220:7,24
 51:24 53:19 75:21       113:7,17 140:12,13      81:17 86:9 89:15        274:10
 77:19 85:14 94:4        142:12 143:15           91:17 96:7 99:25      discuss 7:12 83:15
 120:9 126:10            155:6,8 158:14          105:24 136:6 138:4      121:4 129:3 174:14
 186:14,17 187:20        161:22 164:10,11        138:11,17 139:7         188:12 250:19
 188:4,8 190:9           183:4,5 184:4,11        144:3 198:19          discussed 130:25
 195:12 201:24           190:25 191:2          differential 66:19        188:11,16 257:4
 213:4                   192:13,15,18 193:2      108:18,21,25 109:2    discussion 46:20
deal 74:7,15 207:17      201:13 221:9 230:8      109:8                   118:23 119:10,19
 208:19 215:12           230:18 232:19         difficult 234:21          126:14 177:14
 233:6,10,15,16,18       246:22 247:2 266:4    direct 7:11               202:4 208:16
 239:10                dental 49:16 66:23      directing 13:21 14:7      211:15 272:24
dealing 250:2,4        deny 261:12               14:12 109:9           disheartening 270:16
decade 44:15           denying 240:17          directly 80:22          dislocated 93:10
December 33:5 56:19    department 150:13       director 16:21          dismissal 222:21,25
 59:5 62:3 94:9 95:2     201:8 241:7           disabilities 224:24       274:11
 95:10 98:5,7,11,14    dependents 67:6           228:4 231:6 239:6     disorder 224:16
 100:22 105:18,22      depending 75:18         disability 68:10,16     dispensary 152:5
 139:23,23 140:8       deposition 1:15 3:4,5     68:18 143:2 145:21      153:25 156:3
 143:19,23 144:13        3:7 5:11,13,25 7:10     161:13 196:20           157:18 226:9
 167:20 203:2            8:22 270:25             224:8,12 228:13,13    dispute 119:22,25
 252:14                DEPOSITION:Ma...          232:2 233:23,24         123:2 125:20
decide 138:25            276:3                   265:15,18,21 273:6      126:21,23 170:22
decided 202:14         depression 145:13       disabled 132:19         distancing 50:4
 207:20                  228:16,21 229:9,15      167:13                distress 100:11
decisions 75:6         Derrick 207:7 208:2     discarded 215:10          190:18,18 191:15
Decker 39:13,22          209:3 257:7           disciplinary 30:8         248:23 249:19
 45:10 48:5 254:3,11   Des 43:18 44:14,16        34:9 115:14,17,24       250:15
 255:23                Describe 234:15           120:18,24 121:6       distribute 230:5
declined 51:18 120:6   description 63:25         123:3,11 125:7,9,17   DISTRICT 1:2,2
decrease 99:20           64:13 65:6,22           125:20 129:17,19      Diva/Utopia/Baby...
 107:25 108:5            135:14 272:9,14         211:5 212:17,20         269:4
decreased 109:7        Desiree 256:23 257:5      273:2                 Divas 31:6,18 32:5
decree 111:8 112:17      260:17 264:10         discipline 115:25       divorce 19:7 111:7
 113:2                 determine 167:12          116:10 119:15,23        112:17,25,25 113:2
defendant 2:9,15       determined 173:6          121:4                   269:22
 241:4                   180:11                disciplined 84:9        divorced 18:25 19:5
defendant's 224:6      devil 204:20            disclosures 251:5,17      113:20 261:11
Defendants 1:9         diagnose 145:6            274:16                dock 65:11
definition 62:23,23    diagnosed 49:20         discovery 42:15         doctor 131:25 145:4
 62:25 63:2,21           228:17 229:22,25        213:21                  155:12 157:13

                                                                               JA000284
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 285 of 540

                                                                                    285

 159:23 161:5           233:2 234:6          E 2:2,2 3:24,24,24       210:5 254:13 273:5
 165:20 167:25         dollar 99:21            272:2,7 275:2          273:22 274:3,8
 168:4,13 191:10       dollars 66:14         E-Y 10:14              emailed 112:21
 246:16 247:7          domestic 26:20        earlier 25:16 82:18    emergency 139:22,24
 256:14 273:11         Don 149:4               98:20 108:11           140:3,11,24 142:13
doctor's 129:24,25     door 86:16 116:21       119:11 130:13          143:15 154:14
 130:2,4,8,8 188:2      240:2                  131:2 148:12           159:24
 188:19,22             doors 72:17             202:23 216:8,14      emotional 100:11
doctors 157:13         dots 148:24             238:25 239:14          190:17,18 191:15
 231:12 246:9,12       doubt 93:8              257:2 258:9 266:13     248:23,25 249:19
document 29:5 57:3     Douglassville 31:11     268:13                 250:15
 58:21,24 59:3,18,24   dozen 43:22           early 53:7 173:12      employed 16:18,24
 61:16 69:20 76:19     Dr 134:12 135:7,18      189:25 190:4 229:2     17:16 18:3,19 19:11
 77:2,7 90:15,22        136:2 137:14 154:2   earmuffs 152:14          20:10,14 21:6,11
 91:4,10,13 103:12      154:3 156:19 157:6   earn 13:6,25 42:2        22:12 29:17 39:17
 104:8 106:6 107:5      158:19 164:19          47:2                   42:21 107:6 109:14
 107:14 111:10,18       165:24 166:10,12     earned 14:6 45:2         133:21 134:2
 112:23 118:14          166:14,25 167:23       53:8,9 54:4 242:13     206:22 220:14,17
 123:10 126:14          167:24 168:22          242:16,18 243:7        220:20,23 231:18
 130:14 131:17,21       169:11,15 170:6        244:19                 243:2 251:3 266:9
 132:23 134:7 135:7     171:3,7,14 172:14    earning 242:20,24        270:18
 136:10,14,17           172:21 173:6 191:6     244:2 274:14,15      employee 47:20
 137:13,25 139:16       191:10 195:24        earnings 244:10          60:16 86:12 114:25
 139:17 144:2           197:14,25 201:9      ears 149:9               133:5 136:23 207:7
 145:12,17 148:8        224:13 225:14        easier 118:13          employees 60:10
 149:19 153:15          226:19,22 232:23     Eastern 1:2 23:5         62:10,12 83:8 87:16
 155:2,19,23 156:25     236:22 246:15        easy 234:20              174:4 176:17 209:2
 158:11 161:11          249:14 273:20        eBay 42:5,12           employees' 97:16
 163:10 175:5 176:8    drafted 223:20        economic 253:11        employer 27:12,15
 182:4 189:17          drag 38:18            EEOC 223:6               27:19
 193:23 194:7 219:6    drama 207:12 208:19   effect 71:17 77:15     employment 28:2,13
 223:6,19 244:8        Drew 142:16,21,22     effective 90:18,25       29:6,13 30:12 33:7
 257:19 272:19          147:23                 111:23 160:13          38:23 39:4 52:21
 273:4 274:2           drink 149:6           Ehrenberg 2:17 5:8       56:16,18 58:7 61:19
documentation          drinking 269:19       eight 8:13 195:12        69:16 70:4,20 88:15
 226:19,22             drop 205:8              232:25                 91:16 100:17,19
documented 118:22      dropped 241:21        eight-hour 116:6         107:19 198:18,20
 119:10,19,23          drove 46:5 152:21     either 26:17 63:14       199:8 201:3 202:14
 272:24                drug 57:20 58:12        73:24 116:14           210:5,12,24 212:7
documents 28:17        drunk 205:6             126:25 140:7,8         223:3 228:7 242:2
 121:12 143:9          due 133:7 178:19        168:14 172:8 239:5     245:20 257:23
 168:16 174:16         dues 70:3             Elite 33:13,15,20        266:11 272:10
 219:17 257:21         DUI 13:9 25:17,20       34:10,13 37:11       ended 100:19 162:18
doing 19:14 33:20       26:13                Elizabeth 23:18          219:15
 38:12 43:14,23        duly 3:25 275:6       Ellison 2:11 4:22      enforce 83:9
 44:14 48:22 54:19     duties 124:11         else's 63:3            enforcing 213:5
 65:25 86:3,15,17      duty 122:14 156:12    email 139:10,20,21     engage 224:7
 99:3 124:12 125:18     156:13,14 241:3,5      181:22 194:13,18     engaged 239:5
 199:21 232:25                                 194:21,25 209:24     engaging 239:23
                               E

                                                                            JA000285
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 286 of 540

                                                                                       286

engine 103:8,9,11       240:7                   258:3,6 272:10,11       246:10
engines 89:6          examination 4:8           272:12,13,15,16,17    Facts 133:2
enjoy 120:7             114:17 170:11           272:18,19,21,22,23    factual 223:24
enjoyed 249:3         examined 4:2              272:24 273:2,3,4,5    fail 9:2 224:11
entered 71:21         exception 73:18           273:6,8,9,11,12,13    failed 118:2
entertain 217:6       exceptions 72:15,19       273:14,15,16,17,18    fair 6:22 66:3 241:3,6
entire 128:11,15,19     73:15,20                273:19,20,21,22,23    Fallon 115:21 125:13
  245:12              excuse 30:4 46:24         273:24 274:2,3,4,5      125:14,14
entitled 241:16         51:11 94:2,17 107:8     274:7,8,9,10,11,12    false 240:18
entry 91:25 120:13      110:21 123:24           274:13,14,15,16,17    family 21:17 22:24
  150:2                 156:2 165:23            274:18,19               35:15,17,18 93:4
environment 190:15      187:16                exhibits 90:12            109:24 144:9 189:8
  191:21 235:19       excused 120:23          existing 23:25            246:14 247:7 267:2
Equal 223:2             127:23 130:9          expect 60:9             family's 144:18
equipment 34:23       Exeter 17:13            expected 167:19         family-owned 35:11
ERIC 2:3              exhibit 28:12,14 29:4     196:6                 FAQS 174:9 273:21
ERRATA 276:2            56:15 58:15,18        expense 168:20,21       far 13:3 23:5 47:24
especially 224:21       61:13,16,17 64:2,6    expenses 67:9             199:10 225:2 234:3
ESQ 2:6,11,12,17        64:12 68:24 69:3      experience 140:21         246:24,25 248:17
established 218:14      71:14 74:7 76:15,18   explain 88:25 146:15    fat 262:5
estimate 161:12         78:19,22 79:3,13      explained 5:16          father 21:12 22:5,17
estimated 145:20        82:6,9,14 89:25       expose 269:3              24:4 140:21 159:4
  196:19                91:5,9 101:5,8,25     exposure 154:7,11       father's 17:11
estimates 34:22         110:3,7,11,11,13,21   extend 163:2,6          fault 85:9
et 276:3                110:21,22 118:24        164:24 166:15         favoritism 72:13
evaluation 153:19       119:4,8 121:7,11,11   extended 163:9,18       fearful 198:14,15
evaluations 115:5,8     121:19 123:11           197:14                February 31:23,24
evening 204:17          126:2,5,9 130:15,18   extending 163:19          32:8 39:5,9 40:5,8
event 110:2,6,14,23     137:23 139:11,14        195:21                  40:12,14 41:25 45:6
  110:25 111:24         143:4,7 148:3,6       extends 197:18,20         45:14 48:3 65:3
  272:22,23             153:9,13 155:13,17    extension 164:18          95:20 99:7,23
eventually 71:12        158:4,8 160:6,9         165:3                   100:20 106:12,14
  100:14 112:14         161:24 162:4,13,16    extent 49:21 72:8,10      106:23 107:8
  207:16 231:13         163:11,22 164:15        78:4 165:5,6 184:12     108:12 175:17,25
  266:25                164:17 165:14,17        261:24                  181:11,16,20
Evergreen 266:16        168:24 169:3,8        extra 205:4               182:11 183:9,21
Everybody 117:19        172:15,18 174:10      extremely 224:14          187:5,7,8 197:25
evil 269:19             174:13 181:23,25        234:6,21 261:8          198:7,22 203:4
ex-husband 10:18,19     183:17,19 187:2       eyes 170:10               210:10,13 211:18
exacerbating 196:23     189:12,14 193:13      eyesight 149:9            214:24 224:9
exact 33:24 49:5        193:17,24 194:14                                225:10,17 226:9,15
  113:25 114:10         194:16 195:17,19                 F              241:25 245:15,19
  137:22 184:21         197:3,7,9,23 202:11   F 2:6,11 275:2            247:16 252:15
  231:17 265:19         209:25 210:4          f'ing 157:19              260:24 261:4 263:5
  268:12                213:12,14 220:2       face 26:19 50:25 51:8   feedback 40:25 41:4
exactly 117:23          222:22 223:12,16        161:3 213:3             41:11
  135:25 138:13         242:6,8,21,24 244:3   faces 50:5              feel 114:24 185:14
  140:6 182:14          244:6,9 251:6,9,12    facility 33:18 75:20      208:12 217:6 249:6
  199:21 201:21         251:16 253:6,7          254:8                 feeling 149:11,13
                                              fact 46:21 176:23

                                                                               JA000286
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 287 of 540

                                                                                        287

  170:16,17                157:17,22 163:11      flooring 19:18,20      friendly 51:17
fees 248:16                169:24 173:16         Florida 261:17         friends 43:15 189:8
fell 132:6,14              174:21 176:8,9,10     flu 188:22             Fronheiser 140:16
felt 145:5 170:23          177:13,24 179:23      Flying 144:11            184:17 207:18
  189:4 191:12             180:4,8,19,22         FMLA 133:14,16,17        208:7 213:16
  207:21 222:4             183:14 184:14,18        133:17 161:19          217:13,17,20
females 236:3              184:25 185:3,5,19       164:4,9 181:17,19      226:16 227:2 252:3
field 12:10                186:9 189:20            182:16,19,22 233:5   front 4:21 56:15,24
fight 207:24 208:14        192:10 197:9,12,13    follicle 57:20           107:16 213:3
figure 218:22 250:20       207:24 215:14,15      follow 83:5            fuck 218:25
file 9:15 24:21 120:17     216:3,5,9 217:24      follow-up 40:20        fucking 46:24 51:11
  123:5 125:23             220:10 221:16           134:15 162:20        fuel 98:21 99:5,6
  129:13 201:11,14         224:18,20 225:9,11    following 49:22,25       199:14 203:11,13
  219:19 220:11,16         226:23 227:2,16         172:9 258:25           204:2
  220:23 221:8,14          228:3,19,21 229:22    follows 4:3            full 9:5
filed 5:12 25:4 27:11      230:3 231:9 235:11    fond 199:12            full-grown 199:19
  27:18,21 28:3,5,8        241:18 242:9 243:5    foregoing 275:6,7      fully 269:2
  155:3 220:6 223:17       251:20 253:20         forehead 148:20        functions 133:7
  223:18                   263:10                forgive 205:7          funeral 13:21 14:7,12
filing 35:3 240:18       First-time 25:23        forgotten 270:3,14       67:9
fill 59:14,20 63:19      five 82:16 83:17        form 59:15 110:2,6     funny 190:24
  97:20 116:21             218:18                  110:14,23,25         further 3:8,12 114:17
  132:12                 five-minute 56:6          112:20 143:3           208:15 275:10
filled 61:21,23          fixed 85:25               144:24 189:11
  132:16 135:7 144:4     flare-up 182:24           272:22,23 273:7,24              G
  144:24 145:18          flat 152:25             formal 5:20 115:7      G 86:20 98:18,19,20
  160:24 254:14          Fleetwood 21:5            118:22 119:9           98:21 105:17
filling 57:10            flex 62:20,21 63:2,6      272:24               garbage 89:2
final 243:18               63:12 64:9 66:8       formally 113:20        gas 86:6 99:3
finalized 19:7             74:5 85:15 86:14        123:2 125:19         gem 33:24
finally 153:7 193:10       88:8,12 92:14 93:23   formerly 31:6,6        general 22:25
find 5:23 44:10            97:10 99:12,17        forms 193:5            generalized 145:14
  125:12 140:22            103:21 104:4          found 270:16           gentlemen 117:5
  141:2 151:2 168:3        108:23 109:3          four 10:7 45:14 47:6   gentlemen's 31:9
  173:14 221:13            115:19 122:17           85:14,16,17 116:23     32:5,18,21 268:14
fine 21:22 43:4            139:2,4 146:12,17       152:6 153:5,6        geographically 24:22
  103:17 118:11            179:20 185:2,4          180:13,16 255:10     getting 66:18 163:9
finish 63:6                208:4 239:20          four-day 76:3            168:9 198:25
finished 11:13 241:24    flip 36:7 104:7         fracture 255:9           221:12 230:8
fired 186:18               105:21 131:14         frame 35:4 225:10,21   Gibbons 129:11
first 3:25 11:21 30:25     132:22 134:5,21         252:13,15 255:15     giggled 46:23
  39:7 52:11 59:23         146:2 161:10          Framptom 262:19        girl 46:4 179:20
  64:8 69:13,16 73:6       196:14 215:13         French 46:24 51:11       185:2
  79:8 86:23 87:15,17      217:22 219:5 224:2    fresh 146:6            girlfriend 32:16
  90:14 91:25 92:6       flirtatious 206:10      Friday 46:4 47:7       give 5:15 6:25 9:5
  96:18 100:14           flirting 117:5            172:3 204:17           23:6 28:22 72:23
  102:21,25 106:19       float 147:10              222:19                 120:14 150:24
  112:23 124:23          floor 152:15 227:8      friend 38:14 43:18       170:14 184:19
  129:11 150:6,6           239:13                  44:14,16 256:25        203:18 207:22
                                                                          208:13 229:10

                                                                                JA000287
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 288 of 540

                                                                                       288

  232:9 254:12            23:15 28:17 38:22     Green 144:9              83:21 91:8 125:9
given 8:2                 49:19 63:5 66:14      Greenville 2:10          155:16 172:17,23
giving 6:20 267:3         71:13,15 83:5 86:17   grew 42:6                222:24 223:15
glad 6:3 7:13             89:24,25 90:9 91:12   grievance 27:18,20       258:5
glammed 43:20             91:21 93:8 100:10       120:17 123:5          handing 64:5 78:21
glasses 152:12            101:24 102:2            125:23 129:13,16       139:13 169:2
Glenn 16:10               117:16 119:3          ground 270:2            handled 238:7
gluing 33:22              121:10 131:14         group 140:15 196:25     handles 219:22
go 11:4,14 24:15          139:18 150:23           197:5 274:5,7         handling 178:22
  25:25 47:22 53:12       152:17 157:12         Grove 38:8              hands 263:21
  56:10,14,25 57:13       162:3 170:24,24       guess 20:15 23:8        handwriting 120:15
  57:19 58:12,13 63:5     174:6 179:23            51:12 55:5 106:5      happen 84:4 99:22
  63:7,22 66:14 68:15     180:19 181:8            120:13 124:10          200:19,24 231:8
  70:25 75:12 80:8,11     182:14 185:17           138:25 190:11         happened 61:6 67:9
  80:16,18,22,24 81:2     186:17 187:2 190:8      220:9 245:14           73:10 74:9 117:24
  81:5 85:11,23 86:20     190:22 191:9            268:10                 122:7,11 123:21
  88:3 92:23 93:2         194:22 196:18         Guide 58:17 59:9         125:9 132:15 140:5
  94:13 96:12 98:2,4      199:14 201:24           272:11                 141:20 148:15,23
  100:8 102:23            202:3,15 205:2        guidelines 49:23 50:2    148:25 149:17
  109:20 120:7            206:7 207:20          gun 140:4,22             150:12 151:3 152:7
  125:12 133:4            208:10 210:3          guy 50:20 51:10          159:2 160:23 164:8
  135:12,20 137:23        215:12 218:22           252:7 262:17           170:8 176:23 190:6
  138:7,15 147:6,7        223:25 230:9          guys 152:17              203:9 232:3,15
  150:15,19,25 151:4      233:14 235:10         gymnastics 33:17         240:7 266:6 270:9
  151:13,19 152:15        241:13,23 249:2,3     gynecologist 246:19     happening 192:24
  153:7 155:9,10          251:14 261:14                                  198:17 252:11
  157:19 159:14,20        266:23                          H             happens 73:14
  160:19 167:24         good 4:10,11,22         H 3:24 86:20 272:7       191:19 249:4
  168:4 169:19 170:5      14:18 34:8 114:24     H-A-L-S-E-Y 9:20        happy 46:12
  170:20 171:14,22        149:13 204:10         hacked 268:3            harass 150:23 235:22
  172:6 176:7 178:3       255:25                hair 57:20 258:24       harassed 80:17
  180:12 184:5          Gotcha 172:3             261:2                   150:15
  185:13 195:11,23      government 193:4        half 17:23 95:8 229:4   harassing 151:17
  201:7 205:9 206:8       245:16                halfway 131:18           202:20 206:5
  208:7 209:5,7,11,13   Governor 11:5,8          136:16 160:17           217:14 237:15
  209:16 210:15         grade 12:4               189:20                 harassment 27:15
  211:4 212:8 226:11    graduate 11:8           Halsey 9:20 141:21       79:3,14,17 80:5
  227:18,19,20 233:8    graduated 11:16 12:5    hand 25:24 28:20         81:8,13,24 190:15
  233:9 235:9 236:5       14:23                  49:2 58:14 71:15        202:17,18 217:16
  240:4 247:11 249:7    Graham 2:6 42:25         77:16 82:8 89:25        235:19
  250:22 253:19,24        102:2 215:16           101:24 110:10          hard 85:3 134:24
  256:16 257:18           219:21,24 221:13       119:3 121:10 126:4      189:6 191:15 196:9
  259:19 264:16           250:20 253:16          130:17 143:6 148:5      234:7
  266:2 269:4           Grand 19:19              153:12 158:7 160:8     hardest 116:18
Goat 267:15,16,25       grandmother 17:13        162:3 165:16           hardware 255:7,13
  268:4,7               grandparents 17:5        174:12 207:16          harmful 248:4
goes 21:19 72:12        granted 140:10           210:3 275:15           hauling 199:18
  98:25 133:22 225:2      230:14                handed 29:3 61:21       HBU 58:16 272:11
going 6:18 8:4 22:24    greatest 143:8           64:11 69:2 76:17       head 7:5,6 75:25
                                                 77:20 79:2 83:12,19

                                                                                JA000288
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 289 of 540

                                                                                        289

  148:17 149:5          hired 40:17 47:17        270:11                 improve 250:3
  150:14 161:3            48:14 50:20 62:12     human 5:5 78:17         incidences 73:22
heads 7:2                 64:16 77:8,19 92:3     80:8,11,12,17,18,21    incident 141:20
health 49:16,20 54:20     180:2,10 186:2         80:23 81:10,13,15        142:3 149:20,21
  66:22 130:2 182:8       229:11                 81:17 91:13 112:10       150:3 155:24 156:2
  188:18 196:25         hiring 58:9 59:11,12     168:11 209:5,14,19       160:21
  197:5 199:2,20          62:9 254:4,16          209:22 213:8           incidents 159:25
  224:20 240:11         history 91:16 191:11     234:24 235:6,10        including 60:25
  244:25 245:2            232:10                 237:17,18 272:17       income 42:3 52:23
  246:10,24 247:6       hit 149:4 150:14        hundred 60:12 87:18       53:8,9,23 54:4 56:3
  274:5,7               hold 70:7 99:6 249:3    hurt 68:6 94:21 131:6   incorrect 65:9,12
healthy 224:17          hole 116:21              135:21 136:2 201:6       91:22
hear 6:7 45:20 50:5     holiday 102:23          hurts 135:23 248:7      increase 190:19
heard 6:19              home 151:2,5,13         husband 95:11 140:4     increased 109:7
hearing 3:21 127:22       153:7 156:19           192:6,7                increases 66:12
  128:14,17,18            158:19 215:25         husband's 16:16         incurred 119:14
  174:18 201:18         homicide 14:16                                  indent 148:19
hearings 127:8          honey 206:9                       I             indicate 76:21 196:17
  128:21 199:12         hopefully 6:16          Ian 23:12                 261:13
  201:22 203:12,14        266:22                idea 103:10,11          indicated 19:21
  204:3 205:3           horrible 180:12           209:21,23 237:2         32:25 42:16 64:8
heart 270:19            hospital 150:16,19,23   ideal 224:20              82:18 86:24 92:7
heartbeat 250:23          150:25 151:4,8        IDENT 272:9               111:20 131:8
heat 33:23                152:10,18 155:9       identification 28:15      132:18 165:19
heavy 137:9 217:5         156:15,18 159:14        58:18 61:14 64:3        167:23 169:12,18
  234:19                  159:21 230:9            68:25 76:16 78:20       175:15 180:17
held 1:16 46:20 213:3   hostess 36:17             82:7 91:6 101:6         185:25 187:19
Helene 136:22           hostile 190:14 191:21     110:4,8 118:25          188:3,8 194:3
help 35:21 38:8 67:8      235:18                  121:8 126:3 130:16      216:10 217:12
  97:22 116:22,24       hour 47:5 128:19,20       139:11 143:4 148:3      225:14 244:14
  117:4,24 152:14         150:17 205:9            153:10 155:14           266:13 275:7
  217:9                 hours 8:13 47:6,8         158:5 160:7 161:25    indicates 30:17 92:16
helping 35:12,18          52:2 85:16,17           162:14 163:23           92:22 112:25 135:9
  38:14 98:21 117:6       101:21 102:13           164:16 165:15           136:17 139:21
  124:3 125:15            107:15 116:5,23         168:25 172:16           145:20 149:19
hereunto 275:14           122:5 133:22,23         174:11 181:24           156:6,11 160:21
hey 83:5,17 147:16        151:12 152:6,18,19      183:18 189:13           161:12 167:18
  181:7 203:14,25         153:5,6 154:22,24       193:14,25 194:15        182:7 190:2 196:6
high 11:2,4,9,13 12:5     161:22 164:12           195:18 197:3,7          196:21 243:6
  14:23 38:4 51:12        172:11 183:6            210:2 213:13 220:3    indicating 110:15
  52:13 65:14             203:20 205:12           222:23 223:13         indication 46:15
higher 99:17 180:14       232:25 244:7            242:6,22 244:4          104:17
  184:23 186:5          house 19:22 20:2          251:7,9,12 258:4      individual 74:15
Hills 144:9,11            48:13 141:3,7,8,10    identify 216:17           109:25 185:18
hint 205:13               141:16 245:8          II 2:12                 individuals 73:20
hip 255:12              HR 75:25 80:7 97:19     immediate 22:23           74:11 176:19
HIPAA 130:3 188:19        125:16 150:21         impair 8:9,16             180:10
  190:16                  184:6,8 218:10,25     important 72:3,6,9      industry 267:3
hire 52:9                 226:4 233:9,14        impose 8:25             infection 254:10,20
                                                impossible 80:18

                                                                                JA000289
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 290 of 540

                                                                                        290

  254:22                  253:20,23               39:10,12 40:3,10        43:25 161:14
inform 112:5            Interrogatory 256:18      41:9,13 45:18 47:14     162:10 250:9
informal 126:13         interview 58:16 59:7      49:11,18 50:11          263:15
information 5:23          59:9,10 272:11          52:14 53:3 57:12      jury 21:19,24 23:2
  21:21 91:14 135:19    interviewed 58:10         58:10 61:9,11,12,23   justice 11:20 12:18
  174:5 175:10          interviews 40:21          62:2 63:3,6,8,23,25     13:4 14:14
  194:11 252:9            254:6                   64:8,13,15,17 65:6    Justin 116:9 124:22
informed 35:5 112:3     involved 269:14           65:22,24 72:22,24       124:25,25 125:4
  184:10                involves 60:14            73:8 84:19 85:16
initial 251:17          issue 6:17 80:4 81:8      86:7,9,13,14 88:5               K
initially 144:14          81:10,14 120:3          99:17 114:21          K-I-T-T-I-N-G 98:22
  199:25                  179:13 210:17           117:25 118:3,5        Kaitlyn 2:20 5:4
initials 83:19            247:2,5,9               122:14 124:14          97:18 111:5 121:2,4
injections 48:22        issued 120:24 121:20      125:18 133:6,11        126:20 129:3,16,23
injure 200:15             121:23 123:8,14         138:5,7,11,14 154:4    140:16,17 145:5
injured 46:10 93:5        126:13,19 128:7         168:11 170:19,25       161:8 165:7 166:3
  131:3 132:5,11          223:7,8                 173:7 180:24           168:5 169:9 171:6
  254:24                issues 49:20 179:8,10     186:13 187:5,5         186:16 188:13
injury 93:6 105:7,10      190:23 201:5            189:6 190:9 191:16     190:8,25 191:13
  114:8 131:9,10          211:23 247:13           198:21 199:3           192:13 194:19
  148:13 151:21           248:25 252:14           201:24,25 211:3,9      195:3 199:12
  161:2 199:13,15,17    items 53:22               211:14 212:9,13        201:23 202:4 210:5
  199:23,23,25 225:5                              213:3 233:3 234:25     210:25 211:2,6,9
  247:25                           J              235:23 241:23          212:12,14,16,19
innuendo 236:13         J-A-N-A 10:5              256:6 272:12,13        218:6 219:15 221:9
insecure 261:8          J-E-S-S-E 21:10         job-specific 84:13,17    229:21 235:21,22
Instagram 44:11         J-O-H-N 16:10           jobs 38:2 39:21,24       236:4,7,16 238:7,9
  55:17 258:8 265:3     Jackson 2:8 4:23          40:6,13 41:19,22       238:11,18 248:13
  267:4,5,14            jail 26:10                45:8,9 47:23,25        249:9,11 250:4
installing 124:4        Jana 10:3 218:19          116:18 234:20,21       251:2 258:22 259:8
instance 238:23         January 30:25 32:10     John 16:10 17:22,25     Kaitlyn's 188:15
instances 238:25          40:5,11 41:18,18        57:6                   237:15 248:9
Institute 11:19 12:14     53:23 56:3 62:7,16    Johnstown 17:22         keep 35:5 73:23
  12:16 13:13,15          69:18,25 77:3 79:5    join 68:21               151:13 204:21,23
instructed 167:24         92:2,2,3,10 95:10     joint 24:10              204:25 205:12
  168:12                  95:17 103:14 104:3    Jones 207:8 208:2        206:14 241:13
instructions 7:25         105:18 107:7            257:7                 Kenneth 252:17,23
insurance 46:25           109:18 146:9          JOSEM 2:14               253:2,2
  49:16 66:23,24 67:2     174:23 175:9,11       Joshua 252:6,19         Kenny 209:3,3
  68:18 112:13,16         196:7 200:4 221:19      262:19                kept 163:9 204:21
  113:19 246:24         jerk 238:12             judge 24:18 127:10      Kerchner 87:22
  247:3                 Jersey 32:7,14 44:22    judged 249:6             120:2 153:5
intentionally 185:15      44:24 269:2           July 19:4 110:17        Kevin 129:9,12
interested 12:8 14:11   Jesse 21:2,8,8,11         119:19 121:20          140:16 184:17
  14:13 275:13          JFK 2:4                   122:8 163:15           207:18 208:7,12,16
interior 234:15         Jill 249:23 250:5,14      220:12,20 221:5        208:23 209:9,18,21
intermittent 182:21       257:12                  250:9 264:2,12,19      210:21 213:16
internal 139:20         Joanna 16:5 257:12      jumped 47:16             216:22 217:2,13,17
interrogatories         job 14:10 33:10 34:7    June 30:14,18,20         217:20 219:10
                          34:12,19 35:10,23                              226:16,25 227:6,7

                                                                                JA000290
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 291 of 540

                                                                                     291

  227:10 236:25          103:19 106:3 114:5    147:15,18,22            130:12,22,25
  237:3,21,22 238:2      114:9 117:14 119:5    178:16 234:4            133:14,17 138:18
  252:3                  120:15,20 122:7     label 243:11              139:22,24 140:3,11
kick 195:11 204:13       126:6 127:12 129:9  labeled 144:21            140:14,25 142:13
kicked 117:8             129:21 130:12,18      213:22                  143:15 144:13,15
kids 67:7 150:18         132:17 135:18       labor 234:7,19            150:18 161:19
  151:2 154:21           136:15 137:22       laceration 148:21         162:17 163:2,7,19
  204:16 205:3           138:10 140:5 142:6  Ladson 6:12 15:16         164:4,9,18,24 165:3
Kimberly 145:3,4         142:16,18,21        laid 175:22 176:10        166:15 173:23
  246:16                 144:25 149:12,18    language 236:13           181:17,19 182:8,19
kind 13:19 34:19,21      149:23 160:9,25     Larry 104:23              183:3 190:4 195:8
  41:13 47:16 48:20      161:5 162:17        lasted 36:23 128:18       195:21 197:14
  91:15 93:6 109:8       163:11,25 169:5     lasting 162:18            198:18 205:14
  116:16 131:14,25       174:14,18 179:24    LAW 2:3                   222:14 239:17
  179:24 182:19          179:25 180:3        lawn 9:18,21 22:11        240:7
  199:8 208:22           184:18,20,23          24:25 37:19,21        leaves 91:18 163:5
  214:20 221:17          185:19,21,23 186:8    54:17 269:7             266:10
  255:4 262:3 266:23     188:20 191:10,11    lawsuit 5:11,22 23:25   leaving 35:13 121:15
kitting 73:24,25,25      199:12 203:18         24:8,13,21 25:3,8       122:4 221:24
  98:22,23 99:3          207:11 209:3          25:14 223:18,25       Lebanon 18:18
  122:13,15,18           211:19,21 216:4,11    251:18 252:10         led 49:23 182:15
  123:25 137:8 235:4     218:9 219:15 223:5    257:4 271:4           left 30:13,21 32:24,25
Knappenberger            224:25 237:22       lawsuits 25:4             39:3 45:5 49:19
  252:6                  239:4 244:18        lawyer 223:20             50:9 52:15 66:17
kneeling 60:15           245:23,25 248:14    laying 99:24 100:2        114:9 115:18
knew 35:17,19 50:17      249:2 250:20,23     layoff 40:4 98:8,11       122:24 146:11
  168:10 198:23,25       252:2,8 256:5         173:11,15,19,21         154:8 189:25
  199:13,17,21           259:21 260:7,12,24    174:2,6 175:10,17       231:10 247:22
  203:11 214:15          263:5 264:2,13,22     176:6,20,24 180:7,9   left-hand 132:20
  226:2,16 236:5         266:6 268:12          185:10 186:10           136:25 154:6
  237:21 239:11          269:25 270:10         192:23 225:19           167:10
  240:2,3,4,5           knowing 230:9 234:2  layoffs 75:8,9 175:8    legal 112:25 113:14
know 4:19 5:4 6:3,7,8   knowledge 32:2       lead 33:22 116:2,5,13     219:22
  6:9,17,25 7:18,21      229:8 248:8,12        116:22 117:25         Legally 261:6
  17:3,11 18:14,18,19    251:3,22              124:2,3,5,6,9,21      Lehigh 128:23 175:7
  19:16,21 20:8,21      known 31:6,6 104:10    125:2                 length 145:20 161:13
  21:6,7,11,18,20       Kuhn 142:16,16       leader 115:21 124:16      196:19 270:18
  22:10,12,24 23:2,11                          125:13                Lesagonicz 263:22
  23:15 24:19 27:20               L          learn 46:21 51:12       let's 38:5 56:6,11
  28:25 32:15 33:23     L 3:24,24 74:4 86:19   86:13                   62:24 86:22 166:22
  41:20 42:15,25 47:4    88:20,22,24 89:3,4 learned 86:8 180:19        174:20 197:9
  55:17 63:14 65:21      89:9,13 92:20 93:22   181:2                   199:22
  68:9 69:4 74:14,16     94:7 95:23 96:4     learning 84:19          letter 61:12 75:17,18
  74:19 78:23 82:10      99:12 103:2,23      leave 30:11 34:7          125:25 160:5
  84:3,17 85:24,25       104:18,21,22          35:10 49:18 92:22       161:23 163:21
  86:3,15 87:16 91:22    105:13,15,20,23       92:23 93:2,14 94:10     164:14 165:13
  92:18 94:5 95:22       106:10 116:11         95:3 96:10,12,16        168:23 169:9
  96:3,5 98:10 100:21    117:8 118:6 122:19    97:5 100:5,8 101:16     172:14 173:5
  102:22 103:16,17       124:13 137:8 138:9    105:6 113:24 114:5      193:12,17 195:16
                         142:23,24 146:11

                                                                              JA000291
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 292 of 540

                                                                                          292

   197:2,6 265:20           106:2,10 115:19       location 141:24           59:18 62:2 69:15
   272:12 273:3,13,14       116:4,11,11,19        long 35:7 37:7 68:12      93:17 94:3 95:25
   273:16,17,18,19,20       117:5,8,8,19,22         71:4,5,15 72:25         96:9 98:6,14 100:5
   274:4,6,7                118:6,6 120:5 122:6     83:17 93:13 95:6        102:25 103:7,12
letters 172:20              122:19,21 124:8,13      97:18 105:13            105:23 106:15
level 137:3 179:25          124:24 133:5 137:8      141:23 170:12           122:8 126:13
levels 84:5,8 250:3         138:9,17 139:2          186:14 196:17           127:11 132:5
   262:2                    142:23,24 146:11        255:18                  134:11 135:3
leverage 211:3              146:22 147:15,18      long-term 68:16,17        137:24 143:22
Lewis 2:8 4:23              147:22 157:5,6,22       265:21                  144:2 162:9 163:13
liability 239:13            178:2,12,16,16        longer 113:16 196:20      163:15 164:21
license 26:7                199:18 222:2,2          214:18 215:10           166:9,13 167:15
licenses 15:2               234:4 276:5             246:13 247:23           175:24 197:13
lie 221:12               lined 117:2              look 28:24 35:25 39:9     215:18 216:21
lieu 3:9                 lines 88:17 102:24         39:12 45:7 58:20        242:13 243:22
life 66:24 67:2 110:2       203:25 206:10           60:3 69:4,19 78:23    lose 26:7 170:25
   110:6,14,23,25           208:19                  82:10 90:2 91:24        185:4 190:9 201:24
   111:23 189:10         lion 93:12 136:3           92:9 93:16 102:15       201:25 244:23
   191:14,18 205:2       lions 93:9                 102:17,24 104:8       losing 189:7
   249:2,3 272:22,23     list 126:10 229:10         105:22 106:11,12      loss 253:11
lift 60:16 65:14            246:21 251:25           106:16 107:4          lost 241:19,19 244:22
   136:25 261:14         listed 39:22 40:7          110:20 111:14           246:10 253:11
lifting 133:10              47:24 77:7 256:22       118:9,14 119:5        lot 21:20 72:11 78:12
light 149:10 152:13      Listen 204:15 205:8        121:19 123:10           87:4 192:12 202:16
   154:7,11 156:11,13    little 5:15 6:8 29:13      126:5 131:20            211:3 267:2 270:2
   225:6 256:9              35:22 57:13 102:7       132:24 136:7,16       loud 234:13,16
light-duty 154:4            107:11 108:25           137:10,16,23          louder 234:18
likes 126:13                146:25 225:12           143:25 144:20         love 170:19 211:9,14
limitation 60:23            235:16 243:18           145:16 156:24           250:22
limitations 61:3            262:5                   157:14 160:9,15       loved 212:13
limited 154:11           live 9:17 15:11,15         163:10,24 166:21      lower 184:19
   246:18                   16:2 17:6,8 18:10       167:7,9 169:5,23      lower-paying 99:15
limits 199:20               18:17 20:20 21:4        174:13,20 175:25      lowered 108:24
line 63:15 73:22,24         23:5 141:2,11 142:2     182:3 183:19 187:3    LPN 18:7
   74:2,4 83:23,24          150:17 245:8            187:11 189:15,19      LRs 87:8
   84:21 85:24 86:18     lived 128:20               193:16 194:16         lucky 180:14
   86:18,18,19,19,20     lives 9:22 22:10 142:7     195:19 196:2 197:9    lunch 114:16 116:23
   86:20,21,24 87:3,17      153:4 207:9             197:11,12,17,23       lungs 49:24
   88:20,20,21,22,24     living 113:16 141:7        204:7 205:10 220:9    lying 193:4,7
   89:2,3,4,9,10,12,13      142:8                   220:10 221:16         lymph 49:24
   89:19 92:10,14,16     LLC 46:9 266:14            222:8 224:2,5
   92:20,21 93:16,22     LLP 2:14                   236:11 240:23                 M
   94:7 95:17,20,23      loading 65:10              242:8,23 243:5,9      M 3:24
   96:4,8 97:12 98:3,4   local 1:8 2:15 5:9         251:21 253:5          M-E-C-K-E-S
   98:7,18,20,21,25         24:2 69:8 70:8,11     looked 170:10 171:19     129:10
   99:12 100:4 103:21       90:17 223:19            184:14 203:5          M-O-H-N-T-O-N
   103:23,24 104:5,12    located 11:6 13:16       looking 33:7 250:17      25:2
   104:14,21,24 105:4       30:4 31:10 37:18      looks 30:13 33:13       machine 33:24
   105:11,14,15,17,20       38:10 262:11            34:4,15 36:10,13      machinery 50:6
                                                                          Mack 1:7 2:9 5:5,12

                                                                                  JA000292
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 293 of 540

                                                                                   293

14:10 20:9 24:2        204:9,12 206:23       Manpower 57:14,22       261:7 275:12
27:10,16,19,21 28:2    209:11 211:4           57:23                 married 16:14 18:24
29:7,14,16 30:12,24    219:20 220:7,14,20    manufacturing 33:18     19:2 21:14 22:7
31:4 32:25 33:4,5      223:18 224:11,23       41:15 48:13 153:3      109:21 110:15
36:5,8 38:3,6,23       225:24 226:4          Maple 38:8              141:17 207:11
39:3,4,8,20,24 41:6    227:15 228:8 229:5    March 1:13 19:8         261:5
41:17,22 42:2,21       229:8,14 230:4,17      95:25 100:4 106:7     mask 51:9
43:6 44:16,19 45:5     231:19,21 232:3,7      106:23 107:7          masks 50:4
49:6 52:15 53:6,8      232:15,16,21,24        112:17 186:24         master 90:15
53:12,13,18 56:12      234:16,25 235:6,19     187:12 189:22,25      matching 67:22
56:18,21 57:2,12       238:6,18 239:8,15      193:21 202:8          matter 72:25 204:24
58:4,10 59:7,18,24     239:20,22 240:8,15     218:14 223:8 229:3     275:13
59:24 60:4,8 61:20     240:20 241:6,23        230:21 261:18,21      mattresses 89:15
62:9,18 64:14,21       242:2,3,11,25          275:15                MC 2:11 4:9 28:11
66:5,12,17,21 67:12    243:11 247:22         marijuana 46:16,18      56:5 84:24 85:6
67:17 68:3,18,20       248:13 249:3,6        mark 28:11,21 71:13     90:9,14 102:2,8
69:9 70:8,11,13,20     250:2,13,18,23         89:24                  114:14,18 215:16
71:18 72:12 75:11      252:7 257:23          marked 28:14 29:4       215:22 241:11
75:22 76:23 77:22      258:16 259:6,12        30:15 57:2 58:14,17    271:7 272:5
79:24 80:3 81:10,13    262:20 265:20          61:13,15 64:2,5,12    McAllister 13:15
81:21 82:19 84:14      266:9 270:19 271:4     68:24 69:3,20 76:15   McCoy 4:22
87:25 88:5 90:16       273:14,21 276:3        76:18 78:19,22 82:6   mean 14:5 46:16 50:2
91:14,16 97:14,22     Mack's 62:23,24 63:2    82:8 91:5,9 101:5      50:24 51:4 62:21
97:24 100:11           187:9                  101:25 102:4 110:3     64:25 77:11 78:6
101:12,18,23 102:4    Mack-In-Motion          110:7,11 112:24,24     90:11 96:6 97:15
102:12 105:17,19       101:10                 118:24 119:4 121:7     117:9 135:23
107:6,19 108:5,8      Mack-related 68:7       121:11 126:2,4         138:24 154:13
109:10,14,17 112:3    Mackenzie 203:13        127:12 130:15,17       184:22 189:7
112:5 113:24 114:3    Macungie 58:16          134:7 139:10,13        212:25 214:18
114:6,22 115:5,11      90:24 234:16           143:3,6 148:2,5        234:12 236:2
115:14 126:11          272:11                 153:9,12 155:13,16     238:24 248:2 254:5
129:20 131:12         mad 124:3,19 217:2      158:4,8 160:6,8        261:25
133:21 136:12,23      magisterial 24:18       161:24 162:4,13       meaning 151:13
137:6 138:25          Main 2:9 141:14         163:22 164:15          259:7
139:21 144:16         Major 145:13            165:14,16 166:22      means 62:22 103:18
151:17 153:7          majority 179:9          168:24 169:2           103:19
155:23 160:16         making 35:2 75:6        172:15,17 174:10      meant 191:3
161:23 162:7 163:3     108:15 109:3 217:4     174:12 181:23         mechanic 101:18,19
165:4 166:17,23        257:9                  183:17 189:12         Meckes-Gibbons
167:24 168:16         male 263:24             193:13,16,24           129:10
170:2 171:4 172:23    man 199:19              194:14 195:17         MED-ED 48:11
173:8,11,25 174:6,9   management 20:11        196:3 197:2,6         media 77:22
174:23 177:8           87:5 209:8,12          209:25 210:4          medical 74:16,20,21
179:16 182:5           227:14 238:6,18        213:12 220:2           131:21 133:2
191:18,25 192:8       manager 34:20,24        222:22,25 223:12       149:13,15,16,16
193:12 194:8           60:8 120:7 209:15      223:16 242:5,21        150:10,13 152:9
197:13 199:4 200:3    manhood 212:23          244:3 251:6,8,11       153:18 155:23
200:20,24 201:3       manner 3:18             258:3,6                159:3,5,12 171:8,9
202:14 203:10         manning 85:19          marriage 21:13 57:8     172:22 173:3

                                                                            JA000293
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 294 of 540

                                                                                     294

 188:17 196:25          227:10,11             Monday 47:6 146:7       141:3,16,25 176:18
 197:5 201:7 222:14    messaging 204:20        156:23 172:4           183:13 185:18
 224:22 225:2,7        met 15:22 35:20         180:25 218:10          191:19 203:10
 226:19,22 227:3,5      129:7,11               222:19                 225:10 239:19
 227:16,17 229:12      Miami 262:12           money 45:2 47:2        moves 72:21 73:4
 232:9 234:5 246:22    middle 24:14 69:23      55:11 159:4,6          217:5
 247:2,9,12 274:5,7     102:24 167:8 196:5     250:21                moving 142:3 177:21
medication 8:8          256:16                monitoring 191:9        181:3,8 216:20
 228:22 247:16,19      Mifflin 11:5,9         month 32:7 52:11        225:15
 247:23                migraines 181:21        54:8 71:5 95:8        mowed 54:17 269:7
Medicine 144:9          182:17,24 189:5        163:19 228:22         Muhlenberg 33:19
meet 44:13 121:3        190:19 192:19          229:4 244:16 256:4     37:13
 125:6 129:3 164:12     193:8 199:10           265:10                multiple 124:11
meeting 60:18 83:15     228:14,15 232:15      monthly 249:25          224:15
 83:16 129:16 152:5     232:18 234:9,11,13    months 36:24 44:3      Muto 154:2,3 156:19
 152:7 156:2 175:12     235:15 240:5           82:16 93:15 97:24      157:6 158:19 201:9
 175:16 177:10,25       247:14,19              145:21 196:20         mutual 35:13
 178:4,7,11 180:18     mind 43:16 118:12       203:7 205:25 217:5
 181:14 186:16,19      mine 10:16 184:15,23    231:10 242:25                   N
 187:19,22 209:19       185:23                Moody 2:12 5:3         N 2:2 3:24 272:2
 218:10,13             minimum 151:12         morning 4:10,11,22      275:2
meetings 83:22          152:18 154:24          7:20 128:15           name 4:5,22 9:5 10:2
 203:23                minute 28:23 38:23     mortuary 241:22         10:5,8,9,15 16:4,6,9
member 209:7,11         58:20 66:6 107:25     mother 15:23 16:14      16:10,12,16 17:3,22
members 21:17 22:24     119:5 142:11           16:18 23:18 257:16     17:25 19:9,16 22:3
membership 69:8         169:18 194:4          mother's 16:4           23:13,20,21 31:17
memory 59:6             259:20                motion 97:14,22         36:18,24 37:6 48:10
men 179:9 236:3        minutes 83:17 121:14    101:13,19,23           50:21 54:13 55:14
mental 8:15 54:20       164:3 186:2 213:15     105:17,19 203:10       55:18,20 57:5 59:20
 95:16 248:23,25        217:12 218:5           232:21,25 234:22       75:2 87:11 90:8
mention 98:19           241:12                 239:8,15,20            116:9 124:22 129:9
mentioned 15:10        miraculously 270:8     Mountains 20:22         145:2 149:2 165:20
 25:16 45:9 53:10      misfits 97:17 239:10   mouth 173:16            165:21 168:22
 62:8 202:23 208:2     mispronounce 4:18      move 15:19 60:16        179:21,22 185:4,10
 210:16,16 213:15      missed 186:17 188:3     72:23 73:5,25 74:2     185:14,19,20
 238:25 256:25          188:8 190:9 201:24     88:11 99:10 108:20     202:21 203:25
 257:8                 misstated 270:24        112:15 116:14          216:9 236:18
Mercari 20:15 42:5,8   mixture 269:18          117:14 138:17          266:15 267:5 276:3
 42:9 52:25            mobile 65:13            141:19,24 147:13       276:4
message 175:6          model 85:23 263:24      147:22 180:20         named 17:23 115:21
 205:10 216:18         modeling 43:9,11,13     225:18                 116:14
 217:19                 43:19,24 44:6 45:3    moved 15:21 20:4,17    names 17:10,12 20:6
messaged 257:17         168:8,9 258:14         73:23 74:8,17 80:21    20:25 21:3 23:7,11
messages 205:18,21      265:4                  92:19 96:3 99:11       74:10 184:20,21
 205:24 206:3,5,12     Mohnton 25:2 38:11      103:7,23 104:9,11      216:11 267:13
 206:15 207:5,19        142:8                  104:14,18 105:14      Narrow 225:12
 213:16,25 214:5,14    mom 204:18 257:14       106:16 108:2,16       near 163:14
 214:22 215:8          moment 69:4 78:23       116:11 117:8,15       nearly 80:18
 216:15 217:4 218:4     82:9 189:15            118:5 138:10,12       necessarily 59:9
                                                                     need 6:4 7:12,14,17

                                                                             JA000294
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 295 of 540

                                                                                        295

  7:20 21:20 89:16      nipples 268:23           184:22 185:22          offers 53:4
  124:18 147:6,9,16     nod 7:2,5                187:3 203:22,24        offhand 185:23
  147:21 149:13         nodes 49:24              213:15 214:19          office 4:25 5:3 34:20
  182:22 188:20         noises 234:14            224:5 253:15             34:24 58:3 181:7
  203:15,18 204:2       non-union 255:8          256:18                   185:8
  205:3 228:5 270:24    nonstop 204:24          numbers 36:4 90:10      officers 70:11
needed 99:25 118:2      normal 162:25            90:20 91:3 184:23      offices 2:3 4:24
  124:13,16 140:25        224:18 246:19         numerous 116:20         oh 6:11,13 14:16
  141:2 142:14          normally 115:22          117:4,24                 46:24 51:10 100:24
  147:11,13 151:18        147:15 199:19         nurse 157:18              204:7,9,11 205:6,10
  163:6 179:17            224:25                                        okay 4:16,17,21 6:16
  182:17 221:3          Notary 1:18 3:14,16               O               7:4,16,24 12:16
  225:22,25 226:4,9       3:25 271:20 275:3     O 3:24 275:2              14:8 18:13,15 20:17
  226:14,23 227:2,15      276:22                O'Connor 121:24           27:2,7,23 28:19
  227:16                notation 132:4            122:20                  29:8,15 30:7,23
needs 117:14            note 120:12 129:24      O'Neill 2:20 5:4          35:5 36:6,9 37:8,16
neglected 94:12           129:25 130:2,4,8,9      131:22 134:12           38:25 48:14 56:14
negotiated 83:6           188:19,23               135:7,18 136:2          58:22 59:6,17 60:3
Nestle 39:13,22,25      noted 271:11              137:14 194:19           64:7 65:17,20 69:6
  40:16                 notes 155:12 188:2        256:13                  70:2 71:20,23 78:25
network 155:11            273:11 275:9          oath 3:9,10 8:25 56:9     80:15 82:12 85:5
neurologist 164:20      notice 118:22 119:9       114:20                  91:18,19,22,23
  164:22 165:25           120:14,15 121:6       objection 3:17            100:24 102:14,20
  166:9,18 167:6          158:3 222:15,21       objects 60:17             104:16 119:8,18
  168:10,19 191:8         223:2 272:24 273:2    obscured 134:25           130:20 135:2 136:9
  224:14 232:24           273:12 274:11         obviously 21:18           136:24 138:15
  236:21                noticed 22:2 149:8        38:24 48:14 53:8        139:15 142:25
neurologists 165:8      notified 177:21           67:24 88:8 139:20       143:12,13 148:7
never 11:15 65:13,19    notify 225:24 226:4,8   occasion 123:22           149:3,5,7 153:7,14
  77:22 139:17            226:13                  126:12                  155:18 159:5
  142:23 190:14         November 93:15,17       occasionally 9:25         160:11 162:5 164:2
  191:6 226:20            93:21 94:4,6,15,20      60:17 97:21 233:2       170:17,20 172:3,19
new 13:18 19:14 20:5      94:23 104:17,20       occur 25:18 96:24         174:15 175:2 176:3
  32:6,14 37:2 44:22      137:17,25 138:5,8       131:10                  182:2 190:21
  44:24 52:9 71:9,11      138:11 166:17         occurred 110:17           194:17 197:10
  71:20 77:14,25          200:10,18 201:3         135:15 151:21           203:17 204:4
  78:13,15 83:2,3         244:12                  155:25 160:21           213:24 219:23
  97:23 129:8 162:23    nude 236:17 237:7,11    Ocean 39:14,23            221:4 223:20 224:4
  163:16 206:13,19        237:12,25 248:5         45:10 48:5              224:23 241:13
  206:20 214:6            249:12 258:10,23      October 31:14 44:3,4      243:16 244:11
  255:13 256:22           268:18 269:9,12         90:18,19,25 91:2        264:9 268:25
  268:25                number 9:10 29:4          111:19,22 112:2,4     old 10:6,11 22:21
nice 51:18 204:7          36:5 58:15 60:8         134:16 197:15           191:25 215:5
  205:10                  76:18 79:13 82:14       254:17,19 255:15      old-timers 204:12
Nicholas 17:24 21:2,4     91:9 110:11,12,13     off-the-record 46:19    older 17:21 21:2
night 9:25 31:22          110:21,21,22 119:4    offense 25:23           once 28:22,24 36:20
  32:10,19 50:14,14       132:24 137:24         offer 61:9,11,12,19       36:25 71:9 80:21
  52:10 179:4 189:9       156:7 163:24 167:9      61:24 62:2 199:3        127:17 172:22
nights 32:11              169:3 176:9 184:14      272:12                  194:10 214:17
                                                offered 14:10 51:17

                                                                                JA000295
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 296 of 540

                                                                                      296

  218:21                  27:9,23 28:2 80:9    260:19 264:15           102:23 107:20,25
oncologist 231:12         97:2 129:17 208:23  paid 43:11 66:18         108:5,11,22 159:4
one-day's 222:15          217:19 248:13        70:3 71:6 76:4          168:19 239:16
One-page 193:23         overtime 60:24         168:10,21 239:15        245:5 248:16,19
  274:2                 owned 35:14            262:17                  262:16 270:10
ones 17:8 171:10        owner 35:21           Pam 16:13               paycheck 243:19
  236:4 256:23          owns 35:19            Pamela 16:13            paying 54:15 99:17
online 13:17 40:24                            panic 190:5,7            113:19
  41:2,10                         P           paper 59:10 132:12      payment 243:23
OnlyFans 42:16,23       P 2:2,2                150:20,24 185:9,24     payments 24:12
  53:25 54:2,5,11,19    P.C 2:3                190:24,25 203:21       payout 243:17
  55:13,25 244:10,15    p.m 52:4,5 103:5      papers 77:21 78:12      paystub 43:2 47:5
  244:19 265:9 269:6      212:11 271:11        97:21                  PC 2:8
  269:8,12,13           PA 270:9              paperwork 63:23         peace 43:16
open 46:9               PAC 145:5              143:18 152:9           penalized 97:24
opened 265:6            page 36:4,7 55:18      162:22 166:5            101:11 182:18
openings 256:2            57:2 59:18,18,21     187:23 193:10           207:23
operated 65:13            60:4 69:13,19,23     211:6 221:11,12        penalties 9:2
operations 90:24          91:4 104:8,16        232:8 233:9 266:17     pending 7:22
  175:7                   105:21 106:12        270:6                  Pennsylvania 1:2,12
opinion 165:9 168:17      107:5,13 111:15     paragraph 157:17,23      1:19 2:5,17 4:2 9:18
  169:11 170:14           112:23 131:17,18     176:2 222:11,12         9:21 10:24 15:12
  236:21 249:14           131:20 132:4 134:6   224:5 236:12            16:3 17:6,9,23
opportunity 5:21          135:2,13 136:8      parents 6:10 15:10       18:11 22:11 23:6
  223:3                   137:11 144:2,21      20:4                    24:23 30:6 113:15
orange 258:24             145:17 146:2        parents' 17:12 20:6      128:2 129:2 141:15
ordeal 117:20             154:25 156:5,25     parking 192:12           275:5
order 113:3,11,13         157:15,24 160:15    part 63:11 82:25        penny 20:7,13 81:4
  126:25 127:7            160:17,19 163:11     102:3,12 122:14        pension 67:12,13,15
  144:15 197:24           166:22 167:8,8       132:25 135:23          people 50:21,23
  202:2                   169:24 174:22        225:18 258:13           54:12,24 55:15
ordered 128:6             176:8,8,9 189:20    part-runner 56:22        59:12 72:20 73:17
orders 127:9 187:25       190:10 196:2,5      participating 3:3        73:21 74:2 75:13,19
organ 75:21               197:13,18,20        particular 25:8 44:12    97:19 99:25 100:2
organizational 92:18      213:23 215:13,15     84:19 86:12 119:15      175:22 184:18,23
  94:5 95:21 96:2,6       215:19 216:3,20      122:8 126:12            186:11 216:4
  98:15 99:9              217:23 220:10        147:19                  224:15 233:4 252:2
organizations 15:5        221:16 222:9 224:3 parties 3:12 275:11      people's 153:4
orientation 58:13         224:3 228:2 236:11 partners 5:5             percent 60:12 68:8
  75:12,15 76:3,5,8       240:24 243:5,10,11 parts 85:19              percentage 67:22
  76:11 84:18 92:7        243:12,13,14,21,22 party 3:17                108:19
originally 58:2 161:7     251:20 253:5,24     pass 233:14             perform 133:6,11
Orthopedic 132:2          256:16,17 258:18    pass-through 116:19      156:11,13,14
other's 50:5              259:14,17,20,23,24 pasties 268:22,23         196:22 234:3
out-of-network            260:6,14,20 263:4,8 patient 156:10          performance 114:21
  246:17                  272:3,9,20 276:5     196:21 216:25           115:4,8,10
out-of-state 3:16       pages 59:23,24 70:3   pay 34:8 54:12 66:8     performed 65:8
outcome 275:13            131:15 132:23        66:11 68:8 81:4        performing 173:7
outside 21:13 23:25       144:21 161:11        99:20 101:12,15        perfume 74:23,25
                          182:4 219:6 258:7

                                                                              JA000296
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 297 of 540

                                                                                       297

period 31:13 38:20        246:14                 9:5 10:4 17:9 18:13     109:4 139:5 146:9
 39:8,10 41:16,20,24    physician's 144:3        23:7 28:11 69:4         146:12,17 208:3
 42:2,4 43:9 66:12      piano 75:23              91:22 118:11            212:4 235:7 239:20
 66:13 88:4 103:20      pick 5:17 23:2 152:24    137:11 170:2           positions 66:5 91:17
 107:14,19 109:10         153:2 178:15           204:23 205:4            102:13 254:13
 134:19 183:7           picture 259:22 260:7     238:14 243:3           possession 257:22
 195:10 245:24            260:8,12,13,19,21      253:20 256:16          possible 186:5
 266:7                    263:9,13,17,20,25      257:19                 post 259:22 260:18
periodically 265:2      pictures 44:9 259:12    Poconos 20:5,18,21       260:23 261:7,13
permission 122:5          264:23                point 5:25 20:8 57:5     263:5 264:19 265:2
person 3:10 148:25      piece 59:10 203:21       62:9 77:20 82:19       post-concussions
 237:18                 place 1:17 24:19         84:5,8 87:24 92:13      224:16
person-to-person          34:16 71:10 79:20      109:13 113:10          Post-it 203:21
 227:13                   81:21 82:16,23 90:3    130:5 133:20 134:2     post-Mack 56:11
personal 8:5 269:5        99:6,25 118:8          134:10 135:6 139:5     posted 261:10 263:16
personally 28:5           128:21 141:2           145:24 173:18           264:20 265:3
Persons 251:21            173:22 174:2,7         178:22 182:15          potentially 14:6
perspective 122:3         178:7 218:14 225:3     200:12 204:10,17        49:23 63:18 176:21
 206:5                  placed 8:25 105:19       205:5 209:13 215:4     Pottstown 10:23
PetSmart 29:17,20         178:2 199:13,16        221:4,7 227:21,22      pounds 60:17,18
 29:24 30:2,9,11,14       222:14 228:21          228:7 229:6 230:16      137:2,2
 31:4 32:25 33:10,12      232:24                points 119:14 218:5     practice 4:25 144:7
PFA 113:6,8,15          placement 138:23,24      219:14,16 240:2         145:9
Philadelphia 1:12 2:5     225:2                 points-based 82:22      pre-Mack 56:11
 2:17 4:24 46:17        places 45:13 127:17      119:13                 preassemble 98:24
phone 5:18 140:15         172:12                Poland 15:25            prep 36:17
 203:24 206:13,16       Plaintiff 1:5,16 2:4    policies 76:7,22 77:7   prepared 8:21
 206:19,20 207:8          144:21 193:24          77:8,14 78:4,17        prescription 247:18
 214:2,5,6,9,19           213:22 241:4 244:3     272:17                  247:23
 215:5 265:2              253:10 254:3          policy 77:19 79:3,4     prescriptions 229:11
phonetic 85:19 97:21    plaintiff's 132:25       79:11,14,18,19,23      present 2:20 3:5
photo 259:21 263:10       134:7,22 217:23        80:2,3,16 81:21         27:10,24 53:15,17
 263:16 264:7,14          224:8                  82:5,15,23 83:11        129:6 167:16
Photographers 44:10     plan 109:24 134:8,14     84:2,9 118:23           226:18 245:15,21
photos 168:8 206:17       269:23                 119:10,12,20           pretty 14:18 41:5
 236:17 237:7,11,12     planning 266:20,21       126:17 127:25           52:25 75:25 89:12
 237:25 248:5           plans 109:25             130:7 186:20 202:6      95:16 97:23 146:25
 249:12 258:10,10       plant 57:18,20 61:6      213:6 224:23            147:23 154:19
 258:14,15,20,21,23       64:14 77:17 93:5       272:18,25               162:21 204:8 233:7
 259:2 264:16,17,25       112:6,7 120:7         porn 54:13               236:4 239:9
physical 8:15 117:10      150:22 153:3,20,24    portion 169:25          previous 192:19
 134:15,22 136:11         173:17 177:17         position 34:2 40:16      195:20
 136:19 153:8             179:9 234:16 236:3     40:18 56:20 60:14      previously 21:14
 162:12 167:2,6         plastic 48:25,25         62:19 64:9,14,21        25:17 59:4 93:11
 266:2 273:9,15         plates 116:19            65:7 66:8 70:7 88:9     254:24
physically 3:5 182:15   platform 42:13           88:12 92:11 93:20      print 214:8
physician 131:22        play 124:19              93:24 99:10,15,18      prior 29:13 33:12
 144:3 154:12           played 75:22             101:10,13,17            34:15 38:2 40:7,14
 168:11,14 191:7        please 3:18 4:5 6:24     103:13 105:24           50:15 57:8 131:10

                                                                                JA000297
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 298 of 540

                                                                                      298

 219:12 247:16         provided 113:5          82:11 102:11 119:6     reasons 211:7,12,13
priority 191:8          253:22 257:21          126:7 131:16 169:6       212:17,21 221:21
probably 85:25 86:2    provisions 75:4         188:24 193:5             227:3,4,17
 105:25 115:6          PTSD 189:4 228:16       223:21,24 251:15       reassigned 116:12
 139:19 150:5          public 1:19 3:25        251:19 271:8,9         reassignment 92:18
 163:13 217:11          173:19 271:20         quick 51:12 57:15         94:5 95:21 96:2
 227:13 241:11          275:4 276:22           94:13 158:7              98:15 99:9
 263:18                pull 140:21            quit 49:6 116:15        reassignments 96:6
probation 62:14        pulled 140:4            117:16 198:12,13       recall 30:20 38:21
 85:21                 pulling 133:10                                   40:2,15 58:11 67:4
problem 84:25 122:2     199:18 234:4                    R               67:21,23 68:19
problematic 225:15     punched 26:19 159:7    R 2:2,17 275:2            73:19 77:6 79:7,10
problems 115:11        punished 208:13        raceway 38:9,16,17        83:21 98:13 105:12
procedure 162:25       purpose 5:10           racing 38:18              108:17 109:5
 261:23 262:3,14,16    purposes 9:16          raise 205:3               113:25 115:9,16
Procedures 78:18       pursuant 66:15 75:4    raises 107:20             118:7,20 129:15,18
 272:17                 84:2 107:22 195:13    ran 34:22 93:9            138:20 139:24
proceed 3:22 8:21      push 59:11             RANDLE 2:12               149:2 155:21
proceedings 219:13     pushing 133:10         Randy 5:2                 159:17 164:4
process 35:6 59:12      199:20                rate 51:13 52:13 66:8     170:13 171:5
 75:12,15 76:5,8,11    put 9:13 37:12 51:17     108:12 112:11           175:10 176:4 180:5
 254:4,16               82:16,23 83:18          175:7 176:16            181:13 185:20
produced 213:20         89:16 90:3,11 97:14     239:16                  222:7 231:14,16
 219:17                 97:17 101:3,9,12,17   Rauenzahn 145:3           240:22 246:5
production 33:25        122:4 139:2,2           246:16                  265:19,22 267:24
 56:22 62:20,21 63:2    221:10 225:5          reach 256:3             receive 28:22 30:7
 63:25 64:9,13,20       232:21 233:8 234:2    reached 208:12            49:10,15 61:9,11
 65:7,15,15 66:7        239:8,9 255:6,7,12      216:22 255:22           66:20 68:13 70:14
 74:5,6 85:13,15       puts 248:6             reading 37:11,12,23       71:11 83:11 84:12
 108:22,23,23 139:8    putting 136:5 153:3      79:9 129:2 144:10       84:16 85:17 94:24
 146:12 173:7           233:5                 ready 28:25 58:22,23      95:4 96:17 97:4
 239:20 257:20                                  69:5 78:24 82:10        100:12,16 115:13
 272:13                          Q              119:6,7 126:6,8         119:18 158:10
professional 1:18      qualify 95:14            130:18 160:10           174:5 175:2 194:8
 15:2 169:11 204:21    quarters 80:14           163:25 169:6            194:22 223:2
 204:23 205:13         question 6:2,3,18,19     174:14                  243:17 245:16
profit-sharing          6:20,22 7:22,23       real 94:13 158:7          246:2
 243:23                 22:25 60:6,7,13,22    realize 223:19 253:8    received 28:14 53:3
program 13:4            84:12 85:12 89:22     really 6:11 14:13         58:17 61:12,20 64:2
prohibit 81:22          94:18 127:18 133:4      142:23 149:9,10         66:11 68:23 76:14
promised 207:25         133:25 138:16           162:16 179:10           76:21 77:22,25
proof 113:6 184:13      142:11 167:9 176:9      180:12 199:20           78:11,13,14,18 79:5
Property 34:16 35:8     191:14 196:9            204:13 207:12           79:14,18 82:5 83:18
 36:20 37:17            216:14 219:24           208:21 264:16           91:5 96:14,15 101:5
protected 239:4,24      230:11 238:13,14      rear-ended 46:5           110:3,7 118:24
protection 113:9        257:20                reason 7:18 8:5,20        121:7 125:25
 127:7                 questions 5:22 6:25      74:17,20,22 81:2,3      129:19 130:14
provide 113:2 152:13    7:11,15 8:5,6,10,17     81:4 144:12 202:13      139:10 143:3 148:2
 253:21                 21:17 28:25 57:16       210:23 211:10           153:9 155:13 158:4
                        59:11 69:5 78:24        276:5

                                                                              JA000298
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 299 of 540

                                                                                       299

  160:5 161:24          referencing 225:8,9       108:11,18 120:19       4:4 5:20 28:21 85:4
  162:13 163:21         referred 164:19           123:6,21 125:24      reporting 3:6,18
  164:14 165:13           165:24 166:2,10         130:10 133:19          202:16 208:23
  168:23 172:14         referring 159:9           138:19 150:6         reports 240:18
  174:9 181:22            186:20 221:23           161:21 168:5         represent 91:12
  183:16 186:23           233:11 236:15           170:19 171:17        representation 241:3
  187:13 189:11           237:6,24 248:9          172:10 173:2,2,20      241:6
  193:13,23 194:13        258:11,17               174:8,17,18 175:12   representative 87:19
  194:18 195:6,16       reflexes 170:11           175:13,18,23 176:5     97:19 123:7 125:10
  197:2,6 209:24        refresh 59:6 118:11       178:6 179:21,21        236:15
  213:11 220:2            164:5 220:5             184:21 185:4,6       representatives
  222:21 223:5,12       refuse 156:13             189:16 204:19          150:22
  231:14 242:5,20       refused 78:12 115:23      214:11 270:3         reps 27:22
  244:2 245:23 246:5      123:4 130:5 156:14    remind 56:9 114:20     reputation 248:2
  249:18 251:5,8,11     regard 72:18 81:7       remotely 3:7,11        request 120:5 130:22
  258:2                   237:14                remove 111:7 112:12      140:3,14 142:12
receiving 77:6 79:7     regarding 71:24           219:18                 143:14 147:25
  79:10 115:16            193:20                removed 120:20           162:6 164:8 183:3,9
recognize 61:16         regards 60:23 226:17    removing 219:16          183:10,16,24 184:3
  65:20 76:19 121:12      234:8                 renegotiated 70:23       184:5,8,10 192:14
  139:16 174:16         register 29:22          renewal 77:9,10          192:14 194:11
  258:6                 regular 89:5,19 99:18   rent 245:10              228:8 257:20 273:8
recollection 114:7      regularly 15:8          rented 75:23 245:11      273:23
  164:6 174:3 220:6     reinjure 255:2          renting 141:9          requested 21:18
recommendation          reinjured 93:12         reopened 265:11          139:22 144:14
  224:22                  200:7,22              rep 80:12,25 81:5        172:22 173:3 230:2
record 4:6 6:5 7:8,14   related 206:4 223:24      112:10 129:8 177:7   requesting 139:24
  8:6 9:13,14 56:8        252:9 257:22,23         181:10 187:24          140:24 183:13
  71:15 114:19            262:13 275:11           188:12 202:24,25       189:18
  120:21 219:16         relationship 112:2        203:15 208:5,11,21   requests 55:2 233:5,8
  270:14                relative 21:23 233:3      209:16,17 214:18     require 234:19,22,25
records 155:23            257:15                  215:10 226:7,12        235:7
  172:22 173:3 187:9    relatives 23:4 70:10      227:19 235:3         required 128:9
  219:7 229:13          release 137:17          repeat 6:4               225:18
  262:13                  138:21 154:3 198:2    repercussions 182:25   requirement 164:12
recover 248:16          released 146:3 198:6    repetitive 234:22      requirements 60:19
  250:17                  211:17                repetitiveness 234:6   reside 19:23 141:22
recuperate 151:15       relocate 95:12            234:14               Residential 266:25
recurrent 145:13        remain 93:13 95:6       rephrase 179:14        resign 202:14 212:7
reduction 175:7           105:13 134:18           182:20 211:16        resignation 201:4
  176:17                remainder 70:4            220:18                 210:9
refer 157:6 187:2       remained 106:7          report 86:21 117:21    resigned 39:4,24
  236:16                  176:20 200:9            125:4 149:13,15        50:11,13,18 108:12
reference 42:8          remarried 269:23          202:18 207:20          199:4 210:23 211:8
  142:15 155:24         remember 32:3 36:24       208:24 217:16,20       211:10,12 212:11
  169:24 244:7 258:9      37:4,6 48:10,12         237:16,17,19           224:8 242:2 245:20
  259:8,20                49:5 50:21 74:10      reported 149:20          250:13
referenced 121:14         75:2 79:17,23 83:25     202:19 217:13        resigning 50:15
  252:25                  85:21 87:11 97:12     reporter 1:18 3:2,21     210:5

                                                                               JA000299
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 300 of 540

                                                                                         300

Resource 237:18          retract 125:17            141:25 143:14,25       251:5 274:16
resources 5:5 78:17      retrieve 159:6            145:16 147:20        rules 71:24
  80:8,11,13,17,18,22    retroactive 195:7         148:20,24 150:4,18   run 52:7
  80:23 81:10,13,15      retroactively 231:3       150:21 153:6         rush 90:4
  81:17 91:14 112:10     return 93:17 97:7         154:25 155:22
  168:11 209:5,14,19       106:25 136:13,18        156:24 157:14                   S
  209:22 213:8             137:17,21 138:4         161:10 162:6,23      S 2:2 272:7
  234:25 235:6,10          146:3 154:4 156:17      166:14 167:18,22     S-A-R-A 9:8
  237:18 272:17            161:14 166:16           169:13 171:16,25     S-O-D-E-R-S-T-R-...
response 3:20 176:15       170:18 190:14           173:11 174:20          23:14
  181:4 188:15 217:3       192:20 198:2,7,9        175:5 176:7 180:17   safe 65:10 180:22
  253:21                   200:13 211:17           182:3 183:12         safely 65:11
responses 42:15            222:13                  185:10,14 189:24     salary 65:9
  251:11 253:22          return-to-work            191:16 196:12        sales 29:23
  257:19 274:18            167:19 196:6            198:6 199:6,22,24    sanitizers 49:3
responsibilities 34:25   returned 93:21 95:18      202:6 203:8 207:4    SAP 184:22,23
responsible 29:21          97:9 112:7 137:6,7      215:2,22 217:9,22    Sara 9:6,7 116:14
  147:12                   137:25 146:8            219:3 223:9,15,23      117:15
rest 134:15 151:12         153:20 201:4            225:24 226:3         sarcoidosis 49:21
  152:11,19 154:20         211:18 221:18           227:25 236:6           231:7,13,22
  154:22 156:16          returning 198:24          237:14 238:20        sat 148:25
  201:2                  reviewed 28:24            240:23 241:15        Saturday 158:25
restate 6:4                129:18                  243:9 244:6 248:22   save 214:13,19
restaurant 36:23         revised 78:14             251:14 252:4         saved 214:4,5
  37:2                   Rick 172:12 177:11        253:19 257:18        saw 117:7 146:4
restrictions 136:19        177:15                  260:18,21,23 261:4     167:23 168:22
  137:5,18 154:10,14     rid 240:9                 264:22 267:6           172:23 181:6
  200:13                 riding 46:14              269:25 271:7           185:24 197:24
resubmit 112:19          right 4:13 8:4 9:4      right-hand 132:3         231:11,12 249:23
  162:21 221:11            11:13 12:12 14:22       135:13 136:17        saying 4:12 6:8 27:3
resubmitted 161:9          18:23 27:9 29:10,12     160:20 163:14          53:13 72:14 73:15
  193:9 194:4,8,10         29:16 32:24 33:6,12   rights 150:25            77:13,21 83:4 88:15
result 24:13 26:8          34:5 35:25 37:14,24   ringing 149:9            104:11 105:9
  113:18 141:5 155:3       38:19 43:8 45:5       risk 153:4               117:14 124:15
  176:24 183:2 184:2       46:2 47:10,22 52:14   Rivera 59:19 202:22      165:20 204:11,19
  224:6 241:17,20          55:6,11,16 56:13        252:3                  218:18 226:22
  244:24 266:3             59:20,21 63:23 66:3   Robert 20:7,8            237:10 265:20
resume 29:9 37:11          68:12 69:19 70:23     role 106:7             says 36:5 60:7,14
retaliate 81:25            75:21,24 81:18        room 3:6 103:9           72:12 79:16 80:16
  238:22                   82:13 89:8 90:13        151:13 154:14,20       91:25 99:8 100:22
retaliated 201:17,21       92:9 94:3,9 98:6        159:24                 100:22 105:3 111:6
  238:21                   99:7 100:23 101:24    root 269:19              111:23 120:13,14
retaliation 81:22          102:18 106:17         rotating 51:18           132:6 133:5,8
  198:14,16 199:7,8        107:18 115:21         roughly 29:25 54:7       134:14 135:16
  210:16,20 239:4,23       120:22 121:21         roundabout 250:20        137:7 149:21,22
retaliatory 224:7          122:12 126:17         rude 7:7 50:22,23        150:2 154:7 156:6
  239:2 240:16,21          130:11,21 134:5,10      51:3,9,15 237:4        156:10 160:21
retire 241:21              135:12 136:7            238:4                  161:2 163:15
Retirement 49:17           137:10 140:7          rule 72:11,15 123:18     169:25 175:6 176:9
                                                                          190:14 196:19

                                                                                JA000300
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 301 of 540

                                                                                        301

  216:25 217:8,10,23     189:7 191:16,20       seek 159:11 169:10      setting 5:20
  221:18 224:6 241:4     192:4,11 199:16       seeked 249:21           settle 24:15 25:7
  243:6 251:21 253:9     203:2 206:8 208:10    seeking 248:15          settled 24:17
  254:3 256:17           210:15 214:10         seen 58:24 59:3 65:19   seven 52:3,3 116:5
scanned 143:10           215:13 216:6,20         91:10 139:17,19         218:18
scared 170:24 210:25     218:23 222:11,12        148:9 153:15          sex 235:25 236:8,9
  211:2 212:14           222:14,19 224:21        155:19 172:20           269:13
  229:21                 225:11 230:4 236:5      250:14                sexism 190:16
scenes 115:6             236:20,21 240:4       self-employed 20:16     sexual 236:13
schedule 41:5 51:20      249:13 255:11         self-expression 248:3   sexually 202:19
  178:25 179:18        second-from-last        sell 42:5               shake 7:2,5
  181:4 224:19           243:10                Selling 52:25           shared 175:8,11
scheduled 45:24        second-shift 180:24     sells 20:15             SHEET 276:2
  47:10 249:13           181:10 186:12         send 153:2 172:25       shift 51:18 66:19
schedules 35:3           187:5,24 188:12       sending 35:2 219:9        87:14,17 99:11
Schmidt 172:12           208:11 212:9          seniority 69:24 71:25     103:4 105:20
  177:11,15 178:5      second-to-last 157:5      72:3,6,9,13,15 73:3     106:16,16,20,22
Schmidtty 177:12         243:12,13               73:7 75:5,9 176:17      108:2,16,17,20,21
school 11:2,4,9,14     secretary 266:5           179:25 180:11,15        108:25 109:2,8
  12:5 14:23 38:4      section 102:21            184:14,19,24 185:8      116:25 129:8 150:9
  241:22                 124:24 170:3            185:21 186:6,9          176:11,12 178:15
science 241:22           221:17 251:20           216:5,10                178:18,25 179:7,22
Scores 32:20 268:16      253:20 256:17         sensitive 149:10          180:4,8,20 181:3,9
  268:17,21            Security 9:9,14 68:15   sensitivity 152:13        183:11,12,14,16,20
screaming 50:4,25        265:15,18,25          sent 145:7 152:23         183:23,25 184:15
  51:8                 see 36:5 54:12,16         156:19 158:19           184:18,25 185:3,3,5
screen 57:17             57:15 69:23 100:24      166:18 205:17           185:7,13,18,19
screenshots 213:11       100:25 102:6,15,17      251:18 254:13           186:10 189:7
  214:21 215:7 258:2     102:20 103:2 104:9    sentence 221:18           191:17,20 192:4,11
  274:9,19               113:4 134:23,24         222:13                  192:11 199:16
screenshotting           135:17 136:21         separate 80:7             203:3 206:8 207:24
  214:11                 149:25 153:25         separated 24:11           208:10 211:4,19,25
screw 57:15              156:8 157:21            80:10,19 111:6          214:10 216:6,9
sea 93:9,12 136:3        159:23 164:20           233:12                  222:15,20 224:18
search 101:2             165:8 166:12,22       separation 113:2,3,6      224:20,21,22 225:9
second 60:4 69:19        167:9,25 168:4,12       113:11,14,17            225:11,11 226:23
  90:22 96:15,23         170:2 176:13            179:23                  227:2,16 236:5
  99:11 105:20           195:23 196:8,10       September 54:7,9          240:4 273:23
  106:20,22 108:2,16     204:8 213:21            97:8,10 101:10        shift-change 183:8
  108:20 111:15          218:11 222:17           105:16 112:8 135:3      183:10
  129:8 131:17 144:2     224:6 227:7 236:20      162:18 166:19         shifts 41:6 51:25 52:7
  150:2 154:25           246:8,12,14,17,18       169:16 171:15           52:8 60:24 176:18
  160:15 165:8           246:19 247:20           192:21 244:11           176:21 177:2,2,4,9
  168:17 169:10          248:3 251:23          series 218:3              179:12,17 191:18
  176:12 178:2,14,18     253:12 256:17,18      serious 182:8 247:12      225:15,18
  178:25 179:22        seeing 14:15 140:21     service 48:12 57:24     Shillington 11:7 16:3
  180:20 181:3,9         148:24 173:3          Services 266:16         Shipkin 168:22
  183:11,25 185:3,7      224:13 249:24         set 55:14 169:16          169:11,15 170:6
  185:13,18 187:18       250:5,10,12             275:15                  171:3,7,14 172:14

                                                                                JA000301
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 302 of 540

                                                                                         302

  172:21 173:6 191:6      65:18,21 69:11,12     somewhat 5:19           Sportswear 33:13,15
  191:10 232:23           77:4 131:18 160:16    son 9:24 10:8 22:20       33:21 34:10,13
  236:22 249:14           163:12 189:20         son's 24:4                37:11
  273:20                signed 191:17           soon 266:22             Spray 39:14,23 45:10
shit 217:9              signing 125:21          soon-to-be 192:7          48:5
shoot 43:19 263:10        150:20 166:5          sooner 208:18           spreadsheet 102:4,12
Shop 58:16 272:11       single 126:24 191:5     sorry 4:12 19:8 30:4      102:12
SHORE 2:3               Sinking 37:20,21          37:15 72:5 85:5,10    spreadsheets 101:4
short 114:15 143:2      sir 99:19                 129:22 150:7            272:21
  273:6                 sister 17:21 142:7        187:18 205:7          Springs 37:20,21
short-term 68:9           204:18                  225:13 245:17         stacker 65:14
Shorthand 1:18          sister's 142:5            259:19 264:17         standard 89:16
shortly 80:10 223:7     sit 97:17 151:13        sort 8:8 90:10 115:8    standing 60:14 168:6
  254:8                   154:20 232:25           170:14 247:5          stands 106:3
shoulder 93:10 94:21    site 55:3,23 244:15       269:11                Stanley 39:13,22
  105:7 114:8 131:6,9   sitting 153:6 172:10    sought 198:20             45:10 48:5 254:2,11
  131:10 135:21           214:11                sound 107:15 152:15       255:23
  137:2 199:13,15,17    situation 178:19        sounds 151:14           start 30:24 33:4 38:5
  199:23,23,25 200:7    situations 14:15          154:17,20 203:8         42:23 43:23 49:4
  200:15,21,23 201:5      240:5 270:20          source 42:3 53:23         58:13 62:5,15,24
  201:15,16 225:5       six 36:23 47:6 196:20     56:3                    91:20,25 109:16
  234:5 254:23 255:2      255:11                South 2:9,10 4:25 5:3     121:20 146:6 168:7
  256:8,12              six-year 66:13            6:10 15:11,13,17,20     180:23 195:7 250:5
show 7:3 28:17 55:8     skip 38:22                17:24                   251:16 266:14
  113:6,16,17 184:13    skyrocketed 144:17      speak 76:12,13          started 37:25 38:6
showed 70:3 185:8       slap 25:23                186:11 204:19           62:18 64:17 66:4,7
showing 61:15 233:4     sleeper 86:19 87:7      special 174:19,22         66:9 67:14 70:13
  268:21                  88:21 89:4,10,12,20   specialist 247:21         71:18 75:11 76:22
shows 102:13 106:6        106:10 148:16         specialized 146:25        79:5,15,18,24 80:3
  270:18                  214:12                specific 60:24 84:3       80:6,10 81:20 82:17
shut 151:14             sleepers 89:9,14          88:23 102:11            82:19 84:13 86:23
shutdown 93:5             124:24                  115:20                  87:10,20 148:24
shuttle 152:24 153:2    slowing 174:4           specifically 72:18        149:9,11 168:8
siblings 17:18 18:8     small 102:9               73:19 212:11 216:9      187:4 191:25
  20:23                 smashed 148:17            216:18 236:10           198:24 200:3
sic 230:5 249:21        smell 46:16,17          spell 9:7 10:4 23:13      221:19 244:21
sick 129:23 149:11        204:10                spelled 267:8             250:3 260:5
  157:19 186:15,15      smoke 124:20            spelling 23:16          starting 31:4 266:21
  188:4,5 218:19,19     smoking 116:6           spend 84:18             starts 132:25 157:5
sickness 68:2 100:13    Snively 249:23 250:6    spending 116:5          startup 83:16
  165:11                  250:14 257:12         spends 9:25             state 1:19 3:14,19 4:2
side 89:18,18 120:12    social 9:9,14 68:15     spiraled 189:5            4:5 113:15 128:2
  132:3,20 135:13         77:22 180:13,14,16      208:22                  245:4 246:20 275:4
  136:17,25 154:6         186:7 265:14,17,25    spiraling 214:16        stated 116:12 154:19
  160:20 163:14         Soderstrom 23:12        spleen 232:6,12           166:3 168:13
  167:10                solitaire 124:20        split 24:14               212:12 239:8
sign 78:9,12 83:17      somebody 63:11,19       spoke 142:23 171:8      statement 119:16
  115:23 123:4 145:7      73:8 81:23 147:5        184:17 207:7 209:2      125:22 131:22
signature 57:3 59:17      180:3                   235:3                   236:14 242:20

                                                                                 JA000302
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 303 of 540

                                                                                     303

  244:2 254:2 274:14    string 212:24          supplements 35:3        40:17 50:13 55:5
  274:15                strip 31:8             supplied 129:24         56:6 57:13 58:20
statements 242:25       student 140:18         supplies 97:22          59:21 69:3 73:9
states 1:2 103:15       studied 12:18          supply 152:12           78:22 82:9 90:2,4
  104:25 106:9          stuff 34:23 49:2       support 127:9           114:14 119:4
  169:25 193:5            54:17 219:22         supposed 49:12,14       128:21 130:5
  222:13                subject 199:7            75:5,7,9,10 80:4      134:11 141:23
stating 79:20 81:25     subjected 236:12         85:20 124:6,12        160:9 163:24 169:5
  152:10 169:9          submit 56:17 57:20       152:8,10 237:17       174:6 178:7 179:4
  185:12 187:25           111:10 183:8,12,23     238:11 255:9          189:14 193:16
  221:24 254:9            265:24               supposedly 192:21       212:22 215:7
Station 19:19           submitted 41:2 61:4    sure 4:14 6:5 7:8 8:6   241:22 247:15,17
stay 38:15 147:17         69:15 110:14,23        13:10 21:21 35:4      247:19,23
  207:24 269:2            111:9,21 113:15        39:16 47:9 49:21    taken 1:17 5:13 13:13
stay-at-home 21:12        143:19 183:20          55:6 59:19 80:20      14:19 55:23 56:7
stayed 105:15 109:5       253:8,23 266:17        120:22 142:10         114:16 173:10
  147:3 180:8 222:2       270:6                  149:24 204:22         249:5 258:14,16,20
staying 177:13,23       subpoena 126:25          255:14 258:25         259:2,5,7,9,12
steering 124:2 137:9      128:3                surely 193:10           261:10 263:17
  146:13,16,20,21       subpoenas 187:25       surgeon 261:18          264:15,17,23
stenographic 275:9        203:19 213:2         surgeries 254:10        265:13 270:7,9
step 63:10,16           subscribed 271:16      surgery 93:11 200:17  takes 44:9
step-siblings 18:9,21     276:20                 200:23 254:12,18    talk 29:13 39:2 40:4
stepbrother 18:16       subsequently 160:2       255:4,10,11,24        43:3 56:12 67:25
  23:8                    230:24 239:19          256:11                76:10 81:6 85:2
stepchildren 22:19      subway 19:19           sustained 253:10        86:22 130:11,19
stepmom 15:13,19,22     sued 24:3,12 25:10     swap 192:12             173:17 181:9
stepmother 16:11        suffered 95:15 199:9   swelling 49:24          199:22 203:15,18
stepped 148:16            248:23               swimming 93:9           204:3,4 207:8
steps 35:6              sufficient 130:4         132:11                208:11 213:14
stir 207:12               262:2                switch 52:11 177:2      235:6 253:16
stoned 46:5,13,22       suing 5:18 157:20      switched 36:22,25       257:16 261:17
stood 117:4 158:2       Suite 2:5,10,16          183:11 185:7        talked 41:20 53:7
stooping 60:15          summer 263:3             206:17                56:2,10,16 107:18
stop 11:21 12:6 13:8    superiors 221:20       switching 19:15         119:11 130:13
  14:8 54:19 204:16     supervisor 22:15         176:25 177:4,9        148:12 218:5 228:5
  205:4 207:13,14,15      51:16 74:24 83:24    sworn 3:15,25 271:16    252:25 257:8
  250:12                  86:21 87:9,25 96:7     275:6 276:20        talking 4:20 30:5
stopped 12:23 13:7        117:21,23 120:5      symptoms 148:22         41:17 55:16 57:23
  14:3 269:18 270:9       121:24 123:14        system 14:14 77:20      202:5 204:18 218:4
store 168:7 264:25        124:9 125:2 142:19     82:20 91:14 119:13    225:22 260:5
straight 74:5             142:22,24 147:15       233:4               tank 99:6
straps 99:6,6             147:20 149:3         systems 97:23         tanks 98:22 99:4,5
street 1:11 2:9,16        203:13 209:15                                199:14 203:11,13
  9:19 75:22 141:14       227:18,20 252:21               T             204:2
streets 46:17             252:23               T 272:7 275:2,2       targeted 189:4
stress 95:15 205:4      supervisors 83:25      tabletops 256:10        191:12 221:19
  234:14 250:3            88:2 114:23 147:22   take 7:17,18,23 11:17 targeting 190:16
strike 70:25 71:7       supplemental 90:23       12:3,21 13:22 18:23 tasks 234:2
                                                 22:16 28:23,23

                                                                              JA000303
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 304 of 540

                                                                                          304

tax 270:9                 temporary 35:12           259:13                  133:12,13,15,20,22
taxes 270:7                 57:23 58:7 98:8,11    thinks 157:13             133:24 134:2,11,19
TaylorMade 45:16          term 33:24 97:16,16     third 104:7 175:25        135:6,16 138:13
  47:3,17 48:8,9,15         143:2 273:6             221:17 224:21,21        139:5,8 140:17,19
  52:17,20,24 53:4,20     terminated 33:9         Thirteen 22:22            142:9,20 145:24
teaching 97:19              34:12 35:23 47:13     Thirty-seven 194:3        150:4 156:15
team 115:21 116:2,5         168:15 169:21         thought 14:16 125:21      161:17,20 168:20
  116:13,22 117:25        terms 60:10 88:11         130:3 146:17            168:21 173:18,21
  124:2,3,5,6,9,16,21       89:14 117:9 195:13      180:21 188:18           178:22 180:6,19
  124:25 125:13           terrazzo 19:14,17         201:9 202:15            182:15 192:7,9
tech 40:9 41:8,13         test 23:16 57:20          208:20 216:13           196:15 198:18,23
  63:25 64:13,21 65:7       58:13                   229:19 230:4 231:9      200:12 205:16
  65:15,16 85:15          testified 4:3 107:24      239:2,3 241:23          207:15,20 215:4
  92:14 93:23 97:10         220:19 239:14         threatened 95:11,13       221:4,7,13 224:19
  99:13 103:21 104:4        268:13 269:7          Threatening 235:23        225:10,21 227:7,21
  108:23,23,24            testify 25:14           three 44:3 51:24          229:6 230:16
  122:17 139:4,8          testifying 3:13           107:11 129:21,22        240:10,12,22
  173:7 272:13            tests 61:6                145:21 161:13           245:12,20,24
Technical 11:19           text 204:22 205:10,18     172:11 196:20           252:13,15 255:14
  12:14,15,15 13:12         205:20,23 206:3,5       203:7 205:25            260:4,9 265:9 266:7
technician 74:6 85:13       206:11,14 207:19      Three-page 155:12         270:6 271:11
Technology 11:18,23         213:16,25 214:4,14      273:11                times 26:14 43:21,22
  13:12 40:9                214:22 215:15         Thursday 47:7             117:4,24 143:10
tell 9:2,12 17:8,9 24:8     216:4,15,18 217:4       177:24 180:18           204:25 205:20,23
  25:22 29:4,20 31:8        217:19,24 218:4         222:18                tinted 152:12
  34:19 36:3 42:10          221:17 227:10,11      tied 86:18 115:19       tips 267:3
  43:13 48:20 50:2,19       260:20                  116:3 124:8 221:25    title 185:5 239:6
  68:5 75:14 80:3         texted 203:25 204:11      221:25                today 5:2,10 8:7,8,18
  93:7 98:20,23 102:3     texting 204:6,16        time 1:16 5:25 8:22       147:6,21 204:7,10
  122:2,20 132:14           257:11                  24:20 26:10 28:16       205:11 223:21
  135:25 138:13,14        Thank 9:4 89:23           28:16 29:14 31:20       253:9 270:2
  140:13 142:12             238:16 241:10           35:4 36:2,3 38:20     told 50:21 51:10
  147:14 148:15           therapy 134:15            39:8,10 40:11 41:16     74:22,23 75:25
  149:24 151:7,10         thing 43:2 90:11          41:19,24 42:3 43:9      108:10 115:18
  156:21 157:18             192:22 214:17           44:2 57:4,5,15          117:3,7,23 125:12
  159:2 165:19 169:8      things 56:2 67:24         59:13 62:9 63:4,13      130:3 132:10,15
  173:25 177:8              77:16 89:15 116:20      66:12 67:14 68:7        136:3 142:7 146:6
  178:11 186:17             144:15 174:3            69:12 74:9 79:8         147:5 149:17
  190:21,21 191:3           221:15 233:3 235:2      83:23 84:18 85:18       150:14 151:25
  192:14 199:8              269:11,18               87:24 88:4,18 89:21     152:8,11,18,20,20
  201:23 203:9            think 38:13 55:21         90:4 92:13 94:2         152:25 155:8
  204:15 207:14,15          62:8 66:13 67:7,8       95:7,12 102:21          156:15 158:20
  209:15 227:6,12,14        83:18 84:11 101:2       103:20 105:11           168:10 169:19
  227:20 229:19             108:10 109:5            107:14,19 108:4,8       173:25 176:25
  231:21 232:16             127:15,19 129:22        108:12 109:9,13         177:3,10,17,22,23
  238:11 248:24             140:22 142:21           112:9,20 113:10         177:24 178:13,14
  263:8 270:4 271:4         143:9 149:22 172:7      115:11 117:2 120:5      181:8 187:20
telling 147:12 151:18       172:7 196:9 229:7       121:25 124:17           188:18 190:8
  170:19 204:21             232:8 235:16            129:11,20 131:23        192:23,24 195:3

                                                                                  JA000304
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 305 of 540

                                                                                         305

  203:17 204:25          tried 116:24 154:5        116:20 120:9,10         192:25 193:3,7
  205:12 207:10,18         177:16 186:16           127:11,17 139:22        221:12 240:19
  208:10,10,18             221:11                  161:13 172:11         unexcused 120:14
  214:17 215:9           TRIGANI 2:14              178:9 182:4 187:13    unfair 190:17
  222:18 226:25,25       trigger 190:7             205:12 216:16         unfortunately 219:23
  237:23 252:11          triggered 234:13          222:5 254:9 258:22      223:22
  253:2 254:11           trouble 240:18            259:3 260:19 264:3    unhealthy 224:14
  255:24                 truck 63:4,15 65:14       264:14,23             uniforms 33:17
tolerated 79:20            85:24 86:2 99:2       Tylenol 247:17          union 27:22 70:8,11
tomorrow 170:21            276:3                 type 75:22 84:3 87:2      71:8 76:13 77:12,24
  171:15,22 204:5        trucks 1:7 2:9 5:6,12     91:4 101:4 102:22       80:7,12,25 81:5,16
top 100:4 102:17           29:7,14,17 30:12,24     119:15 270:7,19         81:18 83:2,8 87:19
  133:2 135:10             31:4 33:2,5 38:3,6      272:19,21               88:2 112:10 123:7
  148:19 149:19            39:24 41:17 42:21     types 34:22               125:10 129:8 177:7
  217:24 218:11            43:6 44:17,19 45:6                              181:7,10 185:8
  224:2 236:11,12          53:7,18 56:11,11,12             U               187:24 188:12
  253:24                   57:12 59:7 60:9       UAW 5:9 24:2 25:7         202:16,24,25
topless 54:17 268:20       61:20 64:14,21          27:10,19 68:21,23       203:15 208:5,11,20
  269:5,7                  67:12,17 87:2,4,6       69:8 70:4 85:15         209:10,14,16,17
total 32:12 244:18         89:2,20 90:16 91:14     90:17,20,21 223:19      214:18 215:10
totally 167:13             107:7 126:11            241:4 272:15            226:7,12 227:19
tough 234:12               136:12 174:9          UAW-10 69:20              233:12,13,17,19
tour 75:20 254:7           219:20 265:20         UAW-354 91:3              235:3,10
Tower 196:25 197:5         271:5 273:21          Uh-huh 12:17 21:25      unit 149:17
  274:5,7                true 275:8                26:3 33:3 34:6 39:6   United 1:8 2:15
town 11:6 20:20          truth 9:2 93:7            52:19 132:7 205:19    UNITES 1:2
  32:14                  truthful 6:21             214:23,25 215:3       unloading 65:10
tractor-trailers 34:23   truthfully 8:10,17      Uh-uh 17:15             Uno 37:8
trailer 80:9             try 6:24 225:2,4,7,13   ultimately 228:19       Unos 36:11,16,22
trailers 65:10,11        trying 5:23 7:8           240:6                   37:25
trained 167:5              156:17 189:6          un 144:16               unprofessional 237:5
trainer 36:18              191:15 205:3          unable 133:6 167:13     unwarranted 221:21
training 63:24 84:13       240:17                  178:17,24 183:25        222:4
  85:14 86:7             Tuesday 47:7 146:5        184:9 185:13 209:6    unwelcome 236:13
transcript 7:3           turned 244:21             235:8 246:8 255:18    unwieldy 90:12
transcription 275:8      Turner 17:13 23:9,22    unbearable 240:6        unwilling 156:11
transfer 33:23 75:6      turnover 51:12 52:13    uncomfortable 14:15     unwillingness 224:7
transmissions 89:6         112:11                  170:23                upcoming 175:7
transport 65:13          Twelve 10:12            underscore 267:11         203:11
trash 87:4               Twenty-two 49:9           267:20                updating 162:24
traumatic 140:21         twice 121:15            understand 6:2,6,20     Urgent 247:11
travels 19:24            Twitter 55:17             7:25 8:24 47:9 51:5   use 233:4 267:25
treadle 85:22 86:5       two 9:21 13:5 15:21       63:9 78:11 80:21      Utopia 31:5,19,21,22
treatment 134:8,14         32:11 38:14 45:19       84:7 124:15 150:8       32:5 41:20 53:9
  159:12 190:17            47:8 49:7,13 51:22      176:19 268:10,24        268:15
  247:10 249:18,21         51:22,23,23,24,24     understanding 25:6
trial 21:19,20 24:16       52:7,8 53:10,11         39:3                            V
  25:14                    59:23 64:22 75:21     underwater 263:12       v 1:6
trick 5:24                 83:24 88:13 89:11       264:7                 vacation 93:4 131:4
                                                 unemployment              243:17

                                                                                 JA000305
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 306 of 540

                                                                                    306

Valley 175:7            54:24 55:9 56:10,14    180:12 205:6           249:25 255:25
verbal 6:25 117:10      62:22 65:21 71:14      229:15 248:7           261:17 270:5,8
verification 9:15       80:20 90:5,8 91:15     275:12                weren't 49:21,22,25
verify 90:5 110:12      91:15 93:7 102:10     We'll 38:23 71:23       80:13 117:15 139:7
versus 241:4            102:23 108:14         we've 47:24 56:10       220:14 233:3,14
veterinarian 157:7      110:12 130:11         weak 240:2              258:15 259:7 262:2
  201:10                148:11 170:18         wear 74:22,24 268:22   West 9:18,21 22:11
vibration 74:4          178:3 187:4 197:11    Weaver 16:7,17          24:24 37:19,21
vibrations 74:16        207:12,13 208:19       18:15 257:13          WHEREOF 275:14
victimization 190:17    210:15 212:8 217:8    wedding 120:6,8,9      wholeheartedly
VII 239:6               229:16,18 233:6,16    Wednesday 47:7          212:15
violation 123:18        233:18 239:10,12       146:5 175:8           Wild_flower 267:19
  126:16 129:14         241:12 258:25         week 45:22,23 47:3      268:2,3
  130:4 186:21          270:14                 49:6,6 53:20 92:6     Williams 256:23
  187:14 188:19        wanted 77:17 102:14     97:20 98:8 138:20     windows 256:10
  202:5 218:7           139:3 145:6 155:10     139:23 158:20,21      wiping 152:16 256:9
violations 121:17       161:8 166:3,16         206:2 233:5 243:7     wishes 156:18
  190:16                168:4 170:20           256:7 263:18          witness 3:13,15,24
violence 26:21          178:12 185:15         weekend 51:23           25:13 85:5,9 226:12
Virgil 209:3 252:17     191:17 198:18         weekends 60:25          241:14 272:3 275:6
vision 66:23            213:14 233:7          weekly 249:24 250:2     275:14
visits 19:22            236:20 239:25         weeks 45:19 52:15,18   WITNESS' 276:4
Volvo 78:17 79:4        240:8 241:21 254:7     64:22 88:13 139:22    witnesses 9:12
  272:17                261:15 262:7           161:13 177:23          256:22
vs 276:3               wants 169:10 218:10     185:6,12 187:13       woman 74:3 199:11
                       warning 186:24          230:25 255:10,11       204:8
          W             187:16                welcome 118:11         womanhood 212:23
W-2 242:5 274:13       warrant 128:7           187:3                  249:5
W-2s 242:10            wasn't 12:8 13:10      welder 17:4            women 179:10
wage 101:4 102:22       46:12 50:17 58:7      well-being 144:18,18   wondering 239:3
 272:21                 63:15,19 67:23 68:6   went 31:19 32:15        264:18
wages 241:19,19         71:5 74:23 82:19,25    36:20 44:23 55:21     word 55:6 173:16
 253:11                 83:6 109:14 112:6      58:2 61:5 64:23        191:5 207:22
wait 84:23 112:4        112:22 116:3           68:20 71:10 75:18      267:10
waiting 171:12 172:8    120:22,23 124:19       84:17,21 94:6,10      wording 231:2
 172:13 195:10          145:6 148:20,21        95:3,22 96:9 97:24    words 9:21 212:22
 246:20                 155:10 168:13          100:5 105:6,9,15      work 16:20 17:2 18:5
waitress 35:20 36:16    172:23 186:14          108:22,25 109:6        19:13,24 22:14
 36:17                  191:20 193:8           112:9 115:2 120:4,7    29:14,24 30:24 31:4
waive 150:24            199:12 215:11          125:14,14 129:25       35:7 36:20 37:25
waiving 150:20          226:6,11 250:4         138:21 139:4           38:2 41:7,19,21
wake 224:18             264:6                  140:20 149:16          44:16,21 45:7,24
Waldo 87:12            waste 87:4              150:9,12 159:5         47:10 51:20 53:6
walk 46:16 91:16       watch 140:18 189:9      168:18,21 179:23       62:15,18 64:20
 204:9 249:5           water 48:25 149:6       180:15 181:5 185:2     68:20 70:13 71:18
walked 86:15           way 83:12 89:18         188:21 192:22          73:22 75:11 76:22
walking 60:15 181:6     100:16 106:17          203:2,12 209:9,22      79:5,24 81:20 84:13
 204:8 205:9            119:25 123:3 147:2     211:6 212:10 226:6     86:12 89:5 93:18,21
want 4:14 24:11         150:18 168:8           231:4 239:15,16        95:9,18 96:14,18
 29:12,12 39:2 47:22

                                                                             JA000306
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 307 of 540

                                                                                      307

 97:2,7,9 101:20        268:14                          X               258:18 272:10
 106:25 113:24         worker 208:6           x 1:3,10 272:2,7        1/2 216:16
 114:5 116:3 121:16    workers 1:8 2:15       XX 267:16 268:7         10 60:13,17 101:5,25
 122:4,5,15,17,24       80:7                                            137:2 206:2 272:21
 123:18 127:3          Workers' 28:3 96:20              Y             10,000 67:8
 128:15,19 134:18       155:3 156:6 158:3     yeah 24:10 30:22        10:10 1:13
 136:14,18 137:6,21     158:14 201:11,14        37:3,3,12,23 38:18    101 272:21
 137:25 138:21          273:12                  38:18 42:9 45:22      103 182:5
 142:14 145:23         working 12:25 19:19      46:23,25 50:9 51:6    104 182:5
 146:3,8,9,20,21        31:12,16 36:19 37:2     52:10 55:4 118:10     10th 139:23 152:3,4
 147:4,6 148:13         41:17 46:5 49:4         118:11 125:15           153:19,21 155:25
 151:16,18,19,24        52:24,24 53:9 60:23     132:12 139:18           156:3 158:20
 156:17 158:21          60:24 73:24 86:8,11     146:18 149:6          11 60:22 110:3,11,13
 161:14,16 166:19       87:14 98:17 103:21      162:24,24 172:5         110:21 272:22
 167:13 170:18          104:4 109:16 114:3      186:7 200:22          11/17 197:18
 175:22 178:14,17       115:18 117:3 137:8      208:17 260:15         11/6 136:19
 178:24 183:25          149:2 173:22,24       year 11:11 12:5 35:9    110 272:22,23
 186:12 189:25          175:16 184:21,25        48:2 54:9 68:14       11574,Signature
 190:6,14,15 191:6      192:8,10,11 195:12      93:14 105:2 133:21      275:17
 191:21,25 192:4,21     225:8 259:11            133:23,23 134:3       118 272:24
 193:6,8 196:15,18     Workmen's 230:3,7        191:24,25 230:22      11th 12:4 95:25 96:16
 198:2,7,9,19,24       workout 54:13            246:10,23 247:13        111:12 158:24
 200:3,9,13 201:4      workplace 80:5           253:9 255:15            160:23 223:8
 204:2 205:6 211:17    works 32:16              259:22,25 260:24      12 52:2 56:19 59:5
 211:19 221:18,24      workup 135:9             261:19,20,20,22         110:7,12,22,22
 221:25 225:3,6        world 143:8              263:3,5 264:2,6,13      167:9 224:3 272:23
 231:4 235:19 246:3    worry 206:8              264:18                12-hour 41:6 51:25
 255:18 256:9          worse 230:6,10         years 13:5 29:24        12-month 183:6
 262:20                wouldn't 59:8,9          74:13 107:11          121 273:2
workday 171:24          182:18 184:15           216:16 258:22         1240 2:5
 172:6                  198:25 250:24           259:3 264:3,23        125 273:3
worked 12:9 20:8       wow 6:13               yell 116:24             1250 217:25
 29:16 30:8 31:20,22   write 123:22 212:20    yellow 102:23           12th 12:4 160:22
 31:25 32:4,6,11,18    write-up 119:22        yesterday 265:7         13 118:24 119:4,8
 32:19,22 33:13 34:4    122:3 126:21 129:4    York 13:18 19:15          256:18 272:24
 34:10,16 36:10,13     write-ups 118:20         20:5                  130 273:4
 38:20 39:8,15,19       121:16 222:5          you-all 70:25           139 273:5
 42:2 44:6,19 45:12    writing 221:20                                 13th 92:22,24 94:14
 45:16,21,22 47:5      written 115:8,23                 Z               94:20,21 96:9
 48:7,18 53:17,18,19    118:18 120:8          Zachary 123:16            132:19 160:13
 53:19 61:8 66:5,21     121:15 122:21           125:2,4,6             14 36:8 47:5 121:11
 73:17 87:17,24 88:5    123:17,24 127:16      Zack 125:16               121:19 196:9
 88:24 89:6 102:13      127:19 218:6 222:3    zip-lining 135:16,20    14-15 121:8 273:2
 103:13 106:20,22      wrong 124:23 190:13      135:22,23             140 197:17
 107:14 108:4,8         210:18                                        141 197:13
 109:10 114:22         wrote 127:2 190:11              0              143 273:6
 115:5,14 128:22        191:2 212:16          0001 180:14             144 196:3
 150:9 179:16          Wyomissing 16:22                 1             147 196:14 273:8
 252:18 256:6           18:6 30:3,6 37:8                              15 2:9 121:11 123:11
                                              1 28:12,14 29:4 56:15

                                                                              JA000307
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 308 of 540

                                                                                      308

  196:12 241:11         1989 10:21              105:3,5 107:7           242:10,18 246:3,6
1500 2:4                19th 94:4,6 197:15      109:18 110:2,18         252:15 264:4 266:7
153 273:9               1F 103:4 106:16         114:12 118:13,16      2021 39:5,9 40:8,14
155 273:11              1st 90:19 91:2 140:8    119:19 121:20           41:18,25 45:6,15
158 273:12                163:15 167:20         122:9 130:12,23         48:3 100:20 107:8
15th 94:15,23 210:12      244:11                131:2 132:5,20          108:13 196:7 198:2
  210:13 224:9                                  135:3,15 137:18         198:3 210:10
  259:21 260:3                     2            138:5,8,11 139:23       211:18 223:8 224:9
16 57:2 104:20 126:2    2 58:15,18 123:18       139:24 143:20           241:25 243:2,23
  126:5,9 202:11          216:16 253:5          144:13 199:24           244:12,12 245:15
  273:3                   259:14,20,24          200:4,6,10 242:5,10     247:16 255:16
160 273:13                272:11                242:13 272:22           260:3 261:21 266:8
1601 1:11               2,000 244:20            274:13                2022 1:13 275:15
161 273:14              2,767.9 107:15        2019 19:8 31:23,24        276:3
162 273:15              2/1 197:21              43:25 71:21 78:14     2023 90:19 91:2
163 273:16              2/4/20 181:22 273:22    90:4,19,25 95:10,17   203 160:16,16
164 273:17              2:45 87:15 103:5        95:21,25 96:9 97:8    204 160:20
165 273:18              20 13:23 59:24 60:4     97:10 98:7,12         206 161:11
168 273:19                107:8 148:3,6         101:10 105:23         209 274:8
16th 93:17 104:17         241:12 245:19         110:6 111:12,19       21 44:4 59:18 153:9
  137:25 198:7,22         273:8                 112:2 114:3 146:9       153:13 197:21
17 106:14 130:15,18     200 2:16 62:13          148:12 149:20           198:7 273:9
  273:4                 2007 11:12 36:14        150:3 153:19          21-02500 1:3
172 273:20                37:24 38:5            155:25 156:3          21,964 253:10
174 273:21              2007-2018 38:20         158:17 160:13,22      21.12 66:18 108:14
178 166:23              2011 12:23 24:20        162:10 163:16         213 274:9
17th 99:8,23 106:13       26:17                 165:11 167:20         216 9:20 141:21
  106:23 187:6,7,8      2012 26:17 31:15        169:13,16 203:2       219 274:10
  203:4                   34:5 36:14            221:19 229:23         21st 82:16 92:17,19
18 38:7 136:20          2013 12:23 13:9         242:10,16 249:16        95:17 104:9 146:5,9
  139:11,14 201:3         25:19 32:20 131:11    250:8 252:14 261:3      175:25 264:2
  273:5                   200:2                 261:4 263:15          22 32:9 49:9 155:13
1800 54:6               2014 34:5               272:23                  155:17 273:11
181 273:22              2015 29:25            2020 19:8 40:5,12       222 274:11
183 273:23              2016 13:24              64:25 65:4,8 99:8     223 274:12
XXX-XX-XXXX 9:11        2017 13:24 29:25        99:23 100:5 106:8     228 90:20
189 273:24                30:14 31:13,15        106:13,14 112:18      22nd 10:21 164:22,25
18th 103:14               56:19 59:5 62:3       173:12 174:23           165:11 166:13
19 59:24 62:3 122:8       191:23 228:24         175:11 181:11,16        167:15 220:12,20
  135:3 143:4,7 273:6     229:2,3               181:20 182:12         23 49:9 158:4,8
19.72 66:10             2018 19:4 29:25         183:9,21 186:24         273:12
19106 2:17                30:25 39:9 41:18,25   187:6,8 189:22        23rd 158:17 263:5
19110 2:5                 53:7,17,24 56:3       193:21 195:24         24 121:20 160:6,9
193 274:2                 62:7,16 69:18,25      197:15,18 202:9         273:13
194 274:3                 77:3 79:6 82:16,24    203:5 206:21          242 274:13,14
195 274:4                 92:2,2,3,10,17,19     211:23 214:24         243 157:2,3
196 274:5                 92:22,24 93:3,17,21   218:15 220:12,20      244 157:15,25 274:15
19609 9:21                94:4,10,14,15,21,23   221:5 225:10,17       24th 119:19
197 274:7                 95:2 103:14,14,25     226:9,15 230:23       25 161:24 162:4,14
                          104:3,4,9,18,20

                                                                              JA000308
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 309 of 540

                                                                                      309

  273:14               36 193:13,17           5/13/19 164:14            272:18
2500 243:18            360 176:8                273:17                8/22/19 165:13
251 274:16,17,18       363 174:23             5/21/19 161:23            273:18
258 274:19             37 193:24 274:2          273:14                8/29/19 168:23
25th 90:18,25 260:24   38 194:14,16 224:5     50 60:18 251:6,16         273:19
  264:12,19              274:3                  274:16                8:30 149:22 150:5
26 162:15,16 163:11    39 195:17,19 274:4     500 270:10              82 272:18
  251:5 273:15         390 243:11,14,15       51 251:9 253:19         8th 92:10 96:15
  274:16               391 243:22               274:17                  103:14 111:19
27 163:22,24 273:16    3rd 139:23 140:8       52 251:12 257:19          137:17 149:20
270 102:5                161:14 162:10          274:18                  150:3 151:22 175:9
27th 95:20 132:20        186:24 187:12        53 236:12 258:3,6         175:11 241:25
28 164:15,17 174:23      202:8 218:14           274:19                  263:15 275:15
  272:10 273:17                               58 272:11                 276:3
282 102:5                        4            5th 94:9 95:2,10 97:8
28th 175:18            4 64:2,6,12 74:7         143:23 169:16                   9
29 165:14,17 273:18      176:9 253:24 272:5     171:19 189:22         9 91:5,9 137:24 187:3
29,879.24 242:18         272:13                                         240:24 272:19
29601 2:10             4/7/20 194:13 274:3              6             9:10 150:7
29th 169:13            4/8/21 209:24 274:8    6 76:15,18 79:13        9:20 150:7
2E 106:16              4:47 271:11              256:16 272:16         9:30 149:23
2nd 30:25 62:7,16      40 197:3,23 274:5      6/14/19 163:21          90-day 62:14
  69:18,25 77:3 92:2   400 59:12 62:13          273:16                91 272:19
  92:3 98:7 109:18       75:13                6:45 87:15 103:5        9999 100:22
  140:9 191:23 196:7   401(k) 66:22 67:11     60 26:9 68:8            9A 60:8
                         67:18                608 141:14              9th 98:14 105:22
          3            41 197:7,9 274:7       61 272:12                 134:16 151:24
3 61:13,16,17 133:4    42 209:25 210:4        63 272:13
  170:2,3 259:17         274:8                67 2:15
  272:12               424 213:22             677 1:8 69:8
3/19/20 193:12         428 217:23             68 272:15
3/3/20 125:25 273:3    43 213:12,15 274:9     6th 171:15
3/8/2019 123:13        436 213:23
30 77:19 136:25        44 220:2 274:10                   7
  168:24 169:3,8       45 222:22,25 274:11    7 52:4,4,5,5 78:19,22
  273:19               46 223:12,16 274:12      79:3 135:15 212:11
31 172:15,18 273:20    47 242:6,8 274:13        212:11 236:11
31st 100:22 253:9      48 151:12 152:18,19      272:17
32 174:10,13 273:21      154:22,24 242:21     7/6 120:11
32,881.44 242:14         242:24 274:14        7/9 120:11,13
325 2:16               489.10 243:6           700 2:10
33 181:23,25 273:22    49 244:3,6,9 274:15    76 272:16
330 132:25             496 91:3               78 272:17
334 134:7              4th 100:4 106:7,23     7th 19:4 92:2 110:17
339 134:22               182:11 189:25          132:5 166:17 195:5
34 183:17,19 273:23      190:4                  244:12
34,233.87 242:16
                                 5                      8
35 189:12,14 273:24
350 144:22             5 68:24 69:3 224:3     8 1:13 82:6,9,14
353 90:21                228:2 241:2 272:15     112:2,4 210:10

                                                                              JA000309
Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 310 of 540




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Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 311 of 540




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Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 432 of 540




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Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 475 of 540




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        Respondant Mack Trucks, Inc., hired Ms. Behm on January 2
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        flex technician. In October 2018, Ms. Behm was out work o
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        due to anxiety she suffered as a result of domestic v iolence. When she returned to
        work in January of 2019, Ms. Behm started being t argeted by superiors that began
        writing her up for unwarranted reasons. On May 8, 2 019 Ms. Behm suffered a work-
        related head injury. Ms. Behm struck her head on a metal bracket while working i n
        a sleeper cab. Later that evening, Ms. Behm went t o Reading Emergency Room and was
        discharged with a concussion and scalp contusion.
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          In May of 2019, Ms. Behm procured a protection from abuse o
                                                                    rder against her h
                                                                                     usband .
     O
     n May 11, 2019, she was assaulted by her husband. Ms. Behm was s
                                                                    truck more than a dozen
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     imes resulting i
                    n a large laceration to t
                                            he back o
                                                    f her head. Ms. Behm saw a neurologist,
     D
     r. Lawrence A. B
                    rzozowski, for her head i
                                            njuries a
                                                    nd was taken out of work until November
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     019. Mack Trucks, Inc., insisted Ms. Behm see a neurologist of their choosing, P aul M.
     S
     hipkin, M.D., for an Independent Medical Evaluation. Dr. Shipkin found Ms. Debra capable
     o
     f returning to work full time with no restrictions referable to her May 8, 2019 w ork-
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     elated injuries only. On May 10, 2020, Ms. Behm received a Notice of Ability t o Return to
     Work form clearing her to return to work related to injuries s
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     2019 work-related accident. Ms. Behm
                                        's w orkers' compensation c
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           Ms. Behm's migraines from her injuries were getting more intense as well as her
     anxiety from PTSD.   I
                          n March of 2020, Ms. Behm was taken out of work again by Dr.
     Brzozowsk. Ms. Behm is now diagnosed with post-concussive syndrome due to returning to
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     earings for the assault and was t
                                     hreatened by Mack Trucks, Inc., that if more work was
     m
     issed she would be fired
                            , which is a violation of the Pennsylvania Crime Victims Act.
      During this time, Ms. Behm missed five days of work due to her daughter being sick as well
      as herself. Ms. Behm provided Mack Trucks, Inc., with doctors' notes for her missed days
      of work. Ms. Behm was questioned multiple times on the reasoning for her missed work. For
      the first two years of employment, Ms. Behm worked first shift. After her return from
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    .medical l eave, Ms. Behm was placed on second shift with only one days notice. Ms. Behm
     s
     tressed to Mack T
                     rucks, Inc., and her Union Representative, that she could not work that
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     hift because of child c
                           are issues. Mack Trucks, Inc., did not change her back to first
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     hift.

             Ms.   Behm's union representative, Cruz Rivera, made several sexual advances towards
     Ms.   B
           ehm .   Mr. Rivera would send text messages to Ms. Behm at all hours of the day and
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     ight i ncluding while he was the bar. Mr. Rivera told her to feel free to flirt with him
     and that it's not very often a pretty woman works for the company. Ms. Behm repeatedly
     told him to keep the conversation professional. Ms. Behm made a complaint to the union
     chairman, Kevin Fronheiser, about Mr. Rivera's advancements. No actions were taken against
     Mr. Rivera. Ms. Behm feels that because she did not entertain Mr. River's advancements, he
     did not fight for her to get her first shift back December 2019.

             In l
                ight of the above, Respondents (Mack Trucks, Inc. and United Auto Workers Local
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Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 521 of 540




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Case 5:21-cv-02500-JMG Document 25-2 Filed 04/11/22 Page 524 of 540




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